                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK
____________________________________
                                        :
SAUL CHILL and SYLVIA CHILL, for        :
the use and benefit of the CALAMOS      :
GROWTH FUND,                            :
                                        :         No. 15-cv-01014 (ER)
               Plaintiffs,              :
                                        :         ECF CASE
        v.                              :
                                        :
CALAMOS ADVISORS LLC,                   :
                                        :




     DEFENDANT CALAMOS ADVISORS LLC’S CORRECTED RESPONSE TO
   PLAINTIFFS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW




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       Defendant Calamos Advisors LLC (“CAL”), by its undersigned counsel, respectfully

submits the following Responses to Plaintiffs’ Proposed Findings of Fact and Conclusions of

Law.

        CAL’S RESPONSE TO PLAINTIFFS’ PROPOSED FINDINGS OF FACT

I.     BACKGROUND

       A.      Plaintiffs and Defendant

      1.      Plaintiffs Saul and Sylvia Chill (“Plaintiffs”) have been shareholders in the
Calamos Growth Fund (the “Growth Fund”) at all times since July 2005 through the present.
JSSF ¶1. Plaintiffs filed their complaint on February 14, 2015. JSSF at ¶2.

       RESPONSE: Admitted.

        2.      Defendant Calamos Advisors LLC (“CAL”), is a limited liability company
organized under Delaware law with headquarters in Naperville, Illinois and offices within this
judicial district, and an investment adviser registered under the Investment Advisors Act of 1940,
that serves as investment adviser to the Growth Fund. JSSF at ¶¶3, 8.

       RESPONSE: Admitted.

       B.      CAL, the Fund, the Board and the Independent Trustees

               1.      CAL’s Investment Products, Strategies, Organization and Personnel

       3.     CAL offers certain investment products to its clients, including principally: (1)
open-end U.S.-regulated mutual funds sponsored by CAL, including the Growth Fund (the
“Open-End Funds”); (2) closed-end, U.S-regulated Funds sponsored by CAL (the “Closed-End
Funds,” and together with the Open-End Funds, the “Funds”); (3) separately-managed
accounts, predominantly for institutional investors (the “Institutional Accounts”); and (4) funds
sponsored by third-party investment advisers for which CAL serves as a subadviser (the
“Subadvised Accounts”). JSSF at ¶¶5-7; PX 438 at 4, 10; Pomerantz Report at ¶26.

       RESPONSE: Denied as stated. As set forth in the parties’ Joint Statement of Stipulated

Facts (“JSSF”) (Dkt. 187-1), CAL offers certain investment products to its clients, as set forth in

CAL’s Form ADVs and CAL mutual fund prospectuses and statements of additional information

filed with the Securities and Exchange Commission (the “SEC”), and the investment products

offered by CAL include: (1) open-end mutual funds, (2) closed-end funds, (3) UCITS, (4)
institutional accounts, (5) managed accounts, (6) commingled privately placed funds, and (7)

offshore funds. CAL may also serve as a sub-adviser to investment companies registered under

the Investment Company Act of 1940.1

        4.      CAL provides a menu of investment strategies to its advisory clients, including the
Funds, the Institutional Accounts and the Subadvised Accounts. PX 438 at 13-14 ; JX 168
(Funds’ Prospectus, describing inter alia investment strategies for each of the Funds) Each
investment strategy is characterized by a specific objective, and principal investment
characteristics that focus on certain asset classes (equities or stocks, bonds, convertible bonds,
or alternative assets), geographical regions (U.S., international, global, etc.), company sizes
(small-, mid-, large- or all-capitalization issuers), and/or investment styles (growth, value,
blend). Id. CAL provides each of the Open-End Funds with a different investment strategy,
which it also offers to its Institutional Accounts and Subadvised Accounts. Id.

         RESPONSE: Denied as stated. CAL offers certain investment strategies to the Funds

and to institutional and sub-advisory accounts, as set forth in numerous required documents that

CAL files with the SEC. CAL has not advised any institutional or sub-advisory clients following

a U.S. All Cap Growth Strategy (“All Cap Growth Clients”) since November 2016.2

        5.     During the Relevant Period, CAL organized and operated its investment
management operations pursuant to a “team of teams” structure, under which CAL’s investment
management department was subdivided into approximately six different teams responsible for
different groups of investment strategies. See e.g. JX 139 at CA-IT0000071 at 1-19; Behan Decl.
at ¶¶32-33, 38-42. Each investment team was led by specific senior co-portfolio managers
(certain of whom also served as members of the below-described Investment Committee), and
included additional co-portfolio managers, a dedicated team of research analysts, and dedicated
portfolio specialists responsible for client communications. JX 139 at CA-IT0000071 at 11, 14-
19; Becker Decl. at ¶¶40, 43-46. These teams were responsible for the day-to-day construction,
management of oversight of client investment portfolios. JX 139 at CA-IT0000071 at 9; Becker
Decl. at ¶¶40. Positioned above these teams was CAL’s senior Investment Committee –
comprised of Mr. Calamos, Sr., four co-chief investment officers serving as heads of various
strategy groupings, and CAL’s head of trading and risk management – which provided top-down
guidance to, and monitored and oversaw, the various investment teams. JX 139 at CA-
IT0000071 at 9-10; Becker Decl. at ¶48. Supporting all of these teams were shared risk
management, trading, and investment operations/infrastructure departments. JX 139 at CA-
IT0000071 at 9, 12; Becker Decl. at ¶¶49-51.



1
    JSSF ¶¶ 5-6.
2
    JSSF Ex. 1.

                                                2
         RESPONSE: Denied as stated. Plaintiffs’ assertions and mischaracterizations regarding

CAL’s investment team are entirely unsupported by the trial evidence. As Messrs. Behan,

Becker and Cronin all explained, without any evidence from Plaintiffs to the contrary, the

improvements that CAL made to its investment process and investment team included hiring

better quality personnel, restructuring compensation, and redesigning how investment

professionals collaborate with each other.3 CAL undertook a significant transformation of its

investment team—from a vertical structure with a “one-team-one-process” approach to a

horizontal structure with a “team-of-teams” approach.4 CAL also implemented a series of

changes that resulted in members of the broader investment team contributing ideas and insights

that benefitted the Fund. Among many other changes, CAL implemented an Investment

Committee, which consisted of CAL’s Co-Chief Investment Officers (“Co-CIOs”), Co-Heads of

Research and Investments, and co-Portfolio Managers, to increase sharing of investment

information among its different teams.5

         CAL also made significant changes at the senior management level in an attempt to

improve the Fund’s performance, including hiring Gary Black, who was previously been the

CEO and CIO of a successful mutual fund investment adviser, Janus Capital, to replace the

Funds’ prior Co-CIO and, following Mr. Black’s departure, transitioning to a new senior

management structure by promoting four portfolio managers to serve as Co-CIOs. Most




3
  Defendant Calamos Advisors LLC’s Proposed Findings of Fact and Conclusions of Law
(“DFFCL”) ¶¶ 106-108; Behan Decl. ¶¶ 43-46; Tr. 107:16-108:4 (Behan); Tr. 64:19-65:25,
66:21-68:7 (Becker); Tr. 656:8-658:15 (Cronin).
4
    DFFCL ¶ 106.
5
    DFFCL ¶¶ 107-108.

                                                3
recently, CAL replaced the Fund’s portfolio manager, Mr. Kalis, with Michael Grant, who had

obtained top-shelf performance with a different Fund that he advises.6

         CAL made all of these significant and costly changes to its investment team during a

period when both CAL’s and the Fund’s assets under management, and CAL’s overall

profitability, were in continuous decline.7

       6.      For each calendar year between 2005 and 2015, the total number of investment
professionals employed by CAL (as measured at the end of the year) was as follows:

                                                          Total

                                                       Investment
                                                      Professionals
                                 Year

                                 2005                      68

                                 2006                      75

                                 2007                      75

                                 2008                      68

                                 2009                      65

                                 2010                      66

                                 2011                      66

                                 2012                      53

                                 2013                      78

                                 2014                      74

                                 2015                      67

JSSF at ¶107.



6
    DFFCL ¶¶ 109-112.
7
    DFFCL ¶ 114.

                                                 4
         RESPONSE: Admitted. However, the trial evidence demonstrates that the overall

number of investment personnel neither reflects the quality or quantity of effort devoted to the

management of the Fund throughout the Relevant Period (i.e., June 2013 through trial), nor

supports Plaintiffs’ assertion that CAL’s transformation of its portfolio management team and

process for the benefit of the Fund’s shareholders is some sort of “hoax.” To the contrary, as

Messrs. Behan, Becker and Cronin all explained, without any evidence from Plaintiffs to the

contrary, CAL’s primary focus to improve the quality of the work product generated by its

investment personnel was not simply to increase the number of those personnel or their

aggregate compensation, but to hire better quality personnel, restructure compensation, and

redesign how investment professionals collaborate with each other.8 Indeed, as set forth in

CAL’s Response to Paragraph 5, supra, the trial evidence demonstrates that CAL made

numerous significant and costly changes to the investment team and investment process, which

was not limited to hiring additional personnel to service the Funds.

         In short, the number of investment personnel employed by CAL is not the sole measure

of the value or the quality of the services CAL provides, and CAL has never argued that it is. As

the Court observed on summary judgment, “sometimes you can add by subtracting . . . the

personnel that were . . . deadwood, if you will.”9 In addition, Plaintiffs have come forward with

no evidence concerning the investment personnel employed by CAL, including any evidence of

the level or skill of the personnel who stayed and those who departed, or why those who departed

left CAL. As Plaintiffs conceded at trial, through their expert Professor Bullard, CAL’s




8
 DFFCL ¶¶ 106-108; Behan Decl. ¶¶ 43-46; Tr. 107:16-108:4 (Behan); Tr. 64:19-65:25, 66:21-
68:7 (Becker); Tr. 656:8-658:15 (Cronin).
9
    8/17/18 Tr. 71:10-13.

                                                 5
investment is evidence of both a “de facto” fee reduction and arm’s-length bargaining by the

Independent Trustees.10

       7.     In its annual 15(c) Responses to the Independent Trustees, CAL reported the
following average AUM amounts, for each year, for each of its investment product types:

 (in $ millions)                    2017            2016      2015          2014         2013

 FUNDS AUM
 Open End Funds                     $10,523         $10,796   $13,273      $15,292       $15,761
 Closed End Funds                    $6,496          $6,086     $6,650       $6,332         $5,909

 Total Funds AUM                    $17,019         $16,882   $19,923      $21,624       $21,670

 INSTITUTIONAL / SUBADVISORY AUM
 Institutional / Individual /
 Partnerships                        $1,961          $1,285     $1,760       $2,018         $3,555
 Subadvisory                               $0        $1,227     $1,137        $672          $1,032

 Total Institutional /
 Subadvisory AUM                     $1,961          $2,512     $2,897       $2,690         $4,587

 OTHER CLIENT AUM

 Total Other AUM                       $756          $1,225     $1,528       $1,759         $2,002

 TOTAL CAL AUM
 TOTAL CAL AUM                      $19,736         $20,619   $24,348      $26,073       $28,259
PX 184-A at 653670; PX 176-A at 650495; PX 145-A at 634750; PX 113-A at 502928; PX 61-A
at 519572; PX 32-A at 514135.
         RESPONSE: CAL’s annual 15(c) Responses set forth the above-mentioned AUM

information for the Open-end Funds, Closed-end Funds, Institutional/Individual

client/Partnerships, and Sub-advisory categories. CAL denies that its 15(c) Responses contained

“Total Funds AUM,” “Total Institutional/Subadvisory AUM” or “Total Other AUM” categories.

The “Total CAL AUM” figures set forth in Paragraph 7 include both AUM and assets under


10
     DFFCL ¶ 105.

                                                6
advisement (“AUA”), which are assets for which CAL provides model portfolio design and

oversight.

         8.     Based on the above data, the ratio of the Funds’ AUM compared to the
Institutional and Subadvised Accounts’ AUM during the Relevant Period is as follows:

 Ratio of Total Funds AUM to Total Institutional/Subadvisory AUM
     Average, 2013-2017               2017         2016            2015        2014          2013
               7.0                     8.7            6.7           6.9         8.0           4.7
       RESPONSE: The rounded calculations set forth in Paragraph 8 are mathematically

accurate, but CAL denies that this derived ratio is relevant to any issue in this case.

       9.     Based on the above data, the Funds’ AUM constituted the following percentage of
CAL’s total AUM during the Relevant Period:

 Total Funds AUM as % of Total CAL AUM
     Average, 2013-2017               2017         2016            2015        2014          2013
              81.9%                  86.2%        81.9%            81.8%      82.9%          76.7%
       RESPONSE: The rounded calculations set forth in Paragraph 9 are mathematically

accurate, but CAL denies that this derived ratio is relevant to any issue in this case.

      10.     In its annual 15(c) Responses, CAL provided the following estimates of the
amount of time certain key individuals spent on Fund-related activities:

                          CAL Position /
       Person                                   2018        2017     2016   2015      2014    2013
                              Title

                            Funds' Chief
 Mark Mickey              Compliance Officer
                                                100%        100%     100%   100%      100%    100%

                              Chairman;
 John Calamos, Sr.           Global Chief       65%         65%      65%    65%       65%      65%
                          Investment Officer

                          co-Chief Investment
 Gary Black                     Officer
                                                 n/a        n/a       n/a   75%       75%      75%




                                                  7
 John Koudounis                CEO             65%     50%       n/a      n/a     n/a      n/a

                            President;
 Robert Behan              Head, Global        75%     75%      75%      75%      75%      n/a
                           Distribution

                        President and Chief
 James Boyne             Operating Officer
                                               n/a      n/a      n/a      n/a     n/a      50%

 Thomas Herman
 (2017)                   Chief Financial
                              Officer
                                               65%     65%      75%      75%      75%      75%
 Nimish Bhatt
 (2013-16)
                          General Counsel
 J. Christopher           Head, Legal and
                            Compliance
                                               60%     60%      40%      40%      40%      40%
 Jackson
                            department

 Tammie Lee (2018)
 Chris Russell
 (2015-17)             VP, Associate Counsel   95%     40%      75%      75%      n/a      70%
 Steve Wastek            Legal department
 (2013)
                                VP
 Curtis Holloway            Head, Fund         85%     75%      75%      75%      90%      90%
                           Administration

                               VP
 Ben Ernst                Manager, Fund        60%     60%      90%      90%      90%      90%
                          Administration

                            Senior VP,
 David Mangefrida      Head, Tax department
                                               60%     40%      40%      40%      20%      20%



PX 184-A at 653486, PX 176-A at 650251, PX 145-A at 634346, PX 113-A at 502692, PX 61-A
at 519368, PX 32-A at 513992.
       RESPONSE: The time estimates set forth in Paragraph 10 are the estimates that CAL

provided in its 15(c) Response in response to the Independent Trustees’ request for “the percent




                                                8
of each person’s time spent on Fund activities.”11 The percentages report an estimate of the

percentage of time spent on Fund activities out of the total time spent by the employee, including

time spent relating to CAL’s other investment products (such as UCITS, institutional accounts,

or sub-advisory accounts), in addition to time spent on other internal tasks or corporate

objectives. The time spent estimates provided in CAL’s 15(c) Response are fully consistent with

the fact that CAL provides greater services, and takes on greater risks, with respect to the Funds

than it did with respect to its All Cap Growth Clients.12

                  2.    The Growth Fund, and CAL’s All Cap Growth Investment Strategy

         11.      CAL established the Growth Fund in 1990. JSSF at ¶9.

         RESPONSE: Admitted.

       12.      The Growth Fund is managed following CAL’s All Cap Growth investment
strategy (a/k/a the U.S. Equity Growth strategy, the U.S. Growth strategy, the Growth strategy,
and/or ACG). JSSF at ¶10.

         RESPONSE: The Fund is managed following CAL’s All Cap Growth investment

strategy (which is sometimes referred to as the U.S. Equity Growth strategy, the U.S. Growth

strategy, the Growth strategy, and/or ACG).

       13.    The Growth Fund’s investment objective is long-term capital growth. JSSF at
¶12; JX 168 at 3.

         RESPONSE: The Fund’s investment objective, as disclosed in Fund filings with the

SEC and in materials sent to Fund shareholders, is long-term capital growth.13

        14.     The Growth Fund’s principal investment strategy is a focus on U.S. growth
equities/stocks across all market capitalizations (but principally mid- and large-cap). JX 168 at
4.



11
     E.g., PX 184-A at CALAMOS_00653486.
12
     DFFCL ¶¶ 162-203.
13
     JSSF ¶ 12.

                                                 9
          RESPONSE: As disclosed in the Fund’s February 28, 2017 Prospectus, the Fund invests

primarily in equity securities issued by U.S. companies, and anticipates that substantially all of

its portfolio will consist of securities of companies with large and mid-sized market

capitalizations.14

      15.     The Growth Fund’s AUM and advisory fees for each year from 2007 through
2017 were as follows:


                                        Fund Net Assets       Advisory Fees Paid
                       Year *
                                       (as of October 31)     (as of October 31)

                        2017                $1,672,427,281            $15,478,921

                        2016                $1,899,255,253            $18,919,485

                        2015                $2,726,125,388            $26,417,079

                        2014                $3,484,476,428            $31,535,086

                        2013                $4,441,152,831            $41,109,168

                        2012                $6,391,673,238            $59,537,152

                        2011                $7,727,002,086            $70,744,156

                        2010                $8,293,969,972            $66,325,813

                        2009                $7,988,441,578            $58,313,737

                        2008                $7,863,206,887           $109,497,128

                        2007               $17,493,714,892           $127,528,938


JSSF at ¶20.
          RESPONSE: Admitted.

      16.     Under CAL’s team-of-teams organization, the Growth Fund (and the Other ACG
Accounts) were managed by the U.S. Growth Equity team (also referred to as the U.S. Growth



14
     JX 168 at 4.

                                                 10
team or the Growth team). JX 139 at CA-IT0000071 at 14, 16-18; Becker Decl. at ¶¶52-57;
Kalis Dep. at 8:16–15:17.

         RESPONSE: Denied as stated. CAL denies, as inconsistent with the trial evidence, that

the members of the U.S. Growth Equity team were the sole investment professionals that

contributed to the management of the Fund.

         As the trial evidence demonstrates, during the Relevant Period, CAL made numerous

significant and costly changes to the investment team and investment process, which was not

limited to hiring additional personnel to service the Funds. CAL undertook a significant

transformation of its investment team—from a vertical structure with a “one-team-one-process”

approach to a horizontal structure with a “team-of-teams” approach.15 CAL also implemented a

series of changes that resulted in members of the broader investment team contributing ideas and

insights that benefitted the Fund. Among many other changes, CAL implemented an Investment

Committee, which consisted of CAL’s Co-CIOs, Co-Heads of Research and Investments, and

co-Portfolio Managers, to increase sharing of investment information among its different

teams.16

         CAL also made significant changes at the senior management level in an attempt to

improve the Fund’s performance, including hiring Gary Black, who was previously been the

CEO and CIO of a successful mutual fund investment adviser, Janus Capital, to replace the

Funds’ prior Co-CIO and, following Mr. Black’s departure, transitioning to a new senior

management structure by promoting four portfolio managers to serve as Co-CIOs. Most




15
     DFFCL ¶ 106.
16
     DFFCL ¶¶ 107-108.

                                               11
recently, CAL replaced the Fund’s portfolio manager, Mr. Kalis, with Michael Grant, who had

obtained top-shelf performance with a different Fund that he advises.17

         In short, each member of the investment team contributes to the management of each of

the Funds advised by CAL.18

        17.    During the Relevant Period, CAL reported to the Board that the following number
of investment personnel specifically supported the Growth Fund as members of the U.S. Growth
Equity Team:

                                                      Investment
                                                       Personnel
                                                      Supporting
                                 Date               the Growth Fund

                               May 2014                   22

                              August 2014                 24

                              October 2014                24

                               June 2015                  18

                              March 2016                  18

                               May 2016                   18

                             September 2016               13

                             December 2016                13

                              March 2017                  13

Cronin Report at Ex. 11.
         RESPONSE: Denied as stated. Paragraph 17 accurately counts the number of CAL

employees identified in Exhibit 11 of Mr. Cronin’s Report. For the reasons set forth in CAL’s

Response to Paragraph 16, supra, CAL denies, as inconsistent with the trial evidence, that the


17
     DFFCL ¶¶ 109-112.
18
     See DFFCL ¶¶ 103-120.

                                               12
members of the U.S. Growth Equity team were the sole investment professionals that contributed

to the management of the Fund.

                 3.     The Calamos Investment Trust

        18.    The 16 Open-End Funds advised by CAL are organized as separate series within
Calamos Investment Trust (“CIT”), a Massachusetts business trust that is registered with the
Securities and Exchange Commission (“SEC”) under the Investment Company Act of 1940 (the
“ICA”) as an open-end investment management company. JSSF at ¶7.

          RESPONSE: Admitted.

       19.    CAL sponsored and established all of the Funds, and at all times has been their
investment adviser pursuant to an Investment Management Agreement (“IMA”) between CAL
and CIT. JSSF ¶8, ¶58; JX 5.

          RESPONSE: Admitted.

                 4.     CIT’s Board of Trustees

          20.    A single Board of Trustees (the “Board”) oversees the Funds. JSSF at ¶25.

          RESPONSE: Denied as stated. The Board of Trustees oversees the Funds. A unitary

board is recommended by the Investment Company Institute (“ICI”) as a best practice. A unitary

board allows trustees to become knowledgeable with an entire fund complex and affords the

trustees greater access to the adviser. A unitary board also is efficient because a large fund

complex would otherwise be required to hire a significant number of trustees to populate many

boards.19

          21.    During the Relevant Period, the Board was comprised of the following persons:

 John P. Calamos, Sr. (entire Relevant Period) Weston W. Marsh (until July 18, 2015)
 Stephen B. Timbers (entire Relevant Period)      Virginia G. Breen (from 9/2015 to present)
 John E. Neal (entire Relevant Period)            Theresa Hamacher (from 9/2015 to mid-2017)
 William R. Rybak (entire Relevant Period)        Lloyd Wennlund (from 7/2018 to present)



19
     Laby Rpt. at 8.

                                                 13
 David D. Tripple (entire Relevant Period)


JSSF at ¶23.
         RESPONSE: Admitted.

                5.     The Independent Trustees’ Annual 15(c) Review

        22.   ICA Section 15(c) requires the Independent Trustees to conduct an annual review
to determine whether to approve continuation of the IMA (the “15(c) Review”). JSSF at ¶37.

         RESPONSE: Admitted.

      23.     In the spring of each year, Independent Trustees request and CAL provides a
compendium of materials relevant to the Board’s consideration of the Funds’ IMA (the “15(c)
Request” and the “15(c) Response,” respectively).

         RESPONSE: Denied as stated. Each year, Independent Trustees’ Counsel, on behalf of

the Independent Trustees, sends a letter to CAL requesting certain information deemed

reasonably necessary for the Independent Trustees’ 15(c) Review (the “15(c) Request”), and that

after receiving the 15(c) Request, CAL prepares and compiles a compendium of information,

documents and materials in response (the “15(c) Response”), which when finalized is provided

to the Independent Trustees in advance of the Board’s June (or July) meeting each year.20 As the

trial evidence demonstrates, the Independent Trustees follow a thorough and robust 15(c)

Process that incorporates best practices that have been identified in the mutual fund industry.21

       24.     During the Relevant Period, the Independent Trustees annually voted to approve
the IMA at the following Board meetings: June 21, 2013; June 26, 2014, July 16-17, 2015;
June 30/July 1, 2016, June 21, 2017 and June 29, 2018 (the “15(c) Board Meetings”). JSSF at
¶52.

         RESPONSE: CAL admits that the Independent Trustees annually voted to approve the

IMA at the above-listed Board meetings, but denies that those Board meetings were in any way


20
     JSSF ¶¶ 38-45.
21
     DFFCL ¶¶ 61-90.

                                                14
limited solely to the consideration of the IMA, as demonstrated by the agendas, written and oral

presentations, and minutes from each of those meetings.22 Indeed, as the trial evidence

demonstrates for each year within the Relevant Period, the Independent Trustees, after engaging

in a robust process that involved active dialogue with CAL throughout the year, applied their

business judgment in view of the current facts, their industry experience and their institutional

knowledge of CAL, to determine that approving the IMA—subject either to a fee waiver and/or

to CAL’s commitment to continue to invest its resources in an effort to improve the Fund’s

performance—was in the best interests of Fund shareholders.23 Specifically, the trial evidence

demonstrates:

         •      The 15(c) Process that the Independent Trustees follow to evaluate the IMA is

robust and thorough. As part of their process, the Independent Trustees, with the assistance and

advice of Independent Trustees’ Counsel, request, receive and review a great deal of relevant

information throughout the entire year about the relationship between CAL and the Fund,

including (but by no means limited to) each of the Gartenberg factors, as well as peer fund

performance and fee data from a recognized and independent third party.24 The information that

CAL provides to the Independent Trustees, both in response to their 15(c) Request and

throughout the year, is accurate, complete, consistent with industry practice and more than

sufficient for the Independent Trustees’ annual review of the IMA.25




22
     E.g., DFFCL ¶¶ 122-124.
23
     DFFCL ¶ 90.
24
     DFFCL ¶ 83.
25
     DFFCL ¶ 84.

                                                15
         •     The Independent Trustees approach the 15(c) Process with their extensive

industry experience in mind.26 In addition, those Independent Trustees who have served on the

Board for many years, like Mr. Neal, approach the 15(c) Process with a historical understanding

of CAL’s business, including the firm’s history of success over an extended time period.27

         •     As a formal matter, CAL’s 15(c) Process officially begins when the Independent

Trustees, acting through Independent Trustees’ Counsel, send CAL their 15(c) Request—a

detailed set of written information requests on topics pertinent to the Independent Trustees’

annual evaluation of the IMA, which seeks information regarding each Gartenberg factor, as

well as significant changes to CAL’s business and investment process and CAL’s compensation

philosophy.28 CAL’s 15(c) Response a written narrative and a compendium of supporting

materials, following a process that takes weeks and involves the time and effort of many people

across the organization.29

         •     The Independent Trustees actively engage with CAL’s 15(c) Response. Before

every June Board meeting, the Independent Trustees and Independent Trustees’ Counsel meet in

executive session for a final detailed review of CAL’s 15(c) Response and to discuss the

Independent Trustees’ questions and thoughts about these materials.30 Then during the full

Board meeting, CAL management personnel and third parties (such as Lipper, Morningstar, or




26
     DFFCL ¶ 85.
27
     DFFCL ¶ 85.
28
     DFFCL ¶ 86.
29
     DFFCL ¶ 87.
30
     DFFCL ¶ 88.

                                                16
Strategic Insight) present to the Independent Trustees on a range of topics and answer any of

their questions.31

         •      Following the discussion and presentations during the full Board meeting, the

Independent Trustees again enter into executive session with only their Counsel present.32 The

Independent Trustees then reach their decision regarding approval of the IMA.33

       25.     At each of the 15(c) Board Meetings, members of CAL’s management made
presentations to the Independent Trustees on various portions of the 15(c) Materials. JSSF at
¶53. Following these presentations, the Independent Trustees meet in executive session and
voted unanimously to approve continuation of the IMA and the Growth Fund’s advisory fee rates
as provided therein. JSSF at ¶54-55.

         RESPONSE: Denied as stated. CAL admits that (a) at each of the annual June (or July)

Board meetings, members of CAL’s management made presentations to the Independent

Trustees on various portions of the 15(c) Materials, (b) subsequent to those presentations, the

Independent Trustees met with Independent Trustees’ Counsel in executive session to discuss

and ultimately vote on whether to continue the IMA, and (c) at each of these Board meetings, the

Independent Trustees voted unanimously to approve continuation of the IMA.34

         CAL denies, as inconsistent with the trial evidence, that Paragraph 25 sets forth all of the

steps in the 15(c) Process. Rather, as summarized in CAL’s Response to Paragraph 24, the 15(c)

Process that the Independent Trustees follow to evaluate the IMA is robust and thorough. As

part of their process, the Independent Trustees, with the assistance and advice of Independent

Trustees’ Counsel, request, receive and review a great deal of relevant information throughout

the entire year about the relationship between CAL and the Fund, engage with that material, and


31
     DFFCL ¶ 88.
32
     DFFCL ¶ 89.
33
     DFFCL ¶ 89.
34
     JSSF ¶¶ 53-55; DFFCL ¶¶ 130-142.

                                                  17
annually reach an informed decision that approval of the IMA is in the best interests of the Fund

and its shareholders.

                6.         The Third-Party Performance Reports

        26.    As part of their 15(c) Requests, the Independent Trustees received from CAL an
independent analysis comparing the Funds’ advisory fees and performance, versus those of
similar mutual funds. JSSF at ¶¶46 and 108; PX 184-A at 653367, PX 176-A at 650069, PX
145-A at 634011, PX 113-A at 502387, PX 61-A at 519924, PX 32-A at 513711; Tr. at 149:2-
154:12.

         RESPONSE: Denied as stated. As part of the Independent Trustees’ 15(c) Request,

they approve CAL’s retention of a third-party service provider to conduct an independent

comparative analysis of the Funds’ advisory fees (among other fees and expenses, including the

total expense ratio), and the Funds’ performance, versus those of similar or comparable mutual

funds as determined by the third-party service provider, and that the Independent Trustees

annually received and considered that information.35

        27.    Lipper, Inc. provided this analysis for the 2013 15(c) Review (the “Lipper
Report” – JX 19); Morningstar Inc. provided analyses for the 2014, 2015 and 2016 15(c)
Reviews (the “Morningstar Reports” – respectively, JX 46, JX 88 and JX 130); and Strategic
Insight provided analyses for the 2017 and 2018 15(c) Reviews (the “SI Reports” – JX 175 and
JX 186). JSSF at ¶¶47-49. Lipper, Morningstar and Strategic Insight are referred to herein as
the “Independent Data Providers.”

         RESPONSE: Denied as stated. CAL admits that: (i) in connection with CAL’s 2013

15(c) Response, the Independent Trustees approved the retention of Lipper, Inc. to provide this

independent comparative analysis (the “Lipper Report”); (ii) in connection with CAL’s 2014,

2015 and 2016 15(c) Responses, the Independent Trustees approved the retention of

Morningstar, Inc. to provide such analyses (the “Morningstar Reports”); and (iii) in connection




35
     JSSF ¶¶ 46, 108-09.

                                                18
with CAL’s 2017 and 2018 15(c) Responses, the Independent Trustees approved of the retention

of Strategic Insight to provide such analyses (the “SI Reports”).36

       28.    The Independent Data Providers’ Reports compared the Growth Fund’s
performance and fees to those of: (1) mutual funds similarly classified by Lipper or Morningstar
(the “Category Comparison”); and (2) a narrower subset of more similar peer funds (the “Peer
Comparison”). JSSF at ¶50; JX 19; JX 46; JX 88; JX 130; JX 175; JX 186.

          RESPONSE: Denied as stated. The Morningstar Reports, Lipper Report and SI Reports

compared the performance and fees of the Fund to (1) those of a broader set of all other mutual

funds similarly classified by Lipper or Morningstar (the “Category Comparison”), and also to (2)

those of narrower subsets of other mutual funds deemed more similar in relevant respects to the

Fund (the “Peer Comparison”).37

       29.    The Independent Trustees considered the Independent Data Providers’ Reports to
be “very important” to their 15(c) Review. Tr. at 190:2-6; JSSF at ¶109. In particular, the
Independent Trustees considered the Morningstar Reports to present reliable and unbiased
information. Tr. at 149:9-150:1; Timbers Dep. at 65:2-20.

          RESPONSE: Denied as stated. CAL admits that: (i) the Independent Trustees annually

received and considered the Lipper Report, Morningstar Reports, and SI Reports;38 (ii) as

Mr. Neal testified at trial, the Lipper, Morningstar, and SI information was “very important” to

the Independent Trustees because, among other reasons, “the entire board is paying close

attention to the performance of every one of these funds;”39 and (iii) that the Lipper,

Morningstar, and SI information was reliable and unbiased.40




36
     JSSF ¶¶ 47-49; DSSF ¶¶ 88, 258-260.
37
     JSSF ¶ 50.
38
     JSSF ¶ 109.
39
     Tr. 190:5-17 (Neal).
40
     Tr. 149:5-17 (Neal).

                                                 19
         C.     The IMA

      30.    CIT has entered into an IMA dated December 13, 2004, as subsequently
amended, appointing CAL as the Funds’ investment adviser. JSSF at ¶58; JX 5.

         RESPONSE: Admitted.

       31.     The services CAL provided under the IMA are set forth in Section 2 of that
agreement (“Duties of Manager”), see JX 5 at 146341-43, and are detailed by CAL in “Detailed
Service Listings” included in CAL’s annual 15(c) Responses.41

         RESPONSE: Denied as stated. The IMA sets forth certain broad parameters for the

services that CAL is to provide. Moreover, as both of Plaintiffs’ experts concede, the IMA

requires CAL to provide, or ensure the provision of, all of the services required to manage the

Funds.42 CAL either provides or oversees the provision of all of the services provided to the

Funds, and bears ultimate responsibility for all of the services required for the Funds.43

       32.     In particular, CAL is required to “furnish continuously an investment program of
each Fund,” “determine [] what investments shall be purchased, held, sold or exchanged by
each Fund,” “make changes on behalf of the Trust in the investments of each Fund,” “place all
orders for the purchase of and sale of portfolio securities for the account of each Fund with
brokers or dealers selected by [CAL],” and “use its best efforts to seek on behalf of the Trust or
any Fund thereof the best overall terms available for any transaction.” JX 5 at 146341-42.
These services are commonly referred to as Portfolio Management Services. See Neal Decl. at
¶99; Behan Decl. at ¶¶23, 88; Tr. at 343:7-13.

         RESPONSE: Denied as stated. The IMA sets forth certain broad parameters for the

services that CAL is to provide, the contents of which speak for themselves. Moreover, as both

of Plaintiffs’ experts concede, the IMA requires CAL to provide, or ensure the provision of, all

of the services required to manage the Funds.44 CAL either provides or oversees the provision of




41
  PX 184-A at 653575; PX 176-A at 650344; PX 145-A at 634446; PX 113-A at 502799; PX 61-
A at 519453; PX 32-A at 514076.
42
     DFFCL ¶¶ 166-167.
43
     DFFCL ¶¶ 166, 187, 200, 344, 361.
44
     DFFCL ¶¶ 166-167.

                                                 20
all of the services provided to the Funds, and bears ultimate responsibility for all of the services

required for the Funds.45

       33.     Section 4 of the IMA requires the Funds (rather than CAL) to bear certain
expenses, including expenses/charges relating to: (i) the Funds’ transfer agents, custodians,
accountants, auditors and legal counsel; (ii) the compensation and travel expenses of the
Independent Trustees, and all expenses of Board meetings; (iii) the Funds’ registrations with the
SEC and various states and other jurisdictions; (iv) the preparation and distribution of the
Funds’ prospectuses to shareholders; and (v) the printing and mailing of the Funds’ proxy
statements, quarterly reports, semi-annual reports, annual reports and other communications to
shareholders. JX 5 at 146343-44.

         RESPONSE: Denied as stated. Section 3 of the IMA sets out certain expenses that are

borne by the Funds, which include the expenses described in Paragraph 33. However, CAL is

ultimately responsible for monitoring, supervising, and overseeing the services provided by third

parties to the Funds.46

       34.    The IMA also includes the advisory fee schedules that govern the fees each of the
Funds pays CAL to compensate it “[f]or the services and facilities to be provided to each of the
Funds by the Manager [CAL] as provided in Paragraph 2 hereof.” JX 5 at 146344.

         RESPONSE: Denied as stated. The quoted passage in Paragraph 34 is accurate.

Nonetheless, as both of Plaintiffs’ experts concede, the IMA requires CAL to provide, or ensure

the provision of, all of the services required to manage the Funds.47 CAL either provides or

oversees the provision of all of the services provided to the Funds, and bears ultimate

responsibility for all of the services required for the Funds.48

      35.   The Growth Fund’s advisory fee schedule, as set forth in the IMA, was as follows
from December 13, 2004 through June 30, 2018:




45
     DFFCL ¶¶ 166, 187, 200, 344, 361.
46
     DFFCL ¶¶ 166, 187, 200, 344, 361.
47
     DFFCL ¶ 166-167.
48
     DFFCL ¶¶ 166, 187, 200, 344, 361.

                                                  21
               Monthly Average Net Assets                           Annual Fee Rate
                 Up to and including $500 million                          1.00%
                 Above $500 million up to and including $1 billion         0.90%
                 Above $1 billion up to and including $6 billion           0.80%
                 Above $6 billion up to and including $11 billion          0.78%
                 Above $11 billion up to and including $16 billion         0.76%
                 Above $16 billion up to and including $21 billion         0.74%
                 Above $21 billion up to and including $26 billion         0.72%
                 Above $26 billion                                         0.70%


JSSF at ¶60; JX 5 at 146348.
       RESPONSE: Admitted.

      36.    The Independent Trustees approved the following revised fee schedule for the
Growth Fund, as of July 1, 2018:

               Monthly Average Net Assets                           Annual Fee Rate


                 Up to and including $500 million                          1.00%
                 Above $500 million up to and including $1 billion         0.90%
                 Above $1 billion up to and including $6 billion           0.80%
                 Above $6 billion                                          0.70%


JSSF at ¶61.
       RESPONSE: Admitted.

        37.    The revised fee schedule does not reduce the advisory fees or effective fee rates
that the Growth Fund currently pays: Growth Fund assets are currently below $2 billion, and
the advisory fee rates with respect to the first $6 billion of Growth Fund AUM are identical in
both the pre- and post-June 30, 2018 advisory fee rate schedules. Compare JSSF ¶¶60-61.

       RESPONSE: Admitted.

       38.      Between 2013 and 2017, the Growth Fund’s effective advisory fee rates were:


                                                22
                                                Effective Fee Rate
                               Year
                                              (as % of Average Daily
                          (ending Oct. 31)
                                                    Net Assets)

                                2018                not available

                                2017                   0.89%
                                2016                   0.87%
                                2015                   0.85%
                                2014                   0.84%
                                2013                   0.83%


JSSF at ¶21.
       RESPONSE: The effective advisory fee rate paid by the Fund for each annual period

ended October 31, as stated in the Fund’s annual Prospectuses filed with the SEC, was as set

forth in Paragraph 38.

       D.      The FASA

       39.    On behalf of the Funds, CIT also entered into an Amended and Restated
Financial Accounting Services Agreement with CAL dated December 13, 2004 (the “FASA”).
JSSF at ¶62.

       RESPONSE: Admitted.

       40.    Section 2 of the FASA sets forth the specific services/duties CAL owes to the
Funds under that agreement. JSSF at ¶63; JX 6 at 145713-14. CAL provided the Board with a
summary of those services in each of its annual 15(c) Responses during the Relevant Period.49
According to CAL, it was required to:


49
   PX 184-A at 653577-78; PX 176-A at 650346; PX 145-A at 634448-49; PX 113-A at 502801;
PX 61-A at 519455; PX 32-A at 514075. The services CAL provided under the FASA did not
materially change from April 2012 through November 2018, when CAL and the Funds
terminated that agreement. Id. RESPONSE: Denied as stated. The FASA was not amended
between April 2012 and its termination on November 1, 2018. CAL also admits that the many
different types of services it provided to the Fund did not materially change between April 2012
and November 1, 2018. However, as both of Plaintiffs’ experts concede, the IMA requires CAL
to provide, or ensure the provision of, all of the services required to manage the Funds. DFFCL
¶¶ 166-167. Thus, even without the FASA, CAL is required either to provide itself or to ensure

                                               23
               1. Act as Fund Administrator for the Trust and provide the
               following accounting services to the Trust, including but not
               limited to:
                       a. Manage the Trust’s expenses and expense payment
                          processing.
                       b. Monitor the calculation of expense accrual amounts for
                          the Trust and make any necessary modifications.
                       c. Coordinate any expense reimbursement calculations and
                          payment.
                       d. Calculate and review yields on the Trust in accordance
                          with rules and regulations of the Securities and
                          Exchange Commission.
                       e. Calculate and review net investment income dividends
                          and capital gain distributions.
                       f. Calculate and review trustee deferred compensation plan
                           accruals and valuations.
                       g. Prepare Form 1099 information statements for Board
                          members and service providers.
                       h. Calculate, track, and report tax adjustments on all assets
                       i. Prepare excise tax and fiscal year distribution schedules
                       j. Prepare tax information required for financial statement
                           footnotes
                       k. Prepare state and federal income tax returns
                       1. Prepare year end dividend disclosure information
                       m. Coordinate the audits for each Trust
                       n. Prepare and review financial reporting statements for
                          each Trust
                       o. Prepare and file required regulatory filings



the provision through third parties of all necessary services for the Funds, including the financial
accounting services recited in the FASA. DFFCL ¶ 346. Moreover, following the termination of
the FASA, CAL’s obligation to provide, or ensure the provision of, all of the services that the
Funds require has not changed, and the scope of work performed by CAL has not decreased.
The Fund’s management fee schedule under the IMA also has not changed. DFFCL ¶ 348.

                                                24
                        p. Calculate coverage tests and other leverage related
                           reporting as required
                        q. Prepare and distribute press releases for the closed end
                           funds
                        r. Prepare and review annual expense budgets
                        s. Prepare and disseminate vendor survey information
                        t. Prepare and furnish financial information for inclusion
                            in prospectuses or proxy
                        u. Prepare board materials as required
                        v. Consult with the independent accountants, legal counsel,
                           custodian, fund accountant, distributor, and transfer
                           agent in establishing policies of the Trusts
PX 184-A, at 653577.
         RESPONSE: Denied as stated. The referenced language beginning with “1. Act as

Fund Administrator for the Trusts …” and ending with “v. … establishing policies of the Trusts”

appears in the “Detailed Services Listing” set forth in CAL’s annual 15(c) Response.

Nonetheless, as both of Plaintiffs’ experts concede, the IMA requires CAL to provide, or ensure

the provision of, all of the services required to manage the Funds.50 Thus, even without the

FASA, CAL is required either to provide itself or to ensure the provision through third parties of

all necessary services for the Funds, including the services recited in the FASA.51 Moreover,

following the termination of the FASA, CAL’s obligation to provide, or ensure the provision of,

all of the services that the Funds require has not changed, and the scope of work performed by




50
     DFFCL ¶ 166-167.
51
     DFFCL ¶ 346.

                                                 25
CAL has not decreased.52 The Fund’s management fee schedule under the IMA also has not

changed.53

      41.     The FASA included the following fee schedule that was used to “compensate
Calamos for providing the services set forth in this Agreement.”

                     Aggregate Funds’ AUM                     Fee Rate

                          First $1 billion                    0.0175%

                          Next $1 billion                     0.0150%

                         AUM > $2 billion                     0.0110%


JSSF at ¶64; JX 6 at 145720.
         RESPONSE: Denied as stated. The fee schedule and quoted language set forth in

Paragraph 41 is contained in the FASA. However, as both of Plaintiffs’ experts concede, the

IMA requires CAL to provide, or ensure the provision of, all of the services required to manage

the Funds.54 Thus, even without the FASA, CAL is required either to provide itself or to ensure

the provision through third parties of all necessary services for the Funds, including the services

recited in the FASA.55 Moreover, following the termination of the FASA, CAL’s obligation to

provide, or ensure the provision of, all of the services that the Funds require has not changed, and

the scope of work performed by CAL has not decreased. The Fund’s management fee schedule

under the IMA also has not changed.56

        42.    Each of the Funds paid its pro-rata share of fees under the FASA based on the
proportion of its net assets to total net assets for all the Funds. JSSF at ¶67. The effective fee
rate for each of the Funds under the FASA was approximately 1.1 basis points. JSSF at ¶64; JX

52
     DFFCL ¶ 348.
53
     DFFCL ¶ 348.
54
     DFFCL ¶¶ 166-167.
55
     DFFCL ¶ 346.
56
     DFFCL ¶ 348.

                                                26
6 at 145720; Tr. at 200:8-9. During the Relevant Period, the Growth Fund paid the following
“financial accounting fees” to CAL pursuant to the FASA:

 Year                2017                2016              2015                2014

 Financial           $203,202            $252,712          $358,737            $450,484
 Accounting Fees

JSSF at ¶67.
         RESPONSE: The Fund paid “financial accounting fees” to CAL as set forth in

Paragraph 42.

       43.     Shortly before trial, CAL terminated the FASA as of November 1, 2018 (JSSF at
¶65), and entered into agreements with State Street and Ernst & Young to provide certain of the
services previously specified in the FASA. Tr. at 371:18-25.

         RESPONSE: The FASA was terminated as of November 1, 2018. CAL also admits that

the Independent Trustees approved agreements with State Street and Ernst & Young to provide a

subset, but not all, of the services set forth in the FASA. CAL monitors, supervises, and

oversees the services provided by State Street and Ernst & Young.57 Moreover, as both of

Plaintiffs’ experts concede, the IMA requires CAL to provide, or ensure the provision of, all of

the services required to manage the Funds.58

         E.     The Funds’ Third-Party Service Providers

                1.     The Funds’ Transfer Agent

       44.    U.S. Bancorp Fund Services LLC (“USBFS”) serves as transfer agent to the
Funds pursuant to a January 1, 2014 Transfer Agent Servicing Agreement between USBFS and
CIT. JSSF at ¶71; JX 182.

         RESPONSE: CAL admits that USBFS serves as transfer agent to the Funds pursuant to

a January 1, 2014 Transfer Agent Servicing Agreement between USBFS, CIT and the Calamos



57
     DFFCL ¶¶ 166, 187, 200, 344, 361.
58
     DFFCL ¶¶ 166-167.

                                                27
Advisors Trust. In addition, CAL monitors, supervises, and oversees the services provided by

USBFS.59 Moreover, as both of Plaintiffs’ experts concede, the IMA requires CAL to provide,

or ensure the provision of, all of the services required to manage the Funds.60

       45.     USBFS’ duties are set forth in Sections 2 through 5 of the Transfer Agent
Servicing Agreement, and Exhibit C and D thereto. JX 182 at 2-6, 17-19 and 25-26. As transfer
agent, USBFS is responsible for, inter alia: (i) keeping records of all mutual fund shareholders;
opening, maintaining and servicing fund shareholder accounts; and (ii) processing all mutual
fund share transactions, including purchases, redemptions, dividend payments and
reinvestments. JSSF at ¶72; JX 182 at 2-3; Tr. at 359:4-360:24.

         RESPONSE: CAL admits that as transfer agent, USBFS is responsible for, inter alia:

keeping records of all mutual fund shareholders; opening, maintaining and servicing fund

shareholder accounts; and processing all mutual fund share transactions, including purchases,

redemptions, dividend payments and reinvestment, and that CAL manages, supervises, and

oversees the transfer agent services provided by USBF.61 In addition, CAL monitors, supervises,

and oversees the services provided by USBFS.62 Moreover, as both of Plaintiffs’ experts

concede, the IMA requires CAL to provide, or ensure the provision of, all of the services

required to manage the Funds.63

        46.    Furthermore, as Transfer Agent, USBFS also: (i) prepares and mails
shareholder account statements and purchase and redemption confirmations to the Funds’
shareholders (JX 182 at 2; Tr. at 359:14-19); (ii) mails shareholder reports and prospectuses to
current shareholders (JX 182 at 2); (iii) prepares and files Form 1099s with respect to dividends
received by shareholders (JX 182 at 2; Tr. at 360:21-24); (iv) operates an call-in system for
shareholders to obtain account information, available around the clock (Tr. at 360:25–362:1);
(v) paid $175,000 to CAL each year toward the $400,000 annual cost to CAL of maintaining
CAL’s separate call center, staffed by approximately 6 CAL employees, until CAL shut it down in
July 2017 (Tr. at 361:6–362:1); and (vi) provides shareholders and intermediaries with 24 hour,

59
     DFFCL ¶¶ 166, 187, 200, 344, 361.
60
     DFFCL ¶¶ 166-167.
61
     JSSF ¶¶ 72-73.
62
     DFFCL ¶¶ 166, 187, 200, 344, 361.
63
     DFFCL ¶¶ 166-167.

                                                28
seven day a week web access to their accounts through a hyperlink on CAL’s website (Tr. at
362:2-16 and 383:11-20; JX 182 at 3, 17-19).

         RESPONSE: Denied as stated. CAL admits that Subsections (i)-(iii) paraphrase the

language of the Transfer Agent Servicing Agreement. CAL also admits that Mr. Holloway

testified (i) that USBFS operated an automated call-in system; (ii) that USBFS paid $175,000 to

CAL to partially cover the cost of the call center operated by CAL until approximately July

2017; and (iii) that USBFS provided shareholders with web access to their account balances

accessible through CAL’s website, but that shareholders could not transact through that

website.64 CAL monitors, supervises, and oversees the services provided by USBFS.65

Moreover, as both of Plaintiffs’ experts concede, the IMA requires CAL to provide, or ensure the

provision of, all of the services required to manage the Funds.66

       47.      Under the Transfer Agent Servicing Agreement, USBFS also provides certain
compliance-related services to CAL, including: (i) the MARS compliance reporting system,
which allows identification of potentially suspicious transactions such as market timing and late
trading (Tr. at 362:17–363:7; JX 182 at 3, 25); (ii) anti-money laundering monitoring (Tr. at
363:8-10; JX 182 at 5-6); and (iii) identity theft monitoring (Tr. at 363:11-13; JX 182 at 5-6).

         RESPONSE: The Transfer Agent Servicing Agreement states that USBFS will provide

access to the MARS system, and that USBFS would provide certain anti-money laundering and

identity theft monitoring as more fully described in the Transfer Agent Servicing Agreement.67

CAL monitors, supervises, and oversees the services provided by USBFS.68 Moreover, as both




64
     Tr. 360:25-361:3, 361:23-362:12 (Holloway).
65
     DFFCL ¶¶ 166, 187, 200, 344, 361.
66
     DFFCL ¶¶ 166-167.
67
     See JX 182.
68
     DFFCL ¶¶ 166, 187, 200, 344, 361.

                                                29
of Plaintiffs’ experts concede, the IMA requires CAL to provide, or ensure the provision of, all

of the services required to manage the Funds.69

        48.      USBFS is compensated by CIT/the Funds, and not CAL, for providing the services
set forth in the Transfer Agent Servicing Agreement. JX 182 at 6, 31-35; Tr. at 358:23–359:3.
The Growth Fund’s share of the fees paid to USBFS is set forth in ¶62 below.

         RESPONSE: Denied as stated. USBFS is compensated by CIT/the Funds for the

services it provides, at all times subject to CAL’s monitoring, oversight and supervision.70 The

amount of fees the Fund paid to USBFS is set forth in the JSSF.71

                  2.    The Funds’ Accountant

        49.   CIT entered into a Master Services Agreement dated March 15, 2004 with State
Street Bank & Trust (“State Street”). JSSF at ¶79; JX 4.

         RESPONSE: Admitted.

       50.      State Street’s duties under the Master Services Agreement are set forth in
Section 1 of that agreement.t. JX 4 at 1-3. Under the Master Services Agreement, State Street
provides certain administrative and accounting services including: (i) providing daily
reconciliation of cash, trades and positions; (ii) maintaining general ledger and capital stock
accounts; (iii) preparing daily trial balance; (iv) providing selected general ledger reports; (v)
preferred share compliance; calculating total returns; and (vi) providing monthly distribution
analysis to the Funds. JSSF at ¶79; JX 4 at 1-3; PX 169-A at 646100.

         RESPONSE: Under the Master Services Agreement, State Street, among other things,

provides certain administrative and accounting services including providing daily reconciliation

of cash, trades and positions; maintaining general ledger and capital stock accounts; preparing

daily trial balance; calculating net asset value; providing selected general ledger reports;

preferred share compliance; calculating total returns; and providing monthly distribution analysis




69
     DFFCL ¶ 166-167.
70
     JSSF ¶¶ 73-74; DFFCL ¶¶ 166, 187, 200.
71
     JSSF ¶ 74.

                                                  30
to the Funds.72 CAL monitors, supervises, and oversees the services provided by State Street.73

Moreover, as both of Plaintiffs’ experts concede, the IMA requires CAL to provide, or ensure the

provision of, all of the services required to manage the Funds.74

       51.     State Street is also responsible for calculating the Funds’ daily net asset values
(“NAV”), and prices/values the securities in the Funds’ portfolios. Tr. at 365:22–366:3; JSSF
at ¶79; JX 4 at 2; PX 169-A at 646100 (State Street is “responsible for daily pricing of all
Calamos Funds as well as calculation of the Net Asset Value”).

         RESPONSE: Denied as stated. As Mr. Holloway testified, State Street is “involved in

the process” of valuing the Fund’s portfolio securities, and that State Street “calculate[s] the

NAV” but “we hold ultimate responsibility as the adviser.”75 CAL monitors, supervises, and

oversees the services provided by State Street.76 Moreover, as both of Plaintiffs’ experts

concede, the IMA requires CAL to provide, or ensure the provision of, all of the services

required to manage the Funds.77

       52.      State Street is compensated by CIT/the Funds, and not CAL, for serving as the
Funds’ Accountant under the Master Services Agreement. Tr. at 365:10-21. The Growth Fund’s
share of the fees paid to State Street as Fund Accountant is set forth in ¶62 below.

         RESPONSE: Denied as stated. State Street is compensated by CIT/the Funds for the

services it provides, at all times subject to CAL’s monitoring, oversight and supervision.78 The




72
     JSSF ¶ 80.
73
     DFFCL ¶¶ 166, 187, 200, 344, 361.
74
     DFFCL ¶ 166-167.
75
     Tr. 365:22-366:3 (Holloway).
76
     DFFCL ¶¶ 166, 187, 200, 344, 361.
77
     DFFCL ¶ 166-167.
78
     JSSF ¶¶ 81-82; DFFCL ¶¶ 166, 187, 200.

                                                 31
amount of fees the Fund paid to State Street is set forth in the parties’ Joint Statement of

Stipulated Facts.79

                  3.   The Funds’ Custodian

      53.    State Street also serves as the Funds’ Custodian pursuant to a September 11,
2009 Master Custodian Agreement between State Street and CIT. JSSF at ¶75; JX 11.

         RESPONSE: Admitted.

        54.    State Street’s duties as Custodian are set forth in Sections 1 through 14 of the
Master Custodian Agreement. JX 11 at 1-20. Pursuant to that agreement, State Street, among
other things: (i) holds all cash and securities for the Funds (directly or through a book-entry
system), delivers and receives payment for securities sold by the Funds, receives and pays for
securities purchased by the Funds, and collects income from investments of the Funds (JSSF at
¶76; Tr. at 363:14–364:23); (ii) pays out dividends to the Funds’ shareholders and pays out
other approved expenses of the Funds (Tr. at 364:10-23); and (iii) provides the Funds with
certain pricing services, including automated pricing services and fair valuation services (JSSF
at ¶76; JX 11 at 344818).

         RESPONSE: Denied as stated. Pursuant to the Master Custodian Agreement, State

Street, among other things, holds all cash and securities for the Funds (directly or through a

book-entry system), delivers and receives payment for securities sold by the Funds, receives and

pays for securities purchased by the Funds, collects income from investments of the Funds, and

provides the Funds with certain pricing services, including automated pricing services and fair

valuation services.80 CAL also admits that Mr. Holloway testified that the dividends are paid

from the custodian to USBFS which then credits the investor accounts.81 CAL monitors,

supervises, and oversees the services provided by State Street.82 Moreover, as both of Plaintiffs’




79
     JSSF ¶ 82.
80
     JSSF ¶¶ 76-77.
81
     Tr. 364:10-17 (Holloway).
82
     DFFCL ¶¶ 166, 187, 200, 344, 361.

                                                 32
experts concede, the IMA requires CAL to provide, or ensure the provision of, all of the services

required to manage the Funds.83

        55.     State Street is compensated by CIT/the Funds, and not CAL, for serving as the
Fund’s Custodian Funds. JSSF at ¶78; JX 11 at 20 and 344817-25; Tr. at 363:25–364:6. The
Growth Fund’s share of the fees paid to State Street under the Master Custodian Agreement is
set forth in ¶62 below.

         RESPONSE: Denied as stated. State Street is compensated by CIT/the Funds for the

services it provides, at all times subject to CAL’s monitoring, oversight and supervision.84 The

amount of fees the Fund paid to State Street is set forth in the parties’ Joint Statement of

Stipulated Facts.85

                  4.      The Funds’ Securities Lending Agents

        56.     State Street also provides securities lending services pursuant to a September 18,
2009 Securities Lending Authorization Agreement between State Street and CAL (on behalf of
the Funds). JSSF at ¶94; JX 12; Tr. at 366:7–367:9. Under this agreement, State Street acts
administers the Funds’ securities lending programs, lending out securities held in Funds’
portfolios in order to earn extra income for such Funds. JSSF at ¶95, Tr. at 366:19–367:6.
State Street receives 15% of the securities lending revenue generated as compensation for
operating the program. JX 12 at 237834; Tr. at 366:19–367:6.

         RESPONSE: Denied as stated. State Street provides securities lending services as one

of the Funds’ Securities Lending Agents pursuant to a September 18, 2009 Securities Lending

Authorization Agreement between State Street and CAL (on behalf of the Funds); under this

agreement, State Street acts as a securities lending agent for the Funds, administers a securities

lending program on their behalf, and loans out securities held in Funds’ portfolios in order to

earn extra income for such Funds.86 Pursuant to the terms of the Securities Lending



83
     DFFCL ¶ 166-167.
84
     JSSF ¶¶ 77-78; DFFCL ¶¶ 166, 187, 200.
85
     JSSF ¶ 82.
86
     JSSF ¶¶ 94-95, 97.

                                                 33
Authorization Agreement, all proceeds collected by State Street on investment of cash collateral

or any fee income shall be allocated 85% payable to the Fund(s) and 15% payable to State

Street.87 CAL monitors, supervises, and oversees the services provided by State Street.88

Moreover, as both of Plaintiffs’ experts concede, the IMA requires CAL to provide, or ensure the

provision of, all of the services required to manage the Funds.89

                  5.    The Funds’ Auditor

       57.     Deloitte & Touche LLLP (“Deloitte”) is CIT’s independent auditor. JSSF at ¶90.
Deloitte audits and reports on the Funds’ annual/semi-annual financial statements. JSSF at ¶91.

         RESPONSE: Admitted.

       58.    Deloitte’s fees for serving as the Funds’ auditor are paid directly by the Funds,
and not CAL. Tr. at 367:10-23. The Growth Fund’s share of the fees paid to Deloitte is set forth
in ¶62 below.

         RESPONSE: The Fund paid audit fees to Deloitte. The fees paid to Deloitte are set

forth in the parties’ Joint Statement of Stipulated Facts.90

                  6.    The Funds’ Counsel

      59.    Independent Trustees’ Counsel also serves as counsel to CIT/the Funds (“Funds’
Counsel”). JSSF at ¶32; Tr. at 334:18–335:12.

         RESPONSE: At all times during the Relevant Period, the Independent Trustees have

been represented and advised by a mutual fund counsel team headed by Paulita M. Pike

(“Independent Trustees’ Counsel”), and that Ms. Pike and her team also served as counsel to

CIT.91 The important role that Independent Trustees’ Counsel serves on behalf of the Fund and



87
     JX 12 at CALAMOS_00237834.
88
     DFFCL ¶¶ 166, 187, 200, 344, 361.
89
     DFFCL ¶ 166-167.
90
     JSSF ¶ 92.
91
     JSSF ¶ 32.

                                                 34
its shareholders is set forth in CAL’s Proposed Findings, and was not disputed or controverted by

Plaintiffs at trial.92

       60.    Funds’ Counsel, among other things: assists in preparing, and reviews and
comments on, the Funds’ regulatory filings. Tr. at 384:21-23, 315:25–317:17; PX 418; PX 419
at 317471-73.

         RESPONSE: Denied as stated. CAL admits that (a) it prepares drafts of regulatory

filings, (b) Independent Trustees’ Counsel review and comment on certain (but not all)

regulatory filings before they are finalized, and (c) CAL is ultimately responsible for ensuring

that the information in regulatory filings is accurate and complete. The important role that

Independent Trustees’ Counsel serves on behalf of the Fund and its shareholders is set forth in

CAL’s Proposed Findings, and was not disputed or controverted by Plaintiffs at trial.93

       61.     The legal services provided to the Funds by Funds’ Counsel and other legal
services providers are paid directly by CIT/the Funds, and not CAL. Tr. at 384:24–385:1 and
317:6-21; JX 5 at 146344; PX 419. The Growth Fund’s share of the legal fees paid to Fund
Counsel and/or other third-party legal services providers is set forth in ¶62 below.

         RESPONSE: The Fund paid legal fees to Funds’/Independent Trustees’ Counsel.

                 7.      The Fees the Growth Fund Paid to Third-Party Service Providers

        62.    During the Relevant Period, CAL paid the following fees to above-referenced
service providers:

Fees Paid by the Growth Fund to Third Party Service Providers
Service
         Agreement(s)              2017          2016          2015         2014          Source
Provider

                Transfer Agent                                                            JSSF at
USBFS                            $2,564,319 $3,184,632 $4,293,548 $5,725,138
                  Servicing                                                                 ¶74
                  Agreement



92
     DFFCL ¶¶ 61-65.
93
     DFFCL ¶¶ 61-65.

                                                35
                 Master
State           Custodian                                                               JSSF at
                                  $178,129      $170,441     $260,495      $358,831
Street         Agreement;                                                                 ¶82
              Master Services
               Agreement

                                                                                        JSSF at
Deloitte            n/a            $57,926      $126,469     $135,572      $120,225
                                                                                          ¶92

Fund                                                                                    JSSF at
                    n/a           $666,944      $221,593     $167,837      $105,805
Counsel                                                                                   ¶93



         RESPONSE: Paragraph 62 accurately sets forth the fees paid by the Fund to USBFS,

State Street, Deloitte and Independent Trustees’ Counsel.

         F.    The Sub-Administration Agreement Between State Street and CAL

      63.     CAL also entered into a Sub-Administration Agreement with State Street dated
October 1, 2009. JX 183 (Sub-Administration Agreement); PX 488 & 489 (additional letter
agreements referenced in Sub-Administration Agreement); JSSF at ¶83.

         RESPONSE: Admitted.

       64.     In its 15c Responses, CAL explained to the Board that the Sub-Administration
Agreement operated in part to sub-contract to State Street certain of the services CAL was
required to provide under the FASA (and for which CAL was compensated for under the FASA).
PX 184-A at 653577;94 see also Tr. at 224:10–225:11, 356:13-23.

         RESPONSE: Denied as stated. CAL’s annual 15(c) Responses provided a “description

of the financial accounting services rendered by [CAL]” and stated that, “[t]here have been no

significant changes in the services required to be rendered pursuant to the Agreement since April

30, 2012, but certain of these financial accounting services have been sub-contracted to [State

Street[ pursuant to the Sub-Administration Agreement, dated October 1, 2009, between [State




94
  See also PX 176-A at 650346; PX 145-A at 634448; PX 113-A at 502801; PX 61-A at 519455;
PX 32-A at 514075.

                                                36
Street] and [CAL], all as previously discussed with the Board.”95 CAL monitors, supervises, and

oversees the services provided by State Street.96 Moreover, as both of Plaintiffs’ experts

concede, the IMA requires CAL to provide, or ensure the provision of, all of the services

required to manage the Funds.97

        65.     In annual reports to the Board, the Funds’ Chief Compliance Officer explained
that the services sub-contracted by CAL to State Street via the Sub-Administration Agreement
included 43 functions previously performed by CAL’s Fund Administration department,
including the “initial preparation of the [Funds’] financials and other legal documents including
the NQ, NSAR, and NCSR as well as information for prospectus updates.” PX 169-A at 646104-
05; see also Tr. at 315:25–321:23 (Mr. Jackson’s testimony regarding State Street’s preparation
of regulatory filings).

          RESPONSE: Denied as stated. The 2017 Report of the Funds’ Chief Compliance

Officer states that “CAL has contracted with [State Street] to perform 43 functions previously

performed by Calamos Fund Administration personnel,” that “[t]his includes the initial

preparation of the financials and other legal documents including the NQ, NSAR, and NCSR as

well as information for prospectus updates,” and that “[w]ith the implementation of the

Investment Company Reporting Modernization discussed in Section XII [herein], this process

will change.”98 CAL is ultimately responsible for ensuring that the information in regulatory

filings is accurate and complete.99 CAL monitors, supervises, and oversees the services provided

by State Street.100 Moreover, as both of Plaintiffs’ experts concede, the IMA requires CAL to

provide, or ensure the provision of, all of the services required to manage the Funds.101


95
     E.g., PX 184-A at CALAMOS_00653577.
96
     DFFCL ¶¶ 166, 187, 200, 344, 361.
97
     DFFCL ¶ 166-167.
98
     PX 169-A at CALAMOS_00646105.
99
     Tr. 318:3-8 (Jackson).
100
      DFFCL ¶¶ 166, 187, 200, 344, 361.
101
      DFFCL ¶ 166-167.

                                                37
        66.     The services performed by State Street under the Sub-Administration Agreement
are set forth in Sections 5 of that agreement, JX 183 at 645541-43, and Section 2 of the related
letter agreement referenced in the Sub-Administration Agreement, PX 488 at 645534-36; see
also JX 183 at 645543 (“The Services shall be provided as further defined by the Parties in the
letter agreement regarding the Services of even date herewith.”).

          RESPONSE: Denied as stated. The Sub-Administration contains a Section 5, that the

referenced letter agreement contains a Section 2, and that the quoted language appears in the

Sub-Administration Agreement. CAL monitors, supervises, and oversees the services provided

by State Street.102 Moreover, as both of Plaintiffs’ experts concede, the IMA requires CAL to

provide, or ensure the provision of, all of the services required to manage the Funds.103

         67.     Such services included: (i) drafting and preparing certain of the Funds’
regulatory filings in whole, such as quarterly filings on Form NQ (disclosing the securities held
in the Funds’ portfolios), filings on Form NSAR (disclosing facts concerning Funds’ operations,
affiliates, service providers, securities holdings, income, expenses and activities), and annual
filings on Form N-PX (disclosing the proxy votes CAL submitted in connection with each
security held in each of the Funds’ portfolios) (JX 183 at 645542; PX 488 at 645535); (ii)
drafting and preparing the Funds’ semi-annual and annual reports to shareholders on Form N-
CSR in near entirety, including all financial information with respect to the Funds (JX 183 at
645542; PX 488 at 645534-35); (iii) drafting and preparing the financial information required
for inclusion in the Funds’ registration statements on Form N-1A and prospectuses (JX 183 at
645542); (iv) coordinating the Funds’ audits (JX 183 at 645542; PX 488 at 645535); (v)
preparing and managing the Funds’ expense budgets, accruals and payments (JX 183 at
645542; PX 488 at 645535); (vi) performing daily compliance testing required by Section 18 of
the ICA concerning the Funds’ derivative positions (JX 183 at 645542; PX 488 at 645535); (vii)
preparing numerous periodic reports for the Board (JX 183 at 645543; PX 488 at 645536); (viii)
assisting CAL in determining the Funds’ dividends (JX 183 at 64552); (ix) and assisting CAL’s
tax department in preparing year-end reports (PX 488 at 645536). Mr. Jackson and
Mr. Holloway confirmed State Street’s provision of these services as Sub-Administrator. See Tr.
at 315:25–321:23, 374:4-14, 377:2-10, 380:11–382:10, 383:21–385:1.

          RESPONSE: Denied as stated. The Sub-Administration Agreement contains a Section

5 setting forth certain services to be provided by State Street, and the October 1, 2009 letter

agreement contains a Section 2 providing for State Street to provide certain services as part of



102
      DFFCL ¶¶ 166, 187, 200, 344, 361.
103
      DFFCL ¶ 166-167.

                                                 38
the Sub-Administration Agreement. CAL is ultimately responsible for ensuring that the

information in regulatory filings is accurate and complete.104 CAL monitors, supervises, and

oversees the services provided by State Street.105 Moreover, as both of Plaintiffs’ experts

concede, the IMA requires CAL to provide, or ensure the provision of, all of the services

required to manage the Funds.106

       68.      Under the Sub-Administration Agreement, State Street was paid inter alia an
annual flat-fee for each Fund it serviced. JSSF at ¶84. For Open-End Funds, like the Growth
Fund, the flat fee was $50,000 per annum. Id.

          RESPONSE: Admitted.

        69.     CAL paid State Street’s fees under the Sub-Administration Agreement out of its
Fund Administration department’s operating expenses. For each year, those fees constituted
more than 50% of the Fund Administration department’s total operating expenses, which ranged
from between $2.6 million and $2.8 million. Tr. at 222:22–225:17, 356:25–366:14; JX 181 at
Ex. B.107 The Sub-Administration fees paid by CAL’s Fund Administration department for each
year are as follows:

Fees Paid by CAL for Services Provided to all Funds by Sub-Administrator
               Fee Type /
Service
Provider
               Fee                  2017         2016          2015 2014               Source
               Agreement
               Sub-
State                              not                                                 JSSF at
               Administration               $1,777,000 $1,768,000 $1,898,000
Street                          disclosed                                                ¶86
               Agreement




104
      Tr. 318:3-8 (Jackson).
105
      DFFCL ¶¶ 166, 187, 200, 344, 361.
106
      DFFCL ¶ 166-167.
107
    The Fund Administration department’s annual operating expenses for 2017 and 2018 were
materially the same as its annual expenses during 2014-2016. Tr. at 224:14-19. RESPONSE:
Denied. The foregoing assertions are not supported by the cited evidence. Mr. Helmetag
testified that he “believe[s]” that the functional expense for fund administration for 2017 was
“materiality the same as the one for 2016,” and that the functional expense for 2018 “should be
materially the same.” Tr. 224:5-19 (Helmetag).

                                                39
          RESPONSE: Denied as stated. CAL paid sub-administration fees to State Street in the

amounts set forth in Paragraph 69. CAL denies that it “paid State Street’s fees under the Sub-

Administration Agreement out of its Fund Administration department’s operating expenses,” and

Plaintiffs provided no evidence to support this assertion.

          G.     CAL’s Institutional and Subadvisory All Cap Growth Clients

         70.    During the Relevant Period CAL also offered its All Cap Growth strategy to
Institutional Accounts (the “Institutional ACG Accounts”) and Subadvised Accounts (the
“Subadvisory ACG Accounts,” and together with the Institutional ACG Accounts, the “Other
ACG Accounts”). JSSF at ¶¶11, 98 and Ex. 1 thereto; JX 181 at 4 & Ex. A. All of the Other ACG
Accounts were independent third-parties unaffiliated with CAL. Tr. at 88:5-21.

          RESPONSE: Denied as stated. At certain times during the Relevant Period, CAL

advised (1) investment vehicles, including non-U.S. regulated investment products, sponsored by

third-party investment advisers for which CAL served as a subadviser and (2) separately-

managed accounts, predominantly for institutional investors, both of which utilized an All Cap

Growth strategy (together, “All Cap Growth Clients”).108 CAL has not advised any All Cap

Growth Clients since November 13, 2016.109

                 1.     The Other ACG Accounts

       71.    Since January 1, 2012, CAL has had 36 Other ACG Accounts. JX 181 at Ex. A.
Of those 36 Other ACG Accounts, 13 terminated CAL prior to the Relevant Period, and the
remaining 23 terminated CAL at various points during the Relevant Period. Id. At all times
since December 2016, CAL had no Other ACG Accounts. Id.; JSSF at ¶¶98 and 104; Tr. at
512:6-22; see also Tr. at 584:5-22; Becker Decl. ¶121.

          RESPONSE: Denied as stated. Plaintiffs failed to prove that the fees paid by CAL’s All

Cap Growth Clients set the arm’s-length bargaining range for the Fund’s fee for the following

fundamental reasons:



108
      JSSF ¶¶ 98-99 & Ex. 1.
109
      DFFCL ¶¶ 240, 386.

                                                40
          •      Plaintiffs failed to prove that any All Cap Growth Client is an apt comparator to

the Fund, nor could they in light of the overwhelming trial evidence that (a) there are numerous

differences in services and risks between managing the Fund and advising any of the All Cap

Growth Clients, (b) a mutual fund and an institutional or sub-advisory account are different

products that are sold in different markets to predominantly different types of clients, and (c) the

pricing differential between the Fund and CAL’s All Cap Growth Clients is entirely consistent

with industry practice and reflects forces of market competition.110

          •      No regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones “do[] not require fee parity across an adviser’s different clients.”

Hence, no court has ever held that institutional or sub-advisory accounts are an apt comparison

for a mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.111

          In addition, with specific respect to Plaintiffs’ assertions in Paragraph 71, between

January 1, 2012 and December 31, 2016, CAL advised a total of 36 All Cap Growth Clients;112

13 of the All Cap Growth Clients terminated their accounts with CAL prior to the June 2013

Board meeting; the remaining All Cap Growth Clients terminated their accounts at various points




110
      DFFCL ¶¶ 169-203.
111
      DFFCL ¶ 227.
112
      JX 181 ¶ 1 & Ex. A.

                                                   41
prior to November 13, 2016,113 and CAL has not advised any All Cap Growth Clients since

November 13, 2016.114

        72.   Five of the 36 Other ACG Accounts were Subadvisory ACG Accounts: namely,
(1) the Nomura Currency Fund – U.S. Growth Equity Fund (“Nomura”); (2) the MD American
Growth Fund; (3) the MDPIM US Equity Pool (together with the MD American Growth Fund,
the “MD Accounts”); (4) Union Bancaire Privée (“UBP”); and (5) Thrivent Financial for
Lutherans (“Thrivent”). JX 8 at 638082; JX 9 at 638122; JX 15 at 622192-94; JX 18 at 638094-
97; DX 908 at 638134-38.115 The remaining 31 Other ACG Accounts were Institutional ACG
Accounts. JX 181 at Ex. A.

          RESPONSE: Denied as stated. Each of the five referenced All Cap Growth Clients

were categorized in CAL’s records as sub-advisory accounts. CAL denies that Nomura, MD

American, or Union Bancaire Privée were U.S.-regulated mutual funds subject to the ICA.116

Moreover, with respect to Thrivent, (a) Plaintiffs did not introduce any evidence about CAL’s

sub-advisory services to Thrivent, and (b) based on the Thrivent Fund’s SEC filings, the actual

management fee for that fund was 95 basis points (i.e., higher than the Fund’s management fee at

any point during the Relevant Period). In addition, Plaintiffs failed to prove that the fees paid by

CAL’s All Cap Growth Clients set the arm’s-length bargaining range for the Fund’s fee for the

fundamental reasons set forth in CAL’s Response to Paragraph 71, supra.

       73.     CAL’s 31 Institutional ACG Accounts were generally small: 22 had average
AUM of less than $5 million; five had average AUM of between $5 million and $25 million; and
the remaining four had average AUM of between $25 million and $50 million. JX 181 at Ex. A.



113
      JSSF ¶¶ 98-99 & Ex. 1.
114
      DFFCL ¶¶ 240, 386.
115
   Each of these IMAs makes clear that CAL is being retained by another investment adviser to
provide certain investment advisory services to a fund or portfolio sponsored and managed by
that investment adviser. RESPONSE: CAL admits that CAL was retained to provide
investment advisory services to Nomura, MD American, Union Bancaire Privee, and Thrivent
Financial for Lutherans. CAL denies that Nomura, MD American, or Union Bancaire Privée
were U.S.-regulated mutual funds registered under the ICA.
116
      DFFCL ¶ 170; DX 908 at CALAMOS_00538135.

                                                 42
          RESPONSE: Denied. The average AUM of the institutional accounts invested in

CAL’s All Cap Growth Strategy is listed in Exhibit 1 to the Joint Statement of Stipulated

Facts.117 CAL denies Plaintiff’s characterization of the size of those accounts as “generally

small.”

          In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

        74.    CAL’s Subadvisory ACG Accounts were substantially larger than its Institutional
ACG Accounts: Nomura was the largest and had an average AUM of $528.2 million; and the
average AUM for each of the two MD Accounts, when added together, was $471.4 million. Id.
Thus, the individual average AUM for Nomura and each of the two MD accounts, when summed,
exceeded $1 billion.

          RESPONSE: Denied. The average AUM of the sub-advisory accounts invested in

CAL’s All Cap Growth Strategy is listed in Exhibit 1 to the Statement of Stipulated Facts.118

          In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

       75.    Accordingly, at all times from January 1, 2012 through October 2016 (when
Nomura ceased receiving CAL’s ACG advisory services), the assets CAL managed in its
Subadvisory ACG Accounts constituted 90% or more of the total assets CAL managed for all the
Other ACG Accounts. JX 181 at Ex. A. Likewise, after September 2013 (when UBP terminated
CAL) and through October 2016 (when Nomura terminated CAL), Nomura and the two MD
Accounts constituted by themselves 90% or more of the total assets CAL managed for all Other
ACG Accounts. JX 181 at Ex. A. Id.




117
      JSSF ¶¶ 98-99 & Ex. 1.
118
      JSSF ¶¶ 98-99 & Ex. 1.

                                                  43
          RESPONSE: Denied. The average AUM of the sub-advisory accounts invested in

CAL’s All Cap Growth Strategy is listed in Exhibit 1 to the JSSF.119

          In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

                 2.      The Other ACG Accounts’ Advisory Fee Rates

         76.    The Other ACG Accounts paid advisory fees to CAL based on what the market for
institutional advisory/subadvisory services would bear. Tr. at 88:22-25; Behan Decl. at ¶¶72-
73.

          RESPONSE: Denied. The trial evidence demonstrates that, consistent with the market-

based pricing approach followed by investment advisers throughout the asset management

industry, CAL sets fees for each of its investment products—including institutional and sub-

advisory accounts, as well as mutual funds—with a view towards what its competitor investment

advisors charge to their accounts.120 CAL denies the assertion in Paragraph 76 to the extent that

Plaintiffs suggest that a market-based pricing approach is not used by CAL in setting the Fund’s

fee or that because the fees charged to CAL’s All Cap Growth Clients were set with a view

toward the market, that the fees charged to CAL’s All Cap Growth Clients define the arm’s-

length bargaining range for the Fund’s management fee.

          In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

        77.    During most of the Relevant Period, and at all times subsequent to September
2013, CAL’s Other ACG Accounts paid advisory fees to CAL under three different advisory fee
rate schedules. JX 181 at Ex. A; Pomerantz Report at ¶¶169-72; Tr. at 554:22-556:15. These

119
      JSSF ¶¶ 98-99 & Ex. 1.
120
      DFFCL ¶ 214.

                                                  44
schedules consisted of CAL’s standard ACG rate for Institutional Accounts and two individual
schedules that were separately negotiated by certain of CAL’s Largest ACG clients.

            RESPONSE: Denied. During the Relevant Period, many of CAL’s All Cap Growth

Clients operated under one of three different advisory fee schedules.121 In addition, Thrivent

Financial for Lutherans and Nomura Current Fund – U.S. Growth Equity Fund operated under

different fee schedules.122

            In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

       78.     During the Relevant Period, CAL publicly reported in its Form ADV a standard
advisory fee rate schedule for its institutional separately-managed All Cap Growth accounts (the
“Standard SMA Schedule”). JSSF at ¶102; PX 438 at 5-7; Behan Decl. at ¶75. This publicly-
reported, standard rate is also known as a “rack rate.” Tr. at 533:22–534:14, 575:23–576:9. It
functions as a “manufacturer’s suggested retail price.” Tr. 575:19–576:9.

            RESPONSE: Denied. During the Relevant Period, CAL publicly reported in its Form

ADV a standard advisory fee rate schedule it offered to institutional accounts invested in the All

Cap Growth strategy. CAL denies that the term “rack rate,” which Dr. Pomerantz used to

describe the rates in this schedule, is commonly used in the investment management industry or

that the fees set forth in the standard advisory fee rate schedule function as a “manufacturer’s

suggested retail price.” To the contrary, 31 of the 36 All Cap Growth Clients during the

Relevant Period paid fee rates under this standard schedule, and thus those clients did not pay

fees that were negotiated down from the standard schedule, as Dr. Pomerantz erroneously and

without basis suggests would be common practice.123



121
      JSSF ¶¶ 98-99 & Ex. 1 (referencing Fee Schedules A, B, and C).
122
      Id.
123
      Tr. 575:19-576:9 (Pomerantz).

                                                    45
         In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

         79.    CAL’s Standard SMA Schedule was as follows:

                               Rate           AUM Range
                               0.75%          First $25 million
                               0.70%          Next $25 million
                               0.65%          Next $25 million
                               0.50%          All assets > $75 million
JSSF at ¶103; PX 438 at 5.
         RESPONSE: Paragraph 79 accurately sets forth CAL’s Standard Institutional Rate (as

that term is defined in the JSSF) for the All Cap Growth strategy.124 However, Plaintiffs failed

to prove that the fees paid by CAL’s All Cap Growth Clients set the arm’s-length bargaining

range for the Fund’s fee for the fundamental reasons set forth in CAL’s Response to Paragraph

71, supra.

        80.    All 31 of CAL’s Institutional ACG Accounts paid advisory fees to CAL pursuant
to the Standard SMA Schedule. JX 181 at Ex. A.

         RESPONSE: CAL’s institutional All Cap Growth Clients paid advisory fees pursuant to

CAL’s Standard Institutional Rate (as that term is defined in the parties’ Joint Statement of

Stipulated Facts).

       81.    Given the breakpoints in CAL’s Standard SMA Schedule, the effective fee rates
paid by CAL’s 31 Institutional ACG Accounts were a function of their small size. JX 181 at Ex.
A; Behan Decl. at ¶75. Twenty-seven of CAL’s 31 Institutional ACG Accounts had average
AUM of less than $25 million (22 had average AUM of less than $5 million), and consequently,
under CAL’s Standard SMA Schedule, paid effective advisory fee rates of 0.75% – the first




124
      JSSF ¶ 103.

                                                 46
break-point rate – because they were not large enough to take advantage of the substantially
lower rates for progressively higher AUM ranges. JX 181 at Ex. A.

          RESPONSE: Denied. CAL’s institutional clients during the Relevant Period paid fees

according to the Standard Institutional Rate (as defined in the parties’ Joint Statement of

Stipulated Facts) offered to CAL’s All Cap Growth Clients, as disclosed annually in CAL’s

Form ADV filed with the SEC. The average AUM of and the effective fee rates paid by the

institutional accounts invested in CAL’s All Cap Growth Strategy is listed in Exhibit 1 to the

Statement of Stipulated Facts.125 Moreover, Plaintiffs’ assertion in Paragraph 81 acknowledges

that 27 of CAL’s All Cap Growth Clients paid a fee of 75 basis points—a fee that Plaintiffs’

expert concedes is not materially different from the Fund’s management fee during any of the

years in the Relevant Period.126

          In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

        82.     The remaining four CAL Institutional ACG Accounts had AUM between $25
million and $50 million (Full House Ventures, LTD; Insurance Company of British Columbia;
Iolani School; and Teamsters Pension Trust Fund of Philadelphia), and consequently, under
CAL’s Standard SMA Schedule, paid effective advisory fee rates between 0.75% (the rate that
applied to the first $25 million of AUM) and 0.70% (the rate applicable to AUM between
$25 million and $50 million). JX 181 at Ex. A.

          RESPONSE: Denied. The average AUM of and the effective fee rates paid by the

institutional accounts invested in CAL’s All Cap Growth Strategy is listed in Exhibit 1 to the

Statement of Stipulated Facts.127 The Insurance Company of British Columbia, the Iolani




125
      JSSF ¶¶ 98-99 & Ex. 1.
126
      DFFCL ¶ 236.
127
      JSSF ¶¶ 98-99 & Ex. 1.

                                                  47
School, and Teamsters Pension Trust Fund of Philadelphia paid effective advisory fees rates

between 0.70% and 0.75%. CAL denies that Full House Ventures paid effectives advisory fees

rate between 0.70% and 0.75%; to the contrary, and as the parties stipulated, Full House

Ventures, LTD paid an effective advisory fee rate of 0.78%.128

            In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

       83.    If any of the Institutional ACG Accounts had an average AUM equal to the
Growth Fund, that client would have paid an effective advisory fee rate of approximately 51 bps
under the Standard SMA Schedule – substantially lower than the approximately 85 bps the
Growth Fund paid under the IMA. See Section III.B.1, infra; Pomerantz Report at ¶¶169-70.

            RESPONSE: Denied. Plaintiffs’ assertions in Paragraph 83 are not supported by any

admissible or credible evidence or by the evidence cited. Among other things, the evidence cited

does not specify (1) the time period for which average AUM is to be calculated and considered,

or (2) how an effective advisory fee rate of approximately 51 bps was calculated under the

standard fee schedule offered to CAL’s All Cap Growth Clients. Plaintiffs did not come forth

with evidence at trial that the range of fees that could have been produced by an arm’s-length

bargain would result in a fee derived under the standard fee schedule for these different products,

or that it would be capped at 51 basis points.129 Such a comparison is also economically flawed

because it ignores that institutional accounts and mutual funds are different products offered in

different markets to different clients, and the many different services and risks that are unique to

mutual funds.130 In addition, the testimony and opinions of Dr. Pomerantz, who advances this


128
      Id.
129
      DFFCL ¶ 374.
130
      DFFCL ¶¶ 174-203.

                                                    48
comparison, is entitled to no weight because he does not have the requisite experience in the

mutual fund industry to assess the differences in advising a mutual fund as compared with an

institutional account or attest to the aptness of subjecting a mutual fund to a standard fee

schedule for institutional accounts.131 The comparison set forth in Paragraph 83 also is illogical

and untenable because if the Fund’s fee were set at 51 basis points, it would be lower than the

fees paid by 75% of the Fund’s peer mutual funds and would result in CAL advising the Fund for

virtually zero profit or at a loss.132

          In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

       84.    CAL’s largest Subadvisory ACG Accounts – namely, Nomura and the two MD
Accounts – negotiated advisory fee rates substantially lower than CAL’s Standard SMA
Schedule. JX 181 at Ex. A; Pomerantz Report at ¶¶169-70; Tr. at 555:1–556:20; 575:19–
576:17.

          RESPONSE: Denied as stated. The effective advisory fees of the institutional and sub-

advisory accounts invested in CAL’s All Cap Growth Strategy are listed in Exhibit 1 to the

Statement of Stipulated Facts.133 CAL denies Plaintiffs’ assertions regarding the “negotiation”

or relative size of those fees, and Plaintiffs did not offer any evidence to support their assertions.

          In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.




131
      DFFCL ¶¶ 377, 411-14, 430-32.
132
      DFFCL ¶¶ 378, 380.
133
      JSSF ¶¶ 98-99 & Ex. 1.

                                                  49
       85.     Nomura paid advisory fees to CAL at a flat rate of 0.45% on all AUM (the
“Nomura Rate”). JX 181 at Ex. A; JX 59; Pomerantz Report at ¶¶169-70. Nomura’s effective
advisory fee rate was thus 0.45%. Id.

         RESPONSE: Nomura previously paid fees under a schedule providing for breakpoints

reducing the advisory fee to 0.40% at $750 million and 0.35% at $1.5 billion.134 At Nomura’s

request, CAL and Nomura amended the fee schedule to remove those breakpoints such that

Nomura would pay a flat rate of 0.45%.135

         In any event, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth

Clients set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set

forth in CAL’s Response to Paragraph 71, supra.

       86.     The two MD Accounts paid advisory fees to CAL under the rate schedule set forth
below (the “MD Rate”), with assets in both of the MD Accounts aggregated for purposes of
calculating investment advisory fees paid by each:

                               Rate           AUM Range
                               0.55%          First $100 million
                               0.45%          Next $100 million
                               0.325%         All assets > $200 million
JX 181 at Ex. A; Pomerantz Report at ¶¶169-70; JX 18 at 638106.

         RESPONSE: The fee rates are accurately quoted in Paragraph 86. However, Plaintiffs

failed to prove that the fees paid by CAL’s All Cap Growth Clients set the arm’s-length

bargaining range for the Fund’s fee for the fundamental reasons set forth in CAL’s Response to

Paragraph 71, supra.

        87.    Under the MD Rate, the MD Accounts, at their average combined AUM of $471.1
million, paid an average effective fee rate of 0.40%. JX 181 at Ex. A.




134
      JX 15 at CALAMOS_00622204.
135
      JX 59 at CALAMOS_00296130.

                                                 50
          RESPONSE: Denied. The effective advisory fees of the institutional and sub-advisory

accounts invested in CAL’s All Cap Growth Strategy are listed in Exhibit 1 to the Statement of

Stipulated Facts.136 As the parties stipulated, MD American Growth Fund paid an effective

advisory fee rate of 0.43% and MDPIM Equity Pool paid an effective advisory fee rate of

0.39%.137

          In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

                 3.      CAL Provided the Growth Fund and the Other ACG Accounts with
                         Substantially Identical Portfolio Management Services

      88.    The Growth Fund and the Other ACG Accounts each followed the All Cap
Growth investment strategy, subject to applicable investment guidelines. JSSF at ¶100.

          RESPONSE: Admitted. However, Plaintiffs failed to prove that the fees paid by CAL’s

All Cap Growth Clients set the arm’s-length bargaining range for the Fund’s fee for the

fundamental reasons set forth in CAL’s Response to Paragraph 71, supra.

         89.   CAL provided the Growth Fund and its Other ACG Accounts the same kinds of
Portfolio Management Services under their IMAs. In particular, CAL was required to: (i) buy,
sell, exchange, convert and otherwise trade in any stocks, bonds and other securities select; (ii)
establish and deal through accounts with one or more securities broker-dealers or banks as CAL
may select; and (iii) use its best judgment to select broker-dealers to obtain the best price and
most favorable execution. Compare JX 5 at 146341-3 with e.g. JX 8 at 638082-84, JX 15 at 1-3;
JX 18 at 1-3; JX 13 at 1-2; JX 14 at 1-2; JX 7 at 1-2; JX 9 at 2-3.

          RESPONSE: Denied. Although there are certain overlapping portfolio management

services that CAL provides to the Fund and to All Cap Growth Clients, the portfolio

management services that CAL provides to the Fund are different and greater in scope than those



136
      JSSF ¶¶ 98-99 & Ex. 1.
137
      JSSF ¶¶ 98-99 & Ex. 1.

                                                  51
that CAL provides to any of its All Cap Growth Clients.138 As Mr. Jackson testified, “when it

comes to portfolio management -- right -- of a registered investment company, portfolio

managers and the investment adviser need to be very cognizant of the myriad of rules in the ’40

Act that have imposed restrictions on your ability to invest in certain types of securities.”139

These differences include, but are not limited to, CAL’s obligations as adviser that arise from the

numerous rules and regulations governing the manner in which investments may be made and

which securities may be selected for investment by the Fund—rules and regulations that do not

apply to CAL’s All Cap Growth Clients—as well as procedures that CAL must put into place

due to the Fund’s daily liquidity requirements.140 Moreover, Plaintiffs’ exclusive focus on

portfolio management services to the exclusion of many other kinds of different, greater, and

more extensive services that CAL provides to the Fund than to its All Cap Growth Clients is

inconsistent with the trial record and industry practice.141

          In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

        90.    The Growth Fund and the Other ACG Accounts shared the same investment
objective: long-term capital growth. Compare JX 168, at 3 (Fund principal investment
objective) with JX 8 at 638090, JX 18 at 638102; see also Kalis Dep. 82:16–83:2.

          RESPONSE: Admitted. However, Plaintiffs failed to prove that the fees paid by CAL’s

All Cap Growth Clients set the arm’s-length bargaining range for the Fund’s fee for the

fundamental reasons set forth in CAL’s Response to Paragraph 71, supra.


138
      DFFCL ¶ 189.
139
      Tr. 333:9-14 (Jackson).
140
      Id. ¶¶ 191-92.
141
      DFFCL ¶¶ 169-223.

                                                  52
        91.    The Growth Fund and the Other ACG Accounts shared the same principal
investment strategies. Compare JX 168, at 4 (Growth Fund principal investment strategies) with
JX 7 at 100469 (Iolani guidelines), JX 8 at 638091-92 (MD American Growth Fund guidelines);
JX 13 at 638180 and 638185 (Teamsters guidelines), JX 18 at 638102-03 (MDPIM guidelines);
Kalis Dep. at 24:13-25, 82:16 – 83:2.

         RESPONSE: Denied. The Fund and CAL’s All Cap Growth Clients shared certain

investment strategies. However, Plaintiffs failed to prove that the fees paid by CAL’s All Cap

Growth Clients set the arm’s-length bargaining range for the Fund’s fee for the fundamental

reasons set forth in CAL’s Response to Paragraph 71, supra.

       92.    The Growth Fund and the Other ACG Accounts were provided with Portfolio
Management Services by the same CAL investment management personnel, including portfolio
managers, research analysts, risk managers, and the same trading personnel, who utilized the
same methods, research, infrastructure, systems and facilities. Tr. 80:17-21; Kalis Dep. at
8:16–15:17, 19:19–26:5, 44:21–47:1; Becker Decl. ¶¶16, 40-51; JX 139 at CA-IT 00000071 at
11-18.

         RESPONSE: Denied. The same investment management personnel provided services

to the Fund and to CAL’s All Cap Growth Clients. CAL denies that any similarities in the

investment management personnel render any All Cap Growth Client an apt comparator to the

Fund. The trial evidence demonstrating that the portfolio management services that CAL

provides to the Fund are different and greater in scope than those that CAL provides to any of its

All Cap Growth Clients is summarized in CAL’s Response to Paragraph 89, supra, which is

incorporated as if fully set forth herein. Moreover, Plaintiffs’ exclusive focus on portfolio

management services to the exclusion of many other kinds of different, greater, and more

extensive services that CAL provides to the Fund than to its All Cap Growth Clients is

inconsistent with the trial record and industry practice.142




142
      DFFCL ¶¶ 169-223.

                                                 53
         In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

        93.     The Growth Fund and the Other ACG Accounts were provided with substantially
identical investment portfolios, consisting of substantially the same securities in substantially the
same relative proportions. Kalis Dep. at 25:1–26:5, 28:16–29:13, 80:10–83:2; PX 331; PX
332; PX 334; PX 336; PX 337; Pomerantz Report at ¶¶115-16, 118-19.

         RESPONSE: Denied. The Fund and CAL’s All Cap Growth Clients had similar

investment portfolios, subject to individual client restrictions or mutual fund regulatory

restrictions, such as daily liquidity requirements for mutual funds that are customarily not present

for institutional accounts and other types of clients. CAL denies that any similarities in

investment portfolio renders any All Cap Growth Client an apt comparator to the Fund. The trial

evidence demonstrating that the portfolio management services that CAL provides to the Fund

are different and greater in scope than those that CAL provides to any of its All Cap Growth

Clients is summarized in CAL’s Response to Paragraph 89, supra, which is incorporated as if

fully set forth herein. Moreover, Plaintiffs’ exclusive focus on portfolio management services to

the exclusion of many other kinds of different, greater, and more extensive services that CAL

provides to the Fund than to its All Cap Growth Clients is entirely inconsistent with the trial

record.143

         In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

       94.    The portfolio manager for the Growth Fund and the Other ACG Accounts
generally bought or sold the same securities in the same relative amounts at the same times for


143
      DFFCL ¶¶ 169-223.

                                                 54
the Growth Fund and the Other ACG Accounts. Kalis Dep. at 25:8–26:5, 28:16–29:13; 90:23–
92:10; 93:11-18; PX 330; PX 333; PX 335; Pomerantz Report at ¶¶115-16, 120.

         RESPONSE: Denied. The portfolio management team principally responsible for the

All Cap Growth strategy would generally purchase or sell the same securities in approximately

the same relative portion of the overall portfolio holdings as the Fund would purchase or sell,

subject to individual client restrictions or mutual fund regulatory restrictions, such as daily

liquidity requirements for mutual funds that customarily are not present for institutional accounts

or other types of clients. CAL denies that any similarities in the manner in which securities are

bought or sold for various clients renders any All Cap Growth Client an apt comparator to the

Fund. The trial evidence demonstrating that the portfolio management services that CAL

provides to the Fund are different and greater in scope than those that CAL provides to any of its

All Cap Growth Clients is summarized in CAL’s Response to Paragraph 89, supra, which is

incorporated as if fully set forth herein. Moreover, Plaintiffs’ exclusive focus on portfolio

management services to the exclusion of many other kinds of different, greater, and more

extensive services that CAL provides to the Fund than to its All Cap Growth Clients is entirely

inconsistent with the trial record.144

         In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

        95.    To the extent that there were minor differences in the Growth Fund’s and the
Other ACG Accounts’ portfolios, such differences resulted from variations in investment
guidelines particular to certain accounts and/or variations in the timing and amounts of cash
flows into or out of the accounts. Kalis Dep. at 25:1–26:13, 28:16–29:13, 47:25–49:9; PX 334;
PX 337; Pomerantz Report at ¶¶121-24.



144
      DFFCL ¶¶ 169-223.

                                                 55
         RESPONSE: Denied. Variations in investment guidelines particular to certain accounts

(including regulatory restrictions particular to mutual funds) and/or variations in the timing and

amounts of cash flows into and out of accounts could account for differences in the portfolios of

the Fund and CAL’s All Cap Growth Clients. CAL denies that any similarities in portfolio

holdings renders any All Cap Growth Client an apt comparator to the Fund. The trial evidence

demonstrating that the portfolio management services that CAL provides to the Fund are

different and greater in scope than those that CAL provides to any of its All Cap Growth Clients

is summarized in CAL’s Response to Paragraph 89, supra, which is incorporated as if fully set

forth herein. Moreover, Plaintiffs’ exclusive focus on portfolio management services to the

exclusion of many other kinds of different, greater, and more extensive services that CAL

provides to the Fund than to its All Cap Growth Clients is entirely inconsistent with the trial

record.145

         In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

        96.    The Growth Fund’s investment performance was substantially similar to the
Other ACG Accounts’ investment performance. JSSF at ¶101; Pomerantz Report at ¶¶127-36;
Kalis Dep. at 25:1-20, 28:3–29:13. As CAL informed the Board, this was generally true across
all of CAL’s Funds and the other accounts for whom CAL provided the same investment
strategies:

                Mr. Bhatt then addressed the hand-out charts comparing the gross
                performance of the Funds to the gross performance of accounts of
                other Adviser clients that are managed in a manner similar to the
                Funds. Mr. Bhatt explained that the charts reflect that the Funds’
                performance is virtually the same as that of the Adviser’s similar
                mandates managed for others. Mr. Calamos noted that, to the
                extent there are some performance differences, they result from the


145
      DFFCL ¶¶ 169-223.

                                                 56
                fact that other clients might have slightly different mandates or
                investment restrictions.

PX 436 at 533440; see also PX 145-A at 634812-29 (comparing performance of certain Funds to
“institutional composites” of accounts in the same strategy); PX 61-A at 519556-66 (same).
         RESPONSE: Denied. Paragraph 96 accurately quotes from the June 2011 Board

meeting minutes, and the Fund’s investment performance was substantially similar to the

investment performance of CAL’s other All Cap Growth Clients. However, Plaintiffs’ exclusive

focus on portfolio management services to the exclusion of many other kinds of different,

greater, and more extensive services that CAL provides to the Fund than to its All Cap Growth

Clients is entirely inconsistent with the trial record, which demonstrates that mutual funds and

non-fund accounts are substantially different products and therefore are not apt comparators.146

         In addition, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients

set the arm’s-length bargaining range for the Fund’s fee for the fundamental reasons set forth in

CAL’s Response to Paragraph 71, supra.

II.      QUALITY OF SERVICES

       97.     As discussed below, by every metric, and by CAL’s own admission, CAL’s
investment performance during the Relevant Period was exceedingly poor.

         RESPONSE: Denied. As of each annual meeting when the Independent Trustees voted

to approve the IMA, the Fund’s since-inception annualized return was at least 12.74%, which

both ranked between the 2nd and 4th percentiles of its Morningstar category and exceeds the

annual returns of all of the Fund’s benchmark indices during the same period.147 The Fund also

has earned positive absolute returns in twelve of the fifteen years leading up through the end of




146
      DFFCL ¶¶ 169-223.
147
      DFFCL ¶¶ 96-98; Becker Decl. ¶ 73.

                                                 57
2017.148 Moreover, the Fund’s since-inception ranking compared to peer mutual funds actually

understates the Fund’s relative performance because the peer group only includes mutual funds

that survived for the entire time period; in particular, Dean Hubbard’s analysis shows that only

nine of approximately 60 original peer mutual funds at the time of its inception have survived to

the present date, and that the Fund has also experienced substantial periods of out-performance

even as compared to these nine surviving funds.149 While on an absolute basis, the Fund has

made money for its shareholders in every year but one during the Relevant Period, the Fund has

experienced periods of both strong and poor relative performance, including top-quartile

performance during the first two years of the Relevant Period.150 However, as Dr. Pomerantz

admitted in response to questioning from the Court, the Fund’s performance has improved over

the last three years.151

          The Independent Trustees were fully aware of all of the pertinent facts relating to the

Fund’s performance. Among other things, the Independent Trustees received performance

reports on a monthly basis, as well as Chief Investment Officer Updates (“CIO Updates”) and

Focus Fund Reports at quarterly Board meetings and an in-depth performance report as part of

the yearly 15(c) Process.152 Having received such information, the Independent Trustees

annually reached a decision on the appropriate course of action to address such performance,

including the imposition of a fee waiver from 2013-2014 and insistence on significant




148
      DFFCL ¶ 96.
149
      DFFCL ¶ 97.
150
      DFFCL ¶ 98.
151
      DFFCL ¶ 101.
152
      DFFCL ¶¶ 27, 77, 96, 98-99.

                                                  58
investments by CAL in the portfolio management team and investment process in order to

improve performance.153

          A.     The Fund’s Comparative Investment Performance under Standard 1-, 3-, 5-
                 and 10-Year Time Frames Was Abysmal

        98.    The three Independent Data Providers (Lipper, Morningstar, and Strategic
Insight), and Plaintiffs’ expert Dr. Pomerantz, considered substantially similar and/or identical
comparative performance data, applied similar methods, and reached similar conclusions –
namely, that the Growth Fund performed worse, at nearly all times and for nearly all time
periods considered, than nearly all similar mutual funds. Pomerantz Report at ¶¶328-39; Tr. at
544:14–547:15, 547:16-552:23; JX 19 at 513361 and 513366-67; JX 46 at 520613 and 520619-
20; JX 88 at 523996 and 524002-03; JX 130 at 636404 and 636409-10; JX 175 at 652022 and
652027; JX 186 at 653886 and 653891.

          RESPONSE: Denied as stated. Dr. Pomerantz and Lipper, Morningstar, and Strategic

Insight drew from similar sets of data regarding the universe of potentially relevant mutual funds

for the time periods that each of them reviewed. However, Plaintiffs did not provide any

evidence proving that each of the third parties that provided performance comparisons

constructed their smaller groups of peer mutual funds in the same way. Finally, Dr. Pomerantz

did not create any performance peer group at all, but instead simply compared the Fund’s

performance to all mutual funds in the Fund’s broader Morningstar Category for which data was

available.154

          CAL denies Plaintiffs’ remaining assertions in Paragraph 98 regarding the Fund’s

allegedly poor performance as not supported by admissible or credible evidenceand/or by the

evidence cited. For example, the most recent Fund performance report provided by Strategic

Insight to the Board in connection with the June 2018 Board meeting (on the same page cited by

Plaintiffs) shows that the Fund performed at the 39th percentile of the 516 other mutual funds in



153
      DFFCL ¶¶ 126-142, 143-147.
154
      Pomerantz Rpt. ¶ 331.

                                                 59
Strategic Insight’s Custom Performance Universe during the five-year period between March 31,

2013 and March 31, 2018.155 This five-year time period is almost identical to the time period

that the Court has labeled as “relevant” to this case, “the June 2013 Board meeting through the

present.”156 Accordingly, the most recent performance information for the Fund, as provided to

the Independent Trustees by a reputable, third party source, indicates that effectively for the

length of the Relevant Period, the Fund outperformed the overwhelming majority of peer mutual

funds. Additionally, the remaining reports by Lipper, Morningstar, and Strategic Insight

demonstrate that the Fund experienced periods of overperformance and underperformance, but

do not support the assertion that the Fund’s performance was not “worse . . . than nearly all

similar mutual funds.”157

      99.    In evaluating the Growth Fund’s comparative investment performance, Lipper,
Morningstar and Strategic Insight each:

             a. evaluated the Growth Fund’s performance over 1-, 3-, 5- and 10-year periods (and
                did not evaluate “since-inception” performance);

             b. evaluated the Growth Fund’s performance using a single “return date” of March
                31 (i.e., over 1-, 3-, 5- and 10-year periods ending March 31 of the current year –
                the most recently-completed fiscal quarter prior to the reports’ due date each year
                for the 15(c) Board Meeting); and

             c. compared and ranked the Growth Fund’s performance against both: (1) the entire
                “universe” of all similarly-classified mutual funds (Lipper used Lipper
                classification categories; Morningstar and Strategic Insight both used Morningstar
                classification categories); and (2) a smaller subset of such similarly-classified
                funds (the Peer Comparison). 158



155
      JX 186 at CALAMOS_00653886.
156
      Chill v. Calamos Advisors LLC, 2018 WL 4778912, at *3 n.3 (S.D.N.Y. Oct. 3, 2018).
157
      DFFCL ¶ 98.
158
   JX 19 at 513361 and 513366-67; JX 46 at 520613 and 520619-20; JX 88 at 523996 and
524002-03; JX 130 at 636404 and 636409-10; JX 175 at 652022 and 652027; JX 186 at 653886
and 653891.

                                                 60
         RESPONSE: Lipper, Morningstar, and Strategic Insight each evaluated the Fund’s

performance over the periods set forth in Paragraphs 99(a) and 99(b) and compared the Fund’s

performance against the metrics identified in Paragraph 99(c). In addition, Lipper evaluated

performance over additional two- and four-year periods, in addition to the time periods

mentioned immediately above.159 Moreover, CAL provided the Independent Trustees with

quarterly and monthly performance reports, based on Morningstar data, that evaluated the Fund’s

performance over a number of time metrics on an absolute basis and relative to the Fund’s

peers.160

        100. The Category Comparison data provided to the Board during the Relevant Period
for the Growth Fund showed the following performance, which has been color-coded by
quartile, such that red represents the 4th quartile (the worst), orange the 3rd quartile, green the
2nd quartile, and blue the 1st quartile (the best):161

                                   Category Comparisons
                    Return
  Provider                         Ranking       1 Year        3 Year         5 Year       10 Year
                    Date

                                      %           [96]           [95]          [88]          [71]
  Lipper            3/31/2013                                                               179 of
                                   Ordinal     504 of 525    428 of 450     336 of 381
                                                                                             252

                                      %              32          98             63             84
  Morningstar       3/31/2014
                                   Ordinal      50 of 157    147 of 150      89 of 141    99 of 118

  Morningstar       3/31/2015         %              60          87             89             91




159
      JX 19 at CALAMOS_00513361.
160
      DFFCL ¶¶ 80, 96.
161
   JX 19 at 513361 and 513366-67; JX 46 at 520613 and 520619-20; JX 88 at 523996 and
524002-03; JX 130 at 636404 and 636409-10; JX 175 at 652022 and 652027; JX 186 at 653886
and 653891. Lipper provided only ordinal rankings: the percentile rankings shown were
calculated on the basis of Lipper’s ordinal rankings.

                                                61
                                                                                             105 of
                                    Ordinal     90 of 150     126 of 147     121 of 137
                                                                                              116

                                       %              87          67             97              100
  Morningstar       3/31/2016                                                                120 of
                                    Ordinal     126 of 146     96 of 144     135 of 139
                                                                                              121

                                       %              89          88             96              91
  Strategic
                    3/31/2017                    1294 of        1147 of        1109 of       730 of
  Insight                           Ordinal
                                                  1454           1306           1054          800

                                       %              69          91             80              96
  Strategic
                    3/31/2018                     964 of        1101 of                      745 of
  Insight                           Ordinal                                 874 of 1099
                                                   1376          1213                         779

  Average                              %              72          88             86              89


       RESPONSE: Denied as stated. Plaintiffs have misstated or mischaracterized the

referenced documents in several respects, including (but not limited to) that (a) in Strategic

Insight’s performance analysis as of March 31, 2018, the Fund’s one-year performance ranked

946th out of 1,376 mutual funds in the Fund’s Morningstar category, not 964th as asserted by

Plaintiffs (JX 186 at CALAMOS_00653886), (b) the Lipper Report did not contain the percentile

ranking set forth in Paragraph 100, and (c) the cited documents do not contain the “Average”

computation that Plaintiffs have added to their chart. Apart from Plaintiffs’ errors in attempting

to reproduce the Fund’s performance data and their creation of an arbitrary and irrelevant

“average” that is not supported by an evidence or testimony, the performance data provided by

Lipper, Morningstar, and/or Strategic Insight is accurate, but CAL denies that this data in any




                                                 62
way establishes that the Fund’s performance was poor or “worse . . . than nearly all similar

mutual funds.”162

        101. The Peer Comparison results provided to the Board during the Relevant Period
for the Growth Fund showed the following performance, which has been color-coded by
quartile, such that red represents the 4th quartile (the worst), orange the 3rd quartile, green the
2nd quartile, and blue the 1st quartile (the best):163

                                       Peer Comparisons
  Provider            Return Date      Ranking         1 Year      3 Year       5 Year       10 Year

                                           %            [100]       [100]       [100]         [100]
  Lipper              3/31/2013
                                        Ordinal         9 of 9      9 of 9      8 of 8        8 of 8

                                           %             10          100          43           65
  Morningstar         3/31/2014
                                        Ordinal        3 of 23     22 of 22     9 of 20      12 of 18

                                           %             69          91           96           85
  Morningstar         3/31/2015
                                        Ordinal        16 of 23    21 of 23    22 of 23      18 of 21

                                           %             79          79          100           100
  Morningstar         3/31/2016
                                        Ordinal        12 of 15    12 of 15    15 of 15      15 of 15

                                           %             89          85           91           94
  Strategic Insight   3/31/2017                        134 of
                                        Ordinal                   116 of 136 111 of 122      65 of 77
                                                        151

                                           %             24          62           39           78
  Strategic Insight   3/31/2018                        153 of
                                        Ordinal                   364 of 588 204 of 516 273 of 348
                                                        622

  Average                                  %             62          86           78           87


162
      DFFCL ¶ 98.
163
   JX 19 at 513361 and 513366-67; JX 46 at 520613 and 520619-20; JX 88 at 523996 and
524002-03; JX 130 at 636404 and 636409-10; JX 175 at 652022 and 652027; JX 186 at 653886
and 653891. Lipper provided only ordinal rankings: the percentile rankings shown were
calculated on the basis of Lipper’s ordinal rankings.

                                                  63
          RESPONSE: Denied as stated. Plaintiffs have misstated or mischaracterized the

referenced documents in several respects, including (but not limited to) that (a) the Lipper Report

did not contain the percentile ranking set forth in Paragraph 101, and (b) the cited documents do

not contain the “Average” computation that Plaintiffs have added to their chart. Apart from

Plaintiffs’ creation of an arbitrary and irrelevant “average” that is not supported by an evidence

or testimony, the performance data provided by Lipper, Morningstar, and/or Strategic Insight is

accurate, but CAL denies that this data in any way establishes that the Fund’s performance was

poor or “worse . . . than nearly all similar mutual funds.”164 In particular, as explained in CAL’s

Response to Paragraph 98, the most recent report from Strategic Insight in 2018 shows that the

Fund performed at the 39th percentile of the 516 other mutual funds in its peer group throughout

the majority of the five-year Relevant Period.165

        102. In evaluating the Growth Fund’s comparative investment performance,
Dr. Pomerantz: (a) evaluated the Growth Fund’s performance over 1-, 3-, 5- and 10-year
periods (as did Lipper, Morningstar and Strategic Insight); (b) compared and ranked the Growth
Fund’s performance against the entire “universe” of funds similarly-classified by Morningstar
(as did Morningstar and Strategic Insight); and (c) instead of using a single return date each
year (as did Lipper, Morningstar and Strategic Insight), conducted a more comprehensive
“rolling” analysis of comparative Growth Fund returns and rankings as of each month end (i.e.,
12 return dates each year). Pomerantz Report at ¶¶330-39; Tr. at 545:5–547:5.

          RESPONSE: Denied. CAL denies that Dr. Pomerantz conducted a comparative

analysis of the Fund’s rolling returns “as of each month end.” Dr. Pomerantz did not conduct a

comparative analysis of the Fund’s rolling returns for each month during the Relevant Period.166

Instead, as demonstrated by the cited portions of Dr. Pomerantz’s report and the summary graphs


164
      DFFCL ¶ 98.
165
      JX 186 at CALAMOS_00653886.
166
      Pomerantz Rpt. ¶¶ 330-348; Tr. 544:14-547:8 (Pomerantz) (discussing PX 623).

                                                64
provided in Paragraph 103 below, Dr. Pomerantz did not provide any such performance analysis

for the months between June 2013 and February 2014 or the months between April 2017 and

trial (October 2018). The months omitted from Dr. Pomerantz’s analysis collectively amount to

43% of the Relevant Period. Moreover, Dr. Pomerantz’s testimony and opinions should be

entitled to no weight for the reasons identified in DFFCL ¶¶ 401-444.

       103. The results of Dr. Pomerantz’s rolling analysis of comparative investment
performance are illustrated in the charts below (one showing the Growth Fund’s rolling 1- and
3-year performance rankings, the other showing the Growth Fund’s rolling 5- and 10-year
performance rankings):




                                               65
Pomerantz Report at ¶335; Tr. at 545:5–547:5.
         RESPONSE: Paragraph 103 accurately reproduces the chart found in Dr. Pomerantz’s

Report. CAL denies that these charts in any way establish that the Fund’s performance was poor

or “worse . . . than nearly all similar mutual funds.”167 Moreover, Dr. Pomerantz’s testimony and

opinions should be entitled to no weight for the reasons identified in DFFCL ¶¶ 401-444.

       104. Dr. Pomerantz’s analysis of the Growth Fund’s comparative investment
performance yields the following average rankings for 1-, 3-, 5- and 10-year returns:

  Rolling Return
                                                    1 Year     3 Year       5 Year      10 Year
  Period

  Average Fund
                                                     64          80           91           89
  Percentile Rank



Pomerantz Report at ¶335; Tr. at 545:5–547:5.


167
      DFFCL ¶ 98.

                                               66
          RESPONSE: Paragraph 104 accurately reproduces the figures in one of the charts found

in Paragraph 335 of Dr. Pomerantz’s Report. CAL denies that these charts set forth any relevant

measure of performance, or that they in any way establish that the Fund’s performance was poor

or “worse . . . than nearly all similar mutual funds.”168 Moreover, Dr. Pomerantz’s testimony and

opinions should be entitled to no weight for the reasons identified in DFFCL ¶¶ 401-444.

        105. The Category Comparison analyses performed by Lipper, Morningstar and
Strategic Insight for the Board, and by Dr. Pomerantz for Plaintiffs, all indicate that the Growth
Fund’s 3-, 5- and 10-year returns, as measured during the Relevant Period, have placed the
Growth Fund, on average, in the bottom quartile of its category, often in bottom 10% of such
funds, and never in the top half of such funds.169

          RESPONSE: Denied as stated. The Fund’s 3-year, 5-year, and 10-year returns, as

measured by the Lipper, Morningstar, and Strategic Insight Reports, are set forth in those reports.

Plaintiffs’ assertion is not supported by admissible or the cited evidence in that Dr. Pomerantz

did not conduct a performance analysis that encompasses the entire Relevant Period.170

Moreover, Plaintiffs’ assertion about the performance of the Funds is not supported by the trial

evidence.

          To the contrary, the evidence shows that the Fund has experienced strong absolute

performance, and has experienced both short-term relative outperformance and short-term

relative underperformance during the Relevant Period. In addition, the Fund’s since-inception

record remains exceptional, having outperformed the Russell 3000 Growth Index, the Russell

Midcap Growth Index, and the S&P 500 Index during the same time period.171 The Independent


168
      DFFCL ¶ 98.
169
   Pomerantz Report at ¶335; Tr. at 545:5 – 547:15; JX 19 at 513361 and 513366-67; JX 46 at
520613 and 520619-20; JX 88 at 523996 and 524002-03; JX 130 at 636404 and 636409-10; JX
175 at 652022 and 652027; JX 186 at 653886 and 653891.
170
      Pomerantz Rpt. ¶¶ 330-348; Tr. 544:14-547:8 (Pomerantz) (discussing PX 623).
171
      DFFCL ¶¶ 96-98; Becker Decl. ¶ 73.

                                                 67
Trustees were fully aware of all of the pertinent facts relating to the Fund’s performance.

Among other things, the Independent Trustees received performance reports on a monthly basis,

as well as CIO Updates and Focus Fund Reports at quarterly Board meetings and an in-depth

performance report as part of the yearly 15(c) Process.172 Having received such information, the

Independent Trustees annually reached a decision on the appropriate course of action to address

such performance, including the imposition of a fee waiver from 2013-2014 and insistence on

significant investments by CAL in the portfolio management team and investment process in

order to improve performance.173 In fact, Dr. Pomerantz admitted, in response to questioning

from the Court, that the Fund’s performance has improved over the last three years.174

       106. Moreover, as Mr. Neal testified, CAL’s Morningstar and Strategic Insight 1-year
category rankings (as of March 31st) were progressively worse each year from 2014 through
2017. Tr. at 161:20-168:11.

          RESPONSE: Denied. Mr. Neal was examined on the Morningstar and Strategic Insight

Reports, which as Mr. Neal testified “speak for themselves.”175 In fact, Dr. Pomerantz admitted,

in response to questioning from the Court, that the Fund’s performance has improved over the

last three years.176

          In addition, the trial evidence demonstrates that for each year in the Relevant Period, the

Independent Trustees applied their business judgment in view of their industry experience, their

institutional knowledge of CAL and the current facts (in particular, the Fund’s performance in

the prior year), to determine that approving the IMA—subject either to a fee waiver and/or to



172
      DFFCL ¶¶ 27, 77, 96, 98-99.
173
      DFFCL ¶¶ 126-142, 143-147.
174
      DFFCL ¶ 101.
175
      Tr. 162:24 (Neal).
176
      DFFCL ¶ 101.

                                                   68
CAL’s commitment to continue to invest its resources in an effort to improve the Fund’s

performance—was in the best interests of Fund shareholders.177

      107. In February 2017, CAL terminated the Growth Fund’s then-lead portfolio
manager, David Kalis, admittedly because of the Growth Fund’s continued
“underperform[ance].” Becker Decl. at ¶¶57, 70, 115; Tr. 168:12-23, 181:3-10, 713:7-22.

          RESPONSE: In February 2017, CAL terminated Mr. Kalis and replaced him with

Mr. Grant, which Mr. Neal testified was, in the opinion of the Independent Trustees, “a

substantial improvement.”178

          B.     CAL Has Repeatedly Admitted that Performance Was Very Poor

         108. In their testimony at trial, the Growth Fund’s Independent Trustees, and CAL’s
executives and experts, repeatedly admitted that the Growth Fund’s performance during the
Relevant Period was poor. See e.g. Becker Decl. at ¶¶52, 65, 68-70, 107-20 (describing poor
performance and efforts made to improve it); Behan Decl. at ¶¶23 (“recent years” included
“some stretches of time with quite significant underperformance”), 25, 54-57 (describing actions
CAL undertook to improve the Growth Fund’s performance, including firing its lead portfolio
manager Mr. Kalis), 75; Neal Decl. at ¶71 (“over the last five years, [] the Fund’s performance
has lagged—and in some instances has significantly lagged—its peer funds and its
benchmarks.”) and see also id. at ¶¶39, 46, 65, 72, 75 (discussing CAL’s efforts to improve the
Growth Fund’s performance)’ Jackson Decl. at ¶¶64 (“[t]hroughout the time period relevant to
this this case [], the Independent Trustees requested information and engaged repeatedly in
discussions with CAL’s management concerning the reasons for the Fund’s underperformance
and CAL’s efforts to improve performance.”), 71-72; Tr. at 54:18–58:8, 74:18-21 (Mr. Becker -
Growth Fund’s performance “had struggled”); 101:9-14 (Mr. Behan – Growth Fund’s
performance had “struggled”); 149:5–152:10, 157:19-23; 161:20–163:25, 167:3–168:24,
179:14–181:17 (Mr. Neal – during “the last seven or eight years, they’ve had challenges with
their performance.”), 195:1-9, 197:21–199:6, 719:12-18 (Dean Hubbard – “You had challenges
in performance [] and you had investors leaving.”), 728:2-18, 741:14–742:4 (about 10% of
mutual funds were, like the Growth Fund, in the bottom quartile with respect to performance but
the top quartile with respect to fees), 984:19–987:10 (Professor Laby – Growth Fund was
“challenged in some cases in terms of performance”; discussing steps taken in response to
challenged performance).

          RESPONSE: Plaintiffs have accurately quoted the selected testimonial excepts set forth

in Paragraph 108, but CAL denies that they “repeatedly admitted that the Growth Fund’s


177
      DFFCL ¶¶ 90-95, 121-142.
178
      Tr. 168:11-17 (Neal).

                                                69
performance during the Relevant Period was poor.” To the contrary, the trial evidence

demonstrates that as of each annual meeting when the Independent Trustees voted to approve the

IMA, the Fund’s since-inception annualized return was at least 12.74%, which both ranked

between the 2nd and 4th percentiles of its Morningstar category and exceeds the annual returns

of all of the Fund’s benchmark indices during the same period.179 The Fund also has earned

positive absolute returns in twelve of the fifteen years leading up through the end of 2017.180

Moreover, the Fund’s since-inception ranking compared to peer mutual funds actually

understates the Fund’s relative performance because the peer group only includes mutual funds

that survived for the entire time period; in particular, Dean Hubbard’s analysis shows that only

nine of approximately 60 original peer mutual funds at the time of its inception have survived to

the present date, and that the Fund has also experienced substantial periods of out-performance

even as compared to these nine surviving funds.181 While on an absolute basis, the Fund has

made money for its shareholders in every year but one during the Relevant Period, the Fund has

experienced periods of both strong and poor relative performance, including top-quartile

performance during the first two years of the Relevant Period.182 However, as Dr. Pomerantz

admitted in response to questioning from the Court, the Fund’s performance has improved over

the last three years.183

         The trial evidence also demonstrates that the Independent Trustees were fully aware of all

of the pertinent facts relating to the Fund’s performance. Among other things, the Independent


179
      DFFCL ¶¶ 96-98; Becker Decl. ¶ 73.
180
      DFFCL ¶ 96.
181
      DFFCL ¶ 97.
182
      DFFCL ¶ 98.
183
      DFFCL ¶ 101.

                                                 70
Trustees received performance reports on a monthly basis, as well as CIO Updates and Focus

Fund Reports at quarterly Board meetings and an in-depth performance report as part of the

yearly 15(c) Process.184

          The trial evidence further demonstrates that for each year in the Relevant Period, the

Independent Trustees applied their business judgment in view of their industry experience, their

institutional knowledge of CAL and the current facts (in particular, the Fund’s performance in

the prior year), to determine that approving the IMA—subject either to a fee waiver and/or to

CAL’s commitment to continue to invest its resources in an effort to improve the Fund’s

performance—was in the best interests of Fund shareholders.185

          C.     The Growth Fund’s Since-Inception Performance, and its Irrelevance

        109. Defendant presented evidence at trial regarding the Growth Fund’s supposedly
superior investment returns since its inception in 1990. Becker Decl. at ¶72. As Plaintiffs’
expert Dr. Pomerantz demonstrated, however, the Growth Fund’s since-inception performance
is simply the ever-shrinking residue of its above-average performance prior to 2007 – many
years before the Relevant Period here. Pomerantz Rebuttal Report at ¶¶24, 388-98; Tr. at
550:2-551:8.

          RESPONSE: Denied. As Dr. Pomerantz’s analysis, testimony, and demonstratives

show, the Fund continued to experience periods of strong relative performance during time

periods after 2007, which contributed to the Fund’s strong since-inception performance with

respect to similar mutual funds.186 CAL denies that since-inception performance is irrelevant.

First, the Fund’s investment objective is long-term capital growth. The Fund’s long-term

performance, therefore, is a particularly useful measure of the Fund’s success in achieving its




184
      DFFCL ¶¶ 27, 77, 96, 98-99.
185
      DFFCL ¶¶ 90-95, 121-142.
186
   PX 624 (indicating that there were periods after 2007 in which the Fund’s relative
performance increased).

                                                  71
investment objective.187 Second, both investors and the Independent Trustees look to since-

inception performance as a long-term measure of the adviser’s management of the Fund. As

Dean Hubbard explained:

                 THE COURT: How useful is what I’ll call a since-inception analysis
                 as these funds get older and older?

                 THE WITNESS: I would say it has some utility, your Honor, in
                 being able to say, over the longest period of time, how has this
                 fund’s performance compared to other very successful long-lived
                 funds? Because remember, going forward, you’re trying to ask, OK,
                 what is the investment ability of this fund in the future? That long
                 period is useful in that respect.188

        110. Furthermore, the Growth Fund’s since-inception performance likely did not
benefit any Fund investors other than CAL, as it was enjoyed by a mere $300,000 in Growth
Fund assets that were present at Growth Fund inception, which were provided by CAL itself as
“seed capital.” Pomerantz Rebuttal Report at ¶¶388, 391, 107 n.34; Tr. at 549:6-13.

          RESPONSE: Denied. CAL denies that whether the Fund’s full since-inception

performance was experienced by CAL’s seed capital is relevant to the Board when assessing

CAL’s overall performance record managing the Fund. In fact, any shareholder investing shortly

around the inception of the Fund and holding his or her shares for the long term would have

enjoyed the benefit of this performance. Regardless of whether the Fund’s substantial

overperformance since inception inured to the benefit of particular shareholders, as Dean

Hubbard explained, since-inception performance is still a relevant criterion for the Board to

consider when predicting the Fund’s future performance.189

          Moreover, Plaintiffs and other investors who have held the Fund since Plaintiffs

purchased their shares in July 2005 have benefited from the Fund’s performance. Between July



187
      Hubbard Rpt. ¶ 113.
188
      Tr. 716:20-717:3 (Hubbard).
189
      Tr. 716:20-717:8 (Hubbard).

                                                 72
2005 and March 31, 2017, a hypothetical investor who purchased $10,000 in Fund shares and

reinvested his or her dividends would have seen the value of his or her investment more than

double to $20,301.190 Furthermore, of the 63 similar mutual funds that Dr. Hubbard determined

would have been the Fund’s peers in July 2005, 31 of those mutual funds have been liquidated,

and the Fund outperformed 20 of them prior to their liquidation.191

       111. Dr. Pomerantz analyzed the Growth Fund’s since-inception performance from the
perspective of the average Growth Fund shareholder by time-weighting the Growth Fund’s
returns to incorporate the amount of shareholder money invested and when. He found that the
Growth Fund delivered underperformance to the average shareholder since inception.
Pomerantz Rebuttal Report at ¶¶366, 392-95.

          RESPONSE: Denied. CAL denies that Dr. Pomerantz’s “time-weight[ed]” returns for

the “average Growth Fund shareholder” is relevant to the Board when assessing CAL’s overall

performance record managing the Fund. Regardless of whether the Fund’s substantial

overperformance since inception inured to the benefit of particular shareholders, as Dean

Hubbard explained, since-inception performance is still a relevant criterion for the Board to

consider.192

          Moreover, Plaintiffs and other investors who have held the Fund since Plaintiffs

purchased their shares in July 2005 have benefited from the Fund’s performance. Between July

2005 and March 31, 2017, a hypothetical investor who purchased $10,000 in Fund shares and

reinvested his or her dividends would have seen the value of his or her investment more than

double to $20,301.193




190
      Hubbard Rpt. ¶ 143.
191
      Hubbard Rpt. ¶ 112, Ex. 13.
192
      Tr. 716:20-717:8 (Hubbard).
193
      Hubbard Rpt. ¶ 143.

                                                 73
        112. Additionally, Dr. Pomerantz opined that, because since inception returns can be
distorted by one-off, long-ago events, they are not recognized in the industry as a relevant metric
for comparing mutual funds. Tr. at 547:16-549:5.

       RESPONSE: Denied. Plaintiffs’ assertion in Paragraph 112 is not supported either by

admissible or credible evidence or by the cited testimony. In the cited testimony, Dr. Pomerantz

opined that since-inception performance is not a factor in Morningstar’s star rating system,

which he testified is a factor used by industry participants to assess the performance of mutual

funds. However, Dr. Pomerantz did not testify as to whether since-inception returns are

“recognized in the industry as a relevant metric” by anyone. In any event, Dr. Pomerantz’s

testimony and opinions should be entitled to no weight for the reasons set forth in DFFCL

¶¶ 401-444.

       113. Morningstar, a leading independent third-party provider of mutual fund data and
research widely used in the investment industry, only incorporates rolling 1-, 3-, 5-, and 10-year
performance periods in its mutual fund “Star Rating” methodology. Tr. at 547:25-548:21.
Morningstar does not consider since-inception performance in its fund ranking methodology. Id.

       RESPONSE: Denied as stated. Morningstar does not report since-inception

performance in its “Star Rating” methodology, but it does provide that information to CAL on a

monthly basis.194 CAL denies that since-inception performance cannot reasonably be considered

by the Independent Trustees in their annual evaluation of the Fund’s management fee,

particularly where, as here, the Trustees were relying in part on their institutional knowledge of

CAL’s long-term history of delivering successful performance for the Fund’s shareholders in

applying their business judgment that approving the IMA—subject either to a fee waiver and/or

to CAL’s commitment to continue to invest its resources in an effort to improve the Fund’s

performance—was in the best interests of Fund shareholders.


194
  Jackson Decl. ¶ 66; e.g., DX 1032 at CALAMOS_00129912; DX 1091 at
CALAMOS_00229622; DX 1324 at CALAMOS_00496502.

                                                74
         D.    CAL’S Claims Regarding its Purported Efforts to Improve Performance

        114. In light of the Funds’ abysmal performance, CAL represented to the Board that it
was taking action to improve its advisory services. This consisted primarily of its claim that – as
part of its transition from a vertical to a horizontal investment approach – it would be spending
approximately $3 million per year to hire additional personnel in order to improve its investment
management team. Tr. at 165:25-166:3; JX 29 at 512555; JX 139 at CA-IT 00000071 at 1-6.
According to CAL, its decision to add 17 investment professionals “would represent a 33%
increase in investment management department personnel” from 2012 levels. Id.

         RESPONSE: Denied. Plaintiffs’ assertions and mischaracterizations regarding CAL’s

efforts to improve the Fund’s performance are entirely unsupported by the trial evidence. To the

contrary, as Messrs. Behan, Becker and Cronin all explained, without any evidence from

Plaintiffs to the contrary, CAL’s primary focus to improve the quality of the work product

generated by its investment personnel was not simply to increase the number of those personnel

or their aggregate compensation, but to hire better quality personnel, restructure compensation,

and redesign how investment professionals collaborate with each other.195 Indeed, the trial

evidence demonstrates each of the following:

         •     CAL made numerous significant and costly changes to the investment team and

investment process, which was not limited to hiring additional personnel to service the Funds.

CAL undertook a significant transformation of its investment team—from a vertical structure

with a “one-team-one-process” approach to a horizontal structure with a “team-of-teams”

approach.196 CAL also implemented a series of changes that resulted in members of the broader

investment team contributing ideas and insights that benefitted the Fund. Among many other

changes, CAL implemented an Investment Committee, which consisted of CAL’s Co-CIOs, Co-




195
   DFFCL ¶¶ 106-108; Behan Decl. ¶¶ 43-46; Tr. 107:16-108:4 (Behan); Tr. 64:19-65:25,
66:21-68:7 (Becker); Tr. 656:8-658:15 (Cronin).
196
      DFFCL ¶ 106.

                                                75
Heads of Research and Investments, and co-Portfolio Managers, to increase sharing of

investment information among its different teams.197

          •      CAL also made significant changes at the senior management level in an attempt

to improve the Fund’s performance, including hiring Gary Black, who was previously been the

CEO and CIO of a successful mutual fund investment adviser, Janus Capital, to replace the

Funds’ prior Co-CIO and, following Mr. Black’s departure, transitioning to a new senior

management structure by promoting four portfolio managers to serve as Co-CIOs. Most

recently, CAL replaced the Fund’s portfolio manager, Mr. Kalis, with Michael Grant, who had

obtained top-shelf performance with a different fund that he advises.198

          •      Between 2012 and 2016, CAL increased its employee compensation from $51

million to $74 million, while CAL’s operating income decreased from $128 million to $33

million.199 CAL also redesigned its compensation structure for investment professionals to tie

compensation more closely to the investment performance of the specific products that

employees primarily supported.200

          •      The number of investment personnel employed by CAL is not the sole measure of

the value or the quality of the services CAL provides, and CAL has never argued that it is. As

the Court observed on summary judgment, “sometimes you can add by subtracting . . . the

personnel that were . . . deadwood, if you will.”201 In addition, Plaintiffs have come forward

with no evidence concerning the investment personnel employed by CAL, including any


197
      DFFCL ¶¶ 107-108.
198
      DFFCL ¶¶ 109-112.
199
      Cronin Rpt. Ex. 9.1 (discussed at Tr. 633:9-18, 664:7-13 (Cronin)).
200
      DFFCL ¶ 107.
201
      8/17/18 Tr. 71:10-13.

                                                  76
evidence of the level or skill of the personnel who stayed and those who departed, or why those

who departed left CAL.

          •      CAL made all of these significant and costly changes to its investment team

during a period when both CAL’s and the Fund’s assets under management, and CAL’s overall

profitability, were in continuous decline.202

          •      Based on industry practice, CAL’s restructuring of its investment team approach

and changes to the team’s senior management were reasonable and appropriate measures taken

to enhance the quality of its services, adapt to systemic changes in the investment management

industry, and remain competitive among other investment advisers.203

        115. However, as discussed below, CAL’s hiring of additional personnel (i)
represented at most a de minimis investment in the Growth Fund as a general matter, and (ii) is
belied by the fact that CAL’s personnel totals did not increase as a result of the CAL’s transition
to a horizontal approach (but stayed flat), and CAL substantially decreased the number of
investment professionals specifically tasked with servicing the Growth Fund.

          RESPONSE: Denied. Plaintiffs’ assertions and mischaracterizations regarding CAL’s

efforts to improve the Fund’s performance are entirely unsupported by the trial evidence for the

reasons set forth in CAL’s Response to Paragraph 114, supra.

       116. First, CAL’s hiring of additional investment personnel was not specific to the
Growth Fund, or even the Funds, but benefitted all of CAL’s clients equally – fund and non-fund
accounts alike. Tr. at 628:6-24, 671:15-16. Thus, only a small fraction of CAL’s $3 million
annual expense could be reasonably viewed as an investment in the Growth Fund.

          RESPONSE: Denied as stated. As Mr. Cronin testified, “[t]he benefit of a broader

capability, greater specialization would inure to all clients.”204 As Mr. Cronin also explained,

CAL transitioned to and followed a horizontal “team-of-teams” structure for its portfolio


202
      DFFCL ¶ 114.
203
      DFFCL ¶ 117.
204
      Tr. 628:20-24 (Cronin).

                                                 77
management team, in which research and analysis, decision-making, execution/implementation,

portfolio construction, and risk management moved toward the effective coordination of co-

committed individuals aligned around a single objective.205 As such, each member of the

investment team contributes to the management of each of the Funds advised by CAL.206

          In addition, Plaintiffs’ assertions and mischaracterizations regarding CAL’s efforts to

improve the Fund’s performance are entirely unsupported by the trial evidence for the reasons set

forth in CAL’s Response to Paragraph 114, supra.

        117. Second, despite CAL’s claim to the Board that it was increasing its headcount by
a whopping 33% to improve performance, it was merely bringing its headcount back to
historical levels. Specifically, prior to CAL’s transition to a horizontal investment approach, it
averaged approximately 66 investment professionals. Tr. at 629:21-630:25; 632:8-12; see also
Cronin Report at Ex. 10. Between 2011 and 2012, however, CAL experienced substantial
employee turnover resulting in its headcount falling to the low 50s. Tr. at 630:4-25.207

          RESPONSE: Denied as stated. The number of investment professionals employed by

CAL for the calendar years 2005-2015 is set forth in Paragraph 107 of the parties’ Joint

Stipulation of Facts. Plaintiffs’ assertions and mischaracterizations regarding CAL’s efforts to

improve the Fund’s performance are entirely unsupported by the trial evidence for the reasons set

forth in CAL’s Response to Paragraph 114, supra.




205
      Tr. 645:6-651:19 (Cronin).
206
      DFFCL ¶¶ 103-120.
207
   Notably, this precipitous decrease occurred before the transition-related change in
compensation structure that CAL had predicted might result in departures. Tr. at 631:1-19.
RESPONSE: The number of investment professionals employed by CAL decreased between
2011 and 2012. CAL denies that this decrease was “precipitous” or in any way supports
Plaintiffs’ assertion that the value or quality of the services CAL provides to the Funds may be
measured solely by reference to the number of investment personnel employed by CAL. CAL
incorporates by reference its Response to Paragraph 114.

                                                  78
       118. When CAL completed its restructuring in 2015208 – and had made its various
additional hires – it had a total of 67 investment professionals, compared to the 66 investment
professionals it averaged prior to its transition. Tr. at 632:19-633:4; Cronin Report at Ex. 10.209

          RESPONSE: The number of investment professionals employed by CAL for the

calendar years 2005-2015 is set forth in Paragraph 107 of the parties’ Joint Stipulation of Facts.

CAL denies that it had “completed its restructuring in 2015.” CAL continued to make

improvements to its investment team and investment process, including replacing the portfolio

manager of the Fund, Mr. Kalis, with Mr. Grant in February 2017.210

          Plaintiffs’ assertions and mischaracterizations regarding CAL’s efforts to improve the

Fund’s performance are entirely unsupported by the trial evidence for the reasons set forth in

CAL’s Response to Paragraph 114, supra.

      119. Thus, CAL’s additional hires did not, in fact, increase its base, and its boasted
33% increase in personnel was merely a function of the fact that CAL’s 2012 headcount was
abnormally low. Tr. at 166:8-17; 632:19-633:4; Cronin Report at Ex. 10.




208
   CAL reported to the Board that its reorganization efforts culminated in 2015. JX 139 at CA-
IT 00000071 at 6. RESPONSE: Denied. This statement is contradicted by the testimony of the
sole witness whom Plaintiffs asked about this document at trial, Mr. Neal. As described by
Mr. Neal, the Board did not understand the cited presentation to mean that CAL finished its
process of improving the investment team in 2015, but instead that Mr. Black had made changes
that he personally had planned to make, and that CAL continued to make structural and
personnel changes after Mr. Black’s departure in 2015. Tr. 202:5-203:21 (Neal).
209
    CAL also claims to have made significant personnel changes as part of its transition, most
notably its hiring of Mr. Black to a three-year contract to head the transition, and its subsequent
promotion of Mr. Kalis to head the Growth Fund. CAL did not attempt to retain Mr. Black after
his contract expired, see Tr. at 202:18-25; 634:8-14, and ultimately terminated Mr. Kalis due to
the continued poor performance of the Growth Fund. See Tr. at 197:21-198:6; 634:4-22.
RESPONSE: Denied. The assertion in the foregoing footnote is unsupported by the evidence
cited. Mr. Black departed CAL after the expiration of his three-year contract, as CAL and
Mr. Black had both agreed. CAL further denies that CAL’s hiring of Mr. Black and Mr. Kalis
were its “most notabl[e]” personnel changes. To the contrary, CAL restructured the relationship
between and roles of all investment personnel in order to increase specialization and cooperation
for the benefit of the Fund and all of CAL’s clients. E.g., Becker Decl. ¶¶ 40-51, 58-63.
210
      E.g., JSSF ¶ 18.

                                                  79
          RESPONSE: Denied as stated. The number of investment professionals employed by

CAL for the calendar years 2005-2015 is set forth in Paragraph 107 of the parties’ Joint

Stipulation of Facts. CAL denies that its “additional hires did not, in fact, increase its base.” In

fact, CAL both reduced the number of funds managed by its investment professionals, and

experienced a decline in total AUM, reducing the amount of AUM managed by its investment

professionals.211

          In addition, Plaintiffs’ assertions and mischaracterizations regarding CAL’s efforts to

improve the Fund’s performance are entirely unsupported by the trial evidence for the reasons set

forth in CAL’s Response to Paragraph 114, supra.

        120. Notably, what did substantially increase as a result of the transition was the
amount of money CAL paid itself, which ballooned from $51 million in total employee
compensation in 2012 to $67 million in 2015, despite headcount remaining constant and despite
the cost of the additional hires only representing an additional $3 million. Tr. at 633:5-18;
Cronin Report at Ex. 9.1.

          RESPONSE: Denied. CAL spent $51 million in total employee compensation in 2012

and $67 million in 2015, even though it was experiencing declining revenues and profits during

this period. However, CAL denies that it “paid itself” this money; rather, as the trial evidence

makes abundantly clear, these amounts were used to compensate CAL’s employees, i.e., the

individuals providing services to the Fund for the benefit of Plaintiffs and the Fund’s

shareholders—and not to CAL itself. The increase in CAL’s employee compensation is entirely

consistent with the significant investments in improving the quality of the services provided to

the Funds.212




211
      Tr. 108:12-109:8 (Behan); Behan Decl. ¶¶ 44-47.
212
      E.g., DFFCL ¶¶ 104-107, 109-114.

                                                  80
          In addition, Plaintiffs’ assertions and mischaracterizations regarding CAL’s efforts to

improve the Fund’s performance are entirely unsupported by the trial evidence for the reasons set

forth in CAL’s Response to Paragraph 114, supra.

       121. Finally, and most critically, despite CAL’s headcount remaining flat during the
Relevant Period, CAL actually decreased the number of investment professionals dedicated to
the Growth Fund. Indeed, the total number of individuals specifically assigned to the Growth
Fund declined precipitously from 24 investment professionals in July 2014 to 13 investment
professionals in May 2017. Tr. at 637:4-638:9; Cronin Report at Ex. 11.213

          RESPONSE: Denied. Among other things, CAL’s U.S. Equity team was not the sole

group of professionals contributing to the management of the Fund. CAL’s team-based

horizontal approach relied on more decentralized decision-making, in which research and

analysis, decision-making, execution/implementation, portfolio construction, and risk

management moved toward the effective coordination of co-committed individuals aligned

around a single objective.214 As such, each member of the investment team contributed to the

management of each of the Funds advised by CAL.215 The exhibit cited from Mr. Cronin’s

report as supposed proof of the number of investment professionals specifically assigned to the




213
    Mr. Cronin reached his totals based on “the people that were described in the materials that
went to the board as being involved with the fund.” Tr. at 636:7-15; Cronin Report at Ex. 11.
Moreover, while Mr. Cronin believes that there may have been other investment professionals
who assisted the Growth Fund sporadically (“other personnel”), he agreed that the negative
trend identified in his report would only be offset if the number of other personnel that assisted
the Growth Fund increased substantially over the same time period. Tr. 637:16-637:3. There is
no evidence that this occurred. RESPONSE: CAL denies that Mr. Cronin testified that the
number of personnel from other teams providing input to the U.S. Growth Equity team would
need to “increase[] substantially” in order to “offset” the asserted loss of people on the U.S.
Growth Equity team, and denies that Mr. Cronin’s expert report identified a “negative trend.” To
the contrary, Mr. Cronin testified that based on his “review of the portfolio and the holdings
within the portfolio, it’s evident that” people outside of the U.S. Growth Equity team contributed
to the management of the Fund. Tr. 635:20-636:1 (Cronin).
214
      Tr. 645:6-651:19 (Cronin).
215
      DFFCL ¶¶ 103-120.

                                                  81
Fund ignores the testimony by Mr. Cronin that this list was not exhaustive, and that it is

“evident” that people outside of the U.S. Growth Equity Team supported the Fund.216 Finally,

during the Relevant Period, CAL merged or closed the remaining mutual funds (i.e., the

Discovery Growth, Mid-Cap Growth, and Focus Growth Funds) previously supported by the

U.S. Growth Equity team that also supported the Fund, meaning that on average, the employees

on that team were paying more attention to the Fund than before.217

          In addition, Plaintiffs’ assertions and mischaracterizations regarding CAL’s efforts to

improve the Fund’s performance are entirely unsupported by the trial evidence for the reasons set

forth in CAL’s Response to Paragraph 114, supra.

          E.     The Board’s Fig-Leaf Response to CAL’s Continued Poor Performance

       122. Mr. Neal testified that, as a result of CAL’s short-term and long-term
underperformance, the Board asked CAL to agree to an exceedingly modest, 5 basis point
reduction of its advisory fee in 2013 (from 83 bp to 78 bp). According to Mr. Neal, the waiver
not only reduced shareholders’ investment costs, but also had the salutary benefit of
“reinforcing a board’s message to the adviser about the seriousness of the challenge and of the
Board’s interest in maximizing performance.” Neal Decl. at ¶78. Nonetheless, the Board did
not seek a fee reduction at any other time during the Relevant Period, despite CAL’s admittedly
poor performance.

          RESPONSE: Denied. The Board imposed a 5-basis point fee waiver on the Fund’s

management fee at the June 2013 Board meeting, and in subsequent years, the Board required

that CAL continue to invest significant resources in an effort to improve the Fund’s

performance.218 Moreover, as Mr. Neal and Mr. Timbers testified, the Board considered whether

to impose a fee waiver at each June/July Board meeting in the Relevant Period.219 At each such



216
      Tr. 635:4-636:5, 649:7-15 (Cronin).
217
      Becker Decl. ¶¶ 64-66; Behan Decl. ¶ 44; Tr. 108:12-109:8 (Behan).
218
      DFFCL ¶¶ 90-95, 103-115, 118, 127-142.
219
      DFFCL ¶ 131.

                                                  82
meeting, after engaging in a robust process that involved active dialogue with CAL throughout

the year, applied their judgment in view of the current facts, their extensive industry experience

and institutional knowledge of CAL, to determine that approving the IMA—subject to either a

fee waiver and/or to CAL’s commitment to continue to invest resources in efforts to improve the

Fund’s performance—was in the best interests of Fund shareholders.220

       123. The explanation Mr. Neal offered at trial was that fee waivers constrain the
resources available to an adviser to improve its investment processes/performance, and the
Board was mindful to ensure that CAL had available “the resources needed to invest in its
business in order to improve the Fund’s performance.” Id. at ¶79. The Board’s purported
rationale, however, cannot be harmonized with the trial evidence.

          RESPONSE: Denied. Mr. Neal (and the rest of the Independent Trustees) wished to

ensure that CAL had the resources needed to invest in its business in order to improve the Fund’s

performance. As Mr. Neal explained more fully:

               Q. When you’re trying to decide about a fee waiver or imposing a fee
               reduction or how long you should keep a fee reduction in place, are there
               ever any concerns you have to the benefit to shareholders or the harm to
               shareholders from reducing the fee?

               A. Absolutely. It’s definitely part of our thinking because we would like
               the adviser to be financially successful, so that it can invest in the
               resources necessary for performance to be well, to be good, to be strong,
               and by cutting the fee we are cutting the income to the adviser. And so
               to our way of thinking, that is a sort of last effort to solve the problem,
               because in many ways, it’s somewhat adding to the problem, because it’s
               limiting the resources the adviser has to produce better returns. I mean,
               portfolio managers are not cheap, and good ones are definitely not cheap,
               so we have to think long and hard about how we approach this. And by
               far, our preference is for the adviser to actually improve performance and
               get more assets in the fund and actually be more successful and make
               more money.221




220
      DFFCL ¶ 150.
221
      Tr. 196:10-197:2 (Neal).

                                                  83
Improvements in Fund performance can yield exponentially more benefits for Fund shareholders

than a fee waiver. For example, improvements in the Fund’s returns of just 1% would benefit

shareholders twenty times as much as a 5 bps fee waiver, even though the 2013 fee waiver of

that amount cost CAL over $2 million.222

       124. First, as Mr. Cronin admitted at trial, a reduced fee would not even be a
hypothetical constraint on an adviser’s ability to improve its investment processes, if the adviser
paid for the efforts to improve its own poor performance out of its own profit margins. Tr. at
619:18-620:17.

          RESPONSE: Denied. Plaintiffs have mischaracterized Mr. Cronin’s testimony.

Mr. Cronin testified that an adviser’s willingness to reduce the amount of money paid to senior

management could potentially be one factor that would affect a fee waiver’s impact on

performance, but that the ultimate impact “is dependent on what happens to the overall level of

market and management in terms of what money is available in addition to what’s spent.”223

Furthermore, as set forth in CAL’s Response to Paragraph 123, Mr. Neal also explained how

reducing the Fund’s fee could impose constraints on CAL’s ability to attract talented portfolio

managers and, therefore, hinder CAL’s ability to improve performance.224

       125. Second, the Board instituted the 5-basis point fee waiver at the same time CAL
informed the Board that it was going to spend approximately $3 million per annum on new hires,
and there is no evidence that the fee waiver constrained in any way CAL’s purported efforts to
improve performance. Tr. at 621:6-18. Thus, by definition, fee reductions and efforts to improve
performance are not mutually exclusive/conflicting options.

          RESPONSE: Denied as stated. The Board imposed a five-basis point fee waiver from

2013-2014, and during this time CAL also presented to the Board regarding its plan to

restructure its investment team. CAL denies that the existence of this fee waiver means that it is



222
      DFFCL ¶ 116.
223
      Tr. 619:18-620:8 (Cronin).
224
      Tr. 196:10-197:2 (Neal).

                                                84
impossible for a fee waiver to constrain the resources available for significant enhancements to

the adviser’s investment team and investment process. To the contrary, as Mr. Neal explained at

trial:

                 Q. When you’re trying to decide about a fee waiver or imposing a
                 fee reduction or how long you should keep a fee reduction in place,
                 are there ever any concerns you have to the benefit to shareholders
                 or the harm to shareholders from reducing the fee?

                 A. Absolutely. It’s definitely part of our thinking because we would
                 like the adviser to be financially successful, so that it can invest in
                 the resources necessary for performance to be well, to be good, to
                 be strong, and by cutting the fee we are cutting the income to the
                 adviser. And so to our way of thinking, that is a sort of last effort to
                 solve the problem, because in many ways, it’s somewhat adding to
                 the problem, because it’s limiting the resources the adviser has to
                 produce better returns. I mean, portfolio managers are not cheap,
                 and good ones are definitely not cheap, so we have to think long and
                 hard about how we approach this. And by far, our preference is for
                 the adviser to actually improve performance and get more assets in
                 the fund and actually be more successful and make more money.225

        126. Third, during the Relevant Period CAL’s AUM decreased precipitously, with
Growth Fund AUM alone shrinking from over $4 billion to less than $2 billion. This, in turn,
resulted in CAL’s overall operating income decreasing from $128 million in 2012 to $51 million
in 2016 (a decrease in income far greater than the amount of the fee waiver). Tr. at 664:7-13.
Yet, over that same time period, CAL increased employee compensation by about $40 million per
year. See id. 633:9-18. Thus, it is simply not possible that a reduced fee would have constrained
CAL, given that it was able to pay itself $40 million more per year at the same time its income
dropped by a far greater amount due to the performance-based loss of AUM than it would have
declined due to a continued waiver.

          RESPONSE: Denied. The trial evidence demonstrates that the Fund’s AUM and

overall operating income decreased during the Relevant Period at the same time CAL increased

employee compensation. Indeed, the evidence indicates that between 2012 and 2016, CAL

increased its employee compensation from $51 million to $74 million, while CAL’s operating




225
      Tr. 196:10-197:2 (Neal).

                                                   85
income decreased from $128 million to $33 million.226 However, Plaintiffs’ assertion that CAL

“paid itself” through its increased employee compensation is not supported by any admissible or

credible evidence or by the cited testimony; rather, as the trial evidence makes abundantly clear,

these amounts were used to compensate CAL’s employees, i.e., the individuals providing

services to the Fund for the benefit of Plaintiffs and the Fund’s shareholders—and not to CAL

itself.227 The increase in CAL’s employee compensation is entirely consistent with CAL’s

significant investments in improving the quality of the services provided to the Fund.228

          F.     The Reaction of the Other ACG Accounts Speaks Directly to the Quality of
                 Services CAL Provided

       127. The uniform reaction of CAL’s arm’s length ACG clients to CAL’s poor
performance is telling. Of the 36 Other ACG Accounts that CAL managed since 2011, all 36
terminated CAL by December 2016 and moved their assets elsewhere. JX 181, Ex. A.

          RESPONSE: Denied as stated. CAL denies that “all” 36 All Cap Growth Clients that

CAL managed since 2011 “terminated CAL” or “moved their assets elsewhere.” One client with

an All Cap Growth Account, the James B. Powell Trust, closed its institutional account with

CAL in July 2014 because its assets had fallen too far below the account minimum.229

Nevertheless, as Dr. Pomerantz conceded in both his expert report and at trial, rather than closing

its account, that client elected to continue its relationship with CAL by investing in the Fund’s

institutional share class, for which it (like other investors in that share class) pay the same




226
      Cronin Rpt. Ex. 9.1 (discussed at Tr. 633:9-18 (Cronin) and Tr. 664:7-13 (Cronin)).
227
      Tr. 633:14-634:4, 663:22-664:13 (Cronin).
228
      DFFCL ¶¶ 103-115.
229
      DX 1171; PX 487.

                                                  86
management fee as Plaintiffs pay for the Fund’s Class A shares—a fee that is higher than the

Powell Trust paid as an All Cap Growth client.230

         Moreover, the decision by CAL’s All Cap Growth Clients to close their accounts with

CAL does not in any way prove that the Fund’s fee was excessive. Rather, as the trial evidence

conclusively demonstrates, mutual funds on the one hand, and institutional/sub-advisory

accounts on the other hand, are different products that are sold in different markets, and the

decision-making criteria that these clients apply regarding their accounts are often different, and

more sensitive to recent performance, than mutual fund investors.231

         Finally, Plaintiffs’ assertion that the Fund’s management fee is excessive because it is

higher than fees charged to All Cap Growth Clients under different fee schedules, is not

supported by the trial evidence or the Section 36(b) jurisprudence. Indeed, Plaintiffs failed to

prove that the fees paid by CAL’s All Cap Growth Clients set the arm’s-length bargaining range

for the Fund’s fee for the following fundamental reasons:

         •      Plaintiffs failed to prove that any All Cap Growth Client is an apt comparator to

the Fund, nor could they in light of the overwhelming trial evidence that (a) there are numerous

differences in services and risks between managing the Fund and advising any of the All Cap

Growth Clients, (b) a mutual fund and an institutional or sub-advisory account are different

products that are sold in different markets to predominantly different types of clients, and (c) the

pricing differential between the Fund and CAL’s All Cap Growth Clients is entirely consistent

with industry practice and reflects forces of market competition.232


230
   Pomerantz Rpt. ¶ 116 n.85; Tr. 510:25-511:11 (Pomerantz); Behan Decl. ¶ 69 (discussing DX
1171); Tr. 115:15-116:13 (Behan).
231
      DFFCL ¶¶ 163, 282, 286-287.
232
      DFFCL ¶¶ 169-203.

                                                 87
          •      No regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones “do[] not require fee parity across an adviser’s different clients.”

Hence, no court has ever held that institutional or sub-advisory accounts are an apt comparison

for a mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.233

      128. Furthermore, at least 24 of those 36 clients – including Nomura and the two MD
Accounts, which were CAL’s two largest ACG clients – informed CAL that they closed their
accounts due to poor performance. JX 181, Ex. A; Tr. at 83:1-85:7, 87:21-89:17.

          RESPONSE: Denied. 24 of CAL’s All Cap Growth Clients cited performance as one

reason for closing their accounts. The evidence also demonstrates, however, that clients often

closed their accounts for multiple reasons.234 For example, Nomura closed its All Cap Growth

sub-advisory account after it purchased another investment adviser that offered a competing

growth strategy.235

          Moreover, for the reasons set forth in CAL’s Response to Paragraph 127, supra: (a) the

decision by CAL’s All Cap Growth Clients to close their accounts with CAL does not in any

way prove that the Fund’s fee was excessive, and (b) Plaintiffs’ assertion that the Fund’s

management fee is excessive because it is higher than fees charged to All Cap Growth Clients

under different fee schedules, is not supported by the trial evidence or the Section 36(b)

jurisprudence.




233
      DFFCL ¶ 227.
234
      JX 181, Ex. A at 2.
235
      Tr. 114:23-115:10 (Behan).

                                                   88
        129. Notably, CAL met with and sought to persuade each of the Other ACG Accounts
not to close their accounts. Tr. at 89:25-91:20; Behan Decl. at ¶91. CAL informed each of the
Other ACG Accounts of the ACG strategy’s supposedly superior since-inception performance
and of CAL’s efforts to improve the investment management team. Tr. at 89:25-91:20. None of
the Other ACG Accounts, however, found these arguments persuasive enough to remain CAL
advisory clients. JX 181, Ex. A; Tr. at 89:25-91:20.

          RESPONSE: Denied as stated. As Mr. Behan testified, he “didn’t interview every one

of these clients,”236 and simply acknowledged that through the course of their relationship with

CAL, each client with an All Cap Growth account would have become familiar with CAL’s

since-inception performance and efforts to improve the quality of its investment team.237 In fact,

when Mr. Behan was specifically asked (in testimony not cited in Plaintiffs’ Paragraph 129 or

anywhere else in their submission) whether “Calamos must have had at least one meeting with

each of the clients . . . to try to prevent them from leaving,” he was unable to confirm that was

true in every case and instead answered, “We may have had a meeting or a call. Like I said,

without going through each record, it’s hard to me to testify to that.”238

          Moreover, for the reasons set forth in CAL’s Response to Paragraph 127, supra: (a) the

decision by CAL’s All Cap Growth Clients to close their accounts with CAL does not in any

way prove that the Fund’s fee was excessive, and (b) Plaintiffs’ assertion that the Fund’s

management fee is excessive because it is higher than fees charged to All Cap Growth Clients

under different fee schedules, is not supported by the trial evidence or the Section 36(b)

jurisprudence.

       130. The reaction of one such client, the Teamsters Pension Fund of Philadelphia (the
“Teamsters”), to CAL’s performance is illustrative. Tr. at 54:2-58:8. The Teamsters had an
investment consultant, of RBC Wealth Management, who informed CAL that “Calamos pales in
comparison to its peers relative to performance”, that he has “reviewed our performance, etc.,

236
      Tr. 90:6-8 (Behan).
237
      Tr. 89:25-90:20 (Behan).
238
      Tr. 94:15-19 (Behan).

                                                 89
‘ten ways to Sunday’ and cannot find a defense”, and that he “cannot continue to defend us to
the client for risk of his own credibility.” Tr. at 54:17-55:21; PX 344 at 430860.

          RESPONSE: Denied as stated. While Plaintiffs have accurately quoted their selected

excerpts from PX 344, their assertion ignores the trial testimony that at the time the notes quoted

in Paragraph 130 were taken, the Teamsters did not terminate their All Cap Growth account with

CAL and instead chose to continue their account.239

          Moreover, for the reasons set forth in CAL’s Response to Paragraph 127, supra: (a) the

decision by CAL’s All Cap Growth Clients to close their accounts with CAL does not in any

way prove that the Fund’s fee was excessive, and (b) Plaintiffs’ assertion that the Fund’s

management fee is excessive because it is higher than fees charged to All Cap Growth Clients

under different fee schedules, is not supported by the trial evidence or the Section 36(b)

jurisprudence.

          G.     The Reaction of the Growth Fund’s Shareholders to the Quality of Services
                 Provided is Further Indication that its Fees were Excessive

        131. The trial record shows also that Growth Fund shareholders were dissatisfied with
performance, exiting the Growth Fund in large numbers. The Growth Fund’s AUM peaked at
$20 billion in March 2006. Pomerantz Rebuttal Report at ¶418. At that time, the Growth Fund
had a 2.2% market share within its category of actively-managed Large Growth funds. Id. As of
December 2016, however, the Growth Fund had lost 91% of its AUM, and its market share had
declined to only 0.2% – less than one tenth its market share in 2006. Id.

          RESPONSE: Denied. The Fund’s AUM has declined during the Relevant Period.

However, CAL denies the remaining assertions in Paragraph 131, and specifically denies that the

decline in the Fund’s AUM shows that shareholders “were dissatisfied with performance” as

lacking any support in the evidentiary record. To the contrary, the trial evidence demonstrates

that retail mutual fund investors commonly exit mutual funds for reasons wholly unrelated to




239
      Tr. 53:13-22, 56:7-10, 56:25-57:8 (Becker).

                                                    90
fees or performance, such as the increased availability of alternative investment products; in fact,

during the Relevant Period, the market at large experienced a large shift in capital from actively-

managed mutual funds to passive strategies or to new products, such as exchange traded funds.240

Moreover, numerous new investors decided to invest in the Fund during the Relevant Period.

Although the Fund experienced meaningful net outflows of AUM between 2013 and 2018, the

Fund also received approximately $1.6 billion in gross inflows between November 2013 and

October 2016.241

       132. Notably, the Growth Fund’s loss of AUM and market share transpired
concurrently with its declining performance, suggesting that the AUM loss was caused by
shareholder disappointment with the Growth Fund’s investment results. Pomerantz Rebuttal
Report at ¶393.

          RESPONSE: Denied. As Dean Hubbard explained, the mere correlation between the

Fund’s loss of AUM and a time period that included some periods of underperformance does not

mean that all of the Fund’s AUM loss can be attributed to underperformance.242 Other factors

driving the Fund’s loss of AUM are readily apparent; during the Relevant Period, the market at

large experienced a large shift in capital from actively-managed mutual funds to passive

strategies or to new products, such as exchange traded funds.243 Moreover, numerous new

investors decided to invest in the Fund during the Relevant Period. Although the Fund

experienced meaningful net outflows of AUM between 2013 and 2018, the Fund also received

approximately $1.6 billion in gross inflows between November 2013 and October 2016.244




240
      DFFCL ¶ 283.
241
      See DFFCL ¶ 285.
242
      DFFCL ¶ 283; Tr. 718:1-23 (Hubbard).
243
      DFFCL ¶ 283; Hubbard Rpt. ¶ 140; Tr. 718:5-10 (Hubbard); Behan Decl. ¶ 62.
244
      DFFCL ¶ 285; Hubbard Rpt. ¶ 142; Tr. 706:20-707:1 (Hubbard).

                                                91
Dr. Pomerantz has done nothing to account for these other determinants of AUM loss identified

by Dean Hubbard, or to isolate what portion of the Fund’s loss of AUM might have been

attributable to underperformance, and has instead simply identified that the temporal correlation

exists.245

          Furthermore, CAL generated strong performance for the Fund at numerous points

throughout the period in which the Fund’s market share declined. The Fund has experienced

strong absolute performance, and has experienced both short-term relative outperformance and

short-term relative underperformance during the Relevant Period, including top-quartile

performance during the first two years of the Relevant Period.246 In fact, Dr. Pomerantz

admitted, in response to questioning from the Court, that the Fund’s performance has improved

over the last three years.247 In addition, the Independent Trustees were fully aware of all of the

pertinent facts relating to the Fund’s performance.248

        133. The Growth Fund’s AUM loss has been greater than that of the actively managed
equity fund industry. Tr. at 688:3-17.

          RESPONSE: Denied. Plaintiffs’ assertions in Paragraph 133 are not supported by the

cited testimony. To the contrary, Dean Hubbard testified that he was “not sure [if the Fund’s

loss of AUM was greater than that of the industry as a whole] because a mutual fund industry

covers so many things. If you’re asking me is it greater than other active equity managers,

probably.”249




245
      Pomerantz Rebuttal Rpt. ¶¶ 393, 418-19.
246
      DFFCL ¶¶ 96-98; Becker Decl. ¶ 73.
247
      DFFCL ¶ 101.
248
      DFFCL ¶¶ 27, 77, 96, 98-99.
249
      Tr. 688:9-11 (Hubbard).

                                                92
       134. The reaction of the Growth Fund’s investors as shown by the loss of AUM and
market-share evidences shareholders’ unhappiness with the quality of the portfolio advisory
services offered. Pomerantz Rebuttal Report at ¶¶418-19.

         RESPONSE: Denied. The trial evidence demonstrates that retail mutual fund investors

commonly exit mutual funds for reasons wholly unrelated to fees or performance, such as the

increased availability of alternative investment products; in fact, during the Relevant Period, the

market at large experienced a large shift in capital from actively-managed mutual funds to

passive strategies or to new products, such as exchange traded funds.250 Moreover, numerous

new investors decided to invest in the Fund during the Relevant Period. Although the Fund

experienced meaningful net outflows of AUM between 2013 and 2018, the Fund also received

approximately $1.6 billion in gross inflows between November 2013 and October 2016.251

        135. Defendant’s expert Dean Hubbard testified that, according to his study of price
elasticities of demand in the mutual fund industry, the consequences to an advisor of charging a
supra-competitive fee, given its level of performance, would be a loss of AUM and market share.
Tr. at 687:3-17, 691:24-692:12. For every percent above a competitive level a fee was, an
advisor would lose 3% of its market share. Tr. at 687:21-24.

         RESPONSE: Denied as stated. Dean Hubbard testified that as a matter of economics,

all else being equal and all other factors being held constant: (i) investors are sensitive to fees

and will move their assets from fund to fund based on price differences adjusted for product

quality and fund performance; (ii) if a price were too high for the performance received,

investors would sell their shares; (iii) the consequence of an adviser’s charging a price that was

above a competitive level would be a loss of market share and AUM, and (iv) if an adviser

charged a fee that was one percent above a competitive level, it would lose three percent of its




250
      DFFCL ¶ 283.
251
      DFFCL ¶ 285.

                                                 93
market share.252 CAL denies that this testimony implies that the Fund’s fee is excessive because,

among other reasons, “[a]ll else” is not “equal.” Retail mutual fund investors commonly exit

mutual funds for reasons wholly unrelated to fees or performance, such as the increased

availability of alternative investment products; in fact, during the Relevant Period, the market at

large experienced a large shift in capital from actively-managed mutual funds to passive

strategies or to new products, such as exchange traded funds.253 Moreover, numerous new

investors decided to invest in the Fund during the Relevant Period. Although the Fund

experienced meaningful net outflows of AUM between 2013 and 2018, the Fund also received

approximately $1.6 billion in gross inflows between November 2013 and October 2016.254

        136. Dean Hubbard’s price elasticities study involved total expense ratios. Tr. 692-93.
Dean Hubbard conceded, however, that market forces act indirectly with respect to fund
advisory fees in that a loss of AUM and market share would ensue if advisory fees were so high
that they pushed a fund’s total expense ratio above a competitive level. Tr. 692:18-693:11.
Here, the Growth Fund’s loss of AUM and market share is a result of the fact that the advisory
fees were so high that they pushed its total expense ratio to an uncompetitive level given its level
of performance. Pomerantz Rebuttal Report at ¶¶173-77, 418-19, 693-94; Hubbard Report at
¶55 and Ex. 7; Tr. 691:20–693:11.

          RESPONSE: Denied as stated. Dean Hubbard’s research involved expense ratios; he

acknowledged that increases to a mutual fund’s advisory fee would correspondingly increase a

mutual fund’s expense ratio, which would cause a decrease in the mutual fund’s market share if

all other attributes of the mutual fund and all other factors in the market were held constant.255

CAL denies the remaining assertions in Paragraph 136 because, among other reasons, “[a]ll else”

is not “equal.” Retail mutual fund investors commonly exit mutual funds for reasons wholly



252
      Tr. 687:3-24 (Hubbard).
253
      DFFCL ¶ 283.
254
      See DFFCL ¶ 285.
255
      Tr. 692:18-693:11 (Hubbard).

                                                 94
unrelated to fees or performance, such as the increased availability of alternative investment

products; in fact, during the Relevant Period, the market at large experienced a large shift in

capital from actively-managed mutual funds to passive strategies or to new products, such as

exchange traded funds.256 Moreover, numerous new investors decided to invest in the Fund

during the Relevant Period. Although the Fund experienced meaningful net outflows of AUM

between 2013 and 2018, the Fund also received approximately $1.6 billion in gross inflows

between November 2013 and October 2016.257

       137. This conclusion is buttressed by the fact that, as Dean Hubbard admits, the
Growth Fund’s advisory fees in this case were relatively higher, while its “non-management” or
third-party fees were “consistently lower,” than those of its peers. Tr. 693:12–694:13.

          RESPONSE: Denied. Dean Hubbard testified that the Fund’s non-management fees,

i.e., fees charged by third-party service providers, were generally lower than those of most of the

funds in the Fund’s Morningstar category.258 CAL denies the remaining assertions in Paragraph

137. As Dean Hubbard also testified, the Fund’s advisory fees relative to most other funds in its

Morningstar category “depends on the year and category.”259 CAL also incorporates by

reference its Response to Paragraph 136 as if set forth fully herein.

III.      COMPARATIVE FEES

         138. Plaintiffs presented evidence at trial comparing the Growth Fund’s advisory fees
to: (1) fee rates paid by comparable mutual funds; and (2) fee rates paid to CAL by arm’s length,
third-party institutional clients to whom CAL provided substantively identical Portfolio
Management Services as it did to the Growth Fund (the Other ACG Accounts). As discussed
below, by every metric the Growth Fund’s fees were at the highest end of the spectrum and
dwarfed the fees paid by CAL’s Other ACG Accounts.



256
      DFFCL ¶ 283.
257
      See DFFCL ¶ 285.
258
      Tr. 694:6-13 (Hubbard).
259
      Tr. 693:17-22 (Hubbard).

                                                 95
          RESPONSE: Denied. CAL denies that “the Growth Fund’s fees were at the highest end

of the spectrum” “by every measure.”

          As set forth in CAL’s responses to Paragraphs 139-145, infra, Plaintiffs failed to prove

that the Fund’s management fee is outside the range of fees paid by peer mutual funds. Indeed,

every analysis conducted by Lipper, Morningstar, Strategic Insight, Dean Hubbard, and even

Dr. Pomerantz demonstrates that the Fund’s management fee was in the range of fees that similar

mutual funds charged their investors—as was the Fund’s total expense ratio, which is the price

that shareholders actually pay to own the Fund.260 In fact, as the Court ruled on summary

judgment, “Plaintiffs concede that the Fund’s Advisory Fee is within the range of fees charged to

peer mutual funds by other investment advisors.”261

          As set forth in CAL’s responses to Paragraphs 146-151, infra, the trial evidence refutes

Plaintiffs’ assertion that “by every metric the Growth Fund’s fees were at the highest end of the

spectrum and dwarfed the fees paid by CAL’s Other ACG Accounts.”

          And, the trial evidence also refutes Plaintiffs’ assertion that CAL provided “substantively

identical Portfolio Management Services to the Fund and to All Cap Growth Clients.” To the

contrary, as the trial evidence demonstrates:

          •      Under the IMA, CAL is required to provide greater and more extensive services

to the Fund than to its institutional and sub-advisory All Cap Growth Clients. Indeed, as

Dr. Pomerantz agreed, CAL is “morally responsible” under the IMA for “everything that needs

to be done” for the Fund and “providing literally all of the necessary services to operate the




260
      DFFCL ¶¶ 254-62, 269-72.
261
      Chill, 2018 WL 4778912, at *16.

                                                  96
trust.”262 None of CAL’s investment management agreements for its 36 All Cap Growth Clients

even suggests that CAL bears anything close to the “moral responsibility” for “providing literally

all of the necessary services” for any of its All Cap Growth Clients, nor did Plaintiffs offer any

evidence to the contrary.263 Consistent with its limited contractual responsibilities under its

agreements with those clients, CAL did not provide anywhere near the full panoply of services it

was required to and in fact did provide in managing the Fund; and, at trial, Plaintiffs provided no

evidence to show that CAL’s limited roles and responsibilities for any of CAL’s All Cap Growth

Clients were in any way different than as uniformly described by CAL’s witnesses.264

         •     On the other hand, consistent with both its “moral responsibility” under the IMA

and industry practice, the trial evidence demonstrates unequivocally that CAL provides different,

greater and more extensive services to the Fund than to its All Cap Growth Clients in each of the

following areas: (a) legal, regulatory and compliance;265 (b) fund governance services;266 (c)

fund administration services;267 (d) portfolio management services;268 and (e) client/shareholder

services.269 And, this is true regardless of whether CAL provides the service itself, or whether

the service is provided by a third party at all times subject to CAL’s monitoring, supervision and




262
      DFFCL ¶¶ 166-167.
263
      DFFCL ¶ 168.
264
      DFFCL ¶¶ 169-172.
265
      DFFCL ¶¶ 174-180.
266
      DFFCL ¶¶ 181-183.
267
      DFFCL ¶¶ 184-188.
268
      DFFCL ¶¶ 189-192.
269
      DFFCL ¶¶ 193-197.

                                                 97
oversight, and with CAL remaining ultimately responsible to the Fund for all of the work

provided by these third party service providers.270

         A.     Versus Comparable Mutual Funds

        139. The advisory fees that CAL charges to the Growth Fund place the Growth Fund
at the very highest end of the range of advisory fees charged by other advisers to mutual funds
similar in character and size to the Growth Fund, and indicate that the Growth Fund is an
outlier among peer funds (in that the Growth Fund pays advisory fees that are far higher than
the vast majority of peer funds). Pomerantz Report at ¶¶298-304; Tr. at 560:22–565:1; JX 130
at 636413; JX 88 at 524006; JX 46 at 520623.

         RESPONSE: Denied. CAL denies that the Growth Fund’s fee was “at the very highest

end of the range of advisory fees charged by other advisors”; none of the independent third party

service providers (i.e., Lipper, Morningstar, and Strategic Insight) that analyzed the Fund’s

management fee have referred to the Fund’s fee as an “outlier.” To the contrary, Plaintiffs failed

to prove that the Fund’s management fee is outside the range of fees paid by peer mutual funds.

Indeed, every analysis conducted by Lipper, Morningstar, Strategic Insight, Dean Hubbard, and

even Dr. Pomerantz demonstrates that the Fund’s management fee was in the range of fees that

similar mutual funds charged their investors—as was the Fund’s total expense ratio, which is the

price that shareholders actually pay to own the Fund.271 In fact, as the Court ruled on summary

judgment, “Plaintiffs concede that the Fund’s Advisory Fee is within the range of fees charged to

peer mutual funds by other investment advisors.”

         Plaintiffs’ assertions in Paragraph 139 are based on a concocted comparison of the

Fund’s fee to the Fund’s peer group, which is the smallest set of comparators provided by

Morningstar, for only three of six years during the Relevant Period. Plaintiffs misleadingly omit

the peer group data provided by Strategic Insight, which shows that during more recent years


270
      DFFCL ¶ 187.
271
      DFFCL ¶¶ 254-62, 269-72.

                                                98
(2017 and 2018), the Fund’s fee has ranked at the 80th and 69th percentile, respectively, even

among this limited peer group.272 Furthermore, the data provided by Lipper and Morningstar

comparing the Fund’s fee to a broader set of comparable mutual funds routinely showed that the

Fund’s fee ranked only between the 70th and 83rd percentile of similar mutual funds during the

Relevant Period, and Dr. Hubbard’s more refined comparison to similar mutual funds shows that

the Fund ranked between the 62nd percentile and the 76th percentile.273

        140. When conducting comparative analysis of mutual fund fees, each of the
Independent Data Providers, as well as Dr. Pomerantz, compared the Growth Fund against a
peer group of similarly-sized mutual funds (chosen from among the larger set of similarly-
categorized funds), because of the general inverse relationship between fund size and fund fees
(larger funds typically have lower fees). Pomerantz Report at ¶¶298-304; Tr. at 562:7–565:1;
JX 186 at 653796; JX 175 at 652022; JX 130 at 636387, -97 and -400; JX 88 at 523981, -90 and
-93; JX 46 at 520598, -608 and -611; JX 19 at 513361.

          RESPONSE: Denied as stated. The Independent Data Providers and Dr. Pomerantz

compared the Fund’s fee to both size-restricted and non-size-restricted groups of similar mutual

funds, and both measures showed that the Fund’s management fee was in the range of those

similar mutual funds.274 Indeed, every analysis conducted by Lipper, Morningstar, Strategic

Insight, Dean Hubbard, and even Dr. Pomerantz demonstrates that the Fund’s management fee

was in the range of fees that similar mutual funds charged their investors—as was the Fund’s

total expense ratio, which is the price that shareholders actually pay to own the Fund.275 As the

Court ruled on summary judgment, “Plaintiffs concede that the Fund’s Advisory Fee is within

the range of fees charged to peer mutual funds by other investment advisors.”276 Furthermore, as



272
      DFFCL ¶ 259; JX 175 at CALAMOS_00652022; JX 186 at CALAMOS_00653886.
273
      DFFCL ¶¶ 260-62.
274
      DFFCL ¶¶ 255-60.
275
      DFFCL ¶¶ 254-62, 269-72.
276
      Chill, 2018 WL 4778912, at *16.

                                                99
Dean Hubbard testified, an actual economic analysis of the relationship between mutual fund

fees and asset size demonstrates that larger funds do not charge lower fees because they are

large, but instead low-fund fees become large due to their lower prices attracting more

investors.277 Dr. Pomerantz reverses this causal relationship based on nothing but his own biased

conjecture.278

       141. The Peer Comparison analyses conducted by Morningstar and Dr. Pomerantz
both show that very few mutual funds paid higher advisory fees than the Growth Fund.
Pomerantz Report at ¶¶300-04; Tr. at 562:7–565:1; JX 130 at 636413; JX 88 at 524006; JX 46
at 520623. In Morningstar’s peer groups, only one or two funds paid higher advisory fee rates
than the Growth Fund each year: in 2016, only one other fund in the 22-fund peer group paid a
higher advisory fee rate; in 2015, only one other fund in the 18-fund peer group; and in 2014,
only two other funds in the 17-fund peer group. Pomerantz Report at ¶304; JX 130 at 636413;
JX 88 at 524006; JX 46 at 520623. In Dr. Pomerantz’s analysis of all 129 Large Growth mutual
funds with net assets between $1 billion and $10 billion, only 9 other funds paid higher fee rates,
placing the Growth Fund at the 93rd percentile of its peers. Pomerantz Report at ¶¶302-04; Tr.
at 562:7–563:2.

          RESPONSE: Denied. CAL denies that “very few mutual funds paid higher advisory

fees than the Growth Fund.” Plaintiffs again misleadingly omit that Strategic Insight’s size-

restricted peer group of similar mutual funds places the Fund at the 80th and 69th percentile,

respectively, of its peers in 2017 and 2018.279 Dr. Pomerantz’s analysis also shows that within

the Fund’s broader Morningstar Category of 417 mutual funds, 80 of those mutual funds (20%)

paid fees equal to or higher than the management fee that CAL charged the Fund.280 Indeed,

every analysis conducted by Lipper, Morningstar, Strategic Insight, Dean Hubbard, and even

Dr. Pomerantz demonstrates that the Fund’s management fee was in the range of fees that similar

mutual funds charged their investors—as was the Fund’s total expense ratio, which is the price


277
      Tr. 710:14-711:10 (Hubbard).
278
      Tr. 711:1-7 (Hubbard).
279
      DFFCL ¶ 259; JX 175 at CALAMOS_00652022; JX 186 at CALAMOS_00653886.
280
      DFFCL ¶¶ 255-57.

                                               100
that shareholders actually pay to own the Fund.281 As the Court ruled on summary judgment,

“Plaintiffs concede that the Fund’s Advisory Fee is within the range of fees charged to peer

mutual funds by other investment advisors.”282

          Dr. Pomerantz’s conclusion that only 9 out of 129 similar mutual funds paid a fee higher

than the Fund’s is based on his misguided contention that mutual funds charge lower fees as they

become large. To the contrary, as Dean Hubbard explained, an economic analysis of the

relationship between mutual fund fees and asset size demonstrates that larger funds do not charge

lower fees because they are large, but instead low-fund fees become large due to their lower

prices attracting more investors.283

       142. Of the few other peer mutual funds that paid higher advisory fees according to
Morningstar’s and Dr. Pomerantz, approximately half are funds advised by American Century
Investment Management (“ACIM”). Tr. at 563:13–565:1 (of the nine funds that pay higher fees
than the Growth Fund in Dr. Pomerantz’s peer analysis, four are ACIM-advised funds); JX 130
at 636413 (in 2016, the only fund in Morningstar’s expense peer group that paid higher fees was
an ACIM fund); JX 46 at 520623 (in 2014, one of two funds in Morningstar’s expense peer
group that paid higher fees than the Growth Fund was an ACIM fund).

          RESPONSE: Denied as stated. CAL does not dispute that the documents cited in

Paragraph 142 include an American Century fund in the Fund’s peer group. Plaintiffs did not

present any admissible evidence at trial concerning the characteristics of any American Century

fund. Moreover, as Dr. Pomerantz explained, the peer groups constructed by Strategic Insight

did not include any American Century fund, yet they nonetheless shows that the Fund’s fee was

squarely within the range of peers.284 Indeed, every analysis conducted by Lipper, Morningstar,

Strategic Insight, Dean Hubbard, and even Dr. Pomerantz demonstrates that the Fund’s


281
      DFFCL ¶¶ 254-62, 269-72.
282
      Chill, 2018 WL 4778912, at *16.
283
      Tr. 710:14-711:10 (Hubbard).
284
      Tr. 564:8-22 (Pomerantz).

                                                 101
management fee was in the range of fees that similar mutual funds charged their investors—as

was the Fund’s total expense ratio, which is the price that shareholders actually pay to own the

Fund.285 As the Court ruled on summary judgment, “Plaintiffs concede that the Fund’s Advisory

Fee is within the range of fees charged to peer mutual funds by other investment advisors.”286

        143. However, ACIM-advised funds differ from most other mutual funds in that they
pay a unified management fee that covers not only investment advisory services, but also
administrative services, transfer agency services, accounting services, custody services and
further services and expenses as well (that, in the case of most other mutual funds as well as the
Funds, are separately compensated). Tr. at 563:18–564:7. Consequently, ACIM-advised funds
are inapt and are often excluded from comparative analyses of advisory fees, because their
(higher) unified fees represent payment for advisory and non-advisory services. Tr. at 563:18–
564:22; see also JX 175 at 652022 (Strategic Insight excludes from its analysis funds with “all-
inclusive/unified fee structure”).

          RESPONSE: Denied. Plaintiffs did not present any admissible evidence establishing

the characteristics of American Century funds. Dr. Pomerantz’s claim that the American

Century funds pay a “unified fee” is found nowhere in either his initial expert report or his

rebuttal report, and his unsupported testimony concerning his understanding of the “unified fee”

paid by such funds is not competent to establish the fees paid by such funds. Moreover,

Plaintiffs’ assertion in Paragraph 143 that “ACIM-advised funds are inapt” is belied by the fact

that Dr. Pomerantz included American Century funds in the “Large Growth funds” set forth in

Exhibit 1 to his rebuttal report. Furthermore, Morningstar, which Plaintiffs describe as an

“Independent Data Provider,” clearly decided that those mutual funds provided comparative

insight by including them in the Fund’s peer group. CAL further denies that Morningstar’s

inclusion of mutual funds advised by American Century in the Fund’s peer group had a material

impact on the Fund’s relative management fee compared to its peer group. As Strategic Insight’s



285
      DFFCL ¶¶ 254-62, 269-72.
286
      Chill, 2018 WL 4778912, at *16.

                                                102
analysis demonstrates, when CAL was compared to a different peer group according to selection

criteria that omitted mutual funds advised by American Century, the Fund’s fee was even more

comfortably within the range of its peers (i.e., the Fund’s percentile ranking decreased).287

          Indeed, every analysis conducted by Lipper, Morningstar, Strategic Insight, Dean

Hubbard, and even Dr. Pomerantz demonstrates that the Fund’s management fee was in the

range of fees that similar mutual funds charged their investors—as was the Fund’s total expense

ratio, which is the price that shareholders actually pay to own the Fund.288 As the Court ruled on

summary judgment, “Plaintiffs concede that the Fund’s Advisory Fee is within the range of fees

charged to peer mutual funds by other investment advisors.”289

        144. When ACIM-advised funds are removed from Morningstar’s and Dr. Pomerantz’s
Peer Comparison analyses, the Growth Fund’s status as an advisory fee outlier at the very top of
the advisory fee range is evident. Morningstar’s expense peer analyses, after ACIM-advised
funds are removed, reveal that the Growth Fund either pays the highest advisory fees among its
peers (2016), or the second-highest fees (2015 and 2014). JX 130 at 636413; JX 46 at 520623.
And where the Growth Fund placed second, its advisory fees are barely below the highest fee
fund (1 basis point in 2015; 3 basis points in 2014) yet far above the third-place finisher (9 basis
points in 2015, 12 basis points in 2014). Id. In Dr. Pomerantz’s analysis, removal of the four
ACIM funds from the nine funds that pay higher advisory fees moves the Growth Fund from the
93rd to the 95th percentile among peer funds with respect to advisory fees. Tr. at 564:1–565:1.

          RESPONSE: Denied. CAL denies that the removal of mutual funds advised by

American Century from the Fund’s peer group reveals “the Growth Fund’s status as an advisory

fee outlier at the very top of the advisory fee range.” On the contrary, Strategic Insight, which

provided an independent fee comparison that constructed peer groups that expressly excluded

American Century funds, reported percentile rankings of the Fund’s management fee relative to




287
      DFFCL ¶ 259; JX 175 at CALAMOS_00652022; JX 186 at CALAMOS_00653886.
288
      DFFCL ¶¶ 254-62, 269-72.
289
      Chill, 2018 WL 4778912, at *16.

                                                103
its peer group that were significantly lower than Morningstar’s analysis.290 Similarly, Lipper,

which also did not include mutual funds advised by American Century in the Fund’s peer group,

also performed a comparative fee analysis that produced a lower percentile ranking than

Morningstar.291

          Indeed, every analysis conducted by Lipper, Morningstar, Strategic Insight, Dean

Hubbard, and even Dr. Pomerantz demonstrates that the Fund’s management fee was in the

range of fees that similar mutual funds charged their investors—as was the Fund’s total expense

ratio, which is the price that shareholders actually pay to own the Fund.292 As the Court ruled on

summary judgment, “Plaintiffs concede that the Fund’s Advisory Fee is within the range of fees

charged to peer mutual funds by other investment advisors.”293

        145. Plaintiffs presented additional trial evidence regarding comparative mutual fund
fees, namely, the testimony of CAL’s expert, Dean Hubbard. Dean Hubbard opined that,
according to his study of price elasticities of demand in the mutual fund industry, the
consequences to an advisor of charging a supra-competitive fee, given its level of performance,
would be a loss of AUM and a loss of market share. Tr. at 686:15-687:24, 691:20-693:5. For
every percent above a competitive level that a fund’s fees were, Dean Hubbard testified that an
advisor would lose 3% of its market share to competing funds. Tr. at 687:21-24. Here, the
Growth Fund lost in excess of 90% of its AUM and a similar proportion of its market share,
since its AUM peaked in March 2006. Pomerantz Rebuttal Report at ¶418. This supports the
conclusion that the Growth Fund’s fees were excessive. Id.

          RESPONSE: Denied as stated. Dean Hubbard, when asked whether “that phenomenon,

declining assets under management at the growth fund, indicate to you the fee was excessive,”

responded “No, it needn’t be that at all. The variable that I mentioned in my book was a net

between gross performance and fees, and then many other characteristics – reputation, complex



290
      DFFCL ¶ 259; JX 175 at CALAMOS_00652022; JX 186 at CALAMOS_00653886.
291
      DFFCL ¶ 259; JX 19 at CALAMOS_00513361-62.
292
      DFFCL ¶¶ 254-62, 269-72.
293
      Chill, 2018 WL 4778912, at *16.

                                                104
and so on. So it’s one of many variables.”294 Retail mutual fund investors commonly exit

mutual funds for reasons wholly unrelated to fees or performance, such as the increased

availability of alternative investment products; in fact, during the Relevant Period, the market at

large experienced a large shift in capital from actively-managed mutual funds to passive

strategies or to new products, such as exchange traded funds.295 Moreover, numerous new

investors decided to invest in the Fund during the Relevant Period. Although the Fund

experienced meaningful net outflows of AUM between 2013 and 2018, the Fund also received

approximately $1.6 billion in gross inflows between November 2013 and October 2016.296 In

fact, as Mr. Becker explained, sophisticated intermediaries such as Wells Fargo and Charles

Schwab continue to this day to place money in the Fund on behalf of their clients after

performing due diligence on CAL.297 The trial evidence further demonstrates that the Fund’s

loss of AUM does not in any way prove that the fee CAL charged the Fund was excessive.298

          B.     Versus CAL’s Arm’s-Length Institutional/Subadvisory Clients

                 1.      Analysis of Relative Fees

                         a.      The Effective Advisory Fee Rates Payable Under the IMA’s
                                 Fee Schedule Dwarf Those Payable Under the Other ACG
                                 Accounts’ Fee Schedules

       146. During the Relevant Period, three different fee rate schedules governed CAL’s
Other ACG Accounts (as detailed in Section I.G.2, supra).

          RESPONSE: Denied. Plaintiffs’ assertion that the Fund’s management fee is excessive

because it is higher than fees charged to All Cap Growth Clients under different fee schedules is


294
      Tr. 718:12-23 (Hubbard).
295
      DFFCL ¶ 283.
296
      See DFFCL ¶ 285.
297
      Tr. 70:1-20 (Becker).
298
      DFFCL ¶¶ 282-87.

                                                105
not supported by the trial evidence or the Section 36(b) jurisprudence. Indeed, Plaintiffs failed to

prove that the fees paid by CAL’s All Cap Growth Clients set the arm’s-length bargaining range

for the Fund’s fee for the following fundamental reasons:

         •      Plaintiffs failed to prove that any All Cap Growth Client is an apt comparator to

the Fund, nor could they in light of the overwhelming trial evidence that (a) there are numerous

differences in services and risks between managing the Fund and advising any of the All Cap

Growth Clients, (b) a mutual fund and an institutional or sub-advisory account are different

products that are sold in different markets to predominantly different types of clients, and (c) the

pricing differential between the Fund and CAL’s All Cap Growth Clients is entirely consistent

with industry practice and reflects forces of market competition.299

         •      No regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones “do[] not require fee parity across an adviser’s different clients.”

Hence, no court has ever held that institutional or sub-advisory accounts are an apt comparison

for a mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.300

         Plaintiffs also failed to prove that the Fund’s management fee “dwarfed” the fees paid by

CAL’s Other ACG Accounts” for each of the following reasons:




299
      DFFCL ¶¶ 169-203.
300
      DFFCL ¶ 227.

                                                  106
         •     First, Plaintiffs’ assertion, which comes solely from Dr. Pomerantz, does not in

any way account for the differences in services, risks, markets, or products between CAL’s

mutual fund clients and its institutional and sub-advisory All Cap Growth Clients.301

         •     Second, Plaintiffs’ assertion is based on a subset of only nine of CAL’s All Cap

Growth Clients—six institutional accounts and three sub-advisory accounts—and excludes

CAL’s remaining 27 All Cap Growth Clients during the Relevant Period. Of these excluded

clients, 21 paid effective fee rates of 75 basis points or more, a rate which Plaintiffs have

acknowledged is not materially different than the fee paid by the Fund; indeed, the range of fees

paid by these accounts extends up to 82 basis points.302 The excluded accounts therefore actually

support, rather than refute, the contention that the Fund’s fee is within the range that would have

been produced by arm’s length bargaining, which may explain why Dr. Pomerantz claimed that

he had “no idea” what his calculation would have shown if he had corrected it to include all 36

accounts.303

         •     Third, although Plaintiffs’ 42-basis paint weighted average effective fee rate is

largely driven by fees CAL charged to just two sub-advisory clients, Nomura and MD American,

Plaintiffs did no analysis and provided no evidence to show that CAL’s roles and responsibilities

for those accounts were aptly comparable to CAL’s roles and responsibilities as adviser to the

Fund; and they did no analysis and provided no evidence about the actual total management fees

paid by Nomura and MD American (i.e., total fees paid to the adviser and all sub-advisers) as

compared to the management fee paid by Fund investors.304 On the contrary, Dr. Pomerantz


301
      DFFCL ¶ 235.
302
      DFFCL ¶ 236.
303
      DFFCL ¶ 236.
304
      DFFCL ¶ 237-238.

                                                 107
equivocated about the extent to which Nomura and MD American were comparable, ultimately

declaring that because “[t]hese aren’t even ’40 Act funds” (i.e., funds governed by the ICA),

“there’s no point at all in comparing” the Fund’s management fee to the management fees that

MD American and Nomura charged their clients.305

         •      Fourth, the range of fees charged to CAL’s All Cap Growth Clients includes the

Fund’s fee, because certain All Cap Growth Clients, such as the James B. Powell Restated

Revocable Trust, moved their investment from a CAL institutional account following the All

Cap Growth strategy (at the lower institutional account management fee) into the Fund.306 Other

prospective clients, such as the City of Seattle, could have chosen to invest with CAL in an

institutional account, but voluntarily chose to invest in the Fund and pay the Fund’s higher

advisory fee.307 The existence of sophisticated institutional clients that chose to invest in the

Fund, thus paying the Fund’s higher management fee, is further compelling evidence that the

Fund’s fee is within this “arm’s-length range.”

         •      Fifth, Dr. Pomerantz’s calculation is entirely inapplicable during the years 2017

and 2018—which are included in the Relevant Period in this case—because during those years,

CAL had no All Cap Growth Clients. Thus, as Dr. Pomerantz admitted, today there are no

comparable All Cap Growth Clients to consider in his model,308 which is therefore a complete

failure of proof as to CAL’s alleged arm’s-length fee would have been during those years

         In addition, with specific respect to Plaintiffs’ assertions in Paragraph 146, the fee that

the Fund may have paid under the Standard Institutional Rate is not relevant to any issue in this


305
      DFFCL ¶ 237.
306
      DFFCL ¶ 239.
307
      DFFCL ¶ 239.
308
      DFFCL ¶ 240.

                                                  108
case. Although CAL’s All Cap Growth Clients operated under three different standard advisory

fee schedules during the Relevant Period, clients such as Thrivent Financial for Lutherans and

Nomura Currency Fund – U.S. Growth Equity Fund followed different fee schedules.309 In fact

as many as six different fee schedules existed among CAL’s All Cap Growth Clients during the

Relevant Period because Nomura previously operated under a different, non-standard fee

schedule that contained breakpoints at $750 million and $1.5 billion. At Nomura’s request, CAL

and Nomura amended the fee schedule to remove those breakpoint such that Nomura would pay

a flat rate.310

        147. Each of these fee rate schedules provided for substantially lower advisory fee
rates than those payable under the IMA. Pomerantz Report at ¶¶169-80. For example, at asset
levels of $2.7 billion, which was the Growth Fund’s AUM as of May 2017, those schedules
produce effective fee rates of only approximately 33 to 51 basis points, compared to Growth
Fund’s average effective fee rate of 85 bps. Pomerantz Report at ¶¶169-76; Tr. at 555:6-
556:20.

          RESPONSE: Denied. The fee that the Fund may have paid under the Standard

Institutional Rate is not relevant to any issue in this case. Plaintiffs’ assertion that the Fund’s

management fee is excessive because it is higher than fees charged to All Cap Growth Clients

under different fee schedules is not supported by the trial evidence or the Section 36(b)

jurisprudence for each of the fundamental reasons set forth in CAL’s Response to Paragraph 146,

supra.

        148. Dr. Pomerantz further testified that the fee rate disparities are understated in
these comparisons because the Standard SMA Rate and the MD Rate fee schedules contemplate
AUM levels that are only a fraction of the actual size of the Growth Fund. Pomerantz Report at
¶¶175; Tr. at 555:23-556:16, 558:20-559:17. For prospective clients possessing AUM similar
to the Growth Fund, it is likely that further negotiations with CAL would have occurred,
resulting in additional breakpoints offering rate reductions at higher AUM levels, lower effective



309
      JSSF ¶¶ 98-99 & Ex. 1 (referencing Fee Schedules A, B, and C).
310
      Compare JX 15 at CALAMOS_00622204, with JX 59 at CALAMOS_00296130.

                                                 109
fee rates and an even greater differential between the fees such clients paid and the fees paid by
the Growth Fund. Id.311

          RESPONSE: Denied. The fee that the Fund may have paid under the Standard SMA

Rate is not relevant to any issue in this case. CAL denies that Dr. Pomerantz has any

qualifications to speculate as to under what conditions clients’ fee schedules would have been

subject to further negotiation or what the outcome of those hypothetical negotiations might

produce since he conceded that he has no direct experience with negotiating management fees

(or a fee for any third-party service provider) on behalf of a mutual fund.312 Contrary to

Dr. Pomerantz’s speculation, on the only occasion in the record during the Relevant Period when

an All Cap Growth Client negotiated a revision to its fee schedule, Nomura actually eliminated

the breakpoints from its fee schedule.313 Furthermore, as Dean Hubbard testified, since mutual

funds are different products than institutional and sub-advisory accounts, “you wouldn’t expect

there to be a close price coherence between the two,” which makes it entirely unremarkable that


311
   Indeed, IMAs for certain CAL institutional clients invested in equity strategies expressly state
that further rate negotiations would occur if assets increase above a contemplated level. See PX
313 at 645299-305 and 645561-65, at 645564 (IMA of Voluntary Benefit Plan Trust for UAW
Retired Employees of Allis-Chalmers Corporation, providing that rates for asset levels above
$50 million would be “negotiated”); id. at 645130-41, at 645137 (IMA of Northwest Ohio Area
Industries UAW Retirement Income Plan, stating that rates would be “negotiated” for assets
exceeding $200 million); id. at 645257-67, at 645262 (IMA of Plumbers & Pipefitters Local No.
142, stating that rates would be “negotiated” for assets exceeding $200 million); id. at 645257-
67, at 645262 (IMA of Nord Family Foundation, providing that rates would be “negotiated” for
assets exceeding $200 million). RESPONSE: Denied. Plaintiffs failed to prove that the simple
fact that these contracts provided that they would be further “negotiated” in the event that
circumstances arose that were not provided for in the contract means that the outcome of these
negotiations would have been reduced fee schedules, as Dr. Pomerantz speculates without basis
or expert qualification. Instead, the trial evidence demonstrates that Nomura negotiated with
CAL to amend its subadvisory agreement in a manner that actually would have increased the fee
schedule’s effective fee at higher asset levels. Compare JX 15 at CALAMOS_00622204, with
JX 59 at CALAMOS_00296130.
312
      Tr. 406:8-407:24, 409:17-410:6 (Pomerantz).
313
      Compare JX 15 at CALAMOS_00622204, with JX 59 at CALAMOS_00296130.

                                               110
their different fee schedules produce different prices and are designed to fit different asset

ranges.314

          Plaintiffs’ assertion that the Fund’s management fee is excessive because it is higher than

fees charged to All Cap Growth Clients under different fee schedules is not supported by the trial

evidence or the Section 36(b) jurisprudence for each of the fundamental reasons set forth in

CAL’s Response to Paragraph 146, supra.

        149. Plaintiffs also presented evidence of the overall effective rate paid by CAL’s
Other ACG Accounts (i.e., an AUM-weighted average effective fee rate). Specifically, Plaintiffs
showed that, during 2014 and 2015, CAL’s Other ACG Accounts paid a weighted average
effective fee rate of only 42 basis points – approximately half the effective fee rate paid by the
Growth Fund. Pomerantz Report at ¶¶163-67; Tr. at 572:19-573:13, 575:19-577:5. Including
all of CAL’s Other ACG Accounts since June 2013 as listed in CAL’s September 2017
interrogatory response (JX 181 at Ex. A) results in an AUM-weighted average fee rate of only 46
basis points. See Exhibit A hereto (calculation of weighted average effective fee rate paid by all
Other ACG Accounts during Relevant Period, based on the data in JX 181 at Ex. A).

          RESPONSE: Denied. CAL denies that Dr. Pomerantz’s weighted average effective fee

of 42 basis points is “evidence of the overall effective rate paid by CAL’s Other ACG

Accounts.” As CAL demonstrated at trial, Dr. Pomerantz’s analysis is flawed in numerous

respects, including because it (1) does not account for the differences in services, risks, markets,

or products between CAL’s mutual fund clients and its institutional and sub-advisory All Cap

Growth Clients, (2) is based on only nine of CAL’s 36 All Cap Growth Clients; (3) is driven

almost entirely by the fees paid by Nomura and MD without considering the fees that those

advisers charged their funds’ shareholders; and (4) does not account for changes in the makeup

of CAL’s All Cap Growth Clients throughout the Relevant Period, including the lack of any such

clients in 2017 and 2018.315



314
      Tr. 726:10-16 (Hubbard).
315
      DFFCL ¶¶ 233-40.

                                                  111
          In particular, despite the fact that Plaintiffs’ own exhibits demonstrate that CAL served as

only one of multiple sub-advisers for the MD accounts—one of three sub-advisers for the MD

American Fund and one of four subadvisers for the MDPIM U.S. Equity Pool—Dr. Pomerantz

did not consider this fact as part of his analysis or how CAL’s more limited role with respect to

the MD accounts versus the Fund might render them inapt comparators.316 This is a remarkable

oversight given that CAL’s sub-advisory agreement for the MD American Fund, which

Dr. Pomerantz purported to review, expressly stated that CAL was “appointed to advise on

approximately 30% of the assets of MD American Growth Fund with Board approval of a multi-

manager structure” rather than the entire fund.317

          Furthermore, CAL objects to Plaintiffs’ attempt to introduce Dr. Pomerantz’s new

weighted average effective fee of 46 basis points after trial, thereby depriving CAL of any ability

to cross-examine him about his purported work. Dr. Pomerantz had this data available to him to

analyze since September 2017, more than a year in advance of trial, which he admitted.318

Dr. Pomerantz has previously been reprimanded for using exactly this tactic in Sivolella, in

which he also attempted to rehabilitate his damages models through updated charts that were

“never disclosed at trial or prior to the parties’ pre-trial order.”319 As the Sivolella court

explained:

                 A party cannot cure flaws or inaccuracies in its trial presentation
                 through post-trial submissions by simply submitting new charts and
                 updated calculations. If the Court were to allow this, Defendants
                 would be deprived of their right to cross-examine Plaintiffs’

316
   PX 345 at CALAMOS_00118411 (explaining the multi-sub-adviser relationship); Tr. 501:18-
21, 504:11-505:14 (Pomerantz).
317
      JX 8 at CALAMOS_00638091.
318
      JX 181 at 10; Tr. 596:19-21 (Pomerantz).
319
    Sivolella v. AXA Equitable Life Ins. Co., 2016 WL 4487857, at *70 (D.N.J. Aug. 25, 2016),
aff’d, 742 F. App’x 604 (3d Cir. 2018).

                                                  112
                    witnesses, or offer their own testimony or evidence in rebuttal. The
                    right to cross-examine and test the soundness of the calculations is
                    particularly important here in light of the large number of errors,
                    methodological shortcomings, and basic mistakes demonstrated by
                    Plaintiffs’ experts [i.e., Dr. Pomerantz] at trial.320

This Court should similarly rule that Dr. Pomerantz’s strategically untimely analysis “should not

be considered.”321

          In addition, Plaintiffs’ assertion that the Fund’s management fee is excessive because it is

higher than fees charged to All Cap Growth Clients under different fee schedules is not

supported by the trial evidence or the Section 36(b) jurisprudence for each of the fundamental

reasons set forth in CAL’s Response to Paragraph 146, supra.

                           b.      The ACG Accounts CAL Identified as Having High Effective
                                   Fee Rates All Had Extremely Low AUM

        150. At trial, Defendant argued that most of the Other ACG Accounts paid effective fee
rates far above the AUM-weighted average effective rate computed by Plaintiffs. Tr. 27:14–
28:12, 506:24–509:3. But as demonstrated at ¶81, supra, this is simply a function of the
relatively small sizes of those clients’ accounts. Tr. at 557:16-559:4; JX 181 at Ex. A.

          RESPONSE: Denied. Plaintiffs’ assertion in Paragraph 150 acknowledges that 27 of

CAL’s All Cap Growth Clients paid a fee of 75 basis points—a fee that Plaintiffs’ expert

concedes is not materially different from the Fund’s management fee during any of the years in

the Relevant Period.322 Plaintiffs did not present any admissible and credible evidence at trial

that these accounts would have paid meaningfully lower effective fees at higher levels of AUM.

          In addition, Plaintiffs’ assertion that the Fund’s management fee is excessive because it is

higher than fees charged to All Cap Growth Clients under different fee schedules is not




320
      Id. at *71.
321
      Id. at *70.
322
      DFFCL ¶ 236.

                                                    113
supported by the trial evidence or the Section 36(b) jurisprudence for each of the fundamental

reasons set forth in CAL’s Response to Paragraph 146, supra.

       151. Indeed, in order to validly compare effective fee rates, the Growth Fund’s and the
Other ACG Accounts’ AUM have to be equalized. In fact, this is the precise calculation that
Defendant’s own expert, Mr. Richardson, performed in Exhibit 2A of his Report. There, he
determined the effective fee rate that certain of CAL’s Other ACG clients would have paid under
the “rack rate” if they had the same AUM as the Growth Fund was only 50-51 bps.

          RESPONSE: Denied. Mr. Richardson’s analysis demonstrates that the differential

between the Fund’s management fee and CAL’s institutional accounts is entirely consistent with

the fee differential across other advisers with large cap growth mutual funds and institutional

accounts.323 There is no requirement, whether in the ICA, SEC regulations, or the case law, that

“in order to validly compare effective fee rates, the Growth’s Fund’s and the Other ACG

Accounts’ AUM have to be equalized,” nor do Plaintiffs’ cite any basis for creating such a

requirement in this case.

          In addition, Plaintiffs’ assertion that the Fund’s management fee is excessive because it is

higher than fees charged to All Cap Growth Clients under different fee schedules, is not

supported by the trial evidence or the Section 36(b) jurisprudence for each of the fundamental

reasons set forth in CAL’s Response to Paragraph 146, supra.

                 2.      CAL’s Ipse Dixit that the Funds’ Higher Advisory Fees were Justified
                         by Greater Services and Risks

         152. Each year during the Relevant Period, CAL represented to the Board, in writing
in its annual 15(c) Responses, and orally during the annual 15c Board Meetings, that the higher
advisory fees that it charged to the Funds (versus to its institutional and/or subadvisory clients)
reflected, and were explained or justified by: (1) purportedly more extensive advisory services
that CAL provided to the Funds, and (2) purportedly greater risks that it assumed when




323
      Tr. 794:8-796:16 (Richardson).

                                                  114
providing advisory services to the Funds.324 Tr. at 125:25–132:7, 261:24–263:15, 291:1–
301:23, 308:16–322:17, 372:1–385:10, 908:14–909:11.

       RESPONSE: Denied. Plaintiffs’ assertion that CAL sought to, or was required to,

“justify” the Fund’s management fee relative to its All Cap Growth Clients’ fees solely on the

basis of the different and greater services that CAL provides to the Fund than to its All Cap

Growth Clients and the different and greater risks it assumes in advising the Fund than it does in

advising its All Cap Growth Clients, is not supported by the trial evidence or the Section 36(b)

jurisprudence for each of the following fundamental reasons:

       First, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Fund than to its All Cap Growth Clients, and assumes different and greater

risks in advising the Funds than it does in advising its All Cap Growth Clients. CAL’s 15(c)

Responses included a “Discussion of Management Fee Rates by Product” presentation that both

informed the Independent Trustees of the fees that CAL charged to the Funds and to its

institutional and sub-advisory clients and provided a brief summary overview of the services that

CAL provided to the Fund that were not required for institutional or sub-advisory accounts.

       Second, as the evidence also conclusively demonstrates, the Discussion of Management

Fee Rates by Product presentation was not the sole information that the Independent Trustees

received about such services, nor was it intended to be an exhaustive recitation of all of the many

differences in services and risks. To the contrary, the Independent Trustees also regularly

receive extensive information at every Board meeting concerning the services CAL provides to


324
   DX 184-P; DX 176-P; DX 145-Q; DX 113-R; DX 61-R; JX 187 [2018 15c Meeting Minutes]
at 654061; JX 180 [2017 15c Meeting Minutes] at 652321; JX 144 [2016 15c Meeting Minutes]
at 636366; JX 111 [2015 15c Meeting Minutes] at 534339; JX 70 [2014 15c Meeting Minutes]
at 534050; JX 31 [2013 15c Meeting Minutes] at 503420.

                                               115
the Fund that are not required for All Cap Growth Clients, such as fund administration, oversight

of third party service providers, and reports from the Funds’ CCO. In addition, the Independent

Trustees have 150+ years of collective experience in the asset management industry—including

senior management positions at leading investment advisers who offer both mutual funds and

institutional products.325

          Third, based on both this directly on-point experience and the information they receive,

the trial evidence therefore demonstrates both that (a) the Independent Trustees have all of the

information they believe they need about CAL’s All Cap Growth Clients when they annually

vote to approve the IMA, and (b) the Independent Trustees fully understand the differences in

services and risks entailed in advising the Fund versus CAL’s All Cap Growth Clients.326 As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the

Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an

apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”327

          Fourth, CAL denies either that it purported to or was required to “justify” the Fund’s fee

relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the

different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s



325
      DFFCL ¶¶ 56-58.
326
      DFFCL ¶¶ 204-207.
327
      Tr. 177:17-20 (Neal).

                                                  116
institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’

advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”328

         Fifth, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients set

the arm’s-length bargaining range for the Fund’s fee for the following fundamental reasons:

         •       Plaintiffs failed to prove that any All Cap Growth Client is an apt comparator to

the Fund, nor could they in light of the overwhelming trial evidence that (a) there are numerous

differences in services and risks between managing the Fund and advising any of the All Cap

Growth Clients, (b) a mutual fund and an institutional or sub-advisory account are different

products that are sold in different markets to predominantly different types of clients, and (c) the

pricing differential between the Fund and CAL’s All Cap Growth Clients is entirely consistent

with industry practice and reflects forces of market competition.329

         •       No regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones “do[] not require fee parity across an adviser’s different clients.”

Hence, no court has ever held that institutional or sub-advisory accounts are an apt comparison

for a mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s




328
      DFFCL ¶¶ 242-244.
329
      DFFCL ¶¶ 169-203.

                                                 117
management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.330

         153. First, CAL’s annual 15(c) Responses included a presentation entitled “Discussion
of Management Fee Rates by Product,” whose first half contained certain numerical data
concerning the advisory fees CAL charged to the Funds and to its other clients, and whose
second half consisted of a list of services that CAL purportedly provided to the Funds but not at
all, or not to the same extent, to its institutional or subadvisory clients, and of certain
purportedly greater costs and risks that CAL assumed in providing its Funds with advisory
services (the “Greater Services List”). DX 184-P; DX 176-P; DX 145-Q; DX 113-R; DX 61-R;
Tr. at 308:20–309:13. The Greater Services List was virtually identical each year. Id.; see also
Tr. at 308:20–309:13. The Greater Services List is reproduced in Exhibit B hereto.

         RESPONSE: Denied. Plaintiffs’ assertion that CAL sought to, or was required to,

“justify” the Fund’s management fee relative to its All Cap Growth Client fees solely on the

basis of the different and greater services that CAL provides to the Fund than to its All Cap

Growth Clients and the different and greater risks it assumes in advising the Fund than it does in

advising its All Cap Growth Clients, is not supported by the trial evidence or the Section 36(b)

jurisprudence for each of the fundamental reasons set forth in CAL’s Response to Paragraph 152,

supra.

       154. Second, each annual 15(c) Meeting during the Relevant Period, CAL’s executives
(such as CAL’s chief financial officer) reviewed the “Discussion of Management Fee Rates by
Product” presentation with the Independent Trustees and discussed the Greater Services List:

                Mr. Bhatt reviewed, for each Fund, the differences in rates
                between the management fees and the Adviser’s other types of
                clients. He then reviewed in detail the factors that distinguish the
                services received by Funds as registered investment companies
                from other clients that either do not receive those services or
                receive them to a substantially lesser degree. Specifically, he
                discussed services such as the monitoring, supervision and
                oversight of fund accounting services, fund administration
                services, tax accounting services, fund distribution and
                performance reports, among others, as well as the coordination of
                and management of fund audits and provision of customer support.


330
      DFFCL ¶ 227.

                                                  118
               He also noted that the Adviser provides and maintains extensive
               websites containing fund data; information technology
               infrastructure, controls and security; automatic investment
               programs; tax reporting services; continuous monitoring to ensure
               compliance with the federal securities laws; and that the Adviser
               provides necessary services or support in connection with
               regulatory examinations and preparation and distribution of fund
               regulatory filings.

JX 144 at 636366; JX 111 at 534339.
         RESPONSE: Denied as stated. CAL admits that Paragraph 154 accurately quotes from

the June 2016 Board meeting minutes. Plaintiffs’ assertion that CAL sought to, or was required

to, “justify” the Fund’s management fee relative to its All Cap Growth Client fees solely on the

basis of the different and greater services that CAL provides to the Fund than to its All Cap

Growth Clients and the different and greater risks it assumes in advising the Fund than it does in

advising its All Cap Growth Clients, is not supported by the trial evidence or the Section 36(b)

jurisprudence for each of the fundamental reasons set forth in CAL’s Response to Paragraph 152,

supra.

        155. Third, during the 15(c) Meetings, additional CAL executives, including CAL
General Counsel Mr. Jackson, and CAL founder and co-chief investment officer Mr. Calamos,
Sr., provided further commentary concerning the purportedly greater risks CAL incurred in
providing advisory services to its Funds (versus to other accounts):

               Mr. Jackson added that the pricing of each management
               agreement with the Funds reflects the fact that the regulatory and
               litigation environment affect advisers of mutual funds in more
               significant ways than they affect advisers of only private accounts.
               Specifically, he noted that the Adviser's concerns with the litigation
               risks involved in running a mutual fund are reflected in the pricing
               of its contracts. In response to a question, he noted that this
               number is necessarily subjective, but that it is reasonable for the
               business to price in that risk. This, he explained, is typically one of
               the factors (among many others, as discussed by Mr. Bhatt) that
               account for different pricing between private accounts and mutual
               fund management agreements. (JX 144 at 636366)

                                                ***

                                                119
               Mr. Calamos highlighted the entrepreneurial risk associated with
               the fund business and the added risk of liability present in the fund
               versus private wealth or separately managed account business. He
               noted that the regulatory and litigation risk cannot be quantified
               because there are no explicit expense figures associated with them.
               He stated, however, that they are very real, as the current Chill
               litigation illustrates. (JX 111 at 534339)

       RESPONSE: Denied. CAL admits that Paragraph 155 accurately quotes from the July

2015 and June 2016 Board meeting minutes. Plaintiffs’ assertion that CAL sought to, or was

required to, “justify” the Fund’s management fee relative to its All Cap Growth Client fees solely

on the basis of the different and greater services that CAL provides to the Fund than to its All

Cap Growth Clients and the different and greater risks it assumes in advising the Fund than it

does in advising its All Cap Growth Clients is not supported by the trial evidence or the Section

36(b) jurisprudence for each of the fundamental reasons set forth in CAL’s Response to

Paragraph 152, supra.

       156. As reflected nearly verbatim each year in the 15(c) Meeting Minutes, the
Independent Trustees took into account and credited CAL’s above-detailed written and oral
representations concerning the purportedly greater services it provided, and risks it assumed, in
providing advisory services to its Funds as opposed to other advisory clients:

               The Board took into account the Adviser’s assertion that although,
               generally, the rates of fees paid by institutional clients were lower
               than the rates of fees paid by the Funds, the differences reflected
               the Adviser’s greater level of responsibilities and significantly
               broader scope of services regarding the Funds, the more extensive
               regulatory obligations and risks associated with managing the
               Funds, and other financial considerations with respect to creation
               and sponsorship of the Funds. The Board considered factors that
               lead to more expenses for registered funds including but not
               limited to: (i) capital expenditures to establish a fund, (ii) length of
               time to reach critical mass, and the related expenses, (iii) higher
               servicing costs of intermediaries and shareholders, (iv) higher
               redemption rates of assets under management, (v) entrepreneurial




                                                 120
               risk assumed by the Adviser and (vi) greater exposure to “make
               whole” errors.331

       RESPONSE: Denied. CAL admits that Paragraph 156 accurately quotes from and/or

cites to the referenced Board meeting minutes. Plaintiffs’ assertion that CAL sought to, or was

required to, “justify” the Fund’s management fee relative to its All Cap Growth Client fees solely

on the basis of the different and greater services that CAL provides to the Fund than to its All

Cap Growth Clients and the different and greater risks it assumes in advising the Fund than it

does in advising its All Cap Growth Clients is not supported by the trial evidence or the Section

36(b) jurisprudence for each of the fundamental reasons set forth in CAL’s Response to

Paragraph 152, supra.

               3.       The Uncontroverted Record Evidence Establishes that the Cost of the
                        Greater Services/Risks Bears No Reasonable Relationship to the Fee
                        Differential

        157. Even assuming CAL undertakes additional services and greater risks with respect
to advising funds versus non-funds, the cost associated with those greater services and risks
comes nowhere close to explaining/accounting for the massive difference in CAL’s advisory fees,
because it amounts to a maximum of six basis points.

       RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of

the different and greater services and risks with respect to managing the Fund as compared to its

All Cap Growth Clients fail to support a cognizable Section 36(b) claim for each of the following

fundamental reasons:

       First, under the IMA, CAL is required to provide greater and more extensive services to

the Fund than to its institutional and sub-advisory All Cap Growth Clients. Indeed, as




331
   JX 187 at 654061; JX 180 at CALMAOS_652321; JX 144 at 636381; JX 111 at 534351; JX
70 at 534050; JX 31 at 503420.

                                                121
Dr. Pomerantz agreed, CAL is “morally responsible” under the IMA for “everything that needs

to be done” for the Fund and “providing literally all of the necessary services to operate the

trust.”332 None of CAL’s investment management agreements for its 36 All Cap Growth Clients

even suggests that CAL bears anything close to the “moral responsibility” for “providing literally

all of the necessary services” for any of its All Cap Growth Clients, nor did Plaintiffs offer any

evidence to the contrary.333 Consistent with its limited contractual responsibilities under its

agreements with those clients, CAL did not provide anywhere near the full panoply of services it

was required to and in fact did provide in managing the Fund; and, at trial, Plaintiffs provided no

evidence to show that CAL’s limited roles and responsibilities for any of CAL’s All Cap Growth

Clients were in any way different than as uniformly described by CAL’s witnesses.334

         Second, on the other hand, consistent with both its “moral responsibility” under the IMA

and industry practice, the trial evidence demonstrates unequivocally that CAL provides different,

greater and more extensive services to the Fund than to its All Cap Growth Clients in each of the

following areas: (a) legal, regulatory and compliance;335 (b) fund governance services;336 (c)

fund administration services;337 (d) portfolio management services;338 and (e) client/shareholder

services.339 And, this is true regardless of whether CAL provides the service itself, or whether

the service is provided by a third party at all times subject to CAL’s monitoring, supervision and


332
      DFFCL ¶¶ 166-167.
333
      DFFCL ¶ 168.
334
      DFFCL ¶¶ 169-172.
335
      DFFCL ¶¶ 174-180.
336
      DFFCL ¶¶ 181-183.
337
      DFFCL ¶¶ 184-188.
338
      DFFCL ¶¶ 189-192.
339
      DFFCL ¶¶ 193-197.

                                                122
oversight, and with CAL remaining ultimately responsible to the Fund for all of the work

provided by these third party service providers.340

         Third, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Funds than to its All Cap Growth Clients, and assumes different and

greater risks in advising the Funds than it does in advising its All Cap Growth Clients. As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the

Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an

apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”341

         Fourth, CAL denies either that it purported to or was required to “justify” the Fund’s fee

relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the

different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s

institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’




340
      DFFCL ¶ 187.
341
      DFFCL ¶¶ 204-207.

                                                 123
advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”342

         Fifth, Plaintiffs’ sole proffered basis for its assertion as to the purported “cost associated

with those greater services and risks” is the belated and demonstrably erroneous calculation from

Dr. Pomerantz. This calculation does not prove anything, and is therefore of no probative value

to any issue in this case, because, among other reasons (a) at the time of his deposition,

Dr. Pomerantz testified that he had not, and could not, calculate the difference in CAL’s costs

between managing a mutual fund and advising an institutional or sub-advisory All Cap Growth

Client, (b) Dr. Pomerantz does not have the requisite experience in the mutual fund industry to

assess the differences in services and risks involved in advising a mutual fund as compared with

institutional or sub-advisory accounts, and (c) Dr. Pomerantz conceded that he had zero

experience calculating this type of cost differential during his career, and he could not provide

any example of an occasion in which a court had ruled that he was qualified to perform this kind

of analysis.343 As Dr. Pomerantz aptly described it, the costs forming the basis for his 6.1 basis

point calculation “don’t really correspond to anything.”344

         Sixth, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients set

the arm’s-length bargaining range for the Fund’s fee for the following fundamental reasons:

         •       Plaintiffs failed to prove that any All Cap Growth Client is an apt comparator to

the Fund, nor could they in light of the overwhelming trial evidence that (a) there are numerous

differences in services and risks between managing the Fund and advising any of the All Cap



342
      DFFCL ¶¶ 242-244.
343
      DFFCL ¶¶ 376-377, 379.
344
      DFFL ¶ 379.

                                                  124
Growth Clients, (b) a mutual fund and an institutional or sub-advisory account are different

products that are sold in different markets to predominantly different types of clients, and (c) the

pricing differential between the Fund and CAL’s All Cap Growth Clients is entirely consistent

with industry practice and reflects forces of market competition.345

         •      No regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones “do[] not require fee parity across an adviser’s different clients.”

Hence, no court has ever held that institutional or sub-advisory accounts are an apt comparison

for a mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.346

        158. Plaintiffs’ expert Dr. Pomerantz showed that if one takes all the functional
expenses that conceivably relate to plausible additional services and risks – namely, those for
fund administration; legal, compliance, and internal audit; and insurance – and allocate 100%
of those expenses to the mutual fund side of CAL’s business, and none to the institutional side,
they would total 3.6 basis points in 2014, 4.6 basis points in 2015, and 6.1 basis points in 2016.
Pomerantz Report at ¶¶221-85; Tr. at 565:2-568:2; JX 181 at Ex. B.

         RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of

the different and greater services and risks with respect to managing the Fund as compared to its

All Cap Growth Clients fail to support a cognizable Section 36(b) claim for each of the

fundamental reasons set forth in CAL’s Response to Paragraph 157, supra.

        159. This analysis is especially conservative because it assumes that no insurance,
legal, compliance, or internal audit costs are incurred with respect to CAL’s institutional
accounts – and, hence, that no such costs are allocable to the institutional part of CAL’s
business – which the evidence shows is untrue. Tr. at 567:18 – 568:2. For example: (i) CAL’s

345
      DFFCL ¶¶ 169-203.
346
      DFFCL ¶ 227.

                                                  125
general counsel, Mr. Jackson, estimated that he devoted 60% of his time to non-fund client
matters during the heart of the Relevant Period (Tr. at 269:24-270:10); (ii) CAL’s compliance
department has numerous functions which relate to non-fund accounts (Mickey Dep. at 54-55,
112-13, 119-20, 128, 130-31); and (iii) CAL’s insurance policies cover liability arising from its
advisory activities regardless of the nature of the client. PX 423, PX 424, PX 425, PX 426.

         RESPONSE: Denied. CAL admits only that it may incur insurance, legal, compliance,

and/or internal audit costs with respect to its institutional accounts. However, Plaintiffs’

assertions that the Fund’s management fee is excessive by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of the different and greater services and risks with

respect to managing the Fund as compared to its All Cap Growth Clients fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 157, supra.

       160. Conversely, CAL never estimated or otherwise quantified the cost of providing the
purported greater risks or services to Board. See Tr. at 130:19-24; 131:18-132:7, 244:12-
245:3, 264:20-265:4; 267:3-6; 268:2-21; 269:2-4, see also Timbers Dep. at 163:13-25, 164:12-
165:19; Bhatt Dep. at 205:6-206:5.

         RESPONSE: Denied. CAL admits that the Independent Trustees’ decision to approve

the Fund’s management fee even though it was higher than the fees CAL charged to its All Cap

Growth Clients was not a cost-based decision; it was based on their judgment, informed by the

materials they received from CAL and the Independent Trustees’ industry experience, that any

incremental costs arising out CAL’s different and greater services and risks with respect to the

Fund do not dictate the Fund’s market-based fee. For this same reason, the Independent Trustees

have never asked CAL to quantify the cost of the additional services and risks associated with

mutual funds but not with other types of accounts.347




347
      DFFCL ¶ 209.

                                                126
       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of the different and

greater services and risks with respect to managing the Fund as compared to its All Cap Growth

Clients fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 157, supra.

        161. Nor did CAL present any trial evidence controverting Plaintiffs’ 3.6 to 6.1 basis
point cost-differential calculation. In fact, CAL retained Mr. Richardson specifically to rebut
Dr. Pomerantz regarding the level of services CAL purportedly provided to its non-Fund clients,
but Mr. Richardson expressly testified that he: (i) was not offering any opinion regarding the
accuracy of Dr. Pomerantz’s cost estimate, Tr. at 754:3-17, and (ii) did not attempt to quantify
or estimate the cost/value of the purported greater services or risks (individually or in the
aggregate), Tr. at 756:13-16 Moreover, Mr. Richardson admitted that he did not offer the
opinion that the purported greater services and risks accounted for the totality of the fee
differential between CAL’s fund and non-fund clients. Tr. at 754:25-756:7.

       RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of

the different and greater services and risks with respect to managing the Fund as compared to its

All Cap Growth Clients fail to support a cognizable Section 36(b) claim for each of the

fundamental reasons set forth in CAL’s Response to Paragraph 157, supra.

        162.    Instead CAL has variously claimed that that the cost differential is either
impossible or difficult quantify. Compare JX 111 at 534339 (Mr. Calamos claiming to the Board
that costs “cannot be quantified”) (emphasis added), with JX 181 at ¶8 (interrogatory responses
asserting costs not “reasonably susceptible” to quantification) with Tr. at 244:24-245:15,
250:3-251:10 (Mr. Helmetag claiming that cost of incremental services is difficult to quantify).

       RESPONSE: Denied. CAL admits that the cost of such services and risks are

enterprise-wide and not reasonably susceptible of quantification. Plaintiffs’ assertions that the

Fund’s management fee is excessive by virtue of CAL’s failure to “justify” the Fund’s fee in

light of the supposed cost of the different and greater services and risks with respect to managing

the Fund as compared to its All Cap Growth Clients fail to support a cognizable Section 36(b)

claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 157, supra.

                                                127
      163. CAL’s claim that it cost more to advise its fund clients is also undermined by its
Mutual Fund Profitability reports to the Trustees.

         RESPONSE: Denied. Plaintiffs did not present any evidence to support their assertion

that the use of a cost allocation methodology for purposes of calculating an adviser’s profitability

from managing a mutual fund proves anything about the adviser’s “per dollar basis” costs of

providing services to a non-mutual fund client. To the contrary, as Professor Lacey explained,

both in his expert report and at trial, “[t]he purpose here is an allocation to determine the

profitability of the funds.”348 Furthermore, even if Plaintiffs’ unwarranted and unsupported

assertion were credited, it would necessarily mean that CAL’s method of calculating profitability

under-allocated costs to the mutual funds, thus increasing their profit margins, which is entirely

inconsistent with Plaintiffs’ contention that CAL understated its profitability with respect to the

Fund.

         Finally, to the extent that Plaintiffs’ accounting, profitability or cost allocation assertions

rely on the testimony of Dr. Pomerantz, those assertions are not supported by any admissible or

credible evidence because Dr. Pomerantz is not in any way qualified to offer any expert opinion

concerning accounting, profitability or cost allocation methodologies.349

        164. Specifically, those reports allocate CAL’s indirect expenses between its mutual
fund and institutional account “product lines” based on average AUM. Tr. at 229:13-230:21;
JX 145 at 634760-4761; JX 113 at 502938-2939; JX 61 at 519582-9583. This is significant,
because it indicates that, per dollar of AUM, the indirect costs of advising mutual funds are
equivalent to those of institutional accounts. Tr. at 568:12-569:18. In other words, CAL’s
allocation methodology refutes the claim that mutual funds costs more to advise, because CAL
assigns the same value/cost to advising its fund and its non-fund clients on a per dollar basis. Id.
Thus, although CAL might spend more total dollars servicing mutual funds, that is simply a
function of the larger AUM on the mutual fund side of the business. Id. If CAL’s fund and non-



348
   Tr. 1025:11-12 (Lacey); see Lacey Rpt. ¶ 47 (“[T]he choice of an allocation methodology is
not intended to provide information about the extent, nature, or quality of services.).
349
      DFFCL ¶¶ 417-420.

                                                   128
fund clients had equivalent AUM, CAL would allocate the same amount of indirect costs to each
of them.

         RESPONSE: Denied. CAL admits that in the Mutual Fund Profitability presentation,

CAL utilized an “average AUM” methodology to allocate indirect (but not direct) costs. CAL

denies that this allocation methodology “refutes the claim that mutual funds costs more to advise

[sic].” The purpose of the Mutual Fund Profitability presentation is to present the profitability of

the mutual funds advised by CAL. CAL used a reasonable allocation methodology that is

consistent with the principles underlying GAAP, is consistent with managerial accounting

principles, is decision-useful to the Independent Trustees, and is accepted in the mutual fund

industry.350 Plaintiffs did not present any evidence to support their assertion that the use of a cost

allocation methodology for purposes of calculating an adviser’s profitability from managing a

mutual fund proves anything about the adviser’s “per dollar basis” costs of providing services to

a non-mutual fund client. To the contrary, as Professor Lacey explained, both in his expert

report and at trial, “[t]he purpose here is an allocation to determine the profitability of the

funds.”351 Furthermore, even if Plaintiffs’ unwarranted and unsupported assertion were credited,

it would necessarily mean that CAL’s method of calculating profitability under-allocated costs to

the mutual funds, thus increasing their profit margins, which is entirely inconsistent with

Plaintiffs’ contention that CAL understated its profitability with respect to the Fund.

         Finally, to the extent that Plaintiffs’ accounting, profitability or cost allocation assertions

rely on the testimony of Dr. Pomerantz, those assertions are not supported by any admissible or




350
      DFFCL ¶¶ 301, 304-307.
351
   Tr. 1025:11-12 (Lacey); see Lacey Rpt. ¶ 47 (“[T]he choice of an allocation methodology is
not intended to provide information about the extent, nature, or quality of services.).

                                                   129
credible evidence because Dr. Pomerantz is not in any way qualified to offer any expert opinion

concerning accounting, profitability or cost allocation methodologies.352

                4.     CAL’s Claims Concerning Greater Services Were Substantially
                       Controverted by the Evidence at Trial

        165. CAL’s Greater Services claims were substantially controverted by trial evidence,
as summarized in Exhibit B hereto (reproducing CAL’s claimed Greater Services and
summarizing relevant evidence concerning each of them). Certain of the claimed Greater
Services were not actually provided to the Growth Fund. See Section III.B.4.a, infra. Many of
the Greater Services were services that CAL performed pursuant to the FASA and was already
compensated for under the FASA, and thus do not justify higher fees under the IMA. See Section
III.B.4.c, infra. Many of the Greater Services were not provided to the Growth Fund by CAL,
but instead by third party service providers in entire or substantial part, with CAL’s contribution
largely limited to the Fund Administration department’s oversight and monitoring of others’
work. See Section III.B.4.b, infra. Relatedly, many of the Greater Services were performed, or
overseen/monitored, by CAL’s Fund Administration department, at minimal expense to CAL.
See Section III.B.4.d, infra. Finally, many of the claimed Greater Services did not appear to be
provided by CAL to any “greater” extent to the Funds (versus to CAL’s other clients), but
instead were provided in substantially comparable extent to the Funds and to CAL’s non-Funds
clients. See Section III.B.4.e, infra.

         RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of the supposedly limited services that CAL provided to the Fund under the

IMA and/or because of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of

these different services fail to support a cognizable Section 36(b) claim for each of the following

fundamental reasons:

         First, under the IMA, CAL is required to provide greater and more extensive services to

the Fund than to its institutional and sub-advisory All Cap Growth Clients. Indeed, as

Dr. Pomerantz agreed, CAL is “morally responsible” under the IMA for “everything that needs

to be done” for the Fund and “providing literally all of the necessary services to operate the

trust.”353 None of CAL’s investment management agreements for its 36 All Cap Growth Clients


352
      DFFCL ¶¶ 417-420.
353
      DFFCL ¶¶ 166-167.

                                                130
even suggests that CAL bears anything close to the “moral responsibility” for “providing literally

all of the necessary services” for any of its All Cap Growth Clients, nor did Plaintiffs offer any

evidence to the contrary.354 Consistent with its limited contractual responsibilities under its

agreements with those clients, CAL did not provide anywhere near the full panoply of services it

was required to and in fact did provide in managing the Fund; and, at trial, Plaintiffs provided no

evidence to show that CAL’s limited roles and responsibilities for any of CAL’s All Cap Growth

Clients were in any way different than as uniformly described by CAL’s witnesses.355

         Second, on the other hand, consistent with both its “moral responsibility” under the IMA

and industry practice, the trial evidence demonstrates unequivocally that CAL provides different,

greater and more extensive services to the Fund than to its All Cap Growth Clients in each of the

following areas: (a) legal, regulatory and compliance;356 (b) fund governance services;357 (c)

fund administration services;358 (d) portfolio management services;359 and (e) client/shareholder

services.360 And, this is true regardless of whether CAL provides the service itself, or whether

the service is provided by a third party at all times subject to CAL’s monitoring, supervision and

oversight, and with CAL remaining ultimately responsible to the Fund for all of the work

provided by these third party service providers.361




354
      DFFCL ¶ 168.
355
      DFFCL ¶¶ 169-172.
356
      DFFCL ¶¶ 174-180.
357
      DFFCL ¶¶ 181-183.
358
      DFFCL ¶¶ 184-188.
359
      DFFCL ¶¶ 189-192.
360
      DFFCL ¶¶ 193-197.
361
      DFFCL ¶ 187.

                                                131
         Third, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Funds than to its All Cap Growth Clients, and assumes different and

greater risks in advising the Funds than it does in advising its All Cap Growth Clients. As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the

Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an

apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”362

         Fourth, CAL denies either that it purported to or was required to “justify” the Fund’s fee

relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the

different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s

institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’

advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”363




362
      DFFCL ¶¶ 204-207.
363
      DFFCL ¶¶ 242-244.

                                                 132
         Fifth, Plaintiffs’ sole proffered basis for their assertion as to the purported “cost

associated with those greater services and risks” is the belated and demonstrably erroneous

calculation from Dr. Pomerantz. This calculation does not prove anything, and is therefore of no

probative value to any issue in this case, because, among other reasons (a) at the time of his

deposition, Dr. Pomerantz testified that he had not, and could not, calculate the difference in

CAL’s costs between managing a mutual fund and advising an institutional or sub-advisory All

Cap Growth Client, (b) Dr. Pomerantz does not have the requisite experience in the mutual fund

industry to assess the differences in services and risks involved in advising a mutual fund as

compared with institutional or sub-advisory accounts, and (c) Dr. Pomerantz conceded that he

had zero experience calculating this type of cost differential during his career, and he could not

provide any example of an occasion in which a court had ruled that he was qualified to perform

this kind of analysis.364 As Dr. Pomerantz aptly described it, the costs forming the basis for his

6.1 basis point calculation “don’t really correspond to anything.”365

         Sixth, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients set

the arm’s-length bargaining range for the Fund’s fee for the following fundamental reasons:

         •       Plaintiffs failed to prove that any All Cap Growth Client is an apt comparator to

the Fund, nor could they in light of the overwhelming trial evidence that (a) there are numerous

differences in services and risks between managing the Fund and advising any of the All Cap

Growth Clients, (b) a mutual fund and an institutional or sub-advisory account are different

products that are sold in different markets to predominantly different types of clients, and (c) the




364
      DFFCL ¶¶ 376-377, 379.
365
      DFFL ¶ 379.

                                                   133
pricing differential between the Fund and CAL’s All Cap Growth Clients is entirely consistent

with industry practice and reflects forces of market competition.366

         •      No regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones “do[] not require fee parity across an adviser’s different clients.”

Hence, no court has ever held that institutional or sub-advisory accounts are an apt comparison

for a mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.367

                        a.      Services CAL Admitted are Inapplicable to the Growth Fund

        166. Certain of CAL’s claimed Greater Services were not provided to the Growth Fund
(or any of the Open-End Funds), and related instead only to the Closed-End Funds. For
example, supervision, monitoring and oversight of “financial leverage,” related only to the
Closed-End Funds, which employed financial leverage, and not to the Open-End Funds, which
did not. Tr. 376:19-377:1, 311:3–312:20; Mickey Dep. at 144:7-11; Olsen Dep. at 37:22-25.

         RESPONSE: Denied. The record evidence cited in Paragraph 166 does not support the

assertion that CAL did not employ financial leverage to the Fund. Mr. Jackson testified that the

Fund may employ financial leverage,368 and Mr. Mickey testified only that financial leverage

primarily related to the closed-end funds without addressing whether it was employed for the




366
      DFFCL ¶¶ 169-203.
367
      DFFCL ¶ 227.
368
   Tr. 311:3-20 (Jackson) (“Q. Do you see the sub-bullet points collateral management and
financial leverage? . . . You agree that these services are not directly relevant to the growth funds
and primarily relate to the closed-end funds, right? A. No. I’m not sure exactly that is the
case. . . . In terms of financial leverage, financial leverage, while we have financial leverage for
our closed-end funds, again, pursuant to restrictions imposed by Section 18, depending upon the
nature of investments, I wouldn’t rule that completely out of growth fund either.”).

                                                  134
Fund.369 In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund and/or because of CAL’s

failure to “justify” the Fund’s fee in light of the cost of these different services fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 165, supra.

                        b.       Services Provided Entirely or Substantially by Third-Party
                                 Service Providers

        167. The first twelve of the listed Greater Services consisted of CAL’s “monitoring,
supervision and oversight” of eleven matters, namely: (1) Fund accounting services, (2) Fund
administration services, (3) tax accounting services, (4) Fund distributions, (5) performance
reporting, (6) valuation of portfolio securities and NAV pricing; (7) collateral management, (8)
financial leverage, (9) Fund expenses and budgets, (10) portfolio accountant, fund custodian,
transfer agent and prime broker, and (11) securities lending oversight. DX 145-Q at 634754.

          RESPONSE: Denied as stated. CAL admits that it is responsible for monitoring,

supervising, and overseeing the provision of each of the referenced services to the Fund by third

parties. As the trial evidence also demonstrates: (a) CAL remains responsible to the Fund for the

activities conducted through service providers; (b) CAL is responsible to the Fund for

identifying, monitoring, and working to mitigate risks arising from these service provider

relationships, which includes reviewing and negotiating agreements with service providers,

engaging with service providers on a daily, real-time basis, conducting on-site due diligence of

the provider, and making reports and recommendations to the Board concerning providers; (c)

other CAL personnel outside of the Fund Administration department were also involved in

CAL’s oversight activities, including the legal department, the compliance department, and other

departments within CAL; and (d) CAL also remains directly responsible to the Funds in the




369
      Mickey Dep. at 144:7-11.

                                                  135
event that a service provider does not correctly perform one of its duties or provides below-

quality service.370

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA and/or because

of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different

services fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 165, supra.

        168. With respect to each of the eleven above-identified services that were monitored,
supervised and/or overseen by CAL, such services were performed substantively not by CAL, but
by various third-party service providers, with CAL merely monitoring, supervising and
overseeing the third-party service providers’ work. DX 145-Q at 634754; Tr. at 373:1–378:8;
see also Tr. at 204:19–211:22, 910:22–915:7. CAL’s Fund Administration department was
responsible for managing these, and all other, activities conducted through third-party service
providers. Tr. at 373:1–378:8; DX 1166. The expense to CAL of providing such monitoring,
supervision and oversight services were the Fund Administration department’s operating
expenses, which, when allocated among the Funds, were minimal. See Section III.B.4.d, infra.

          RESPONSE: Denied. As the trial evidence demonstrates: (a) CAL remains responsible

to the Fund for the activities conducted through service providers; (b) CAL is responsible to the

Fund for identifying, monitoring, and working to mitigate risks arising from these service

provider relationships, which includes reviewing and negotiating agreements with service

providers, engaging with service providers on a daily, real-time basis, conducting on-site due

diligence of the provider, and making reports and recommendations to the Board concerning

providers; (c) other CAL personnel outside of the Fund Administration department were also

involved in CAL’s oversight activities, including the legal department, the compliance

department, and other departments within CAL; and (d) CAL also remains directly responsible to




370
      DFFCL ¶¶ 187, 200; Tr. 389:4-390:4 (Holloway); Holloway Decl. ¶¶ 9, 55.

                                                  136
the Funds in the event that a service provider does not correctly perform one of its duties or

provides below-quality service.371

          In addition Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue of

the supposedly limited services that CAL provided to the Fund under the IMA and/or because of

CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different services

fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set forth in

CAL’s Response to Paragraph 165, supra.

        169. In addition, certain of the non-“monitoring, supervision and oversight” services
listed as Greater Services were performed in substantial part not by CAL, but by third-party
service providers.

          RESPONSE: Denied. Plaintiffs have offered no evidence as to what they mean by

“non-‘monitoring, supervision and oversight’ services.” In addition, Plaintiffs’ assertions that

the Fund’s management fee is excessive by virtue of the supposedly limited services that CAL

provided to the Fund under the IMA and/or because of CAL’s failure to “justify” the Fund’s fee

in light of the supposed cost of these different services fail to support a cognizable Section 36(b)

claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 165, supra.

        170. One of the Greater Services listed by CAL was “provision of around-the-clock
customer support.” DX 145-Q at 634754. This referred to the call-center that CAL operated
and staffed with five-six employees during the Relevant Period, to respond to certain calls from
Fund shareholders. Tr. at 378:17–379:4, Behan Decl. at ¶¶80-85. However, the Funds’
shareholders’ initial and/or primary source of customer support was the Funds’ transfer agent,
USBFS, which operated an automated call-in system for the Funds’ shareholders and which
routed a subset of such calls to CAL’s call-center. Tr. 360:25–361:19, 378:24–379:23. CAL’s
gross cost to operate its call center was $400,000 per year, which was offset by a $175,000
annual payment from USBFS. Tr. at 361:20–362:1; Behan Decl. at ¶84. CAL discontinued its
call center in July 2017, as the service became less necessary. Tr. 361:10-15; Behan Decl. at
¶85.




371
      DFFCL ¶¶ 187, 200; Tr. 389:4-390:4 (Holloway); Holloway Decl. ¶¶ 9, 55.

                                                  137
          RESPONSE: Denied as stated. The call center was one service provided to Fund

shareholders that might be described as “provision of around the clock customer-support” but it

was not the only such service.372 For instance, CAL also provides 24-hour access to information

about clients’ investments through its website.373 CAL incurred a cost of approximately

$400,000 per year to operate the call center, which was only partially reimbursed from USBFS.

CAL otherwise denies the Plaintiffs’ assertions in Paragraph 170. Specifically, CAL itself

operated a call center to serve its mutual fund clients, but not its institutional or sub-advisory

clients, during most of the Relevant Period, until 2017.374 Before the Relevant Period, USBFS

had operated a similar call center of CAL’s behalf, but CAL later decided to perform this service

itself in order to provide a higher quality of service.375 During much of the Relevant Period,

CAL’s call center received more than 1,000 calls each month, and CAL client services associates

also responded directly to email inquiries from mutual fund shareholder, their financial advisers,

and intermediaries.376 Moreover, CAL did not entirely discontinue the call center in 2017;

rather, CAL decided to transfer responsibility to the call center back to USBFS.377 CAL still

receives a significant number of direct calls from investors and advisors.378

          As the trial evidence also demonstrates: (a) CAL remains responsible to the Fund for the

activities conducted through service providers; (b) CAL is responsible to the Fund for




372
      DFFCL ¶ 194; Tr. 378:19-23 (Holloway).
373
      DFFCL ¶ 194.
374
      DFFCL ¶ 194; Behan Decl. ¶ 80.
375
      DFFCL ¶ 194; Behan Decl. ¶ 80; JX 24.
376
      DFFCL ¶ 194; Behan Decl. ¶ 81.
377
      Behan Decl. ¶ 85; Tr. 361:10-12 (Holloway).
378
      Behan Decl. ¶ 85.

                                                 138
identifying, monitoring, and working to mitigate risks arising from these service provider

relationships, which includes reviewing and negotiating agreements with service providers,

engaging with service providers on a daily, real-time basis, conducting on-site due diligence of

the provider, and making reports and recommendations to the Board concerning providers; (c)

other CAL personnel outside of the Fund Administration department were also involved in

CAL’s oversight activities, including the legal department, the compliance department, and other

departments within CAL; and (d) CAL also remains directly responsible to the Funds in the

event that a service provider does not correctly perform one of its duties or provides below-

quality service.379

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA and/or because

of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different

services fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 165, supra.

        171. One of the Greater Services listed by CAL was “client service, shareholder and
financial advisor communication.” DX 145-Q at 634754. However, a substantial portion of
shareholder communications was performed by the Funds’ transfer agent, USBFS, who inter
alia – and in addition to the call-center service discussed above – prepared and mailed account
statements and purchase/redemption confirmations to the Funds’ shareholders. Tr. at 359:4-19,
379:24–380:10; JX 182 at 2.

          RESPONSE: Denied as stated. USBFS prepares and mails certain account statements

and purchase and redemption confirmations to shareholders. CAL denies that these services

constitutes a “substantial portion of shareholder communications.” There are numerous other

shareholder communications and services that CAL provides.380 As the trial evidence also


379
      DFFCL ¶¶ 187, 200, Tr. 389:4-390:4 (Holloway); Holloway Decl. ¶¶ 9, 55.
380
      DFFCL ¶ 194; Behan Decl. ¶¶ 77-87; Holloway Decl. ¶¶ 16, 50(f), 52.

                                                  139
demonstrates: (a) CAL remains responsible to the Fund for the activities conducted through

service providers; (b) CAL is responsible to the Fund for identifying, monitoring, and working to

mitigate risks arising from these service provider relationships, which includes reviewing and

negotiating agreements with service providers, engaging with service providers on a daily, real-

time basis, conducting on-site due diligence of the provider, and making reports and

recommendations to the Board concerning providers; (c) other CAL personnel outside of the

Fund Administration department were also involved in CAL’s oversight activities, including the

legal department, the compliance department, and other departments within CAL; and (d) CAL

also remains directly responsible to the Funds in the event that a service provider does not

correctly perform one of its duties or provides below-quality service.381

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA and/or because

of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different

services fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 165, supra.

        172. One of the Greater Services listed by CAL was provision of “extensive websites”
that included, among other things, “general account information.” DX 145-Q at 634754. 362:2-
16. However, this section of CAL’s website, was in fact provided and operated by the Funds’
transfer agent, USBFS, which maintained the Funds’ shareholders’ general account information
and made it accessible via a transparent hyperlink on CAL’s website. Tr. at 362:2-16; JX 182 at
3-4 and 17-19.

          RESPONSE: Denied as stated. CAL’s website is comprised of multiple sections,

including information accessible to all members of the public, in additional to a credential-

restricted area accessible only to registered investment advisers who typically work on behalf of



381
      DFFCL ¶¶ 187, 200; Tr. 389:4-390:4 (Holloway); Holloway Decl. ¶¶ 9, 55.

                                                  140
current and prospective mutual fund shareholders.382 As the trial evidence demonstrates: (a)

CAL remains responsible to the Fund for the activities conducted through service providers; (b)

CAL is responsible to the Fund for identifying, monitoring, and working to mitigate risks arising

from these service provider relationships, which includes reviewing and negotiating agreements

with service providers, engaging with service providers on a daily, real-time basis, conducting

on-site due diligence of the provider, and making reports and recommendations to the Board

concerning providers; (c) other CAL personnel outside of the Fund Administration department

were also involved in CAL’s oversight activities, including the legal department, the compliance

department, and other departments within CAL; and (d) CAL also remains directly responsible to

the Funds in the event that a service provider does not correctly perform one of its duties or

provides below-quality service.383

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA and/or because

of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different

services fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 165, supra.

       173. One of the Greater Services listed by CAL was “[p]reparation of regulatory filing
and distribution of prospectuses and shareholder reports.” DX 145-Q at 634755. However, all
of CAL’s regulatory filings with the exception of registration statements/prospectuses –
including annual and semi-annual reports on Form N-CSR; quarterly portfolio disclosure
reports on Form N-Q; annual proxy voting reports on Form N-PX; and filings on Form N-SAR –
were prepared and drafted entirely, or in largest part, by State Street, under the Sub-
Administration Agreement. JX 183 at 645542 (Sub-Administration Agreement, §§ 5(a) and 5(c))
and PX 488 at 645534-35 (Sub-Administration Agreement side-letter at §§ 2(a) and 2(c)); Tr. at
317:22–321:23, 380:11-17, 384:6–385:1, 918:18–921:5. CAL’s registration
statement/prospectus filings were the responsibility of CAL’s legal department, but external
Fund Counsel assisted in preparing those filings, and in reviewing other regulatory filings. Tr.

382
      Behan Decl. ¶ 86.
383
      DFFCL ¶¶ 187, 200; Tr. 389:4-390:4 (Holloway); Holloway Decl. ¶¶ 9, 55.

                                                  141
at 315:25–317:21, 384:21–385:1; PX 418; PX 419 at 317471-73. For its work on the Funds’
regulatory filings, Fund Counsel was separately and directly compensated by the Funds. Tr. at
315:25–317:21, 384:21–385:1; PX 419; JX 5 at 146344 (IMA §3(k)). Additionally,
“distribution of prospectuses and shareholder reports” was performed by third party service
providers (USBFS and Broadridge), not CAL, see Tr. at 359:20 – 360:3, and expenses
associated with such distribution were paid directly by the Funds, see JX 5 at 146343 (IMA
§3(h)) and Tr. at 321:24–322:17, 385:6-10.

          RESPONSE: Denied as stated. Certain service providers, including State Street, Fund

Counsel, and USBFS, prepare, assist in providing information used in, and/or distribute certain

regulatory filings and shareholder prospectuses and reports subject to CAL’s monitoring,

supervision, and oversight. As the trial evidence demonstrates: (a) CAL remains responsible to

the Fund for the activities conducted through service providers; (b) CAL is responsible to the

Fund for identifying, monitoring, and working to mitigate risks arising from these service

provider relationships, which includes reviewing and negotiating agreements with service

providers, engaging with service providers on a daily, real-time basis, conducting on-site due

diligence of the provider, and making reports and recommendations to the Board concerning

providers; (c) other CAL personnel outside of the Fund Administration department were also

involved in CAL’s oversight activities, including the legal department, the compliance

department, and other departments within CAL; and (d) CAL also remains directly responsible to

the Funds in the event that a service provider does not correctly perform one of its duties or

provides below-quality service.384

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA and/or because

of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different




384
      DFFCL ¶¶ 187, 200; Tr. 389:4-390:4 (Holloway); Holloway Decl. ¶¶ 9, 55.

                                                  142
services fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 165, supra.

         174. One of the Greater Services listed by CAL was “continuous monitoring to ensure
regulatory compliance” with the ICA and other relevant regulatory provisions. DX 145-Q at
634755. However, the Funds’ transfer agent, USBFS, provided the Funds (and/or CAL) with
certain compliance monitoring services, including monitoring for money-laundering, identity
theft, suspicious transactions, late trading and market timing, and provided “blue sky”
compliance monitoring with respect to state regulations. Tr at 362:17 – 363:13; JX 182 at 3-6,
25-26. Similarly, State Street provided further compliance monitoring services under the Sub-
Administration Agreement. JX 183 at 645542 (Sub-Administration Agreement at §§ 5(e), (k) and
(l)); PX 488 at 645535-36 (Sub-Administration Agreement side-letter at §§2(e) and 2(h)(2)).

          RESPONSE: Denied as stated. As the trial evidence demonstrates: (a) CAL remains

responsible to the Fund for the activities conducted through service providers; (b) CAL is

responsible to the Fund for identifying, monitoring, and working to mitigate risks arising from

these service provider relationships, which includes reviewing and negotiating agreements with

service providers, engaging with service providers on a daily, real-time basis, conducting on-site

due diligence of the provider, and making reports and recommendations to the Board concerning

providers; (c) other CAL personnel outside of the Fund Administration department were also

involved in CAL’s oversight activities, including the legal department, the compliance

department, and other departments within CAL; and (d) CAL also remains directly responsible to

the Funds in the event that a service provider does not correctly perform one of its duties or

provides below-quality service.385

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA and/or because

of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different




385
      DFFCL ¶¶ 187, 200; Tr. 389:4-390:4 (Holloway); Holloway Decl. ¶¶ 9, 55.

                                                  143
services fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 165, supra.

      175. One of the Greater Services listed by CAL was “automatic investment programs.”
DX 145-Q at 634755. However, this service was in fact provided by the Funds’ transfer agent,
USBFS. JX 182 at 2 (Transfer Agent Servicing Agreement, §2(g)).

          RESPONSE: Denied as stated. As the trial evidence demonstrates: (a) CAL remains

responsible to the Fund for the activities conducted through service providers; (b) CAL is

responsible to the Fund for identifying, monitoring, and working to mitigate risks arising from

these service provider relationships, which includes reviewing and negotiating agreements with

service providers, engaging with service providers on a daily, real-time basis, conducting on-site

due diligence of the provider, and making reports and recommendations to the Board concerning

providers; (c) other CAL personnel outside of the Fund Administration department were also

involved in CAL’s oversight activities, including the legal department, the compliance

department, and other departments within CAL; and (d) CAL also remains directly responsible to

the Funds in the event that a service provider does not correctly perform one of its duties or

provides below-quality service.386

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA and/or because

of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different

services fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 165, supra.

       176. One of the Greater Services listed by CAL was “tax reporting services.” DX 145-
Q at 634755. However, third-party service providers provided certain tax reporting services.



386
      DFFCL ¶¶ 187, 200; Tr. 389:4-390:4 (Holloway); Holloway Decl. ¶¶ 9, 55.

                                                  144
See e.g. JX 182 at 2 (Transfer Agent Servicing Agreement, §§2(m) and 2(o)); PX 488 at 645536
(Sub-Administration Agreement side-letter, §2(h)(1)).

          RESPONSE: Denied as stated. As the trial evidence demonstrates: (a) CAL remains

responsible to the Fund for the activities conducted through service providers; (b) CAL is

responsible to the Fund for identifying, monitoring, and working to mitigate risks arising from

these service provider relationships, which includes reviewing and negotiating agreements with

service providers, engaging with service providers on a daily, real-time basis, conducting on-site

due diligence of the provider, and making reports and recommendations to the Board concerning

providers; (c) other CAL personnel outside of the Fund Administration department were also

involved in CAL’s oversight activities, including the legal department, the compliance

department, and other departments within CAL; and (d) CAL also remains directly responsible to

the Funds in the event that a service provider does not correctly perform one of its duties or

provides below-quality service.387

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA and/or because

of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different

services fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 165, supra.

                         c.     Services Provided Under, and Compensated by, the FASA

         177. Many of the claimed Greater Services are services that CAL was required to
perform by the FASA, and for which CAL was compensated by the fees set forth in FASA, as CAL
itself explained to the Independent Trustees as part of its 15(c) Responses. See Section II.D,
supra.




387
      DFFCL ¶¶ 187, 200; Tr. 389:4-390:4 (Holloway); Holloway Decl. ¶¶ 9, 55.

                                                  145
         RESPONSE: Denied as stated. There is nothing about the FASA that even suggests, let

alone proves, that the Fund’s management fee is excessive, for each of the following independent

and fundamental reasons:

         First, both of Plaintiffs’ experts concede that CAL is required to provide or arrange for

the complete bundle of services required for the Fund as part of its obligations under the IMA.

And as Professor Bullard further conceded, the services rendered by the adviser that are to be

considered under the Jones/Gartenberg standard include all of the services that the adviser

provides for the fund, whether those services are provided under one or several contracts.388

         Second, the nature or extent of CAL’s services to the Fund as required by the IMA were

not reduced or changed in any way by the FASA. Even without the FASA, CAL would still

have the responsibility, under the IMA’s provision that CAL is required to “manage, supervise,

and oversee the affairs” of the Funds, either to provide itself or to ensure the provision through

third parties of all necessary services for the Funds, including the financial accounting services

recited in the FASA. Following the termination of the FASA, CAL’s obligation to provide, or

ensure the provision of, all of the services that the Funds require has not changed, and the scope

of work performed by CAL has not decreased.389

         Third, during the period of time the FASA was in existence, no one at CAL differentiated

between services provided pursuant to the IMA versus services provided pursuant to the FASA,

nor did CAL employees review or reference the IMA or the FASA in the course of performing




388
      DFFCL ¶¶ 352-353.
389
      DFFCL ¶¶ 344-348.

                                                 146
their day-to-day duties in servicing the Fund. Rather, at all times, CAL focused on providing all

of the services that the Fund requires and that CAL is obligated under the IMA to provide.390

         Fourth, while the FASA was in place, the Independent Trustees annually reviewed the

services CAL provided and the 1.1 basis point fee charged under that agreement. The

Independent Trustees, however, did not consider the IMA or the FASA in isolation. Rather, as

part of the 15(c) Process each year, the Independent Trustees considered the totality of services

that CAL provides to the Fund and assessed whether the approval of both agreements was

reasonable in light of the total fees charged. Plaintiffs presented no evidence a trial that

considering the contracts separately would have made any difference with respect to the

Independent Trustees’ approval of the IMA.391

         Fifth, Plaintiffs’ assertions and arguments with respect to the FASA cannot support a

finding that the management fee paid under the IMA is excessive. Specifically, regardless of

how the IMA and FASA and the fees charged under each agreement are evaluated, separately or

together, it was reasonable and appropriate for the Board to consider the two contracts together.

The correct legal standard requires consideration of substance over form. There is no legal

requirement that a fund’s board must consider a fund’s management agreement with the adviser

separately from the fund’s other agreements with that same adviser. There is similarly no law or

ruling holding that it is improper for a Board to consider the totality of services provided by the

adviser to the Fund and the total compensation received by the adviser as a whole, regardless of

whether those services and compensation are set out in one contract or two.392



390
      DFFCL ¶ 349.
391
      DFFCL ¶¶ 350-351.
392
      DFFCL ¶¶ 354-361.

                                                 147
       Sixth, nothing did or should have prevented the Independent Trustees from considering

the total services provided by CAL, and the total compensation paid by the Fund to CAL, when

assessing the Fund’s overall relationship with CAL. The evidence at trial fully reinforced the

Independent Trustees’ review of both agreements together.

        178. The Greater Services included monitoring, supervision and oversight of the
Funds’ expenses and budgets. DX 145-Q at 634754. However, the FASA required CAL to, and
compensated CAL for, managing the Funds’ expenses and expense payment processing,
monitoring calculations of expense accruals for the Funds and modifying them as necessary, and
coordinating expense reimbursement calculations and payments. JX 6 at 145713 (FASA §§2.A-
C); Tr. 312:22–313:6, 368:1–369:14.

       RESPONSE: Denied. As both of Plaintiffs’ experts concede, CAL is required to

provide or arrange for the complete bundle of services required for the Fund as part of its

obligations under the IMA. Moreover, Plaintiffs’ assertions that the Fund’s management fee is

excessive based on their unsupported attempt to categorize certain services as being provided

“pursuant to” the FASA fail to support a cognizable Section 36(b) claim for each of the

fundamental reasons set forth in CAL’s Response to Paragraph 177, supra.

        179. The Greater Services included coordination and management of the Funds’
audits. DX 145-Q at 634754. However, the FASA required CAL to, and compensated CAL for,
coordinating the Funds’ audits. JX 6 at 145714 (FASA §2.E(7)); Tr. 313:7-23, 370:10–371:1.

       RESPONSE: Denied. As both of Plaintiffs’ experts concede, CAL is required to

provide or arrange for the complete bundle of services required for the Fund as part of its

obligations under the IMA. Moreover, Plaintiffs’ assertions that the Fund’s management fee is

excessive based on their unsupported attempt to categorize certain services as being provided

“pursuant to” the FASA fail to support a cognizable Section 36(b) claim for each of the

fundamental reasons set forth in CAL’s Response to Paragraph 177, supra.

      180. The Greater Services included monitoring, supervision and oversight of tax
accounting services, and provision of tax reporting services. DX 145-Q at 634754-55.
However, the FASA required CAL to, and compensated CAL for, performing multiple tax
accounting and reporting services, including preparing tax information required for the Funds’

                                               148
financial statement footnotes and preparing state and federal income tax returns. JX 6 at
145713-14 (FASA §§2.E(1)-(4)); Tr. 309:20–310:24, 313:24–314:14, 369:15–370:9.

       RESPONSE: Denied. As both of Plaintiffs’ experts concede, CAL is required to

provide or arrange for the complete bundle of services required for the Fund as part of its

obligations under the IMA. Moreover, Plaintiffs’ assertions that the Fund’s management fee is

excessive based on their unsupported attempt to categorize certain services as being provided

“pursuant to” the FASA fail to support a cognizable Section 36(b) claim for each of the

fundamental reasons set forth in CAL’s Response to Paragraph 177, supra.

       181. The Greater Services included preparation of the Funds’ regulatory filings. DX
145-Q at 634755. However, the FASA required CAL to, and compensated CAL for, preparing
the Funds’ regulatory filings. JX 6 at 145714 (FASA §§2.E(9)); Tr. 314:15–315:23, 370:10–
371:1.

       RESPONSE: Denied. As both of Plaintiffs’ experts concede, CAL is required to

provide or arrange for the complete bundle of services required for the Fund as part of its

obligations under the IMA. Moreover, Plaintiffs’ assertions that the Fund’s management fee is

excessive based on their unsupported attempt to categorize certain services as being provided

“pursuant to” the FASA fail to support a cognizable Section 36(b) claim for each of the

fundamental reasons set forth in CAL’s Response to Paragraph 177, supra.

        182. The Greater Services included monitoring, supervision and oversight of the
Funds’ distributions and/or dividends. DX 145-Q at 634754. However, the FASA required CAL
to, and compensated CAL for, calculating the Funds’ dividends and distributions. JX 6 at
145713 (FASA §§2.E); Tr. 374:4-14.

       RESPONSE: Denied. As both of Plaintiffs’ experts concede, CAL is required to

provide or arrange for the complete bundle of services required for the Fund as part of its

obligations under the IMA. Moreover, Plaintiffs’ assertions that the Fund’s management fee is

excessive based on their unsupported attempt to categorize certain services as being provided




                                               149
“pursuant to” the FASA fail to support a cognizable Section 36(b) claim for each of the

fundamental reasons set forth in CAL’s Response to Paragraph 177, supra.

                        d.     Services Handled by Fund Administration at Insignificant Cost

      183. Many of the items identified in the Greater Services List are handled by CAL’s
Fund Administration department. Tr. 372:1-385:10; see also 355:12-367:23.

         RESPONSE: Denied. CAL’s Fund Administration department provides several of the

services identified in the Management Fee Rate by Product presentation, but the Fund

Administration department is not the sole department involved in such services.

         Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue of the

supposedly limited services that CAL provided to the Fund under the IMA and/or because of

CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different services

fail to support a cognizable Section 36(b) claim for each of the following fundamental reasons:

         First, under the IMA, CAL is required to provide greater and more extensive services to

the Fund than to its institutional and sub-advisory All Cap Growth Clients. Indeed, as

Dr. Pomerantz agreed, CAL is “morally responsible” under the IMA for “everything that needs

to be done” for the Fund and “providing literally all of the necessary services to operate the

trust.”393 None of CAL’s investment management agreements for its 36 All Cap Growth Clients

even suggests that CAL bears anything close to the “moral responsibility” for “providing literally

all of the necessary services” for any of its All Cap Growth Clients, nor did Plaintiffs offer any

evidence to the contrary.394 Consistent with its limited contractual responsibilities under its

agreements with those clients, CAL did not provide anywhere near the full panoply of services it

was required to and in fact did provide in managing the Fund; and, at trial, Plaintiffs provided no


393
      DFFCL ¶¶ 166-167.
394
      DFFCL ¶ 168.

                                                 150
evidence to show that CAL’s limited roles and responsibilities for any of CAL’s All Cap Growth

Clients were in any way different than as uniformly described by CAL’s witnesses.395

         Second, on the other hand, consistent with both its “moral responsibility” under the IMA

and industry practice, the trial evidence demonstrates unequivocally that CAL provides different,

greater and more extensive services to the Fund than to its All Cap Growth Clients in each of the

following areas: (a) legal, regulatory and compliance;396 (b) fund governance services;397 (c)

fund administration services;398 (d) portfolio management services;399 and (e) client/shareholder

services.400 And, this is true regardless of whether CAL provides the service itself, or whether

the service is provided by a third party at all times subject to CAL’s monitoring, supervision and

oversight, and with CAL remaining ultimately responsible to the Fund for all of the work

provided by these third party service providers.401

         Third, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Funds than to its All Cap Growth Clients, and assumes different and

greater risks in advising the Funds than it does in advising its All Cap Growth Clients. As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the

Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an




395
      DFFCL ¶¶ 169-172.
396
      DFFCL ¶¶ 174-180.
397
      DFFCL ¶¶ 181-183.
398
      DFFCL ¶¶ 184-188.
399
      DFFCL ¶¶ 189-192.
400
      DFFCL ¶¶ 193-197.
401
      DFFCL ¶ 187.

                                                151
apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”402

         Fourth, CAL denies either that it purported to or was required to “justify” the Fund’s fee

relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the

different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s

institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’

advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”403

         Fifth, as the trial evidence demonstrates, without any contradiction from Plaintiffs: (a)

multiple other departments at CAL—including the Marketing, Portfolio Management, Tax,

Legal and Compliance, and Distribution departments—provide fund administration services or

work regularly with the Fund Administration Department to provide services to the Fund; and (b)

CAL did not provide to any of its institutional or sub-advisory All Cap Growth clients any of the

fund administration services that CAL provides to the Fund.404



402
      DFFCL ¶¶ 204-207.
403
      DFFCL ¶¶ 242-244.
404
      DFFCL ¶¶ 184-188; Holloway Decl. ¶¶ 9, 55.

                                                 152
         184. The Fund Administration department oversees, manages, and supervises the
activities of all the Funds’ third-party service providers. Tr. at 358:3-8; DX 1166. This includes
the Funds’ custodian, accountant, transfer agent, securities lending agents, and auditor. Tr.
358:9-367:23; DX 1166.

       RESPONSE: Denied. The Fund Administration department oversees, manages, and

supervises the Funds’ custodian, accountant, transfer agent and securities lending agent, but CAL

denies that the Fund Administration department is not the sole department involved in such

oversight services. Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA and/or because

of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different

services fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 183, supra.

        185. The Fund Administration department also, inter alia: coordinates the Funds’
audits (Tr. at 367:14-18, 378:7-14); reviews drafts of the Funds’ SEC filings, including its semi-
annual and annual shareholder reports (Tr. at 380:11-17, 384:6-23), its prospectuses and Form
N-SARs and N-Qs (Tr. at 381:2-382:4, 384:6-23); JX 183 at 645542; PX 488 at 645534-35), as
well as the financial information portions of its Form N-1As (Tr. at 381:6-382:4); gathers the
data that go into the Funds’ fact sheets posted on CAL’s website (Tr. at 380:18-381:1);
coordinates and approves the payment of the Funds’ expenses and reimbursements (Tr. 356:2-9,
359:1-3, 364:3-9, 367:19-23, 368:20-369:14) including those associated with the Trustees and
Trustee meetings (Tr. at 383:21-384:5); reviews the Funds’ budgets (Tr. at 377:2-10); performs
all the duties set forth under the FASA with the exception of certain tax-related functions which
are handled by CAL’s Tax Department (Tr. at 368:16-371:9; JX 6); handles collateral
management on behalf of the Funds (Tr. 376:13-21); and manages the back-office relationship
with the Funds’ prime broker (Tr. at 377:11-24).

       RESPONSE: The Fund Administration department performs the tasks identified in

Paragraph 185, but the Fund Administration department is not the sole department involved in

such services. Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue of the

supposedly limited services that CAL provided to the Fund under the IMA and/or because of

CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different services




                                                153
fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set forth in

CAL’s Response to Paragraph 183, supra.

       186. CAL operates the Fund Administration department at insignificant cost. Its total
annual budget is $2.8 million, which covers the compensation paid to the department’s six
employees as well as the fees paid to State Street under the Sub-Administration Agreement
pursuant to which CAL outsources a substantial portion of its fund administration functions. See
¶¶63-69, supra; Tr. at 356:13-357:17; JX 183; PX 488; PX 489. The allocable cost to the
Growth Fund of the Fund Administration department is 1.6 basis points. Tr. at 565:21-567:5;
Pomerantz Report at ¶¶221.b, 227, 239, 282.

          RESPONSE: Denied. The Fund Administration department’s budget is approximately

$2.8 million, but that figure does not measure the cost of the services the Fund Administration

provides.

          CAL denies that the costs of providing fund administration services to the Fund can be

readily measured or that 1.6 basis points accurately captures those costs, for at least three reasons

that are proven by the trial evidence. First, the Fund Administration Department’s work is

critical to the day-to-day operations of the Fund, and the Fund could not operate without those

services.405 Second, the Fund Administration Department’s budget does not cover all of the

actual costs of fund administration, because multiple other departments at CAL—including the

Marketing, Portfolio Management, Tax, Legal and Compliance, and Distribution departments—

provide fund administration services or work regularly with the Fund Administration Department

to service the Funds.406 Third, aside from the costs of providing fund administration services,

CAL bears risks associated with the provision of fund administration services that are not readily

measured.407




405
      Holloway Decl. ¶ 54; Tr. 390:5-22 (Holloway).
406
      Holloway Decl. ¶ 9, 55; Tr. 389:4-390:4 (Holloway).
407
      Holloway Decl. ¶ 56; Tr. 391:5-392:4 (Holloway).

                                                 154
         Moreover, Dr. Pomerantz admitted that the costs forming the basis for his 6.1 basis points

calculation to purportedly account for any greater services provided to the mutual funds versus

CAL’s non-fund clients, including the 1.6 basis points he assigns to fund administration services,

“don’t really correspond to anything” and the sums of those costs likewise “don’t really

correspond to anything.”408

         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA and/or because

of CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different

services fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 183, supra.

                        e.     Services that CAL Provided Comparably to Fund and non-
                               Fund Clients Alike

                               i.      Client Services: the Extraordinary Level of Attention
                                       Lavished on Institutional/Subadvisory Accounts

         187. CAL had six to seven times the number of full-time Distribution Department
personnel servicing the Funds as servicing institutional/subadvisory clients. Tr. at 96:24-97:2.
This proportion, however, parallels the proportion of the Funds’ AUM to
institutional/subadvisory AUM during the Relevant Period. See ¶8, supra; PX 184-A at 653670;
PX 176-A at 650495; PX 145-A at 634750; PX 113-A at 502928; PX 61-A at 519572; PX 32-A
at 514135. This indicates that effort and cost per dollar of AUM advised is effectively equivalent
for the Funds and for Institutional/Subadvisory Accounts. Similarly, “time spent” data for client
services personnel, such as Robert Behan (CAL’s global head of distribution) indicates that he
spent 75% of his time on Funds-related activities. See ¶10, supra. At the same time, however,
the Funds comprised 82% of CAL’s total AUM. See ¶9, supra. Thus, the fact that Mr. Behan
spent more time on Fund related matters is not a function of those matters requiring more work,
but rather reflects the far greater percentage of CAL’s AUM from Fund clients. This is further
indication that the cost per dollar of AUM to provide the Funds and Institutional/Subadvisory
Accounts with client services were substantially similar.




408
      DFFCL ¶ 379.

                                                 155
         RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of “services that CAL provided comparably to Fund and non-Fund Clients

alike” and/or by “client services” that CAL purportedly “lavished” on All Cap Growth Clients

fail to support a cognizable Section 36(b) claim for each of the following fundamental reasons:

         First, under the IMA, CAL is required to provide greater and more extensive services to

the Fund than to its institutional and sub-advisory All Cap Growth Clients. Indeed, as

Dr. Pomerantz agreed, CAL is “morally responsible” under the IMA for “everything that needs

to be done” for the Fund and “providing literally all of the necessary services to operate the

trust.”409 None of CAL’s investment management agreements for its 36 All Cap Growth Clients

even suggests that CAL bears anything close to the “moral responsibility” for “providing literally

all of the necessary services” for any of its All Cap Growth Clients, nor did Plaintiffs offer any

evidence to the contrary.410 Consistent with its limited contractual responsibilities under its

agreements with those clients, CAL did not provide anywhere near the full panoply of services it

was required to and in fact did provide in managing the Fund; and, at trial, Plaintiffs provided no

evidence to show that CAL’s limited roles and responsibilities for any of CAL’s All Cap Growth

Clients were in any way different than as uniformly described by CAL’s witnesses.411

         Second, on the other hand, consistent with both its “moral responsibility” under the IMA

and industry practice, the trial evidence demonstrates unequivocally that CAL provides different,

greater and more extensive services to the Fund than to its All Cap Growth Clients in each of the




409
      DFFCL ¶¶ 166-167.
410
      DFFCL ¶ 168.
411
      DFFCL ¶¶ 169-172.

                                                156
following areas: (a) legal, regulatory and compliance;412 (b) fund governance services;413 (c)

fund administration services;414 (d) portfolio management services;415 and (e) client/shareholder

services.416 And, this is true regardless of whether CAL provides the service itself, or whether

the service is provided by a third party at all times subject to CAL’s monitoring, supervision and

oversight, and with CAL remaining ultimately responsible to the Fund for all of the work

provided by these third party service providers.417

         Third, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Funds than to its All Cap Growth Clients, and assumes different and

greater risks in advising the Funds than it does in advising its All Cap Growth Clients. As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the

Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an

apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”418

         Fourth, CAL denies either that it purported to or was required to “justify” the Fund’s fee

relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or




412
      DFFCL ¶¶ 174-180.
413
      DFFCL ¶¶ 181-183.
414
      DFFCL ¶¶ 184-188.
415
      DFFCL ¶¶ 189-192.
416
      DFFCL ¶¶ 193-197.
417
      DFFCL ¶ 187.
418
      DFFCL ¶¶ 204-207.

                                                 157
regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the

different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s

institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’

advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”419

         Fifth, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients set

the arm’s-length bargaining range for the Fund’s fee, or even that any All Cap Growth Client is

an apt comparator to the Fund, nor could they in light of the overwhelming trial evidence that (a)

there are numerous differences in services and risks between managing the Fund and advising

any of the All Cap Growth Clients, (b) a mutual fund and an institutional or sub-advisory

account are different products that are sold in different markets to predominantly different types

of clients, and (c) the pricing differential between the Fund and CAL’s All Cap Growth Clients is

entirely consistent with industry practice and reflects forces of market competition.420

         Sixth, no regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones “do[] not require fee parity across an adviser’s different clients.”

Hence, no court has ever held that institutional or sub-advisory accounts are an apt comparison



419
      DFFCL ¶¶ 242-244.
420
      DFFCL ¶¶ 169-203.

                                                 158
for a mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.421

          In addition, with specific respect to Plaintiffs’ assertions in Paragraph 187, neither the

number of distribution personnel nor the time that Mr. Behan estimated in CAL’s 15(c)

Responses that he spent on Fund-related activities satisfies Plaintiffs’ burden to prove that CAL

expended the same amount of effort to provide client services for Fund shareholders as it did for

All Cap Growth Clients. As Mr. Becker explained, CAL is responsible for maintaining

relationships with “multiple thousands” of intermediaries and financial advisers “across the

country” who work on behalf of mutual fund shareholders, whereas CAL had only 36 All Cap

Growth Clients during only a portion of the Relevant Period.422 The number of relationships that

CAL must maintain and service for mutual fund shareholders greatly exceeds the relative AUM

levels to which Plaintiffs refer in Paragraph 187.

        188. CAL lavishes a high level of attention on its institutional clients. That attention is
at least comparable to, if not more than, that provided to the Funds’ shareholders and the
Board.

          RESPONSE: Denied. As Mr. Becker explained, CAL’s client services obligations to

the “multiple thousands” of intermediaries and financial advisers who work on behalf of mutual

fund shareholders required substantially greater effort and required CAL to make itself available

at all times to meet the needs of mutual fund shareholders.423 Moreover, numerous witnesses

testified to the significant amount of time and effort to prepare for Board meetings, including but




421
      DFFCL ¶ 227.
422
      Tr. 72:23-73:23 (Becker).
423
      Tr. 37:21-38:5, 72:23-73:23, 74:3-75:4 (Becker).

                                                   159
not limited to the preparation of CAL’s 15(c) Response.424 In any event, since 2017, CAL has

not had any All Cap Growth Clients, so the entirety of its client services efforts related to the All

Cap Growth investment strategy have been expended on behalf of Fund shareholders.425

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“client services” that CAL purportedly “lavished” on All Cap Growth Clients fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 187, supra.

       189. CAL believes that institutional clients have “special communications needs” (Tr.
at 39:6-19; PX 387 at 641425) and goes to great lengths to cater to them. Institutional clients
are assigned dedicated client service staff including investment professionals who CAL assures
“are always available to respond a client’s inquiry.” Tr. at 37:18-38:5; PX 387 at 641425.

          RESPONSE: Denied. Contrary to Plaintiffs’ assertion, when Mr. Becker was asked

about this reference to “special communication needs,” he stated, “I would think that what that’s

referring to is they [i.e., institutional and sub-advisory clients] could have a differentiated need,

not necessarily that they’re special or the word ‘special’ could mean better. I wouldn’t say that.

I would say different.”426 Furthermore, Mr. Becker also explained (in the testimony cited by

Plaintiffs) that CAL makes its client services professionals available at all times not only to its

institutional and sub-advisory clients, but also to representatives of the Fund and intermediaries

representing Fund shareholders.427 As Mr. Becker said, “I would say we’re always available to




424
  Jackson Decl. ¶¶ 31-48, 50, 53-54, 61-67, 79-94; Helmetag Decl. ¶¶ 9-13, 17-21; Holloway
Decl. ¶¶ 58-63; Becker Decl. ¶¶ 22-28; Tr. 74:18-75:4 (Becker); Tr. 324:22-325:8 (Jackson).
425
      Tr. 73:24-74:2 (Becker).
426
      Tr. 39:6-19 (Becker).
427
      Tr. 37:21-38:5 (Becker).

                                                  160
all of our clients.”428 In fact, Mr. Becker explained that CAL’s efforts to satisfy the

communications needs of intermediaries who represent mutual fund shareholders were

substantially greater than the efforts required to communicate with CAL’s institutional clients

since there are “multiple thousands” of financial advisers working for intermediaries “across the

country.”429 And, CAL has performed no work at all for any All Cap Growth Client since

2017.430

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“client services” that CAL purportedly “lavished” on All Cap Growth Clients fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 187, supra.

        190. CAL provides institutional clients with quarterly portfolio reviews customized to
their individual portfolios, e-newsletters with market commentary, firm updates and product
reviews, and regular in-person portfolio reviews with members of the CAL investment team. Tr.
at 39:20-40:16; PX 387 at 641425.

          RESPONSE: Denied. As Mr. Becker explained in the exact testimony cited by

Plaintiffs, CAL provides these same services, such as quarterly portfolio reviews and e-

newsletters, to all clients, including the Fund and intermediaries and financial advisers

representing Fund shareholders.431 As Mr. Becker further explained, the process of preparing

materials for CAL’s performance reviews was largely automated and dwarfed by the effort

required to prepare information about the Fund for the Board, which involved “a lot of back-and-



428
      Tr. 37:21-38:5 (Becker).
429
      Tr. 72:23-73:23 (Becker).
430
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).
431
      Tr. 39:20-40:16 (Becker).

                                                  161
forth” with the Board to tailor the materials to its needs, including the Independent Trustees’

desire to focus on the Fund as performance struggled.432 This greater burden of providing

performance reporting to the Fund’s Board does not event account for CAL’s numerous other

reporting obligations to the Board on a wide array of matters necessary for the Fund’s

governance, none of which applies to CAL’s All Cap Growth Clients.433 And, CAL has

performed no work at all for any All Cap Growth Client since 2017.434

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“client services” that CAL purportedly “lavished” on All Cap Growth Clients fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 187, supra.

         191. CAL’s website includes dedicated sections for mutual fund shareholders and
institutional clients. Tr. 40:17-41:14; PX 387 at 641425; Bhatt Dep. at 214. The institutional
section of the website provides comparable content as the Funds’ shareholders’ section, and is
regularly updated with performance information, strategy reviews and CAL’s current outlook on
the market. Tr. 40:17-41:14; PX 387 at 641425; Bhatt Dep. at 214.

          RESPONSE: Denied as stated. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of “services that CAL provided comparably to Fund and non-Fund Clients

alike” and/or by “client services” that CAL purportedly “lavished” on All Cap Growth Clients

fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set forth in

CAL’s Response to Paragraph 187, supra.

       192. CAL offers and hosts videoconferences for institutional clients. Tr. 41:21-25; PX
387 at 641425.


432
      Tr. 74:3-75:4 (Becker).
433
      Holloway Decl. ¶¶ 58-61; Jackson Decl. ¶¶ 34-54.
434
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  162
          RESPONSE: Denied. As Mr. Becker explained in the exact testimony cited by

Plaintiffs, CAL hosts videoconferences for institutional clients, and also offers and hosts the

exact same types of videoconferences for intermediaries that represent Fund shareholders.435

And, CAL has performed no work at all for any All Cap Growth Client since 2017.436

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 187, supra.

         193. CAL provides institutional clients with responses to due-diligence questionnaires
which are frequently extensive. Tr. at 31:24-32:8, 48:1-17; PX 387; PX 358. It also provides
live, in-person due-diligence meetings for which CAL personnel travel all over the world. Tr. at
32:14-33:4, 35:7-10.

          RESPONSE: Denied. CAL’s due diligence obligations to institutional clients are not

“extensive” compared with the analogous requirements undertaken on behalf of mutual fund

clients. In addition, when Mr. Becker was asked about travel obligations, he expressly rejected

Plaintiffs’ suggestion that his travel was “typically for an institutional client,” and responded,

“No. It’s a mix between retail clients and institutional clients.”437 While Mr. Becker testified

that he and other CAL personnel made certain visits to Nomura, as Mr. Becker explained, it was

simply an obligation “once a year to show up locally.”438 In addition, with respect to CAL’s

obligation to respond to institutional clients’ due diligence questionnaires, Mr. Becker explained




435
      Tr. 41:21-25 (Becker).
436
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).
437
      Tr. 32:24-33:4 (Becker).
438
      Tr. 75:17-20 (Becker).

                                                  163
that the information requested was “pretty standardized,”439 and it paled in comparison to the

efforts that CAL undertook to provide information about the Fund to the Board, as described in

CAL’s Response to Paragraph 190. In total, CAL responds to many more due diligence

questionnaires sent on behalf intermediaries than it does in response to institutional clients.440

And, CAL has performed no work at all for any All Cap Growth Client since 2017.441

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“client services” that CAL purportedly “lavished” on All Cap Growth Clients fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 187, supra.

        194. For institutional clients that request it – for example, CAL’s largest institutional
ACG client Nomura – CAL provided monthly performance and positioning commentary, excel
portfolio reporting spreadsheets, and ad hoc reports in the case of unexpected new or events.
Tr. 35:14-21, 42:5-43:4; PX 387 at 641424-25.

          RESPONSE: Denied. As Mr. Becker explained, Nomura “was an extreme” example of

an institutional client and “the exception to the rule.”442 However, even in Nomura’s case, the

requests that CAL received were “pretty standardized” and simply required CAL to confirm that

it was invariably complying with Nomura’s guidelines.443 And, CAL has performed no work at

all for any All Cap Growth Client since 2017.444




439
      Tr. 75:5-20 (Becker).
440
      Behan Decl. ¶ 87.
441
      DFFCL ¶ 197; Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).
442
      Tr. 75:5-76:4 (Becker); Becker Decl. ¶ 127.
443
      Tr. 75:5-20 (Becker); Becker Decl. ¶ 128.
444
      DFFCL ¶ 197; Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  164
          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“client services” that CAL purportedly “lavished” on All Cap Growth Clients fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 187, supra.

       195. CAL assisted with Nomura’s own activities to market its Japanese mutual fund,
which CAL sub-advised, to Japanese intermediaries and investors. Tr. 43:8-44:7; PX 387 at
641424-25. CAL prepared marketing materials for Nomura as well as data analysis to support
CAL’s macro views and individual company convictions. Tr. 43:8-44:9; PX 387 at 641424-25.
CAL sent several senior executives to Japan to participate in a four-city roadshow. Tr. 44:10-
46:12; PX 387 at 641424. While in Japan, CAL executive Scott Becker gave an interview on
Nomura’s behalf to Japanese financial media. Tr. 45:23-46:1; PX 387 at 641424.

          RESPONSE: Denied. While CAL assisted Nomura with marketing its Japanese fund,

including preparing marketing materials, participating in a road show, and an interview by

Mr. Becker to the financial media, CAL performed such services for the Funds as well.445 As

Mr. Becker explained, the work he performed on behalf of Nomura never exceeded the work that

he performed on behalf of mutual fund clients at any point in time.446 And, CAL has performed

no work at all for any All Cap Growth Client since 2017.447

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“client services” that CAL purportedly “lavished” on All Cap Growth Clients fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 187, supra.




445
      Tr. 39:20-40:16, 41:21-25 (Becker).
446
      Becker Decl. ¶ 129.
447
      DFFCL ¶ 197; Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  165
       196. The Teamsters Pension Fund of Philadelphia, another of CAL’s Other ACG
Accounts, received “in-depth” monthly performance reports as well as monthly attribution
reports from CAL. Tr. 52:11-53:6.

          RESPONSE: Denied. CAL admits that the Teamsters Pension Fund of Philadelphia

received monthly performance reports and monthly attribution reports. As Mr. Becker testified,

however, such reports were standardized across institutional clients and did not require

substantial effort to create or customize.448 Moreover, Mr. Becker also created quarterly reports

and attribution analyses for the Fund and for each shareholder, as well as narrative information

concerning the Fund for current and potential investors as well as Board materials.449

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“client services” that CAL purportedly “lavished” on All Cap Growth Clients fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 187, supra.

       197. CAL client service staff is in frequent contact with investment consultants who
work for institutional clients. Tr. 49:20-51:21, 52:11-22; PX 344 at 430863.

          RESPONSE: Denied. CAL’s client service staff’s contact with investment consultants

who work for institutional clients is not “frequent” as compared to the time and effort that CAL

devotes to maintaining relationships with the “multiple thousands” of intermediaries and

financial advisers “across the country” who represent mutual fund investors.450 And, CAL has

performed no work at all for any All Cap Growth Client since 2017.451



448
      Becker Decl. ¶¶ 130-133; Tr. 73:6-21 (Becker).
449
      Becker Decl. ¶¶ 18-20; Tr. 60:17-61:7 (Becker).
450
      Tr. 72:23-73:23 (Becker).
451
      DFFCL ¶ 197; Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  166
          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“client services” that CAL purportedly “lavished” on All Cap Growth Clients fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 187, supra.

         198. CAL sends representatives to meet with and report to boards of trustees of
institutional clients. Tr. 49:2-10, 55:3-56:6.

          RESPONSE: Denied. CAL admits that from time to time, CAL representatives met with

and provided reports to representatives of All Cap Growth Clients. As Mr. Becker testified,

however, such reports were standardized across institutional clients and did not require

substantial effort to create or customize.452 Moreover, Mr. Becker also created quarterly reports

and attribution analyses for the Fund and for each shareholder, as well as narrative information

concerning the Fund for current and potential investors as well as Board materials.453 And, CAL

has performed no work at all for any All Cap Growth Client since 2017.454

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“client services” that CAL purportedly “lavished” on All Cap Growth Clients fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 187, supra.

       199. Institutional clients generally have their own unique investment guidelines, and
CAL is required to adjust the portfolios of those clients to comply with their guidelines. Tr. at
34:1-10, 35:11-13, 47:13-23, 49:2-13, 51:8-52:2.


452
      Becker Decl. ¶¶ 130-133; Tr. 73:6-21 (Becker).
453
      Becker Decl. ¶¶ 18-20; Tr. 60:17-61:7 (Becker).
454
      DFFCL ¶ 197; Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  167
          RESPONSE: Denied as stated. Institutional clients did not impose investment

guidelines that were in any way “unique.” To the contrary, CAL would refuse to take on

institutional clients who asked for investment guidelines that deviated drastically from the

Fund’s own guidelines, such that the investment guidelines for CAL’s All Cap Growth Clients

were “virtually identical to the guidelines that we would do anyway.”455 To the extent that these

investment guidelines actually required CAL to adjust an All Cap Growth Client’s portfolio from

the Fund’s portfolio, this happened “relatively infrequently.”456 Moreover, in the only example

identified by Plaintiffs, CAL simply took the amount of additional money that could not be

invested in Apple per a client’s guidelines and distributed it pro rata across the clients’ remaining

investments, such that complying with the guideline required CAL to perform literally no

additional work to research or provide a replacement investment.457 Given all this, as

Mr. Becker explained, these investment guidelines were “quite easy” for the investment team to

implement after CAL’s operations employees coded them into a system that continuously

monitored the guidelines and automatically prevented noncompliance.458 And, CAL has

performed no work at all for any All Cap Growth Client since 2017.459

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“client services” that CAL purportedly “lavished” on All Cap Growth Clients fail to support a




455
      Tr. 70:21-71:15 (Becker).
456
      Tr. 34:3-10 (Becker).
457
      Tr. 51:17-52:2 (Becker).
458
      Tr. 72:16-22 (Becker).
459
      DFFCL ¶ 197; Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  168
cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 187, supra.

        200. For the Funds’ shareholders, by contrast, the primary client service provided by
CAL was a shareholder call center, manned in the first instance by the transfer agent, which
fielded shareholder inquiries. If they opted, callers could be transferred to a live CAL employee.
That option, however, was terminated in July 2017, when the center was closed. Tr. at 360:25-
362:1. Prior to its closing, CAL’s call center was staffed by five or six employees, at an annual
gross cost to CAL of $400,000, minus $175,000 in reimbursements it received from the transfer
agent. Behan Decl. at ¶84; Tr. at 360:25-362:1.

          RESPONSE: Denied. Plaintiffs’ assertion that the call center constituted “the primary

client service provided by CAL” to Fund shareholders is not supported by the trial evidence. To

the contrary, as Messrs. Becker and Behan explained, CAL maintained relationships with

thousands of intermediaries and financial advisers for the benefit of mutual fund shareholders,

and CAL’s staff responsible for servicing intermediary relationships separately from the call

center is at least six to seven times larger than CAL’s staff responsible for servicing institutional

relationships.460

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“client services” that CAL purportedly “lavished” on All Cap Growth Clients fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 187, supra.

                                ii.     The Growth Fund’s Daily Liquidity Requirements did
                                        not Result in any Appreciably Greater Work

         201. CAL’s Discussion of Management Fee Rates by Product presentations claimed
that, because mutual fund shareholders are entitled to buy and redeem shares daily, unlike
Institutional Accounts, this resulted in increased turnover, which in turn required “[m]ore
frequent management of cash and portfolio positioning to ensure execution of overall long-term


460
      Tr. 72:23-73:23 (Becker); Tr. 94:25-97:2, 98:12-23 (Behan).

                                                  169
fund investment strategy” and “[o]ngoing trading activity by adviser personnel required to
manage more frequent cash flows.” See e.g. JX 184 at 653674.

         RESPONSE: Plaintiffs’ assertions that the Fund’s management fee is excessive by

virtue of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or

by the Fund’s “daily liquidity requirements” that purportedly “did not result in any appreciably

greater work” fail to support a cognizable Section 36(b) claim for each of the following

fundamental reasons:

         First, under the IMA, CAL is required to provide greater and more extensive services to

the Fund than to its institutional and sub-advisory All Cap Growth Clients. Indeed, as

Dr. Pomerantz agreed, CAL is “morally responsible” under the IMA for “everything that needs

to be done” for the Fund and “providing literally all of the necessary services to operate the

trust.”461 None of CAL’s investment management agreements for its 36 All Cap Growth Clients

even suggests that CAL bears anything close to the “moral responsibility” for “providing literally

all of the necessary services” for any of its All Cap Growth Clients, nor did Plaintiffs offer any

evidence to the contrary.462 Consistent with its limited contractual responsibilities under its

agreements with those clients, CAL did not provide anywhere near the full panoply of services it

was required to and in fact did provide in managing the Fund; and, at trial, Plaintiffs provided no

evidence to show that CAL’s limited roles and responsibilities for any of CAL’s All Cap Growth

Clients were in any way different than as uniformly described by CAL’s witnesses.463

         Second, on the other hand, consistent with both its “moral responsibility” under the IMA

and industry practice, the trial evidence demonstrates unequivocally that CAL provides different,


461
      DFFCL ¶¶ 166-167.
462
      DFFCL ¶ 168.
463
      DFFCL ¶¶ 169-172.

                                                170
greater and more extensive services to the Fund than to its All Cap Growth Clients in each of the

following areas: (a) legal, regulatory and compliance;464 (b) fund governance services;465 (c)

fund administration services;466 (d) portfolio management services;467 and (e) client/shareholder

services.468 And, this is true regardless of whether CAL provides the service itself, or whether

the service is provided by a third party at all times subject to CAL’s monitoring, supervision and

oversight, and with CAL remaining ultimately responsible to the Fund for all of the work

provided by these third party service providers.469

         Third, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Funds than to its All Cap Growth Clients, and assumes different and

greater risks in advising the Funds than it does in advising its All Cap Growth Clients. As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the

Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an

apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”470

         Fourth, CAL denies either that it purported to or was required to “justify” the Fund’s fee

relative to the fees that CAL charged for different products in different markets and for which




464
      DFFCL ¶¶ 174-180.
465
      DFFCL ¶¶ 181-183.
466
      DFFCL ¶¶ 184-188.
467
      DFFCL ¶¶ 189-192.
468
      DFFCL ¶¶ 193-197.
469
      DFFCL ¶ 187.
470
      DFFCL ¶¶ 204-207.

                                                 171
CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the

different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s

institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’

advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”471

         Fifth, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients set

the arm’s-length bargaining range for the Fund’s fee for the following fundamental reasons:

         •       Plaintiffs failed to prove that any All Cap Growth Client is an apt comparator to

the Fund, nor could they in light of the overwhelming trial evidence that (a) there are numerous

differences in services and risks between managing the Fund and advising any of the All Cap

Growth Clients, (b) a mutual fund and an institutional or sub-advisory account are different

products that are sold in different markets to predominantly different types of clients, and (c) the

pricing differential between the Fund and CAL’s All Cap Growth Clients is entirely consistent

with industry practice and reflects forces of market competition.472

         •       No regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,



471
      DFFCL ¶¶ 242-244.
472
      DFFCL ¶¶ 169-203.

                                                 172
Section 36(b) and Jones “do[] not require fee parity across an adviser’s different clients.”

Hence, no court has ever held that institutional or sub-advisory accounts are an apt comparison

for a mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.473

         In addition, with specific respect to Plaintiffs’ assertions in Paragraph 201, CAL’s

Discussion of Management Fee Rates by Product presentation, which was provided in updated

form each year as part of CAL’s 15(c) Response to the Independent Trustees, explained that,

among other differences between mutual funds and CAL’s All Cap Growth Clients,

“[s]hareholder turnover is significantly higher for mutual funds than for separately managed

accounts.”474 The presentation provided numerous examples of how this substantially greater

shareholder turnover “results in increased time, effort and expense by adviser to manage fund

portfolios and service clients,” some but not all of which are quoted in Paragraph 201.475

        202. However, Mr. Kalis, the former head of CAL’s ACG strategy, who served as lead
portfolio manager for the Growth Fund and for the Other ACG Accounts, testified that daily
inflows and outflows in the Growth Fund were so insignificant that they did not require any
special attention from the portfolio management team, and did not impose additional work on
them. See Kalis Dep. at 60:4-61:4, 65:4-25, 70:3-72:4, 74:12-77:6.

         RESPONSE: Denied. Mr. Kalis did not testify that “daily inflows and outflows in the

Growth Fund were so insignificant that they did not require any special attention from the

portfolio management team, and did not impose additional work on them,” as Plaintiffs

erroneously assert. Mr. Kalis testified that the portfolio management team made an effort to




473
      DFFCL ¶ 227.
474
      See, e.g., JX 184 at CALAMOS_00653676.
475
      See, e.g., JX 184 at CALAMOS_00653676.

                                                  173
keep sufficient cash on hand such that, on a day-to-day basis, the team was not faced with

making additional sales of stocks in the Fund’s portfolio in order to accommodate redemptions

by Fund shareholders.476 However, Mr. Kalis did not testify as to the burden on CAL’s portfolio

management team required to maintain this cash position, nor did he speak to the burden on

CAL’s trading, operations, or other teams necessary to accommodate shareholder purchases and

redemptions in the Fund.477

          Furthermore, ensuring Fund liquidity imposes additional burdens on both the portfolio

management team and the compliance function. As Mr. Mickey testified:

                 Q. What are 144A securities?

                 A. 144A securities are securities that were issued in accordance with
                 Rule 144A, and so there’s a limited registration at the time of
                 issuance and only a qualified institutional buyer can buy them. So
                 there is a concern that those may be less liquid than other securities,
                 and we are looking at that to make sure there’s adequate liquidity in
                 those securities. When we do that, we also look at all other securities
                 to make sure that all are liquid.

                 Q. And 144A securities may be bought for accounts other than the
                 funds, correct?

                 A. They can be, yes.

                 Q. Are there similar valuation issues that are handled by CAL
                 compliance with respect to other accounts?

                 A. Actually, no. 144A refers to the liquidity, and liquidity is strictly
                 a fund issue where you can only have depending on the fund, you
                 know, 15 percent. Some of our funds have lower guidelines 10
                 percent in liquid securities. So we look at those – it’s strictly a --
                 institutional accounts don’t have limits unless it’s by separate as far
                 as how much they can hold in liquid securities.478



476
      Kalis Dep. 65:14-25, 70:3-15, 71:1-21.
477
      Kalis Dep. 65:14-25, 70:3-15, 71:1-21.
478
      Mickey Dep. 54:8-55:10.

                                                  174
And, CAL has performed no work at all for any All Cap Growth Client since 2017.479

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by the

Fund’s “daily liquidity requirements” that purportedly “did not result in any appreciably greater

work” fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 201, supra.

       203. Meanwhile, the opposite was true for the Other ACG Accounts, where account
deposits and withdrawals, although less frequent, typically involved substantial percentages of
the money invested. Kalis Dep. at 74:12-77:6. In fact, turnover was sharper in the Other ACG
Accounts than in the Growth Fund: by December 2016, all of CAL’s Other ACG Accounts had
withdrawn 100% of their funds from CAL’s management. JX 181 at Ex. A.

          RESPONSE: Denied. The trial evidence demonstrates that the amount of effort

required by the portfolio management team to manage inflows and outflows for All Cap Growth

Clients required much less effort than managing redemptions by Fund shareholders. As

Mr. Kalis testified, there were “[v]ery few” occasions when an inflow or outflow from an All

Cap Growth Client’s account required the attention of his portfolio management team.480 CAL

further denies, as unsupported by any trial evidence, that the largely one-time divestments by its

All Cap Growth Clients in connection with the closing of their accounts meant that turnover in

the assets of those accounts “was sharper” than the continuous management of the Fund’s cash

position in order to accommodate daily shareholder redemptions and purchases. And, CAL has

performed no work at all for any All Cap Growth Client since 2017.481




479
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).
480
      Kalis Dep. 74:21-75:25.
481
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  175
          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by the

Fund’s “daily liquidity requirements” that purportedly “did not result in any appreciably greater

work” fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 201, supra.

       204. Moreover, CAL’s Subadvisory Accounts – such as Nomura and the MD Accounts
(CAL’s largest ACG accounts) – were themselves mutual funds with underlying shareholders
who were entitled to buy and redeem shares daily. Tr. at 47:17-23, 58:17-60:10. 503:19-20,
506:1-9; PX 303 at 622241-42; JX 8; JX 15; JX 18.

          RESPONSE: Denied. Nomura and the MD Accounts were not “themselves mutual

funds,” and Plaintiffs cite no trial evidence to support their erroneous assertion. Nomura advised

a Cayman Islands fund that was made available primarily to Japanese investors, and the MD

Accounts were Canadian funds governed by Canadian law.482 As Dr. Pomerantz acknowledged

of the MD Accounts, “[t]hese aren’t even ’40 Act funds” governed by laws and regulations

applicable to U.S. mutual funds, and “there’s no point at all in comparing” the Fund’s fee to the

management fees that Nomura and MD American charged their investors.483 CAL further denies

as unsupported by the evidence cited that CAL had any obligation to provide an investment

strategy to the MD Accounts that allowed for daily shareholder purchases and redemptions in

those underlying funds or to assist the adviser of the MD Accounts with shareholder




482
   Jackson Decl. ¶ 104; JX 15 at CALAMOS_00622192 (providing that the Nomura Currency
Fund was a Cayman Islands trust); JX 8 at CALAMOS_00638092 (providing that the MD
American Growth Fund would be subject to National Instrument 81-02, a Canadian securities
law regulation); JX 18 at CALAMOS_00638094, CALAMOS_00638103 (same for the MDPIM
U.S. Equity Pool, and further providing that the MDPIM U.S. Equity Pool was “a Trust governed
by the laws of Ontario”).
483
      Tr. 503:14-504:3 (Pomerantz).

                                                  176
redemptions.484 On the contrary, the sub-advisory agreement governing the MD American

Growth Fund expressly provided that CAL would have “no responsibility for the management of

the cash assets of the Fund” and that another investment adviser separate from CAL would be

responsible “for the provision of investment advisory services of the cash reserves.”485 And,

CAL has performed no work at all for any All Cap Growth Client since 2017.486

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by the

Fund’s “daily liquidity requirements” that purportedly “did not result in any appreciably greater

work” fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 201, supra.

        205. To the extent advising the Growth Fund required portfolio management attention
due to “turnover” or fund flows, comparable attention was therefore required for CAL’s
Subadvisory Accounts. Pomerantz Rebuttal Report at ¶121.

          RESPONSE: Denied. As set forth in CAL’s Response to Paragraph 204, Plaintiffs fail

to cite any evidence that CAL had any obligation to assist the adviser of the MD Accounts to

facilitate shareholder redemptions and purchases, and the sub-advisory agreement for the MD

American Growth Fund expressly provides that another investment adviser separate from CAL

was responsible for maintaining that Canadian fund’s underlying cash position.487 And, CAL

has performed no work at all for any All Cap Growth Client since 2017.488




484
      JX 8 at Art. 2; JX 18 at Art. 2.
485
      JX 8 § 2.4 at CALAMOS_00683083, CALAMOS_00638090.
486
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).
487
      JX 8 § 2.4 at CALAMOS_00683083, CALAMOS_00638090; JX 18 at Art. 2.
488
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  177
          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by the

Fund’s “daily liquidity requirements” that purportedly “did not result in any appreciably greater

work” fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 201, supra.

                                iii.    CAL’s Operations and IT Services Are Comparable
                                        Across All Clients

         206. CAL uses the same computers and email servers in advising its fund and non-fund
clients, and uses the same IT infrastructure, IT controls and security measures to safeguard fund
and non-fund information. Tr. at 144:6-16; see also Bhatt Dep. at 215:11-216:9; Olson Dep. at
110:12-111:4.

          RESPONSE: Denied as stated. None of Plaintiffs’ assertions in Paragraph 206

demonstrate that “CAL’s Operations and IT Services Are Comparable Across Clients.” As

Mr. Bhatt explained in the same testimony cited by Plaintiffs, CAL may have maintained

additional software specifically for its mutual fund operations.489 Furthermore, Mr. Olsen

testified in the same testimony cited by Plaintiffs that the Fund Administration Department made

use of data feeds that were specifically applicable to mutual funds, such as data feeds necessary

to integrate information provided by CAL’s third-party service providers that performed work

only on behalf of mutual funds.490 In fact, when Plaintiffs’ counsel asked Mr. Olsen whether

“there’s no aspect of IT security that you know about that pertains exclusively to mutual funds,”

Mr. Olsen declined to confirm that assertion.491 Finally, none of Plaintiffs’ assertions about what

IT and Operations systems applied to both mutual funds and institutional or sub-advisory clients




489
      Bhatt Dep. 215:11-24.
490
      Olsen Dep. 110:12-111:20.
491
      Olsen Dep. 122:4-11.

                                                  178
demonstrates that CAL did not use these systems to devote greater effort and attention to its

mutual fund work.

          In addition, the trial evidence demonstrates that CAL’s infrastructure, including its

computer systems, were designed to support the services that CAL provides to the Funds and that

CAL’s infrastructure would not need to be as robust as it is absent the Funds. As Mr. Neal

explained:

                 Q. And you don’t know the specific cost to CAL of the IT
                 infrastructure and controls it uses in servicing its fund clients, right?

                 A. The only thing I would say here is as it relates to corporate
                 overhead like this, the majority of CAL’s business is the mutual fund
                 business. The minority of it is the institutional and subadviser
                 business. And the mutual fund business, as we pointed out here and
                 as you pointed it out, is extensively more involved. . . . So actually,
                 thinking about their IT as being not primary for the mutual fund
                 would be incorrect. Now, it does benefit both the mutual fund
                 clients and their institutional accounts. So that is also correct.492

The fact that those systems are also used to support CAL’s All Cap Growth Clients does not

establish that the services provided to those clients are comparable. And, CAL has performed no

work at all for any All Cap Growth Client since 2017.493

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“Operations and IT services” that purportedly are “comparable” fail to support a cognizable

Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response to

Paragraph 201, supra.




492
      Tr. 144:17-145:6 (Neal).
493
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                   179
                               iv.    CAL’s Compliance Services Are Comparable Across
                                      All Clients

       207. CAL’s Discussion of Management Fee Rates by Product presentations claimed
that mutual funds required legal, regulatory, and compliance services greater than institutional
accounts. JX 184 at 653675. These services supposedly consisted of “Continuous Monitoring
to Ensure Regulatory Compliance” with the Securities Act of 1933, the Securities Exchange Act
of 1934, the Investment Company Act of 1940, and the Internal Revenue Code, and responding to
“Regulatory examinations.” JX 184 at 653675.

         RESPONSE: Denied as stated. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of “services that CAL provided comparably to Fund and non-Fund Clients

alike” and/or by “compliance services” that purportedly “are comparable across all clients” fail

to support a cognizable Section 36(b) claim for each of the following fundamental reasons:

         First, under the IMA, CAL is required to provide greater and more extensive services to

the Fund than to its institutional and sub-advisory All Cap Growth Clients. Indeed, as

Dr. Pomerantz agreed, CAL is “morally responsible” under the IMA for “everything that needs

to be done” for the Fund and “providing literally all of the necessary services to operate the

trust.”494 None of CAL’s investment management agreements for its 36 All Cap Growth Clients

even suggests that CAL bears anything close to the “moral responsibility” for “providing literally

all of the necessary services” for any of its All Cap Growth Clients, nor did Plaintiffs offer any

evidence to the contrary.495 Consistent with its limited contractual responsibilities under its

agreements with those clients, CAL did not provide anywhere near the full panoply of services it

was required to and in fact did provide in managing the Fund; and, at trial, Plaintiffs provided no




494
      DFFCL ¶¶ 166-167.
495
      DFFCL ¶ 168.

                                                180
evidence to show that CAL’s limited roles and responsibilities for any of CAL’s All Cap Growth

Clients were in any way different than as uniformly described by CAL’s witnesses.496

         Second, on the other hand, consistent with both its “moral responsibility” under the IMA

and industry practice, the trial evidence demonstrates unequivocally that CAL provides different,

greater and more extensive services to the Fund than to its All Cap Growth Clients in each of the

following areas: (a) legal, regulatory and compliance;497 (b) fund governance services;498 (c)

fund administration services;499 (d) portfolio management services;500 and (e) client/shareholder

services.501 And, this is true regardless of whether CAL provides the service itself, or whether

the service is provided by a third party at all times subject to CAL’s monitoring, supervision and

oversight, and with CAL remaining ultimately responsible to the Fund for all of the work

provided by these third party service providers.502

         Third, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Funds than to its All Cap Growth Clients, and assumes different and

greater risks in advising the Funds than it does in advising its All Cap Growth Clients. As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the

Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an




496
      DFFCL ¶¶ 169-172.
497
      DFFCL ¶¶ 174-180.
498
      DFFCL ¶¶ 181-183.
499
      DFFCL ¶¶ 184-188.
500
      DFFCL ¶¶ 189-192.
501
      DFFCL ¶¶ 193-197.
502
      DFFCL ¶ 187.

                                                181
apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”503

         Fourth, CAL denies either that it purported to or was required to “justify” the Fund’s fee

relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the

different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s

institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’

advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”504

         Fifth, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients set

the arm’s-length bargaining range for the Fund’s fee for the following fundamental reasons:

         •       Plaintiffs failed to prove that any All Cap Growth Client is an apt comparator to

the Fund, nor could they in light of the overwhelming trial evidence that (a) there are numerous

differences in services and risks between managing the Fund and advising any of the All Cap

Growth Clients, (b) a mutual fund and an institutional or sub-advisory account are different

products that are sold in different markets to predominantly different types of clients, and (c) the



503
      DFFCL ¶¶ 204-207.
504
      DFFCL ¶¶ 242-244.

                                                 182
pricing differential between the Fund and CAL’s All Cap Growth Clients is entirely consistent

with industry practice and reflects forces of market competition.505

          •      No regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones “do[] not require fee parity across an adviser’s different clients.”

Hence, no court has ever held that institutional or sub-advisory accounts are an apt comparison

for a mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.506

          Sixth, the trial evidence demonstrates that the regulatory and compliance obligations that

CAL owed to the Fund are greater and more numerous than the regulatory and compliance

obligations that CAL owed to its All Cap Growth Clients. As Professor Bullard conceded,

mutual funds are subject to special rules that do not apply to other types of investment vehicles,

including any of CAL’s All Cap Growth Clients.507 Indeed, CAL’s management of the Fund

requires that it comply with numerous and constantly changing laws, rules, and regulations—

including, but not limited to, the entirety of the ICA, many other federal statutory provisions, and

numerous SEC rules and regulations—that do not apply at all to its All Cap Growth Clients or

apply less extensively.508 To meet all of the legal, regulatory, and compliance responsibilities

incumbent in managing the Fund, CAL creates, implements, and maintains internal processes,

procedures, and policies to monitor and ensure the Fund’s compliance with the many applicable


505
      DFFCL ¶¶ 169-203.
506
      DFFCL ¶ 227.
507
      DFFCL ¶ 174.
508
      DFFCL ¶¶ 174-80; Tr. 333:6-334:13, 343:7-346:6 (Jackson).

                                                  183
rules and regulations governing mutual funds. These internal processes, procedures, and policies

touch upon every CAL department and most aspects of the day-to-day work done by those

departments.509 None of these extensive and ongoing efforts was required for any of CAL’s All

Cap Growth Clients.510 Plaintiffs did not contest at trial that the Fund is subject to these

extensive legal and regulatory requirements and that CAL’s other All Cap Growth Clients are

not.511

          In addition, with specific respect to Plaintiffs’ assertions in Paragraph 207, CAL’s

Discussion of Management Fee Rates by Product presentation did not “claim[]” that mutual

funds required greater legal, regulatory, and compliance services than institutional accounts. The

presentation listed certain of the legal, regulatory, and compliance services that CAL provides to

the Funds that it does not provide, or provides to a lesser extent, to its institutional or sub-

advisory clients in order to comply with numerous and constantly changing laws, rules, and

regulations—including, but not limited to, the entirety of the ICA, many other federal statutory

provisions, and numerous SEC rules and regulations—that do not apply to non-fund clients or

apply less extensively.512 The greater legal, regulatory, and compliance services that CAL

undertakes for the Fund are not limited to those listed in the presentation.

        208. However, the evidence at trial shows that these services, were either comparable
to services provided to institutional clients and/or were provided insignificant expense, often
with assistance of third-parties.

          RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of “services that CAL provided comparably to Fund and non-Fund Clients


509
      DFFCL ¶ 179.
510
      DFFCL ¶¶ 175-179.
511
      DFFCL ¶ 180.
512
      DFFCL ¶¶ 174-80; Tr. 333:6-334:13, 343:7-346:6 (Jackson).

                                                  184
alike” and/or by “compliance services” that purportedly “are comparable across all clients” fail

to support a cognizable Section 36(b) claim for each of the fundamental reasons set forth in

CAL’s Response to Paragraph 207, supra.

        209. While the Investment Company Act only applies to mutual funds, CAL conceded
that compliance with the securities laws and the Internal Revenue Code is necessary irrespective
of client type. Mickey Dep. at 110:11-115:3, 116:7-124:18.

          RESPONSE: Denied. The cited evidence does not support Plaintiffs’ assertions in

Paragraph 209. Mr. Mickey was questioned about, and testified about, certain of CAL’s policies

that apply to both the mutual funds and to CAL’s institutional and sub-advisory accounts.

Mr. Mickey did not testify that either the Internal Revenue Code or the “securities laws” apply

“irrespective of client type,” as Plaintiffs erroneously assert. The trial evidence demonstrates

that the ICA applies only to mutual funds, such as the Fund, and not to CAL’s All Cap Growth

Clients.513 While certain aspects of the Internal Revenue Code and some securities laws apply,

as a binary matter, to both mutual funds and CAL’s All Cap Growth Clients, the undisputed trial

evidence demonstrates that these laws impose significantly more, and greater, burdens on the

services that CAL provides to the Fund than to All Cap Growth Clients.514 And, CAL has

performed no work at all for any All Cap Growth Client since 2017.515

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“compliance services” that purportedly “are comparable across all clients” fail to support a




513
      DFFCL ¶¶ 176-177.
514
      DFFCL ¶¶ 174-80.
515
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  185
cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 207, supra.

       210. Moreover, even though CAL’s institutional accounts did not benefit from the
regulatory protections applicable to mutual funds, they nonetheless built similar protective
frameworks into their IMAs. Pomerantz Report at ¶¶260-61. For example, CAL was obligated
to provide institutional clients with frequent and extensive reporting. JX 8 at 638092; JX 15 at
622194; JX 13 at 638180; PX 360; Tr. at 42:5-43:4, 47:21-48:18, 49:8-15, 52:11-53:12.

          RESPONSE: Denied. As demonstrated in CAL’s responses to Paragraphs 193-194,

CAL’s reporting and due diligence obligations to its All Cap Growth Clients were not

“extensive.” Instead, these reporting obligations were largely automated and, even for CAL’s

most demanding All Cap Growth Client, “pretty standardized.”516 Furthermore, intermediaries

representing mutual fund investors imposed more frequent due diligence obligations, such that

CAL’s reporting obligations performed for representatives of mutual fund clients surpassed its

reporting obligations performed for representatives of All Cap Growth Clients.517

          Plaintiffs have not provided any trial evidence to support their implicit assertion that any

reporting obligation required by CAL’s All Cap Growth Clients approximated the “regulatory

protections” applicable to the Funds. Among other things, the ICA imposes an extensive

regulatory regime that requires not only reporting to the Independent Trustees and to the SEC,

but also imposes substantive requirements relating to, inter alia, the types of securities that may

be owned by the Funds.518 And, CAL has performed no work at all for any All Cap Growth

Client since 2017.519




516
      Tr. 73:6-21, 75:5-20 (Becker); Becker Decl. ¶¶ 128 130-33.
517
      Behan Decl. ¶ 87.
518
      E.g., Jackson Decl. ¶¶ 108, 112-113; Tr. 333:6-334:13 (Jackson).
519
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  186
         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“compliance services” that purportedly “are comparable across all clients” fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 207, supra.

       211. CAL’s institutional IMAs also obligated CAL to implement and test compliance
procedures and policies regarding all areas of its operations including, inter alia, trading
operations, investment management, infrastructure and internal controls. PX 309 at 372401-08;
PX 317 at 464617; PX 338 at 422225-26; Mickey Dep. at 150:23-154:6, 47:6-94:23.

         RESPONSE: Denied. The cited evidence does not support Plaintiffs’ assertion in

Paragraph 211. As an initial matter, Paragraph 211 cites deposition testimony from Mr. Mickey

that was not designated by either party for use at trial, and such testimony is therefore

inadmissible. Moreover, Mr. Mickey testified about, inter alia, the policies and procedures that

CAL implemented and followed in order to comply with Rule 38a-1 under the ICA, a rule that

applies to mutual funds but not to non-fund accounts.520 CAL does not owes compliance

obligations to its All Cap Growth Clients that are similar in kind or scope to the compliance

oversight that it provides to the Fund.521 None of the due diligence questionnaires cited,

including the due diligence questionnaire from Nomura, “obligated” CAL in any way to maintain

certain compliance checks, but instead simply inquired about the compliance framework that

CAL already maintained and was not required by any particular contractual obligation to those

clients. In fact, for example, CAL’s sub-advisory agreement with Nomura provided only that

Nomura “may reasonably request . . . reports of compliance monitoring checks and reviews

undertaken by the Investment Sub-Adviser,” but did not impose any additional compliance


520
      Mickey Dep. 151:4-154:5.
521
      DFFCL ¶¶ 174-80.

                                                 187
obligations on CAL unique to Nomura.522 And, CAL has performed no work at all for any All

Cap Growth Client since 2017.523

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“compliance services” that purportedly “are comparable across all clients” fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 207, supra.

         212. CAL was also required to satisfy periodic due diligence requests from
institutional clients which included the completion of extensive questionnaires and in-person
due-diligence presentations. Tr. at 31:24-32:23, 36:17-21, 48:1-17; PX 338; PX 351; PX 387;
PX3 57; PX 358; PX 345 at 118439-441.

          RESPONSE: Denied. As similarly demonstrated in CAL’s responses to Paragraphs

193-194 and 210, CAL’s due diligence obligations to its All Cap Growth Clients were not

“extensive.” Instead, these reporting obligations were largely automated and, even for CAL’s

most demanding All Cap Growth Client, “pretty standardized.”524 Furthermore, intermediaries

representing mutual fund investors imposed more frequent due diligence obligations, such that

CAL’s reporting obligations performed for representatives of mutual fund clients surpassed its

reporting obligations performed for representatives of All Cap Growth Clients.525 And, CAL has

performed no work at all for any All Cap Growth Client since 2017.526




522
      JX 15 § 3.2 at CALAMOS_00622194.
523
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).
524
      Tr. 73:6-21, 75:5-20 (Becker); Becker Decl. ¶¶ 128 130-33.
525
      Behan Decl. ¶ 87.
526
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  188
          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“compliance services” that purportedly “are comparable across all clients” fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 207, supra.

      213. At least one institutional client, Nomura, required monthly compliance reports
from CAL. Tr. at 42:5-20; PX 378; PX 303 at 622214-215.

          RESPONSE: Denied as stated. The monthly compliance reports requested by Nomura

were “standardized,” and CAL utilized a largely automated process to respond to them.527

Furthermore, as demonstrated in CAL’s Response to Paragraph 211, these due diligence

questionnaires did not actually impose any new compliance obligations on CAL, and CAL’s sub-

advisory agreement with Nomura imposed no such novel compliance obligations.528 And, CAL

has performed no work at all for any All Cap Growth Client since 2017.529

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“compliance services” that purportedly “are comparable across all clients” fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 207, supra.

       214. CAL was required to comply with each institutional clients’ unique investment
guidelines. Tr. at 33:5-34:10, 35:11-36:16, 47:13-23, 49:11-13, 51:8-21; PX 344 at 430864; JX
8 at 638091; JX 13 at 638185; PX 303 at 622206-213.




527
      Tr. 73:6-21, 75:5-20 (Becker); Becker Decl. ¶¶ 128 130-33.
528
      JX 15 § 3.2 at CALAMOS_00622194.
529
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  189
          RESPONSE: Denied as stated. As demonstrated in CAL’s Response to Paragraph 199,

these investment guidelines were not in any way “extensive” or “unique.” To the contrary, CAL

would refuse to take on institutional clients who asked for investment guidelines that deviated

drastically from the Fund’s own guidelines, such that the investment guidelines for CAL’s All

Cap Growth Clients were “virtually identical to the guidelines that we [i.e., CAL] would do

anyway.”530 To the extent that these investment guidelines actually required CAL to adjust an

All Cap Growth Client’s portfolio from the Fund’s portfolio, this happened “relatively

infrequently.”531 Moreover, in the only example Plaintiffs identified, CAL simply took the

amount of additional money that could not be invested in Apple per a client’s guidelines and

distributed it pro rata across the clients’ remaining investments, such that complying with the

guideline required CAL to perform literally no additional work to research or provide a

replacement investment.532 In short, the investment guidelines requested by CAL’s All Cap

Growth Clients were “quite easy” for the investment team to implement after CAL’s operations

employees coded them into a system that continuously monitored the guidelines and

automatically prevented noncompliance.533 And, CAL has performed no work at all for any All

Cap Growth Client since 2017.534

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“compliance services” that purportedly “are comparable across all clients” fail to support a


530
      Tr. 70:21-71:15 (Becker).
531
      Tr. 34:3-10 (Becker).
532
      Tr. 51:17-52:2 (Becker).
533
      Tr. 72:16-22 (Becker).
534
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  190
cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 207, supra.

        215. “Regulatory examinations” were rare, as the SEC aspires to, but does not always
succeed in, examining investment advisers every three years. Pomerantz Report at ¶262.
Furthermore, Defendant’s expert Mr. Richardson acknowledged that the risk of regulatory
examinations is one that investment advisors face regardless of client type – whether mutual fund
or institutional – and that CAL has not had any regulatory inquiries regarding the Growth Fund
in the last five years. Tr. at 771:16-25.

          RESPONSE: Denied. The risk posed by regulatory examinations is not the same

“regardless of client type,” as Plaintiffs erroneously assert. As Mr. Jackson explained, many of

the SEC’s regulatory priorities are specifically targeted at investment advisers to mutual funds,

rather than institutional or sub-advisory clients.535 Moreover, simply because regulatory

examinations do not happen each year does not mean that CAL is not required to be prepared for

a regulatory examination should one occur. As Mr. Jackson further explained, those regulatory

efforts are constantly evolving in a manner that requires continuous monitoring.536

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“compliance services” that purportedly “are comparable across all clients” fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 207, supra.

       216. Certain compliance functions are the responsibility of the Transfer Agent which is
compensated by the Funds separately. JX 182. For example, the Transfer Agent is required to
provide Anti-Money Laundering and Red Flag Identity Theft Prevention Programs and to
engage a third-party auditor to audit its internal controls and compliance with respect to
Electronic Services that it provides to shareholders. JX 182 at § 2(N), 5. The Transfer Agent is
also obligated to operate a compliance system called MARS for the purpose of monitoring



535
      Tr. 349:9-351:5 (Jackson).
536
      Tr. 349:9-25 (Jackson).

                                                  191
transactions in fund shares for suspicious transactions and to assure compliance with market-
timing and late-trading regulations. JX 182, Ex. D; Tr. at 362:17-363:10.

          RESPONSE: Denied. The work performed by the transfer agent does not detract from

CAL’s ultimate responsibility to ensure that all legal and regulatory obligations of the Fund are

satisfied. CAL continuously oversees the transfer agent’s operations related to the Fund and has

no analogous oversight responsibility for CAL’s All Cap Growth Clients.537 In fact, CAL’s Fund

Administration Department, which provides no services on behalf of CAL’s All Cap Growth

Clients, is responsible for overseeing the exact anti-money laundering obligations described in

Paragraph 216, while CAL’s compliance department reviews and utilizes the reports generated

by MARS.538 Furthermore, the Fund’s Chief Compliance Officer must oversee all work

performed by the transfer agent, along with any third-party service provider, to ensure that the

work is being performed in a manner reasonably designed to prevent violations of the securities

laws.539

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by

“compliance services” that purportedly “are comparable across all clients” fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 207, supra.

                 5.      CAL’s Claims Concerning Greater Risks Were Substantially
                         Controverted by the Evidence at Trial

         217. The other primary rationale CAL provided to the Board for the higher advisory
fees it charged its fund clients versus non-fund clients was that there were greater
legal/regulatory risks associated with advising mutual funds. Tr. at 261:24–301:23.

537
      Jackson Decl. ¶ 109; DFFCL ¶¶ 187, 200.
538
      Holloway Decl. ¶¶ 5, 14(k), 18, 38; Tr. 362:17-24 (Holloway).
539
      DFFCL ¶ 177; Mickey Dep. 14:3-20, 25:13-22, 26:1-19, 151:4-154:5.

                                                  192
Additionally, CAL’s expert witness, Mr. Richardson, testified that there are also purportedly
greater entrepreneurial risks associated with advising mutual funds – such as start-up costs and
competitive risks – that advisers consider in setting their fees. Richardson Report at ¶¶19, 67-
73; see also JX 111 at 534339 (Mr. Calamos’ discussion of purported risks with Board).

         RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of the supposedly limited risks that CAL faced with respect to the Fund as

compared to its institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s

failure to “justify” the Fund’s fee in light of the supposed cost of these different risks fail to

support a cognizable Section 36(b) claim for each of the following fundamental reasons:

         First, contrary to Plaintiffs’ assertions, the trial evidence demonstrates conclusively that

in advising the Fund, CAL took on greater risks than in advising institutional or sub-advisory

clients. As Mr. Jackson testified, CAL’s risks from managing the Fund as contrasted with to its

All Cap Growth Clients, including Nomura and MD American, are “ubiquitous,” “dynamic[,]

and ever-changing.”540 Specifically with respect to the Fund, CAL necessarily bears: (a)

increased legal, regulatory and litigation risks; (b) greater operational risks with respect to the

Fund because, unlike with respect to its All Cap Growth Clients, CAL bears ultimate

responsibility for the services of all of the third-party service providers that it oversees on behalf

of the Fund; (c) the greater entrepreneurial risk of whether the mutual fund will ever provide a

fair return to the adviser, taking into account both the greater initial costs of launching a mutual

fund as compared with other types of investment products and the greater ongoing expenses

associated with managing and operating a mutual fund.541 Moreover, insurance does not fully

cover the greater risks associated with managing the Fund as compared to CAL’s All Cap




540
      DFFCL ¶ 198.
541
      DFFCL ¶¶ 199-201.

                                                  193
Growth Clients.542 The trial evidence also demonstrates that CAL bears these risks even if they

have not materialized in the past or cannot be quantified.543

          Second, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board, among other things, that it

assumes different and greater risks in advising the Funds than it does in advising its All Cap

Growth Clients. In addition, the Independent Trustees have 150+ years of collective experience

in the asset management industry—including senior management positions at leading investment

advisers who offer both mutual funds and institutional products.544 Based on both this directly

on-point experience and the information they receive, the trial evidence therefore demonstrates

both that (a) the Independent Trustees have all of the information they believe they need about

CAL’s All Cap Growth Clients when they annually vote to approve the IMA, and (b) the

Independent Trustees fully understand the differences in services and risks entailed in advising

the Fund versus CAL’s All Cap Growth Clients.545 As Mr. Neal explained, and as the

overwhelming weight of the trial evidence confirms, the Independent Trustees and CAL viewed

the Fund and the All Cap Growth Clients to be “like an apple and an orange. They’re both fruit,

but they are totally different fruit. If you are to take a bite of each one, you would get a whole

different taste.”546

          Third, no regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,


542
      DFFCL ¶ 202.
543
      DFFCL ¶ 203.
544
      DFFCL ¶¶ 57, 207.
545
      DFFCL ¶¶ 204-207.
546
      Tr. 177:17-20 (Neal).

                                                  194
Section 36(b) and Jones do not require fee parity across an adviser’s different clients.” Hence,

no court has ever held that institutional or sub-advisory accounts are an apt comparison for a

mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.547

         Fourth, CAL denies either that it purported to or was required to “justify” the Fund’s fee

relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the

different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s

institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’

advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”548

         Fifth, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients set

the arm’s-length bargaining range for the Fund’s fee for the following fundamental reasons:

         •       Plaintiffs failed to prove that any All Cap Growth Client is an apt comparator to

the Fund, nor could they in light of the overwhelming trial evidence that (a) there are numerous



547
      DFFCL ¶¶ 227-229.
548
      DFFCL ¶¶ 242-244.

                                                  195
differences in services and risks between managing the Fund and advising any of the All Cap

Growth Clients, (b) a mutual fund and an institutional or sub-advisory account are different

products that are sold in different markets to predominantly different types of clients, and (c) the

pricing differential between the Fund and CAL’s All Cap Growth Clients is entirely consistent

with industry practice and reflects forces of market competition.549

         •      No regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones “do[] not require fee parity across an adviser’s different clients.”

Hence, no court has ever held that institutional or sub-advisory accounts are an apt comparison

for a mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.550

         With specific respect to Plaintiffs’ assertions in Paragraph 217, CAL denies that it

provided a “primary rationale . . . to the Board for the higher advisory fees it charged its fund

clients.”

                        a.      Legal / Regulatory Risks

         218. As CAL’s General Counsel, Mr. Jackson was responsible for, inter alia, reporting
to the Board on the litigation/regulatory risks attendant to advising mutual funds. The minutes
of CAL’s 15(c) meeting typify CAL’s bid to attribute the Funds’ substantially higher advisory
fees to these risks:

                Mr. Jackson added that the pricing of each management
                agreement with the funds reflects the fact that the regulatory and
                litigation environment affects the advisor of mutual funds in more
                significant ways than they affect advisors of only private accounts.
                Specifically, he noted that the advisor’s concerns with the


549
      DFFCL ¶¶ 169-203.
550
      DFFCL ¶ 227.

                                                  196
                 litigation risks involved in running a mutual fund are reflected in
                 the pricing of its contracts. In response to a question, he noted
                 that this number is necessarily subjective but that it is reasonable
                 for the business to price that risk in.

JX 144 at 636366 (emphasis added);551 Tr. at 261:24-263:15.552
          RESPONSE: Denied. Paragraph 218 accurately quotes from the June 2016 Board

meeting minutes, but CAL denies Plaintiffs’ assertion in Paragraph 218 concerning “CAL’s bid

to attribute the Funds’ substantially higher advisory fees to these risks.” In addition, Plaintiffs’

assertions that the Fund’s management fee is excessive by virtue of the supposedly limited risks

that CAL faced with respect to the Fund as compared to its institutional and sub-advisory All

Cap Growth Clients and/or because of CAL’s failure to “justify” the Fund’s fee in light of the

supposed cost of these different risks fail to support a cognizable Section 36(b) claim for each of

the fundamental reasons set forth in CAL’s Response to Paragraph 217, supra.

       219. Turning first to the general proposition that the regulatory and litigation
environments impact mutual fund advisors more than they do advisors of private accounts,
Mr. Jackson conceded that his statement was not based on any analyses/studies concerning the
frequency of fund-related versus non-fund-related litigation or comparing verdicts or settlements

551
      See also JX 111 at 534339; JX 70 at 534050.
552
    Mr. Jackson conceded, however, that CAL had been the subject of prior litigations, and that
any out-pocket costs associated with the materialization of those litigation risks – such as paying
the deductible on an insurance policy – could be objectively quantified. Tr. at 265:9-15.
RESPONSE: Denied. CAL admits that Mr. Jackson testified that CAL had been sued in prior
litigation, but otherwise denies the allegations in this footnote. As Mr. Jackson also testified, in a
passage that Plaintiffs neglect to include:
                 What I’m saying is there is a real risk to running investment
                 companies that could subject you to increased and enhanced
                 exposure to regulatory and litigation risk. And I base that in part on
                 the fact that in our past we’ve actually experienced litigations with
                 respect to certain of our funds. So that’s the basis. In terms of the
                 cost and expense, in terms of what that would mean, I don’t see how
                 what you spent on a prior particular set of litigation with its own
                 facts and circumstances could somehow be used to extrapolate into
                 the future on other litigations.
Tr. 266:8-18 (Jackson).

                                                  197
in fund-related versus non-fund-related litigation. See Tr. at 263:16-264:5. Moreover, although
Mr. Jackson was one of the primary individuals at CAL responsible for ensuring legal and
regulatory compliance, as well as dealing with any related risks that materialized, he testified
that he nonetheless spent the clear majority of this time working on non-fund-related matters
during the heart of the Relevant Period. Tr. at 257:14-23; 269:5-270:10, 306:13-22 (admitting
he spent only 40% of his time on fund matters); ¶10, supra; see also PX 145-A at 634346, PX
113-A at 502692, PX 61-A at 519368, PX 32-A at 513992.

          RESPONSE: Denied. CAL has not prepared “analyses/studies concerning the

frequency of fund-related versus non-fund-related litigation or comparing verdicts or settlements

in fund-related versus non-fund-related litigation” as referenced in Paragraph 219, but it denies

that any such “analyses/studies” are in way required under Section 15(c) or Section 36(b), nor is

there any evidence or authority from Plaintiffs to the contrary. CAL also denies that Mr. Jackson

spent the “clear majority” of his time working on non-fund-related matters, or that any of his

testimony at trial is inconsistent with his Declaration. At trial, Mr. Jackson testified that he spent

approximately 40 percent of his time on fund-related activities in 2014, 2015, and 2016.553 As

reported in CAL’s annual 15(c) Response, however, Mr. Jackson spent a majority of his time on

Fund activities in both 2017 and 2018 (approximately 60% in both years).554 As such, Mr.

Jackson does currently spend the majority of his time on the Funds. Moreover, Mr. Jackson is

not the sole member of the legal department, and the amount of time he spends on Fund-related

matters therefore is not a full measure of the time and effort the legal department expends with

respect to the Funds.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to



553
      Tr. 269:24-270:5 (Jackson).
554
      JX 176 at CALAMOS_00650251; JX 184 at CALAMOS_00653486.

                                                  198
“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.

         220. Turning to the issue of risk-pricing, Mr. Jackson admitted at trial that CAL never
actually calculated/estimated the cost/value of the greater risks it purportedly priced into its IMA
with the Funds. Specifically, Mr. Jackson testified that (i) he is unaware of anyone at CAL
having calculated, estimated or otherwise reduced to a number the litigation risk that CAL
purportedly priced into the Growth Fund’s advisory fees since joining CAL; (ii) he is not aware
of anyone having performed that exercise prior to the time he joined CAL; (iii) he does not know
what portion, if any, of the fee CAL charged the Growth Fund was attributable to the increased
litigation risks, and (iv) to the extent CAL did consider litigation risk in setting the advisory fees
it charged the Growth Fund, he does not know what methodology, if any, CAL employed. Tr. at
264:20-265:4; 267:3-6; 268:2-21; 269:2-4; see also id. at 135:6 – 136:10 (Mr. Neal’s testimony
that CAL never provided the Board with an estimate of the value/cost of litigation risk it
purportedly priced into the Growth Fund’s fee structure).

          RESPONSE: Denied. Mr. Jackson testified that he was not specifically aware of

anyone at CAL having calculated or reduced to a number the increased litigation risk CAL faces

with respect to the Funds and not with respect to institutional or sub-advisory clients. As

Mr. Jackson further stated:

                 All I was saying that as part and parcel of all of the services and
                 items that the board takes into account when it is reflecting upon the
                 advisory fee that we provide, that it is fair to take into account the
                 regulatory environment in which we operate and the litigation
                 exposure to which we have.555

CAL denies that for purposes of the Independent Trustees’ annual evaluation of the IMA, CAL

or the Independent Trustees were required to “calculate[], estimate[] or otherwise reduce to a

number” CAL’s litigation risk as Paragraph 220 asserts. No such “calculat[ion], estimat[ion] or

otherwise reduc[tion] to a number” is in way required under Section 15(c) or Section 36(b), nor

is there any evidence or authority from Plaintiffs to the contrary.




555
      Tr. 268:21-269:1 (Jackson).

                                                  199
       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.

        221. CAL, however, maintained several insurance policies during the Relevant Period
sufficient to protect against the legal/regulatory risks CAL faced in running its business, Tr. at
261:12-17, and which covered the costs of CAL’s prior fund-related litigation. Tr. at 137:18-
138:3; see also Tr. at 289:4-289:23.556 Mr. Jackson conceded that the cost of obtaining
insurance – the premium plus any deductible – was at least a partial indicator of the value of
CAL’s legal/regulatory risks. See Tr. at 271:5-11. In his estimation, however, it was not a
complete indicator because there purportedly are indirect costs associated with such risks that
cannot be insured against, such as injury to reputation (the “uninsurable risks”). Tr. at 285:25–
289:23.

       RESPONSE: Denied. CAL maintained certain insurance policies, and the premiums for

those insurance policies do not measure the cost of the legal and regulatory risks that CAL faces

with respect to the Funds. As Mr. Jackson testified, among other things, insurance will not cover

every expense that may arise if a particular risk were to materialize:

               The insurance policy, as you know, has certain definitions
               associated with it. This is a claim, and therefore, you have to look at
               the sum of the insurance policy. So for example, this policy, I
               believe, if it’s consistent, has approximately 18 enumerated

556
   Mr. Richardson testified that he has never worked for a mutual fund adviser that incurred
actual litigation costs that were not covered by insurance. Tr. at 763:8-18. RESPONSE:
Denied as stated. CAL admits that Mr. Richardson testified that he had never worked for a
mutual fund adviser that incurred actual litigation costs that were not covered by insurance.
However, as Mr. Richardson also testified, as a general matter, insurance typically “would cover
some of the costs. There would be a range of things that would not be covered under the
insurance policy.” Tr. 763:8-18 (Richardson). Moreover, as the trial evidence also
demonstrates: (a) it is clear as a matter of common sense and the evidence that the cost of
premiums CAL pays for insurance policies is not a full measure of its risks, and (b) CAL bears
these risks even if they have not materialized in the past or cannot be quantified. DFFCL ¶¶ 202-
203.

                                                 200
                 exclusions. So whether or not something is covered or not, you'd
                 have to take a look at the exclusion section. Then not only that, once
                 you go from the exclusion section, it’s got a number of
                 endorsements associated with it that may or may not impact upon
                 various provisions of the policy.557

Moreover, insurance does not and cannot cover many types of harm that can result if certain

risks borne by CAL were to come to pass.558

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.

        222. Turning first to the cost of those risks that are insurable, the two main policies
that protected CAL (and its affiliates) in connection with their mutual fund business during the
Relevant Period were the Directors & Officers, Errors and Omissions Liability Policy (the
“D&O Policy”) and the Fidelity/Blanket Bond. See Tr. 260:3-261:17; PX 423-31.559

          RESPONSE: Denied. The cited evidence does not support Plaintiffs’ assertions in

Paragraph 222. Mr. Jackson testified about the “D&O Policy” and the “Fidelity bond.”560

Mr. Jackson did not characterize these policies as “the two main policies that protected CAL




557
      Tr. 277:5-14 (Jackson).
558
      DFFCL ¶¶ 202-03.
559
   CAL’s 15(c) responses also referred to an Independent Directors Liability Policy. See, e.g.,
PX 145-A at 634861. That policy insured the Independent Trustees, not the Calamos entities,
and CAL was not responsible for paying any of that policies’ premiums. Tr. 273:2-7.
RESPONSE: CAL admits that CAL does not pay the premium for the Independent Directors
Liability policy. Tr. 273:2-7 (Jackson).
560
      Tr. 260:3-261:3 (Jackson).

                                                  201
(and its affiliates).” These insurance policies also do not fully cover the various risks faced by

CAL.561

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.

        223. The D&O policy broadly insured the Calamos entities (of which there were
approximately 10), as well as the Funds, against wrongful acts, negligence, and errors and
omissions, see Tr. at 274:1-4, 274:17-275:2 and 278:1-22; PX 423 at 652661-63, and applied to
claims brought by private parties as well as governmental and self-regulatory entities, see Tr.
275:7-13; 276:5-277:1, 277:17-25. During the Relevant Period the D&O policy’s coverage was
increased from $30 to $50 million, its premium ranged between $984,300 and $1.528 million,
and its deductible remained constant at $500,000. PX 184-A at 653775, PX 176-A at 650594,
PX 145-A at 534861, PX 113-A at 503184, PX 61-A at 519662, PX 32-A at 514326.

          RESPONSE: Denied. CAL denies that the D&O Policy “broadly insured the Calamos

entities . . . as well as the Funds.” The D&O Policy does not fully cover the various risks faced

by CAL.562 As Mr. Jackson testified when he was questioned at trial about this particular policy,

                 The insurance policy, as you know, has certain definitions
                 associated with it. This is a claim, and therefore, you have to look
                 at the sum of the insurance policy. So for example, this policy, I
                 believe, if it’s consistent, has approximately 18 enumerated
                 exclusions. So whether or not something is covered or not, you’d
                 have to take a look at the exclusion section. Then not only that, once
                 you go from the exclusion section, it’s got a number of
                 endorsements associated with it that may or may not impact upon
                 various provisions of the policy.563


561
      See DFFCL ¶¶ 202-03.
562
      DFFCL ¶¶ 202-03.
563
      Tr. 277:5-14 (Jackson).

                                                  202
CAL also denies that the D&O Policy “coverage was increased from 30 million to $50 million;”

the D&O Policy’s aggregate limit was increased from $30,000,000 in 2013 to $50,000,000 in

2015, and reduced to $40,000,000 in 2018.564

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.

        224. The D&O policy’s annual premium and deductible (the latter of which was only
incurred if a claim was submitted) was allocated among the insured entities pursuant to one of
two methods, depending on the year at issue. Tr. at 274:5-12; 278:23-279:5, 280:20-281:11.
Prior to 2015, CAL allocated its premiums based on recommended allocations from ICI Mutual,
the entity that issued the policy. Tr. at 280:20-281:11. For example, ICI Mutual recommended
that CAL be allocated $216,546 of the 2014-2015 D&O policies total annual premium. Tr. at
281:12-283:2; PX 86-A at 523548.

          RESPONSE: Denied. The D&O Policy’s annual premium was allocated among the

entities insured by that policy, and the deductible would also be allocated depending on the

nature of the claim asserted.565 CAL denies that CAL “allocated its premiums based on

recommended allocations from ICI Mutual.” Instead, Mr. Jackson testified that CAL would

“come up with what we believe to be an appropriate allocation methodology,” and that CAL

would then “get a letter . . . from ICI Mutual that would provide . . . their view” on the

allocation.566 Moreover, CAL denies that the insurance premiums it pays measure the cost of the


564
   PX 184-A at 653775, PX 176-A at 650594, PX 145-A at 534861, PX 113-A at 503184, PX
61-A at 519662, PX 32-A at 514326.
565
      Tr. 274:5-12 (Jackson).
566
      Tr. 280:24-281:5 (Jackson).

                                                  203
risks that CAL faces. Among other things, insurance does not and cannot cover many types of

harm that can result if certain risks borne by CAL were to come to pass.567

         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.

        225. From 2015 to the present, the Calamos entities have been responsible for paying
40% of the annual premium while the Funds were responsible for paying the remaining 60%.
278:23-279:5. The 40% portion of the premium owed by the Calamos entities collectively was
then further allocated among each Calamos entity individually. Tr. at 279:13-17; PX 86-A at
523535-48. Thus, for example, the annual premium for the 2016 D&O policy – which provided
$50 million of coverage -- was $1,419,840. Under the applicable allocation methodology, the 10
insured Calamos entities were collectively responsible for paying 40% of that amount, or
$567,936. Tr. at 279:25-280:14. And CAL individually was responsible for paying just a
fraction of that amount. Tr. at 280:16-19. Thus, during the Relevant Period, the annual cost to
CAL of insuring against all of the risks covered by the D&O policy was significantly smaller
than $567,936.

         RESPONSE: Denied. CAL and its affiliates paid approximately 40% of the annual

premium for the D&O Policy from 2015 to the present, and the portion of the premium paid by

CAL and its affiliates was further allocated among each entity. CAL denies that the premium it

paid constituted “the annual cost to CAL of insuring against all of the risks covered by the D&O

policy.” Among other things, insurance does not and cannot cover many types of harm that can

result if certain risks borne by CAL were to come to pass.568




567
      See DFFCL ¶¶ 202-03.
568
      See DFFCL ¶¶ 202-03.

                                                 204
          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.

        226. The Fidelity/Blanket Bond is a regulatory requirement under the ICA and covers
a series of risks identified in a section of the policy called “Insuring Agreements.” Tr. at 284:1-
21. The risks covered by that policy include certain legal as well as regulatory risks. Tr. at
284:22-285:24. The premium for the Fidelity Bond was allocated during the relevant period
based on the same methodologies applied to the D&O policy. Thus, for example, ICI Mutual
recommended that CAL pay $4,361 of the Fidelity Bond’s annual premium for the 2014-2015
policy term. Tr. 283:3-17.

          RESPONSE: Denied. The maintenance of the Fidelity Bond is required by Section

17(g) of the ICA. The assertion that “[t]he premium for the Fidelity Bond was allocated during

the relevant period based on the same methodologies applied to the D&O policy” is not

supported by the evidence cited. Mr. Jackson stated that he did not recall the amount of the

premium that was “allocated to CAL for this policy term differing materially from ICI’s

recommendation.”569 He did not testify that the premium was allocated in the same manner as

the D&O Policy. In addition, the cost of the premium paid for the Fidelity Bond does not

provide a measure of the cost of the risks faced by CAL. Among other things, insurance does

not and cannot cover many types of harm that can result if certain risks borne by CAL were to

come to pass.570




569
      Tr. 283:19-22 (Jackson).
570
      DFFCL ¶¶ 202-03.

                                                  205
          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.

         227. Turning to the purported non-insurable risks CAL faces, Mr. Jackson identified
(i) injury to reputation, (ii) interference with business relationships, and (iii) distraction from
core business operations, as potential consequences. See Tr. at 285:25–286:13. However, these
potential consequences are either are so remote that they have never previously materialized or
resulted in only de minimis expense (that CAL did not even bother to estimate).

          RESPONSE: Denied. Mr. Jackson testified that examples of risks that CAL faces that

are not covered by insurance include injury to reputation, interference with CAL’s business

relationships, such as intermediaries, and the distraction litigation causes from CAL’s normal

business activities.571 CAL denies the remaining assertions in Paragraph 227. The fact that a

particular risk has not materialized does not mean that it is “remote” or “de minimis.” As

Mr. Jackson explained, “we try to . . . anticipate issues that could occur and we seek to address

those risks affirmatively before they ever come home to roost, but that takes a lot of time and

effort on behalf of the adviser.”572 Anticipating such risks requires constant vigilance and

monitoring on behalf of CAL.573

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its




571
      Tr. 285:25-286:13 (Jackson).
572
      Tr. 349:9-19 (Jackson).
573
      DFFCL ¶¶ 202-203.

                                                  206
institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.

         228. First, with respect to reputational injury, Mr. Jackson conceded that: (i) this risk
applies regardless of whether the client is a fund or a non-fund; (ii) CAL has not attempted to
quantify the cost of any reputational injury that might have resulted from its prior litigation; and
(iii) none of CAL’s Other ACG Accounts, all of whom terminated their advisory relationship with
CAL, cited CAL’s involvement in prior litigation as a reason for doing so. Tr. at 286:14-287:20;
see also Tr. at 138:3-15 (Mr. Neal’s testimony that he did not recall CAL ever informing the
Board that it suffered reputational injury or lost business as a result of prior lawsuits).574

          RESPONSE: Denied as stated. Mr. Jackson testified that injury to reputation “could

be” implicated with respect to non-fund clients, and that “[i]nsofar as I’m personally aware,”

CAL has not “taken any specific studies as to the potential loss incurred by reputational risk

other than to say it’s a real risk.575 Mr. Jackson also testified that he was not “aware of” CAL’s

institutional clients claiming that their decision to terminate their relationship with CAL was

because CAL had been involved in a fund litigation, and that instead, “it’s probably more the


574
    Notably, Mr. Richardson testified that the loss of future business is difficult if not impossible
to quantify, and that he did not offer an opinion as to how a Trustee could possibly assess
whether an adviser’s fee reasonably accounted for a risk/cost that is unquantifiable. See Tr. at
767:15-768:5. Additionally, Mr. Richardson does not offer the opinion that it would be
reasonable for CAL’s advisory fee to account for the risk of reputational harm resulting from its
own negligence or misconduct. Tr. at 768:6-10. RESPONSE: Denied as stated.
Mr. Richardson testified that the risk of a loss of future sales (i.e., the risk that AUM will not
increase, or not increase as much as it otherwise would) is difficult if not impossible to quantify,
and that “I think that a board and a management team in setting fees would consider all of these
risks even if they’re unquantifiable; acknowledge that they exist and say, I need something for
that.” Tr. 767:18-25 (Richardson). Mr. Richardson was not asked to offer, and is not offering,
the opinion that the advisory fee CAL charges the Fund should account for the risk that CAL
may suffer reputational injury that could result from its own negligence. Tr. 768:6-10
(Richardson). In addition, CAL is not required to quantify the risks that it faces in connection
with advising the Funds, nor is it required to “justify” the fee that it charges to the Fund. DFFCL
¶¶ 203, 209, 227.
575
      Tr. 286:19-25 (Jackson).

                                                 207
clients, because of the litigation,. . . that would shy away from retaining CAL as opposed to

necessarily then existing [clients].”576 Mr. Jackson also stated, in response to a question:

                 Q. Is it fair to say that CAL hasn’t done any study on the impact the
                 litigations that have already occurred had on the inflow of new
                 clients to buy into investment products?

                 A. We haven’t done any specific studies to that effect. The problem
                 that you have is you never would know, necessarily, so you
                 wouldn’t even get an opportunity to have those clients come.

                 Q. Right. It’s like an unknown unknown?

                 A. Right. But I’m a lawyer and I’m not in distribution, so that's not
                 my particular area of expertise.577

In addition, the fact that a particular risk has not materialized does not mean that CAL does not

face that risk. As Mr. Jackson explained, “we try to . . . anticipate issues that could occur and we

seek to address those risks affirmatively before they ever come home to roost, but that takes a lot

of time and effort on behalf of the adviser.”578 Anticipating such risks requires constant

vigilance and monitoring on behalf of CAL.579

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra




576
      Tr. 287:6-13 (Jackson).
577
      Tr. 287:14-23 (Jackson).
578
      Tr. 349:9-19 (Jackson).
579
      See DFFCL ¶¶ 202-203.

                                                  208
        229. Second, with respect to potential interference with business relationships,
Mr. Jackson stated that he was unaware of any litigation-related injury to goodwill, nor did
anyone in CAL’s distribution department inform him that any intermediaries refused to work
with CAL as a result of litigation. Tr. 287:24-14; see also Tr. at 138:4-139:9 (Mr. Neal’s
testimony that he does not recall any conversations with CAL regarding injury to goodwill or
injury to third-party relationships).

          RESPONSE: Denied. Mr. Jackson testified that he was “not aware of anything

specifically along [the] lines” of any quantification or estimation of any injury to goodwill as a

result of litigation.580 In response to a question about whether he was aware of any business

intermediaries who have refused to be “part of the distribution process” for CAL’s products as a

result of litigation, Mr. Jackson testified “I – I wouldn’t know that. That wouldn’t be within my,

my personal realm. . . .”581 In addition, the fact that a particular risk has not materialized does

not mean that CAL does not face that risk. As Mr. Jackson explained, “we try to . . . anticipate

issues that could occur and we seek to address those risks affirmatively before they ever come

home to roost, but that takes a lot of time and effort on behalf of the adviser.”582 Anticipating

such risks requires constant vigilance and monitoring on behalf of CAL.583

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.



580
      Tr. 287:24-288:4 (Jackson).
581
      Tr. 288:9-11 (Jackson).
582
      Tr. 349:9-19 (Jackson).
583
      DFFCL ¶¶ 202-203.

                                                  209
       230. Third, there is no evidence in the record that defending this action, or any of
CAL’s prior lawsuits, materially impacted the ability of CAL’s employees to carry out their day-
to-day business activities. See generally Tr. at 288:15-25.

          RESPONSE: Denied. Mr. Jackson testified:

                 Q. Now, turning to the risks that litigation could distract CAL
                 employees from their normal business activities, I mean, obviously
                 you’re here today, so --

                 A. That’s a real risk, sir.

                 Q. Yes, but aside from the observable risk that you see here, taking
                 the time out of your day to come to New York, has CAL attempted
                 to ascertain the cost of that risk in any prior litigations?

                 A. No. In the prior litigations that we had, we were successful at the
                 motion stage of prevailing in those particular cases. They did not
                 go to trial.584

          In fact, no fewer than eight members of CAL’s personnel had to prepare for and attend

depositions, in addition to two of CAL’s Independent Trustees. In addition, five CAL employees

were required to travel to New York and testify at trial. During all of the time those employees

(and other CAL employees) were devoting attention to this case, they were not handling their

regular business responsibilities. Those are but examples of the risk of employees’ distraction

from business activities that CAL faces from litigation.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.



584
      Tr. 288:15-25 (Jackson) (emphasis added).

                                                  210
       231. Turning specifically to regulatory risks, the primary and most significant risk that
CAL identified to the Board as a justification for the Funds’ higher advisory fees was CAL’s
greater exposure to “make-whole” errors. Tr. at 290:16-25; 291:12-29:22; JX 144 at 636381
(“The Board considered factors that lead to more expenses for registered funds including . . .
greater exposure to ‘make whole’ errors.”); JX 111 at 534351 (same). A “make-whole error” is
an error that results in losses to fund investors for which CAL or a third-party service provider
bears responsibility. See Bhatt Dep. at 182:16-22; see also Tr. at 210:14-211:4; 290:2-8. The
most significant source of potential make-whole errors is the daily calculation of the Funds’
NAV, which is performed by State Street in the first instance. Tr. at 211:23-212:1, 295:12-18;
292:23-294:2.

          RESPONSE: Denied. Plaintiffs’ assertions in Paragraph 231 that “the primary and most

significant risk that CAL identified to the Board . . . was CAL’s greater exposure to ‘make-

whole’ errors” and that “the most significant source of potential make-whole errors is the daily

calculation of the Funds’ NAV” are not supported by the evidence cited. Mr. Jackson testified

that “typically, in a mutual fund setting, we’re having to, you know, calculate or be responsible

for pricing and NAV errors on a daily basis, and you don’t have that responsibility with respect

to institutional accounts,” and that “with respect to our funds, we ultimately need to make sure

that, you know, our NAVs are accurate on a daily basis, and you do run the risk, as an adviser,

that you may be subject to greater exposure for these types of errors.”585 CAL bears ultimate

responsibility for all of the services provided to the Funds, through third parties or otherwise.586

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.


585
      Tr. 293:11-14, 293:24-294:2 (Jackson).
586
      DFFCL ¶ 200.

                                                  211
        232. However, the record shows that make-whole errors generally, and NAV errors
specifically, are: (i) incredibly infrequent, and have been non-existent with respect to the Growth
Fund, (ii) are generally de minimis when they do materialize; and (iii) are typically borne by
State Street, not CAL.

          RESPONSE: Denied. CAL incorporates by reference its Responses to Paragraphs 233-

234, infra.

        233. Mr. Bhatt testified that large make-whole errors are infrequent and that he did
not recall a single large make-whole error since joining CAL in January 2004. Bhatt Dep. at
10:10-11, 183:14-184:1. Consistent with his testimony, in December 2013, Mr. Bhatt reported
to the Funds’ Valuation Committee that CAL had experienced its first NAV error in over two
years, and that the total value of that error – which did not impact the Growth Fund – was under
$250. Id. at 299:10-301:18, JX 42 at 533667-68.

          RESPONSE: Denied. Mr. Bhatt testified that he did not “recall . . . any large errors.”587

As set forth in the December 2013 Valuation Committee minutes, Mr. Bhatt stated that “State

Street under accrued the expense reimbursement due from” CAL and that “as a result, each

Fund’s NAV was understated,” causing net losses for the Dividend Growth Fund of $218.87 and

the Mid Cap Growth Fund of $15.41.588 CAL denies that the fact that a particular risk has not

materialized does not mean that CAL does not face that risk. As Mr. Jackson explained, “we try

to . . . anticipate issues that could occur and we seek to address those risks affirmatively before

they ever come home to roost, but that takes a lot of time and effort on behalf of the adviser.”589

Anticipating such risks requires constant vigilance and monitoring on behalf of CAL.590 In fact,

CAL’s oversight and monitoring services may well be one reason why large errors are

infrequent.




587
      Bhatt Dep. 183:18-20, 22.
588
      JX 42 at CALAMOS_00533667-668.
589
      Tr. 349:9-19 (Jackson).
590
      DFFCL ¶¶ 202-203.

                                                 212
       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.

        234. Similarly, Mr. Jackson explained that NAV errors are infrequent and that since
joining CAL in 2010, he did not recall a single make-whole error involving the Growth Fund for
which CAL had to pay out of pocket, Tr. at 297:6-16, 301:16-18. And Mr. Neal testified that he
too did not recall a single occasion where CAL had to pay Growth Fund shareholders for a
make-whole error. Tr. at 212:2-18.591 Moreover, Mr. Neal confirmed that when a make-whole
error does occur, it is typically the responsibility of the third-party service providers at issue, see
Tr. at 213:4-9, which are bound by indemnification provisions rendering them liable for losses
resulting from the own negligence or wrongful acts. Tr. at 295:19-296:15; JX 183 at 654546-
47; JX 4 at 4-5; JX 182 at 8-10; see also Tr. at 766:23-767:2 (Mr. Richardson’s testimony
regarding indemnification).592




591
    Mr. Jackson conceded that, even if CAL as opposed to State Street was responsible for
reimbursing Fund investors for make-whole errors, such errors, depending on their nature,
would be covered by the D&O policy. Tr. 297:17–298:6; see also Bhatt Dep. at 183:14-17.
Additionally, Mr. Richardson testified that he did not offer the opinion that it would have been
reasonable for CAL to include some value in its advisory fees to account for make-whole errors
that were the result of its own negligence or misconduct. Tr. at 766:17-22. RESPONSE:
Denied. The foregoing assertion mischaracterizes Mr. Jackson’s testimony. In response to the
question whether “to the extent a make make-whole error occurred and it wasn't one for which a
third-party service provider would be liable, that depending on the nature of the error, it could be
covered by the D&O policy?,” Mr. Jackson testified “it could be” and that “if it’s a NAV
calculation, etc., that’s one thing. If it is a trade error, you know, typically a trade error is going
to be the responsibility, those are typically adviser, you know, type of errors.” Tr. 297:17-298:2
(Jackson). CAL admits that Mr. Richardson testified that he did not “have a view” on whether
the advisory fee CAL charged the Fund “should include some value to account for the risk that
CAL would make an error through its own negligence.” Tr. 766:17-22 (Richardson). In
addition, CAL is not required to “justify” the advisory fee it charges the Fund. DFFCL ¶¶ 203,
209, 227.
592
   Notably, Mr. Richardson provided only one example of a regulatory risk in his expert report,
which he conceded was inapplicable to the Growth Fund. Tr. at 763:19-25-764:2.
RESPONSE: Denied as stated. Mr. Richardson was asked about a regulatory risk involving the
Capital Preservation Fund. Tr. 763:22-25 (Richardson). He was not asked by counsel for
Plaintiffs to identify any other examples of regulatory risk.

                                                 213
          RESPONSE: Denied as stated. Mr. Jackson could not recall the last time a NAV error

occurred with respect to the Fund for which CAL has paid out of pocket. As Mr. Jackson

explained, however, “the concern is the fact that they may occur, and with striking NAV every

day for these particular funds, the specter of an error is always looming, and that’s the

concern.”593 The assertion that a make-whole error is “typically the responsibility of the third-

party service providers at issue” is not supported by the evidence cited. CAL bears ultimate

responsibility for all of the services provided to the Funds, through third parties or otherwise.594

Simply because the contracts with third party service providers provide for those third parties’

own liability for errors or failure to perform the necessary services, that does not mean that CAL

would not bear any liability for third party errors or failures. The service providers would not

necessarily accept liability under all circumstances, nor does that mean that the Independent

Trustees and shareholders would not look to CAL if these service providers do not fulfill their

obligations efficiently and correctly.595

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.




593
      Tr. 301:18-23 (Jackson).
594
      DFFCL ¶ 200.
595
      Jackson Decl. ¶ 119.

                                                  214
                         b.       Entrepreneurial / Competitive Risks

        235. Mr. Richardson testified that CAL also purportedly faced greater entrepreneurial
and competitive risks as an adviser of mutual funds, which he believes are relevant to the
disparity in the fees CAL charged its fund clients versus its non-fund clients. Richardson Report
at ¶¶67-72, 128-32; see also JX 144 at 636381 (2016 15(c) Minutes identifying “capital
expenditures to establish a fund” and “length of time to reach critical mass, and related
expenses” as cost drivers for mutual funds); Tr. at 98:24–100:11 (Mr. Behan’s similar testimony
concerning entrepreneurial and competitive risk).

          RESPONSE: Denied. Mr. Richardson testified that CAL faced greater entrepreneurial

and competitive risks, which persist even after mutual funds reach profitability, as an adviser to

the Funds than as an adviser to institutional or sub-advisory accounts.596

          Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue of the

supposedly limited risks that CAL faced with respect to the Fund as compared to its institutional

and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to “justify” the Fund’s

fee in light of the supposed cost of these different risks fail to support a cognizable Section 36(b)

claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 217, supra.

        236. Entrepreneurial risks include an adviser’s outlay of start-up capital in sponsoring
a fund and its assumption of initial operating losses until the fund reaches profitability. See Tr.
98:24–100:11, 758:2-9; Richardson Report at ¶¶128, 132. Mr. Richardson conceded, however,
that the Growth Fund was over 25 years old, had already reached profitability, and that CAL
had already recouped its start-up costs from sponsoring the Growth Fund. Tr. at 757:24-19.

          RESPONSE: Denied. CAL admits that, among other things, entrepreneurial risks

include start-up costs such as the money expended by the adviser to sponsor the fund and the

assumption of operating losses until the fund reaches profitability.597 CAL denies the remaining

of Plaintiffs’ assertions in Paragraph 236. First, Paragraph 236 identifies some, but not all, of the

sole entrepreneurial risks entailed in advising a fund. Second, as Mr. Richardson testified, even



596
      Tr. 757:24-759:11 (Richardson).
597
      Tr. 758:2-9 (Richardson).

                                                  215
if the Fund has already reached profitability and CAL has recouped its initial capital, “I think

entrepreneurial risks continue even after you’ve obtained a measure of profitability. You don’t

know that the fund is always going to be profitable going forward, and not every fund that you

launch is going to be profitable.”598 In fact, the decline in the Fund’s AUM, and the profitability

of the Fund, is an example of the entrepreneurial risk entailed in advising a mutual fund.599

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.

        237. Competitive risks encompass the possibility that fund shareholders would switch
investment advisers or chose a passively managed index fund (which typically have lower fees).
See Richardson Report at ¶70; Tr. at 761:17-25. Mr. Richardson made clear, however, that he
did not offer the opinion that it would have been reasonable for CAL to charge the Growth Fund
a fee that added some value for the risks that investors would switch investment advisers due to
CAL’s poor performance or that investors would opt for an index fund because the Growth
Fund’s fees were too high. Tr. at 759:12-762:22. Further, the same competitive risks exist with
respect to non-fund clients: indeed, all of CAL’s Other ACG Accounts switched advisors.

          RESPONSE: Denied. Mr. Richardson identified “investor preference,” i.e., the move of

investors from actively-managed funds to passive funds, to be one example of a competitive

risk.600 Mr. Richardson was not asked to offer, and is not offering, the expert opinion that CAL

was entitled to charge the Fund a fee that accounted for the risk that investors would switch to a




598
      Tr. 758:24-759:2 (Richardson).
599
      Richardson Rpt. ¶ 70.
600
      Tr. 761:21-25 (Richardson).

                                                  216
passively managed fund.601 However, the fact that Mr. Richardson does not offer an opinion on

whether an adviser should charge a fee that accounts for the risk that investors would leave the

fund does not mean that he disagrees with that proposition or that it is contrary to law.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited risks that CAL faced with respect to the Fund as compared to its

institutional and sub-advisory All Cap Growth Clients and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different risks fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 217, supra.

IV.       CAL’S METHOD FOR ALLOCATING COSTS MADE ITS LARGER FUNDS
          APPEAR LESS PROFITABLE

          A.     CAL’s 15(c) Profitability Presentations and Cost Allocation Methodology

        238. Each of CAL’s 15(c) Responses contained a presentation titled “Mutual Fund
Profitability,” which purported to present the profitability, to CAL, of serving as advisor to each
of the Funds, including the Growth Fund. DX 184-Q, DX 176-Q, DX 145-R, DX 113-S, DX 61-
S, DX 32-Q. These presentations were standardized, differing only in specific numbers, rather
than in methods of calculation or manner of presentation. Id. For each of the Funds, CAL’s
profitability is the difference between (1) the revenue CAL received from serving as that Fund’s
adviser (namely, the advisory fees paid to CAL by that Fund) and (2) the costs CAL incurred to
provide that Fund with advisory services, (3) divided by the revenue (which expresses the
percentage of Fund-specific advisory revenue that flows to CAL as profit). DX 184-Q; Lacey
Report at ¶¶23, 38.

          RESPONSE: Plaintiffs’ assertions that the Fund’s management fee is excessive by

virtue of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim

for each of the following fundamental reasons:

          First, on summary judgment, the Court ruled that (a) as a result of the “Mutual Fund

Profitability Presentation,” for each year within the Relevant Period “the Independent Trustees



601
      Tr. 762:10-16 (Richardson).

                                                  217
were fully informed about Calamos’ profitability methodology,” and (b) Plaintiffs’ contention

that the Mutual Fund Profitability presentations understated the Fund’s profitability is “wholly

lacking in merit as it rests almost entirely on Plaintiffs’ disapproval of Calamos’ use of an

‘average AUM’ cost-allocation method to analyze profitability—a method Plaintiffs’ recognize

is commonly accepted within the industry.”602

         Second, as the trial evidence conclusively demonstrates: (a) an adviser’s “choice of cost

allocation methodology does not affect” whether the advisory fee is excessive, as Professor

Bullard concedes; (b) CAL’s calculation of its profitability with respect to the Fund, like any

other profitability calculation, necessarily involves the exercise of discretionary accounting

judgments that may affect the overall result; (c) because there are a range of reasonable and

acceptable judgments and methodologies that can be used, and which will produce a range of

different but equally reasonable results, there is no one “true” profitability figure; (d) as

Professor Lacey testified, without any meaningful contradiction from either of Plaintiffs’ experts,

CAL’s Profitability Presentation employs a systematic and rational approach to provide

reasonable, decision-useful information to the Independent Trustees; (e) as the only two qualified

accountants at the trial (Mr. Helmetag and Professor Lacey) testified, CAL’s manner of

calculating Fund-level advisory profitability is consistent both with managerial accounting

principles and the principles underlying GAAP; and (f) Plaintiffs did not offer any evidence that

CAL’s AUM-based cost allocation approach is not consistent with managerial accounting

principles or the principles underlying GAAP; indeed, neither of Plaintiffs’ experts offer any

accounting-grounded opinions (nor could they, given their complete lack of accounting




602
      DFFCL ¶¶ 291-92.

                                                 218
qualifications).603 In sum, as Dr. Pomerantz freely admitted, CAL is “well within [its]

accounting rights as accountants to do what they’ve done” with respect to the cost allocation

methodology it used.604

          Third, Plaintiffs provided no admissible and credible evidence that allocation of indirect

advisory costs on the basis of AUM is in any way inconsistent with the allocation of fixed costs,

or that cost behavior must dictate (or prohibit) any particular cost allocation methodology. To

the contrary, as Professor Lacey explained, without any contradiction from Plaintiffs, where, as

here, no cause and effect relationship can be identified, allocation by average AUM is a

reasonable cost allocation methodology because it is a reasonable proxy for the benefits the Fund

receives.605 As Professor Lacey further testified:

                 I think what is confused here is the difference between cost behavior
                 and cost allocation. So, we also have to allocate fixed costs even
                 though the cost doesn’t change. When we’re computing the
                 profitability of an apartment or the profit from a particular product -
                 - our ruler, for example -- we have to allocate those fixed costs to
                 the individual products in the individual departments to compute the
                 profitability. So, allocation versus cost behavior.606

          Fourth, Plaintiffs’ assertion that CAL’s accounting methodology is “per se unreasonable”

is entirely unsupported by the law or the trial evidence. Putting aside that Professor Bullard is

unqualified even to address the subject, his claim has no support in law, regulations, or

accounting principles. Neither Gartenberg nor any other Section 36(b) case ever held, nor has

the ICA or the SEC ever established a rule requiring, anything other than a reasonable and

rational accounting calculation. Certainly nothing in Gartenberg even hints at the idea that


603
      DFFCL ¶¶ 295-307.
604
      DFFCL ¶ 306.
605
      Tr. 997:17-23, 999:17-22 (Lacey).
606
      Tr. 1022:15-23 (Lacey).

                                                  219
allocation of indirect costs on the basis of AUM is “per se unreasonable.” Plaintiffs’ “per se

unreasonable” assertion is also directly at odds with the only alternative profitability calculation

that Plaintiffs offer, from Dr. Pomerantz, who allocated costs in his model exclusively on the

basis of AUM and no additional variables. Professor Bullard claimed that he did not review

Dr. Pomerantz’s testimony prior to offering his cost allocation opinion at trial, and Plaintiffs

made no effort to reconcile the conflicting opinions of their experts.607

         Fifth, as Plaintiffs have conceded, the profitability figures CAL reported using an average

AUM methodology are not materially different from the figures CAL reported using the time-

spent methodology with which Plaintiffs take no issue.608

         Sixth, to the extent that any of Plaintiffs’ assertions concerning CAL’s accounting,

profitability or cost allocation methodology rely on the testimony of Dr. Pomerantz or Professor

Bullard, those assertions are not supported by any admissible or credible evidence because

neither Dr. Pomerantz nor Professor Bullard is in any way qualified to offer any expert opinion

concerning accounting, profitability or cost allocation methodologies.609

         With specific reference to Plaintiffs’ assertions in Paragraph 238, CAL admits that each

of CAL’s 15(c) Responses contained a “Mutual Fund Profitability” presentation that presents a

widely-accepted profitability measure calculated as (Revenues – Expenses)/Revenues for each

Fund. CAL denies any assertions within Paragraph 238 suggesting that the Mutual Fund

Profitability Presentation was in any way misleading or that CAL’s profitability was in any

“improperly” calculated as unsupported by any trial evidence.



607
      DFFCL ¶ 307.
608
      DFFCL ¶ 303.
609
      DFFCL ¶¶ 417-420, 447-449.

                                                220
         239. While CAL’s advisory revenue with respect to each Fund is directly and easily
ascertainable (the advisory fees each Fund paid), the costs CAL incurred to advise each Fund
are not ascertainable in a similarly easy and direct manner. Id. That is because only a few
types of expenses (all of which related to distribution and marketing expenses, and are hence
irrelevant to the pre-distribution/marketing profitability required by Gartenberg and at issue
here) were “direct expenses” recorded on a Fund-specific basis. DX 184-Q, at 653680 and
653691; Lacey Report at ¶30; Pomerantz Report at ¶¶408-09. Instead, all of CAL’s advisory
expenses (namely employee compensation, general and administrative costs, and client service
costs) were “indirect expenses,” also termed “joint costs” or “common costs,” that could not be
easily traced to particular Funds, and that CAL incurred with respect to multiple or all of the
Funds (e.g., compensation of investment management personnel who provided services to
several Funds; compensation of personnel in other departments, such as Fund Administration,
Operations, or Legal and Compliance, which provided services to all of the Funds; rent and
utility costs for CAL’s shared offices, etc.). DX 184-Q, at 653680 and 653691; Lacey Report at
¶¶16, 23-25, 30; Pomerantz Report at ¶409, 430-31; Tr. at 234:23–235:11. Such indirect,
jointly-incurred costs must be allocated among the multiple products to which they relate (here,
CAL’s advisory clients) on a rational basis, in order to report product-specific profits. Lacey
Report at ¶¶16-31; Tr. 235:20-25.

         RESPONSE: Denied as stated. CAL admits that in preparing the Profitability

Presentation, CAL is required to account for not only “direct” expenses, but also “indirect”

expenses (sometimes called “joint and common” expenses). An indirect expense is an expense

that is incurred but cannot be connected solely to a specific cost object, such as rent, insurance,

employee salaries, and utilities such as electricity or gas heat. It is not possible to trace these

expenses to the product(s) and/or fund(s) incurring these costs. Therefore, some allocation

methodology must be selected so that the expense can be attributed to the cost object(s) to which

the expense is connected. A large amount of the advisory expenses are indirect expenses that

therefore must be allocated.610 CAL denies any assertions within Paragraph 239 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any “improperly” calculated as unsupported by any trial evidence.




610
      DFFCL ¶¶ 301-306.

                                                 221
         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        240. To calculate and present the profitability to CAL of advising each of the Funds,
the Mutual Fund Profitability presentations allocated CAL’s advisory costs, in their entirety, to
each of the Funds on the sole basis of AUM. DX 184-Q, at 653680. This cost allocation
proceeded in a two-step process. Id. In the first, a product-line allocation, CAL started with the
total advisory costs CAL incurred in advising all its investment products/clients, and allocated a
portion of those total costs to the Funds (as opposed to other clients, such as Subadvisory
Accounts and Institutional Accounts) according to the Funds’ proportion of CAL’s total AUM.
DX 184-Q, at 653680-81; Pomerantz Report at ¶¶410-11. Thus, for example, where the Funds’
constituted 86% of CAL’s total AUM, CAL allocated 86% of its total advisory costs to the Funds.
DX 184-Q, at 653681. In the second, having allocated advisory costs to the Funds in aggregate,
CAL then allocated portions of its aggregate Funds-related advisory costs to each of the Funds,
again on the basis of AUM (i.e., each Fund’s proportion of the Funds’ aggregate AUM). DX
184-Q, at 653680 and 653691; Pomerantz Report at ¶432.

         RESPONSE: Denied as stated. CAL admits that as a general proposition, it allocated

indirect expenses between the Funds and CAL’s other clients on the basis of average AUM, and

that CAL then allocated the portion of the indirect expenses allocated to the Funds to each

individual fund based on that fund’s average AUM.611 CAL denies any assertions within

Paragraph 240 suggesting that the Mutual Fund Profitability Presentation was in any way

misleading or that CAL’s profitability was in any “improperly” calculated as unsupported by any

trial evidence.

         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.




611
      DFFCL ¶¶ 301-02, 304-05.

                                                 222
          B.     CAL’s Profitability Presentations were Inconsistent with Its Actual
                 Operations and Artificially Lowered the Growth Fund’s Profitability

                 1.     Although Advisory Costs are Largely Fixed CAL Allocated Those
                        Costs by AUM as if they Were Variable Costs, Eliminating/Masking
                        Economies of Scale

        241. As CAL’s profitability expert Professor Lacey concedes, most costs incurred in
the provision of advisory services are largely fixed costs, rather than variable costs: i.e., costs
that remain relatively constant even as AUM rises or falls, and thus that do not vary in direct
proportion to AUM. Tr. at 996:16–997:6. Because of this, and as Professor Lacey’s own cost
allocation authorities explain, it is generally acknowledged in the mutual fund industry that
advisory costs do not directly track AUM. Pomerantz Rebuttal Report at ¶248.

          RESPONSE: Denied as stated. CAL admits that Professor Lacey testified that most

costs are fixed costs in mutual fund advisory services, and that advisory costs therefore do not

vary proportionately by AUM.612 CAL denies any assertions within Paragraph 241 suggesting

that the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s

profitability was in any “improperly” calculated as unsupported by any trial evidence. In

addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue of CAL’s

“method for allocating costs” fail to support a cognizable Section 36(b) claim for each of the

fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        242. Yet CAL’s Mutual Fund Profitability Presentations allocated advisory costs in
exactly the opposite manner: as if all advisory costs varied in perfect and direct proportion to
AUM. DX 184-Q, DX 176-Q, DX 145-R, DX 113-S, DX 61-S, DX 32-Q. See also Pomerantz
Rebuttal Report at ¶¶248-49.

          RESPONSE: Denied. CAL denies any assertions within Paragraph 242 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any “improperly” calculated as unsupported by any trial evidence.




612
      Tr. 996:24-997:6 (Lacey).

                                                223
         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

       243. Such allocation is per se unreasonable, as it allocates costs in a manner
diametrically opposite to known facts concerning such costs’ actual behavior. Tr. at 879:14-20;
Bullard Rebuttal Report at ¶¶104-05. See also Pomerantz Rebuttal Report at ¶¶236-93.

         RESPONSE: Denied. CAL denies any assertions within Paragraph 243 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any “improperly” calculated as unsupported by any trial evidence. Furthermore,

Plaintiffs’ sole basis for their assertions in Paragraph 243 are the opinions of Dr. Pomerantz and

Professor Bullard, both of whom are wholly unqualified to offer any expert opinion concerning

accounting, profitability or cost allocation methodologies.613

         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

       244. CAL’s actual operating costs, as analyzed by both Plaintiffs’ and Defendant’s
experts, do not evince the direct and proportional relationship to CAL’s AUM depicted in CAL’s
Mutual Fund Profitability Presentations. Pomerantz Report at ¶¶467-89; Pomerantz Rebuttal
Report at ¶247; Cronin Report at Ex. 9.1 (showing total advisory and distribution costs
increased as AUM declined) and Ex. 10 (showing investment advisory personnel headcount
remaining constant even as AUM declined by 50%, illustrating the relatively fixed nature of this
advisory expense). For example, as the AUM in CAL’s Funds declined from $15.3 billion to
$13.6 billion (a decline of 13.7%), CAL advisory costs did not decline by a similar 13.7%, but
instead fell from $63.0 million to $60.8 million, a decline of only 3.4% (approximately 1/4th the
AUM decline). Pomerantz Report at ¶480. Similarly, as CAL Open-End Fund AUM fell 38.5%
from 2011 through 2015, CAL’s employee compensation costs fell only 11.3%. Id., ¶¶468-74.
In sum, analysis of CAL’s actual operating costs indicates that such costs, or substantial
portions thereof, do not perfectly track and/or vary with AUM, but instead, as Professor Lacey
conceded, remain substantially fixed even as AUM varies.



613
      DFFCL ¶¶ 417-420, 447-449.

                                                 224
          RESPONSE: Denied. CAL denies any assertions within Paragraph 244 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any “improperly” calculated as unsupported by any trial evidence.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        245. These same facts (i.e., CAL’s own financial results of operations), viewed under a
different conceptual terminology, indicate the presence of substantial economies of scale.
Pomerantz Report at ¶¶468-89; Pomerantz Rebuttal Report at ¶¶301-05.

          RESPONSE: Denied. CAL denies the assertion that the “facts” in Paragraph 245 prove

anything at all, let alone prove that CAL’s profitability with respect to the Fund in any way

suggests that the Fund’s fee “could not have been the product of arm’s-length bargaining,” for all

of the reasons set forth in its responses to Paragraph 238, supra.

          In addition, the Court has already ruled, as a matter of law, that Plaintiffs failed to show

the existence of economies of scale—or even to create a fact issue sufficient for trial.614 That

ruling was based on the same fundamental flaw that Plaintiffs continue to advance in their

profitability contention, i.e., that Dr. Pomerantz reached his conclusions about economies of

scale without inquiring into whether other factors were the actual caused of the changes in

average cost that he supposedly observed.615 More particularly, the Court explained that the

exact evidence that Plaintiffs seek to rely upon—the mere correlation between changes in assets

and costs—fails to establish economies of scale, particularly in light of Dr. Pomerantz’s

testimony that he did not investigate whether these changes in assets may have been caused by



614
      DFFCL ¶ 253.
615
      Chill, 2018 WL 4778912, at *19-20.

                                                   225
other factors.616 Plaintiffs’ assertion is therefore further confirmation that their only alternative

profitability model is nothing more than an effort to calculate the purported unshared economies

of scale that the Court already has “taken care of” in its summary judgment ruling.617

        246. As CAL’s economics expert Dean Hubbard explains, economies of scale exist
where an increase in output causes a reduction in long-run average costs. Hubbard Report at
¶144. Conversely, economies of scale are indicated where a decrease in output causes an
increase in average costs. Pomerantz Report at ¶481. In considering advisory services, AUM is
the unit of output. Id., ¶10(vi).

          RESPONSE: Denied as stated. CAL admits that Dean Hubbard testified that economies

of scale exist when an increase in output causes a reduction in long-run average cost, and that

conversely, if an increase in output does not cause a reduction in long-run average cost, then

economies of scale do not exist.618 CAL denies that the assertions in Paragraph 245 prove

anything at all, let alone prove that CAL’s profitability with respect to the Fund in any way

suggests that the Fund’s fee “could not have been the product of arm’s-length bargaining,” for all

of the reasons set forth in its Response to Paragraph 238, supra.

          In addition, the Court has already ruled, as a matter of law, that Plaintiffs failed to show

the existence of economies of scale—or even to create a fact issue sufficient for trial.619 That

ruling was based on the same fundamental flaw that Plaintiffs continue to advance in their

profitability contention, i.e., that Dr. Pomerantz reached his conclusions about economies of

scale without inquiring into whether other factors were the actual caused of the changes in

average cost that he supposedly observed.620 More particularly, the Court explained that the



616
      Chill, 2018 WL 4778912, at *19-20.
617
      DFFCL ¶ 318.
618
      Hubbard Rpt. ¶¶ 144-149.
619
      DFFCL ¶ 253.
620
      Chill, 2018 WL 4778912, at *19-20.

                                                   226
exact evidence that Plaintiffs seek to rely upon—the mere correlation between changes in assets

and costs—fails to establish economies of scale, particularly in light of Dr. Pomerantz’s

testimony that he did not investigate whether these changes in assets may have been caused by

other factors.621 Plaintiffs’ assertion is therefore further confirmation that their only alternative

profitability model is nothing more than an effort to calculate the purported unshared economies

of scale that the Court already has “taken care of” in its summary judgment ruling.622

        247. Professor Lacey’s own authorities for cost allocation in the mutual fund industry:
(1) acknowledge general agreement that economies of scale exist in the mutual fund industry
(see Pomerantz Rebuttal Report at ¶248); (2) relatedly, acknowledge general agreement that
advisory costs do not rise in direct proportion to AUM (id.); and (3) criticize AUM-based cost
allocation, which allocates costs in direct proportion to AUM, for its tendency to over-allocate
costs to large funds (id., ¶¶259, 274).

          RESPONSE: Denied. Plaintiffs’ assertions in Paragraph 247 are not supported by the

evidence cited. None of the sources cited in Professor Lacey’s Report stands for any of the

assertions contained in Paragraph 247. To the contrary, each such source lists allocation by

AUM as a methodology that is recognized in the mutual fund industry as a method for allocating

indirect costs. CAL denies any assertions within Paragraph 247 suggesting that the Mutual Fund

Profitability Presentation was in any way misleading or that CAL’s profitability was in any way

“improperly” calculated as unsupported by any trial evidence.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

       248. CAL’s own results of operations, which Dr. Pomerantz analyzed but Dean
Hubbard and Professor Lacey did not, showed consistently that as CAL’s AUM declined
throughout the Relevant Period, CAL’s average advisory costs per unit of AUM increased.


621
      Chill, 2018 WL 4778912, at *19-20.
622
      DFFCL ¶ 318.

                                                  227
Pomerantz Report at ¶¶482 (e.g., from 40 bps to 46 bps from one year to the next) and 468-89
generally; Pomerantz Rebuttal Report at ¶¶301-05.

          RESPONSE: Denied. CAL admits that its advisory cost per unit of AUM increased

during the Relevant Period because at a time when its AUM was declining, CAL was making

significant investments in its portfolio management team and investment process, including

hiring additional personnel and restructuring compensation, all at a significant cost to CAL.623

When rejecting Dr. Pomerantz’s testimony on this issue on summary judgment, the Court

specifically criticized Dr. Pomerantz’s failure to account for these personnel changes (or any

other factors) and to analyze whether they, rather than changes in AUM, were the cause of

CAL’s changing average advisory costs.624 CAL denies any assertions within Paragraph 248

suggesting that the Mutual Fund Profitability Presentation was in any way misleading or that

CAL’s profitability was in any “improperly” calculated as unsupported by any trial evidence.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        249. CAL’s profitability expert Professor Lacey also concedes that CAL’s AUM-based
allocations to and between the Funds are oblivious to, and do not take into account, any
economies of scale associated with advisory operations. Tr. at 1032:8-25 (“. . . we don’t
consider economies of scale in that allocation process. It’s just not something we do.”); see also
Pomerantz Rebuttal Report at ¶¶268-70 and 305, and Tr. at 1008:13–1009:22. Dr. Pomerantz
states the same in different and more affirmative words, both in his expert report (Pomerantz
Report at ¶¶433, 436, 462-64, 479, 482-84 – AUM-based cost allocation “assumed away” any
economies of scale and rendered them “invisible”) and in his trial testimony (Tr. at 451:2-25,
458:8–459:2 – CAL’s cost allocation methodology “neuters the concept of economies of scale
[and] makes [it] impossible to be measured, impossible to be analyzed, impossible to
evidenced.”).




623
      DFFCL ¶¶ 106-114, 313.
624
      Chill, 2018 WL 4778912, at *19-20.

                                                  228
          RESPONSE: Denied. Plaintiffs’ assertions in Paragraph 249 are not supported by the

evidence cited. To the contrary, as Professor Lacey testified at trial, “that concept [of economies

of scale] [does not] relate to cost allocation.”625 CAL denies that the assertions in Paragraph 249

prove anything at all, let alone prove that CAL’s profitability with respect to the Fund in any way

suggests that the Fund’s fee “could not have been the product of arm’s-length bargaining,” for all

of the reasons set forth in its Response to Paragraph 238, supra.

          In addition, the Court has already ruled, as a matter of law, that Plaintiffs failed to show

the existence of economies of scale—or even to create a fact issue sufficient for trial.626 That

ruling was based on the same fundamental flaw that Plaintiffs continue to advance in their

profitability contention, i.e., that Dr. Pomerantz reached his conclusions about economies of

scale without inquiring into whether other factors were the actual caused of the changes in

average cost that he supposedly observed.627 More particularly, the Court explained that the

exact evidence that Plaintiffs seek to rely upon—the mere correlation between changes in assets

and costs—fails to establish economies of scale, particularly in light of Dr. Pomerantz’s

testimony that he did not investigate whether these changes in assets may have been caused by

other factors.628 Plaintiffs’ assertion is therefore further confirmation that their only alternative

profitability model is nothing more than an effort to calculate the purported unshared economies

of scale that the Court already has “taken care of” in its summary judgment ruling.629

       250. By allocating all advisory costs in perfect relation to AUM, in contravention of
the manner in which CAL’s advisory costs actually behaved (and, put differently, of the

625
      Tr. 1032:11-16 (Lacey).
626
      DFFCL ¶ 253.
627
      Chill, 2018 WL 4778912, at *19-20.
628
      Chill, 2018 WL 4778912, at *19-20.
629
      DFFCL ¶ 318.

                                                   229
economies of scale indicated by such cost behavior), CAL’s cost allocations in the Mutual Fund
Profitability presentations were distorted, particularly for funds at both extremes of the AUM
spectrum (i.e., very small funds and very large funds). Pomerantz Report at ¶433 et seq.;
Pomerantz Rebuttal Report at ¶236 et seq. Specifically, and as further detailed in Sections
IV.B.2-3 below, the Mutual Fund Profitability presentations sharply under-allocated expenses to
small funds (thereby making them appear profitable to CAL, when in fact they were not) and
sharply over-allocated expenses to large funds, such as the Growth Fund (making them appear
less profitable to CAL than they in fact were). Pomerantz Report at ¶433 et seq.

          RESPONSE: Denied. CAL denies any assertions within Paragraph 250 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any “improperly” calculated as unsupported by any trial evidence.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

          Furthermore, the Court has already ruled, as a matter of law, that Plaintiffs failed to show

the existence of economies of scale—or even to create a fact issue sufficient for trial.630 That

ruling was based on the same fundamental flaw that Plaintiffs continue to advance in their

profitability contention, i.e., that Dr. Pomerantz reached his conclusions about economies of

scale without inquiring into whether other factors were the actual caused of the changes in

average cost that he supposedly observed.631 More particularly, the Court explained that the

exact evidence that Plaintiffs seek to rely upon—the mere correlation between changes in assets

and costs—fails to establish economies of scale, particularly in light of Dr. Pomerantz’s

testimony that he did not investigate whether these changes in assets may have been caused by

other factors.632 Plaintiffs’ assertion is therefore further confirmation that their only alternative


630
      DFFCL ¶ 253.
631
      Chill, 2018 WL 4778912, at *19-20.
632
      Chill, 2018 WL 4778912, at *19-20.

                                                  230
profitability model is nothing more than an effort to calculate the purported unshared economies

of scale that the Court already has “taken care of” in its summary judgment ruling.633

        251. At trial, Defendant did not argue that the Funds-specific profitability figures
reported in the Mutual Fund Profitability presentations were accurate, and insisted instead that
Funds-specific profitability was unknowable. Tr. at 238:15–239:15, 1010:17–1011:1, 1015:10-
19. Defendant justified the Mutual Fund Profitability presentations instead, primarily, on their
systematicity (i.e., all costs allocated on the basis of AUM) and on their practicality (i.e.,
calculating profitability in such manner was easily accomplished and did not take too much time
or effort). Tr. at 235:16-25, 240:13-242:13, 998:13-17, 1015:2-9, 1020:19–1021:4; Lacey
Report at ¶¶20, 24, 83-85.

          RESPONSE: Denied. CAL denies any assertions within Paragraph 251 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any “improperly” calculated as unsupported by any trial evidence.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra

                 2.      CAL’s 15(c) Profitability Presentations Over-Allocated Costs to Large
                         Funds, Presenting them as Less Profitable than They in Fact Were

        252. Allocation of advisory costs on the basis of AUM alone over-allocates costs to
larger funds, such as the Growth Fund. Pomerantz Report at ¶433; Pomerantz Rebuttal Report
¶¶259, 274.

          RESPONSE: Denied. Allocation by AUM by definition allocates more costs to funds

that have larger AUM.634 That fact does not mean that allocation by AUM is in any way

inappropriate. As Professor Lacey also explained, however:

                 The allocation method of AUM allocates more cost to funds that
                 have larger assets under management. So, depending upon then the
                 revenue that’s generated from those funds, it could make the fund
                 look less profitable, yes -- and I should say, less profitable than if


633
      DFFCL ¶ 318.
634
      Tr. 1003:23-1004:15 (Lacey).

                                                  231
                 you allocated an equal amount to each fund, for example. So, when
                 you say “less profitable,” you have to say less than what.635

CAL denies any assertions within Paragraph 252 suggesting that the Mutual Fund Profitability

Presentation was in any way misleading or that CAL’s profitability was in any “improperly”

calculated as unsupported by any trial evidence.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

         253. Indeed, the sources that Professor Lacey cites for his basis that AUM-based cost
allocation is “widely accepted” in the mutual fund industry criticize AUM-based cost allocation
for this very reason: that it “tends to make the largest funds less profitable” by over-allocating
advisory costs to them. Tr. 1003:23–1005:25; Pomerantz Rebuttal Report at ¶¶259, 274.

          RESPONSE: Denied. Allocation by AUM by definition allocates more costs to funds

that have larger assets under management.636 That fact does not mean that allocation by AUM is

in any way inappropriate. As Professor Lacey also explained, however:

                 The allocation method of AUM allocates more cost to funds that
                 have larger assets under management. So, depending upon then the
                 revenue that’s generated from those funds, it could make the fund
                 look less profitable, yes -- and I should say, less profitable than if
                 you allocated an equal amount to each fund, for example. So, when
                 you say “less profitable,” you have to say less than what.637

CAL denies any assertions within Paragraph 253 suggesting that the Mutual Fund Profitability

Presentation was in any way misleading or that CAL’s profitability was in any “improperly”

calculated as unsupported by any trial evidence.




635
      Tr. 1003:23-1004:7 (Lacey).
636
      Tr. 1003:23-1004:15 (Lacey).
637
      Tr. 1003:23-1004:7 (Lacey).

                                                  232
       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

         254. The over-allocation of costs to larger funds has the same root as the below-
discussed under-allocation of costs to smaller funds: that cost allocation on the basis of AUM
ignores economies of scale and the largely fixed nature of advisory costs. Pomerantz Report at
¶433; see also id. ¶¶382-85; Pomerantz Rebuttal Report at ¶¶236-59, 287-93; Bullard Report at
¶¶64-78. For mutual fund advisers, additional AUM often require little if any additional costs
(e.g., a 10% increase in AUM might entail little or no increase in costs, as extant personnel,
systems and infrastructure often suffice to service additional AUM), but cost allocations based
on AUM assign additional costs in direct and continuous proportion to additional AUM (e.g., a
10% increase in AUM will entail a 10% increase in allocated costs). Id.

       RESPONSE: Denied. CAL denies any assertions within Paragraph 254 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.

       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

              3.      CAL’s 15(c) Profitability Presentations Under-Allocated Costs to
                      Small Funds, Presenting them as Profitable When in Fact They Were
                      Not

       255. CAL’s Mutual Fund Profitability presentations presented CAL’s smaller and
smallest Funds not only as uniformly profitable for CAL to advise, but as providing CAL with
greater profitability than its largest Funds, such as the Growth Fund. See e.g. DX 145-R at
634772.638




638
    Specifically, the Pre-Distribution and Marketing “Operating Margin” line item for each of
the 21 Open-End Funds is positive. 14 of these 21 Funds had AUM below $200 million (see
“Monthly Average AUM” line item at bottom of page). Of these 14 sub-$200 million Funds,
seven had reported profit margins exceeding 50%, while the Growth Fund’s profit margin was
reported as 47%. RESPONSE: Denied, as set forth in CAL’s Response to Paragraph 255.

                                               233
         RESPONSE: Denied. CAL admits that the Mutual Fund Profitability presentation

reflects the profitability of each of the Funds to CAL, in terms of dollars and reflected as a profit

margin percentage, on both a pre- and post-distribution basis.639 CAL denies any assertions

within Paragraph 255 suggesting that the Mutual Fund Profitability Presentation was in any way

misleading or that CAL’s profitability was in any way “improperly” calculated as unsupported

by any trial evidence.

         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        256. For example, in 2016 CAL reported to the Board that 14 of its Funds with AUM
below $200 million were profitable, and that several of them were more profitable to CAL than
the then-$3 billion Growth Fund. DX 145-R at 634772. These results are roundly
counterfactual, and contradicted inter alia by:

                    a. the testimony of CAL executives, such as Mr. Behan, who explained quite
                       bluntly that small funds are typically unprofitable to their advisers until
                       reaching approximately $250 million in AUM, at which point the advisory
                       fees they generate (which are a function of AUM) begin to exceed the
                       advisory costs incurred by their advisers; Tr. 109:9-18; see also id.at 99:19
                       – 100:11.

                    b. the testimony of the Fund’s Independent Trustees, such as Mr. Neal, to the
                       same effect, Tr. at 193:8-10;

                    c. the testimony of CAL’s expert Mr. Richardson, to the same effect,
                       Pomerantz Rebuttal Report at ¶240;

                    d. received wisdom concerning mutual fund economics from the mutual fund
                       industry’s primary trade association, the Investment Company Institute
                       (“ICI”), to the same effect;640



639
      DFFCL ¶¶ 296-98, 313.
640
   As ICI explains, a mutual fund “typically starts small and may require significant subsidies
from its adviser for a number of years until the fund reaches a critical mass,” “can take several
years [] to achieve a viable size,” and “may incur losses during [its] early years, may never
reach viable size, and may ultimately need to be closed or merged.” (Pomerantz Rebuttal Report

                                                 234
                     e. what CAL repeatedly told the Board outside the 15(c) Review context
                        and/or prior to this action: namely, that its small funds were unprofitable,
                        and cost CAL more to advise and operate than they paid to CAL in fees;641

                     f. CAL’s real-world managerial decisions to shutter three of its smallest
                        Funds, because they were, and in CAL’s view were likely to remain,
                        unprofitable to CAL.642

          RESPONSE: Denied. None of the citations in Paragraph 256 support Plaintiffs’

assertions therein, and none of that evidence is inconsistent with CAL’s Mutual Fund

Profitability presentation.

          Mr. Behan testified that when a fund is below $150-$250 million, it is “unprofitable from

an economic standpoint.”643 As CAL’s 2016 Mutual Fund Profitability presentation reflected,

nine of the fourteen funds with below $200 million in assets had negative operating margins on a

post-distribution basis.644 Mr. Neal testified simply that “we all know that when you start a new

fund, the new fund is a loss to start. . . .”645 Similarly, Mr. Richardson offered the opinion that,



at ¶236; Bullard Rebuttal Report at ¶109). RESPONSE: Denied, as set forth in CAL’s
Response to Paragraph 256.
641
    PX 432 at 626286 (reporting to Board in 2000 that apart from one Fund, all of CAL’s other
Funds, which were then still relatively small, “were not yet profitable to the Adviser.”); JX 144
at 636337-38 (Mr. Behan explaining to the Board that CAL recommended liquidating several of
its smallest funds because such funds had “been subsidized since inception,” had “failed to
achieve economies of scale,” and presented “unlikely prospects of future asset growth”
sufficient to generate advisory fees that outstripped costs). See also Pomerantz Report at ¶445;
Pomerantz Rebuttal Report at ¶241; Bullard Report at ¶¶62-63, 97; Bullard Rebuttal Report at
¶¶106-09. RESPONSE: Denied, as set forth in CAL’s Response to Paragraph 256.
642
   JX 144 at 636337-38 (Mr. Behan explaining to the Board that CAL recommended liquidating
several of its smallest funds because such funds had “been subsidized since inception,” had
“failed to achieve economies of scale,” and presented “unlikely prospects of future asset
growth”). See also Pomerantz Report at ¶445; Pomerantz Rebuttal Report at ¶241, 287-97,
307-09; Bullard Report at ¶¶62-63, 97; Bullard Rebuttal Report at ¶¶106-09. RESPONSE:
Denied, as set forth in CAL’s Response to Paragraph 256.
643
      Tr. 109:14-18 (Behan).
644
      DX 145-R at CALAMOS_00634772.
645
      Tr. 193:9-10 (Neal).

                                                 235
“[s]tarting a mutual fund requires a significant initial capital investment on behalf of the adviser

and the assumption of initial operating losses until the fund reaches profitability.”646 Finally, as

CAL explained to the Board, CAL’s proposal to close the Discovery Growth Fund and Mid-Cap

Growth Fund, and to merge the Focus Growth Fund into the Fund, was motivated by the modest

asset growth of each fund since inception, despite significant efforts by CAL to enhance

processes, operations and distribution of each of the funds, and because given the three funds’

small asset base and unlikely prospects of future asset growth, it was in the best interests of the

funds’ shareholders that the funds be liquidated.647 In addition, liquidating the Discovery

Growth Fund and Mid-Cap Growth Fund and reorganizing the Focus Growth Fund into the Fund

would enable CAL to allocate additional resources to support the remaining Funds.648

          CAL denies any assertions within Paragraph 256 suggesting that the Mutual Fund

Profitability Presentation was in any way misleading or that CAL’s profitability was in any way

“improperly” calculated as unsupported by any trial evidence.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        257. The simple fact of the matter recognized by Plaintiffs’ and Defendant’s experts,
CAL and CAL executives, the Independent Trustees, and the mutual fund industry, is that new
and/or small mutual funds are unprofitable to their advisers because of the high, initial fixed
costs required to operate them, and they only become profitable when they reach sufficient size
to generate advisory fees that outweigh such largely fixed costs. ¶256, supra; Pomerantz
Rebuttal Report at ¶¶236-49, 277.



646
      Richardson Rpt. ¶ 67.
647
      Tr. 109:19-112:3 (Behan) (discussing DX 146-O); DX 146-O at CALAMOS_00635711-12.
648
  Tr. 109:19-112:3 (Behan) (discussing DX 146-O at CALAMOS_00635711-12, JX 144 at
CALAMOS_00636342).

                                                  236
       RESPONSE: Denied. CAL admits that new and/or small mutual funds generally are

unprofitable to their adviser, require investment of significant capital from the adviser, and pose

significant entrepreneurial risks to the adviser. CAL denies any assertions within Paragraph 257

suggesting that the Mutual Fund Profitability Presentation was in any way misleading or that

CAL’s profitability was in any way “improperly” calculated as unsupported by any trial

evidence.

       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

       258. CAL’s presentations to the Board that the smaller Funds were profitable, are
therefore not only inaccurate, but facially implausible. Bullard Report at ¶¶61-62; Pomerantz
Report at ¶¶437 et seq.; Pomerantz Rebuttal Report at ¶¶237-59, 277-93.

       RESPONSE: Denied. CAL denies any assertions within Paragraph 258 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.

       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        259. The only way CAL could have reported the smaller Funds as profitable was by
either masking/misreporting the revenues received from these funds, or by playing games with
the allocation of costs (given that profitability is calculated on the basis of these two figures).
Lacey Report at ¶38. However, because CAL records its revenues on a per-Fund basis, its
erroneous profitability determinations must be the result of how CAL allocated costs to such
Funds. DX 145-R, at 634761 (noting that all revenues are “direct” ones).

       RESPONSE: Denied. CAL denies any assertions within Paragraph 259 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.


                                                 237
       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        260. Consequently, the Mutual Fund Profitability presentations’ allocation of advisory
costs by AUM under-allocates advisory costs to CAL’s smaller Funds. As explained in Section
IV.B.1 supra and further detailed in Section IV.B.4 infra, this under-allocation results from
turning a blind eye to the high fixed costs that advisers experience for small funds, which require
the same panoply of services as larger funds, and instead employing the systematic fictional
allocation of costs as if such costs were entirely variable, rather than largely fixed. Pomerantz
Rebuttal Report at ¶¶236-59, 287-93; Bullard Report at ¶¶57-58.

       RESPONSE: Denied. CAL denies any assertions within Paragraph 259 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.

       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

               4.     CAL’s 15(c) Profitability Presentations Allocated Sharply Different
                      Advisory Costs to Funds that Have Substantially Similar Advisory
                      Costs

        261. The general unreality of CAL’s AUM-based cost allocations, and resulting profit
levels, with respect to the small Funds (and hence the large Funds as well), is further highlighted
when compared to CAL’s organizational structure. See e.g. Bullard Report at ¶¶57-64, 71-74,
77-78; Pomerantz Report at ¶¶433-47; Bullard Rebuttal Report at ¶¶96-109.

       RESPONSE: Denied. CAL denies any assertions within Paragraph 261 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.

       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.


                                               238
       262. The below table reproduces certain cost, profitability and AUM data from the
Mutual Fund Profitability presentation included in CAL’s 2016 15(c) Response (DX 145-R, at
634772), along with certain additional calculations from such data highlighted in yellow, with
respect to the Growth Fund and 3 other similarly-situated Funds:

                                     Growth           Focus       Discovery        Mid Cap
  $ in thousands
                                      Fund            Growth       Growth          Growth
  Fund AUM
  Fund AUM                          $2,960,060        $64,841        $45,110        $34,669

  CAL Revenue
  Management Fees paid by Fund        $25,636          $665           $468            $363

  Management Fees/AUM (fee in
                                      0.87%            1.03%         1.04%           1.05%
  basis points)

  Allocated CAL Advisory Expenses
   Employee Compensation              $9,407           $195           $132            $99

   Client Service                      $254             $16            $14            $13

   G&A                                $3,942            $90            $63            $50

  Total Advisory Expenses             $13,602          $300           $209            $162

  Expense/AUM (advisory
                                      0.46%            0.46%         0.46%           0.47%
  expenses in basis points)

  Operating Income (Profit)           $12,034          $365           $258            $201

  Operating Margin                     47%             55%            55%             55%

  Ratio of Growth Fund to Subject Fund…
  AUM                                   n/a            46:1           66:1            85:1

  Employee Compensation
                                        n/a            48:1           71:1            95:1
  Expense

  Client Service Expense                n/a            16:1           18:1            20:1

  G&A Expense                           n/a            44:1           63:1            79:1

  Total Advisory Expenses               n/a            45:1           65:1            84:1




                                                239
         RESPONSE: Denied. CAL admits that the non-highlighted portion of Paragraph 262

contains figures taken from CAL’s 2016 Mutual Fund Profitability presentation. CAL denies

that the highlighted portions of Paragraph 262 prove or mean anything. Although Plaintiffs

provide no citation, the highlighted amounts come from the “work” of Dr. Pomerantz, which is

not credible evidence because Dr. Pomerantz is not in any way qualified to offer any expert

opinion concerning accounting, profitability or cost allocation methodologies.649

         CAL denies any assertions within Paragraph 262 suggesting that the Mutual Fund

Profitability Presentation was in any way misleading or that CAL’s profitability was in any way

“improperly” calculated as unsupported by any trial evidence. In addition, Plaintiffs’ assertions

that the Fund’s management fee is excessive by virtue of CAL’s “method for allocating costs”

fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set forth in

CAL’s Response to Paragraph 238, supra.

       263. Under CAL’s team of teams approach, exactly the same investment personnel (the
U.S. Growth Equity team) were responsible for the day to day management of the Growth Fund,
and each of the above three much smaller Funds: the Focus Growth Fund, the Mid Cap Growth
Fund, and the Discovery Growth Fund (each of which CAL shuttered in 2016 due to their
unprofitability). JX 139 at CA-IT 00000071 at 14-18; JX 144 at 636338; Bullard Report at
¶¶57-61; Pomerantz Report at ¶¶441-43; Pomerantz Rebuttal Report at ¶¶252, 283-87. The
Growth Fund and these other three Funds, were, furthermore, supported by identical trading
and risk management personnel, identical other support personnel (e.g., Legal, Fund
Administration), and identical facilities and infrastructure. Id.

         RESPONSE: Denied as stated. CAL admits that the U.S. Growth Equity team managed

the Fund, the Focus Growth Fund, the Mid-Cap Growth Fund, and the Discovery Growth Fund,

and that each of these Funds was supported by CAL’s trading and risk management personnel,

support personnel, and facilities and infrastructure. However, Plaintiffs’ assertions and

mischaracterizations regarding CAL’s investment team are entirely unsupported by the trial


649
      DFFCL ¶¶ 417-420.

                                               240
evidence. As Messrs. Behan, Becker and Cronin all explained, without any evidence from

Plaintiffs to the contrary, as part of CAL’s improvements to its investment team and investment

process, CAL hired better quality personnel, restructured compensation, and redesigned how

investment professionals collaborate with each other.650 CAL made numerous significant and

costly changes to the investment team and investment process, which included undertaking a

significant transformation of its investment team—from a vertical structure with a “one-team-

one-process” approach to a horizontal structure with a “team-of-teams” approach.651 CAL also

implemented a series of changes that resulted in members of the broader investment team

contributing ideas and insights that benefitted the Fund. Among many other changes, CAL

implemented an Investment Committee, which consisted of CAL’s Co-CIOs, Co-Heads of

Research and Investments, and co-Portfolio Managers, to increase sharing of investment

information among its different teams.652 As such, all members of the investment team

contributed to the management of the Fund.

         CAL also made significant changes at the senior management level in an attempt to

improve the Fund’s performance, including hiring Gary Black, who was previously been the

CEO and CIO of a successful mutual fund investment adviser, Janus Capital, to replace the

Funds’ prior Co-CIO and, following Mr. Black’s departure, transitioning to a new senior

management structure by promoting four portfolio managers to serve as Co-CIOs. Most




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   DFFCL ¶¶ 106-108; Behan Decl. ¶¶ 43-46; Tr. 107:16-108:4 (Behan); Tr. 64:19-65:25,
66:21-68:7 (Becker); Tr. 656:8-658:15 (Cronin).
651
      DFFCL ¶ 106.
652
      DFFCL ¶¶ 107-108.

                                               241
recently, CAL replaced the Fund’s portfolio manager, Mr. Kalis, with Michael Grant, who had

obtained top-shelf performance with a different Fund that he advises.653

         Moreover, CAL denies any assertions within Paragraph 263 suggesting that the Mutual

Fund Profitability Presentation was in any way misleading or that CAL’s profitability was in any

way “improperly” calculated as unsupported by any trial evidence. In addition, Plaintiffs’

assertions that the Fund’s management fee is excessive by virtue of CAL’s “method for

allocating costs” fail to support a cognizable Section 36(b) claim for each of the fundamental

reasons set forth in CAL’s Response to Paragraph 238, supra.

        264. Notwithstanding this organization, which indicates that the costs CAL incurred in
advising of these four funds were roughly identical, the costs allocated to the Growth Fund in the
Mutual Fund Profitability Presentations sharply diverged from those allocated to the other three
similarly-situated Funds, as shown in the table above. DX 145-R at 634772. This was a pure
and direct artifact of CAL’s AUM-based cost allocation methodology. Pomerantz Report at
¶447, 441-43; Pomerantz Rebuttal Report at ¶¶251-52, 283-87; Bullard Report at ¶¶57-64, 71-
74, 77-78. Specifically, the Mutual Fund Profitability presentations allocated to the Growth
Fund – which was 45 times larger than the Focus Growth Fund, 65 times larger than the
Discovery Growth Fund, and 85 times larger than the Mid Cap Growth Fund – advisory costs
that were respectively, and implausibly, 45, 65 and 85 times larger than those allocated to the
Focus Growth Fund, the Discovery Growth Fund, and the Mid Cap Growth Fund. DX 145-R at
634772 and table at ¶262, supra; Pomerantz Report at ¶447, 441-43; Bullard Report at ¶¶57-
64, 71-74, 77-78; Pomerantz Rebuttal Report at ¶¶251-52, 283-87.

         RESPONSE: Denied. CAL admits that it allocated indirect (but not direct) expenses

using an average AUM allocation methodology. CAL denies any assertions within Paragraph

264 suggesting that the Mutual Fund Profitability Presentation was in any way misleading or that

CAL’s profitability was in any way “improperly” calculated as unsupported by any trial

evidence.




653
      DFFCL ¶¶ 109-112.

                                               242
       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

      265. The data presented at ¶262 supra reveal and further explain four necessary
consequences of CAL’s allocation of effectively all advisory costs on the sole basis of AUM.

       RESPONSE: Denied. CAL admits that it allocated indirect (but not direct) expenses on

the basis of average AUM. CAL denies any assertions within Paragraph 265 suggesting that the

Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.

       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        266. First, as discussed just above, advisory costs allocated to each Fund were in
direct proportion to Fund AUM (and almost entirely unrelated to CAL’s actual operations): if
Fund A was 100 times larger than Fund B, it was allocated 100 times the advisory expense as
Fund B, even if the actual expenses incurred appeared substantially similar. Pomerantz Report
at ¶¶432-34; Lacey Report at ¶¶57-60; DX 145-R at 634772 (compare AUM ratio to Total
Advisory Expenses ratios in the above table).

       RESPONSE: Denied. CAL denies any assertions within Paragraph 266 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.

       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        267. Second, each of the Funds was allocated an identical advisory expense per dollar
of assets advised (i.e., advisory expenses expressed, like advisory fees, in basis points, as a
percentage of Fund AUM). Pomerantz Report at ¶435; Pomerantz Rebuttal Report at ¶¶254-56;
DX 145-R at 634772 (compare expense/AUM in above table: 46-47 basis points for each Fund);
Tr. at 1006:1-5. This is theoretically and practically nonsensical: theoretically, because

                                               243
economies of scale operate to change per-unit costs (i.e., advisory costs per dollar of AUM) as
AUM increases or decreases, and practically, because it ignores the largely fixed nature of
advisory costs that, among other things, makes small funds’ per-unit advisory costs high
(because substantial fixed costs are charged against a small asset base) and large funds’ per-
unit costs lower (because similar substantial fixed costs are now charged against a much larger
asset base).

       RESPONSE: Denied. CAL denies any assertions within Paragraph 267 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.

       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        268. Third, as discussed in Section IV.B.3, supra, it presented CAL’s smaller and
smallest Funds not only as uniformly profitable, but as providing CAL with greater profitability
than its largest Funds, such as the Growth Fund. See Section IV.B.3, supra; DX 145-R at
634772 (50%+ profit margins for each of the small funds; 47% profit margin for the much
larger Growth Fund). The data presented in the table at ¶262 illuminates the explanation for
this result. As the data shows, each of the Funds was allocated an identical level of advisory
expenses relative to size (46-47 basis points), but charged different advisory rates relative to
size, with smaller Funds charging higher fees (because their smaller AUM did not allow them to
achieve fee reductions available at higher AUM ranges), and larger Funds such as the Growth
Fund charging lower effective fee rates (because their higher AUM sufficed to trigger advisory
fee breakpoints). Id.

       RESPONSE: Denied. CAL denies any assertions within Paragraph 268 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.

       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

         269. Fourth and relatedly, because each of the Funds was allocated an identical level
of advisory expenses relative to size (46-47 basis points) but paid advisory fees to CAL at
varying effective fee rates (e.g., the Growth Fund at 87 bps, other smaller Funds at 100 bps,
etc.), the variation in CAL’s reported profitability from each of the Funds (e.g., 47% for the

                                               244
Growth Fund, 55% for other smaller Funds, etc.) was (1) entirely a product of variations in the
Funds’ effective advisory fee rates (given constant cost levels), and (2) mostly constrained to a
relatively narrow band of reported profit margins. DX 145-R at 634769 and 634772.

       RESPONSE: Denied. CAL denies any assertions within Paragraph 269 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.

       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        270. Each of these profitability results is counterfactual and/or nonsensical, for
reasons detailed at length by Plaintiffs’ experts (Pomerantz Report at ¶¶433-47, 461-98;
Pomerantz Rebuttal Report at ¶¶236-59, 276-78, 286-93, 301-09; Bullard Report at ¶¶41-83)
and is directly contradicted inter alia by: the actual record of CAL’s actual advisory costs
(which show that CAL’s advisory costs did not directly track AUM); CAL’s real-world
managerial decisions based on its real-world, rather than 15(c), considerations of Fund-specific
profitability (which show that CAL knew its small Funds to be unprofitable to it); CAL’s reports
to the Board concerning Fund-specific profitability prior to this litigation (which stated the
same); and the testimony of CAL’s executives, CAL’s experts and the Independent Trustees
concerning advisory cost behavior and the profitability to CAL of the Funds (which stated the
same).

       RESPONSE: Denied. CAL denies any assertions within Paragraph 270 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.

       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

       C.      CAL Did Not use its 15(c) Profitability Analyses for Any Other Purpose, and
               Based its Actual Business Decisions on an Opposite View of Profitability

       271. CAL did not use its 15(c) profitability presentations/methodology for any other
business purpose. Tr. at 245:24–246:4.



                                               245
         RESPONSE: Denied as stated. CAL admits that it prepared its Mutual Fund

Profitability presentation solely for use as part of the 15(c) Process. CAL denies any assertions

within Paragraph 271 suggesting that the Mutual Fund Profitability Presentation was in any way

misleading or that CAL’s profitability was in any “improperly” calculated as unsupported by any

trial evidence.

         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

        272. Rather, when making real-world business decisions with respect to the Funds,
such as shutting down three small Funds also managed by the same U.S. Equity Growth team
that managed the Growth Fund, CAL based such real-world decisions on an understanding of its
Funds-specific profitability (specifically, that such small Funds were unprofitable to CAL) that
directly contradicted the profitability figures in the 15(c) Mutual Fund Profitability
presentations. See Sections III.B.3-4, supra; Pomerantz Rebuttal Report at ¶¶256-59, 292-93,
296-97 and 306-09.

         RESPONSE: Denied. CAL denies any assertions within Paragraph 272 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence. The presentation

itself shows—rather than contradicts—that these mutual funds were unprofitable at the time

CAL liquidated or merged them. Specifically, the post-distribution operating margins for the

Focus Growth Fund and the Mid-Cap Growth Fund were negative (with the Focus Growth Fund

ETF as low as negative 78%), and the Discovery Growth Fund’s margin had fallen by one-third

in only one year to 22%.654




654
      DX 145-R at CALAMOS_00634770.

                                                 246
         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

       273. The facts that CAL did not use its 15(c) profitability figures for any other business
purposes, and that CAL’s real-world business decisions were based on an understanding of
Funds-specific profitability that directly contradicted the 15(c) profitability figures, indicate that
CAL’s 15(c) profitability figures are unreliable. Pomerantz Rebuttal Report at ¶¶256-59, 292-
93, 296-97 and 306-09.

         RESPONSE: Denied. CAL denies any assertions within Paragraph 273 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence. The presentation

was consistent with—rather than contradicted by—CAL’s business decisions, as explained in

CAL’s Response to Paragraph 272.655

         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

         D.     The Mutual Fund Profitability Presentations Were Not “Decision-Useful” for
                the Independent Trustees in Evaluating CAL’s Profitability from the Funds

        274. Defendant’s profitability expert Professor Lacey opined and testified that the
Mutual Fund Profitability presentations were “decision-useful” for the Independent Trustees in
the context of having to evaluate fund-specific profitability pursuant to Sections 15(c) and 36(b)
of the ICA. Tr. at 1003:9-22, 1015:2-9, 1020:19–1021:18; Lacey Report at ¶¶5, 36-42.

         RESPONSE: Denied as stated. CAL admits that Professor Lacey testified that the

information in the Mutual Fund Profitability presentations was “decision-useful” for the

Independent Trustees in connection with their decision to approve the IMA between CAL and




655
      DX 145-R at CALAMOS_00634770.

                                                 247
the Funds. CAL denies that the Independent Trustees have any obligations, whether to evaluate

profitability or otherwise, pursuant to Section 36(b).

        275. Professor Lacey did explain anywhere in his testimony why the Mutual Fund
Profitability presentations were “decision-useful” for the Independent Trustees. In his report,
Professor Lacey bases decision usefulness on the fact that the presentations contained numerical
figures for fund-specific revenues and fund-specific costs, which allowed fund-specific
profitability to be calculated. Lacey Report at ¶¶37-39, 41-42; Pomerantz Rebuttal Report at
¶¶310. However, this basis is all form and no substance: it remains true no matter the accuracy
or integrity of the actual figures provided for revenues or costs. Id.

       RESPONSE: Denied. Professor Lacey did explain why the Mutual Fund Profitability

presentations were decision-useful:

               It’s a reasonable allocation. The larger fund gets a larger benefit
               from the information. What we’re talking about is computing the
               profitability for the adviser advising a particular fund. So, it’s the
               profitability the adviser -- we must allocate these common costs,
               joint costs, to the different funds. And so, there has to be some
               mechanism to do so. And where we don’t have the cause and effect
               relationship, we look at benefits received. Larger funds receive
               more benefit.656

CAL denies any assertions within Paragraph 275 suggesting that the Mutual Fund Profitability

Presentation was in any way misleading or that CAL’s profitability was in any way “improperly”

calculated as unsupported by any trial evidence.

       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

       276. Real-world decisions made by CAL management concerning the life and death of
the Fund were made on the basis of a completely different understanding of CAL’s profitability
Pomerantz Rebuttal Report at ¶¶256-59, 292-93, 296-97 and 306-09. CAL’s Mutual Fund
Profitability presentations were not “decision-useful” to the Independent Trustees, because they


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   Tr. 1006:11-19 (Lacey); see Tr. 1002:9-12 (“What we’re trying to do is create information
that’s useful in making a decision. So, depending upon the decision that the company is going to
make, the allocation could be different.”), 1015:2-9, 1020:21-1021:18 (Lacey).

                                                248
misreported CAL’s Fund-specific profitabilities and thereby did not allow the Independent
Trustees to fulfill their obligations to evaluate CAL’s Funds-specific profitability. Id.

          RESPONSE: Denied. CAL denies any assertions within Paragraph 276 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence. As explained in

CAL’s Response to Paragraph 272, the presentation itself supported—rather than contradicted—

CAL’s decision to liquidate or merge these mutual funds due to their unprofitability.

Specifically, the post-distribution operating margins for the Focus Growth Fund and the Mid-

Cap Growth Fund were negative (with the Focus Growth Fund ETF as low as negative 78%),

and the Discovery Growth Fund’s margin had fallen by one-third in only one year to 22%.657

These post-distribution margins, rather than the advisory margins required for 15(c) purposes

more accurately represent CAL’s actual profit from specific mutual funds and are, therefore, the

economically relevant criteria for CAL to consider when deciding whether to close a mutual

fund.658

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

          E.     Dr. Pomerantz’s View of Profitability Hews Closer to CAL’s Actual Business
                 Conditions

       277. To recalculate Funds-specific profitability in a manner that took CAL’s actual
advisory economies of scale into account (rather than assuming them away), Dr. Pomerantz (1)
estimated those economies by looking at how CAL’s overall advisory costs changed in relation to
AUM from one year to the next, and (2) applied the observed economies in re-allocating CAL’s
aggregate Funds-related advisory costs to each of the particular Funds. Pomerantz Report at
¶¶479-92; Pomerantz Rebuttal Report at ¶¶301-05. When such economies were taken into


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      DX 145-R at CALAMOS_00634770.
658
      Tr. 739:18-740:16 (Hubbard).

                                                  249
account, CAL’s profit margin from the Growth Fund was 71%, rather than the 46% reported to
the Board. Pomerantz Report at ¶492; Tr. at 449:15–450:22.

          RESPONSE: Denied. Dr. Pomerantz’s “view of profitability” literally proves nothing,

certainly does not prove that the Fund’s management fee is excessive, and is not admissible or

credible evidence of CAL’s profitability from managing the Fund, for each of the following

fundamental reasons:

          First, the Court has already ruled, as a matter of law, that Plaintiffs failed to show the

existence of economies of scale—or even to create a fact issue sufficient for trial.659 That ruling

was based on the same fundamental flaw that Plaintiffs continue to advance in their profitability

contention, i.e., that Dr. Pomerantz reached his conclusions about economies of scale without

inquiring into whether other factors were the actual caused of the changes in average cost that he

supposedly observed.660 More particularly, the Court explained that the exact evidence that

Plaintiffs seek to rely upon—the mere correlation between changes in assets and costs—fails to

establish economies of scale, particularly in light of Dr. Pomerantz’s testimony that he did not

investigate whether these changes in assets may have been caused by other factors.661 Plaintiffs’

assertion is therefore further confirmation that their only alternative profitability model is

nothing more than an effort to calculate the purported unshared economies of scale that the Court

already has “taken care of” in its summary judgment ruling.662

          Second, the trial evidence demonstrates that Dr. Pomerantz’s cost allocation model

incorporates a flawed and unsupported assumption that the logarithm of CAL’s advisory costs is



659
      DFFCL ¶ 253.
660
      Chill, 2018 WL 4778912, at *19-20.
661
      Chill, 2018 WL 4778912, at *19-20.
662
      DFFCL ¶ 318.

                                                   250
linearly related to the logarithm of AUM. Dr. Pomerantz’s reliance on this assumption is

unreasonable and inconsistent with established principles of economics. Professor Lacey

confirmed that Dr. Pomerantz’s linear log-log relationship also has no basis in accounting

principles, explaining “I can’t imagine any circumstances in which we would apply that method

as accountants under any circumstance.”663

         Third, Dr. Pomerantz did not offer the opinion that CAL should have used his purported

cost allocation methodology—nor could he identify a single mutual fund adviser that has used

his cost allocation methodology. In fact, no mutual fund adviser could use Dr. Pomerantz’s cost

allocation methodology in the ordinary course of the adviser’s business due to its inherent “time-

machine dilemma,” to which he could offer no “solution.”664

         Fourth, Plaintiffs’ reliance on Dr. Pomerantz’s “methodology” is also directly at odds

with the testimony of Plaintiffs’ other expert, Professor Bullard, who opined that allocation on

the basis of AUM—which is the sole basis for Dr. Pomerantz’s cost allocation approach—is “per

se unreasonable.” Plaintiffs made no effort to reconcile the conflicting opinions of their

experts.665

         Fifth, regardless of his flawed calculation or the conflict between Plaintiffs’ experts,

Dr. Pomerantz did not offer any expert opinion on (i) the maximum level of profitability CAL

should have been permitted to realize under Section 36(b), (ii) the highest profit margin for the

Fund that the Independent Trustees could have conscientiously approved, or (iii) whether the




663
      DFFCL ¶¶ 320-327.
664
      DFFCL ¶ 317.
665
      DFFCL ¶ 307.

                                                  251
Independent Trustees would have approved the Fund’s fee if CAL had followed his “linear log-

log” profitability approach.666

         Sixth, to the extent that Plaintiffs’ accounting, profitability or cost allocation assertions

rely on the testimony of Dr. Pomerantz, those assertions are not supported by any admissible or

credible evidence because Dr. Pomerantz is not in any way qualified to offer any expert opinion

concerning accounting, profitability or cost allocation methodologies.667

        278. At trial, Defendant sought to discredit Dr. Pomerantz’s modeled Fund-specific
profitability with respect to its underlying methodology (Tr. at 456:25–469:21) as well as its
results (Tr. at 469:22–475:3).

         RESPONSE: Denied. CAL admits that it discredited Dr. Pomerantz’s model and

alternative profit “model” at trial. CAL denies all of Plaintiffs’ assertions regarding

Dr. Pomerantz’s “view of profitability” for each of the fundamental reasons set forth in CAL’s

Response to Paragraph 277, supra.

       279. Defendant suggested that Dr. Pomerantz’s profitability calculations were
“absurd” because they depicted 14 of CAL’s 21 Open-End Funds as unprofitable to CAL (i.e.,
costing CAL more to advise than they paid to CAL in advisory fees). Tr. at 469:22–475:3; see
also Pomerantz Rebuttal Report at ¶¶289-91.668

         RESPONSE: Denied. CAL admits that Dr. Pomerantz’s profitability calculations are

absurd for this reason. CAL denies all of Plaintiffs’ assertions regarding Dr. Pomerantz’s “view

of profitability” for each of the fundamental reasons set forth in CAL’s Response to Paragraph

277, supra.



666
      DFFCL ¶ 327.
667
      DFFCL ¶¶ 417-420.
668
   Relatedly, Professor Lacey suggested that allocating costs the Funds in excess of their
revenues was nonsensical. Tr. at 1018:4–1019:24, 1026:20–1029:17. RESPONSE: Denied.
Professor Lacey testified that he believed “it would just be misleading and confusing to the board
to make this allocation” of expenses equally to each fund as Plaintiffs proposed at trial. Tr.
1027:17-1028:15 (Lacey).

                                                   252
       280. That result, however, is not absurd, but instead is entirely consistent with
Defendant’s clear testimony at trial, and Defendant’s consistent statements to the Board outside
the 15(c) Review context in recent years, that small mutual funds with AUM of approximately
$250 million or less are unprofitable to their advisers. See ¶256, supra.

          RESPONSE: Denied. CAL denies any assertions within Paragraph 280 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

          To the extent that Plaintiffs’ assertions in Paragraph 280 are a reprise of Paragraph 256

and 257, supra, CAL incorporates its Response to Paragraphs 256 and 257 as if fully set forth

herein.

       281. At the time of Dr. Pomerantz’s analysis, 14 of CAL’s 21 Open-End Funds had
AUM of less than $200 million (and 12 AUM of less than $100 million). DX 145-R, at 634772
(see “Monthly Average AUM” line item at bottom). CAL’s executives (Mr. Behan) and the
Growth Fund’s trustees (Mr. Neal) well understood, as a matter of common sense, that mutual
funds of such size would not be profitable to their advisers. Tr. 99:19–100:5, 109:9-18, 193:8-
10. Outside the 15(c) Review context, Mr. Behan told the Board that certain of these Funds,
which CAL had decided to shut down, were in fact unprofitable to CAL. See ¶256, supra.

          RESPONSE: Denied. Since Plaintiffs’ assertion is a reprise of Paragraph 256, supra,

CAL incorporates its responses to that Paragraph and to Paragraph 272 as if fully set forth

herein, in particular the facts that the 15(c) materials complained about by Plaintiffs, in fact,

showed that nine of CAL’s fourteen open-end mutual funds with AUM less than $200 million

had negative post-distribution operating margins and that the mutual funds which CAL “had

decided to shut down” were among those not profitable on a post-distribution basis.669




669
      DX 145-R at CALAMOS_00634772.

                                                  253
        282. Consequently, the results of Dr. Pomerantz’s profitability model are not absurd,
but entirely consistent with the understandings of CAL’s executives, the Fund’s Board, the
mutual fund industry generally (via its trade association, ICI) and Defendant’s experts
concerning the economics of the mutual fund industry. Tr. 99:19–100:5, 109:9-18, 193:8-10;
Pomerantz Rebuttal Report at ¶¶236-37, 240-41, 286-93. Moreover, Dr. Pomerantz has tested
his model against other advisers’ cost allocations, and has found that it produced cost
allocations similar to those made by such other advisers. Tr. at 469:3-21.

          RESPONSE: Denied. CAL denies all of Plaintiffs’ assertions regarding

Dr. Pomerantz’s “view of profitability” for each of the fundamental reasons set forth in CAL’s

Response to Paragraph 277, supra. In particular, Dr. Pomerantz’s self-serving and

unsubstantiated assertion that he “has tested his model against other advisers’ cost allocations,

and has found that it produced cost allocations similar to those made by such other advisers,” is

belied by the fact that Dr. Pomerantz offered no data or other information to support this

assertion, nor did he provide any such data in his expert reports or work papers.670 Instead, he

claimed that this supposed correlation existed only as a retreat from his original (false) assertion

that “that there are other advisers who do something similar” to his cost-allocation model, after

he admitted that he “can’t name anybody” in particular.671

        283. What is absurd, in light of the foregoing, is the profitability CAL reported in the
Mutual Fund Profitability Presentations, which depicted all 14 of these sub-$200 million Funds
as profitable to CAL, and seven of the 14 as more profitable to CAL than the Growth Fund. DX
145-R, at 634772 (see Pre-Distribution & Marketing Operating Margin line item: where
Growth Fund had profit margin of 47%, seven sub-$200 million Funds had reported profit
margins exceeding 50%). Pomerantz Rebuttal Report at ¶¶286-93.

          RESPONSE: Denied. CAL denies any assertions within Paragraph 283 suggesting that

the Mutual Fund Profitability Presentation was in any way misleading or that CAL’s profitability

was in any way “improperly” calculated as unsupported by any trial evidence.




670
      Tr. 469:3-12 (Pomerantz).
671
      Tr. 469:3-12 (Pomerantz).

                                                254
       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “method for allocating costs” fail to support a cognizable Section 36(b) claim for each

of the fundamental reasons set forth in CAL’s Response to Paragraph 238, supra.

V.     THE INDEPENDENT TRUSTEES’ LACK OF CARE AND
       CONSCIENTIOUSNESS

       A.      Greater Services/Risks, and their Costs, as Justification for Higher Advisory
               Fees

         284. As noted above, during the Relevant Period, CAL premised the difference in the
fees it charged its fund clients and non-fund clients on the purportedly greater services and risks
attendant to advising mutual funds. See ¶¶152-56, supra. However, CAL did not provide, and
the Board did not request, any information regarding the actual or estimated cost of the greater
services or risks. Tr. at 130:19-24; 131:18-132:7, 244:12-245:3, 264:20-265:4; 267:3-6; 268:2-
21; 269:2-4, see also Timbers Dep. at 163:13-25, 164:12-165:19; Bhatt Dep. at 205:6-206:5.
Moreover, with respect to the numerous services that were provided by third-parties in the first
instance and supervised by CAL, Mr. Neal confirmed that CAL never provided, and the Board
never requested, an estimate of: (i) the number CAL employees who oversaw the provision of
such services; or (ii) how much time they spent doing so. Tr. at 145:5-16, 141:1-11.

       RESPONSE: Denied. CAL did not “premise[]” the Fund’s advisory fee on the services

and risks entailed in advising the Fund that are not entailed in advising CAL’s All Cap Growth

Clients.

       Plaintiffs’ assertion that CAL sought to, or was required to, “justify” the Fund’s

management fee relative to its All Cap Growth Client fees solely on the basis of the different and

greater services that CAL provides to the Fund than to its All Cap Growth Clients and the

different and greater risks it assumes in advising the Fund than it does in advising its All Cap

Growth Clients is not supported by the trial evidence or the Section 36(b) jurisprudence for each

of the following fundamental reasons:

       First, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Fund than to its All Cap Growth Clients, and assumes different and greater


                                                255
risks in advising the Funds than it does in advising its All Cap Growth Clients. CAL’s 15(c)

Responses included a “Discussion of Management Fee Rates by Product” presentation that both

informed the Independent Trustees of the fees that CAL charged to the Funds and to its

institutional and sub-advisory clients and provided a brief summary overview of the services that

CAL provided to the Fund that were not required for institutional or sub-advisory accounts.

         Second, as the evidence also conclusively demonstrates, the Discussion of Management

Fee Rates by Product presentation was not the sole information that the Independent Trustees

received about such services, nor was it intended to be an exhaustive recitation of all of the many

differences in services and risks. To the contrary, the Independent Trustees also regularly

receive extensive information at every Board meeting concerning the services CAL provides to

the Fund that are not required for All Cap Growth Clients, such as fund administration, oversight

of third party service providers, and reports from the Funds’ CCO. In addition, the Independent

Trustees have 150+ years of collective experience in the asset management industry—including

senior management positions at leading investment advisers who offer both mutual funds and

institutional products.672

         Third, based on both this directly on-point experience and the information they receive,

the trial evidence therefore demonstrates both that (a) the Independent Trustees have all of the

information they believe they need about CAL’s All Cap Growth Clients when they annually

vote to approve the IMA, and (b) the Independent Trustees fully understand the differences in

services and risks entailed in advising the Fund versus CAL’s All Cap Growth Clients.673 As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the



672
      DFFCL ¶¶ 56-58.
673
      DFFCL ¶¶ 204-207.

                                                256
Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an

apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”674

          Fourth, no regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones do not require fee parity across an adviser’s different clients.” Hence,

no court has ever held that institutional or sub-advisory accounts are an apt comparison for a

mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.675

          Fifth, CAL denies either that it purported to or was required to “justify” the Fund’s fee

relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the

different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s

institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’




674
      Tr. 177:17-20 (Neal).
675
      DFFCL ¶¶ 227-229.

                                                  257
advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”676

         Sixth, contrary to Plaintiffs’ assertions, the trial evidence demonstrates conclusively that

in advising the Fund, CAL took on greater risks than in advising institutional or sub-advisory

clients. As Mr. Jackson testified, CAL’s risks from managing the Fund as contrasted with to its

All Cap Growth Clients, including Nomura and MD American, are “ubiquitous,” “dynamic[,]

and ever-changing.”677 Specifically with respect to the Fund, CAL necessarily bears: (a)

increased legal, regulatory and litigation risks; (b) greater operational risks with respect to the

Fund because, unlike with respect to its All Cap Growth Clients, CAL bears ultimate

responsibility for the services of all of the third-party service providers that it oversees on behalf

of the Fund; (c) the greater entrepreneurial risk of whether the mutual fund will ever provide a

fair return to the adviser, taking into account both the greater initial costs of launching a mutual

fund as compared with other types of investment products and the greater ongoing expenses

associated with managing and operating a mutual fund.678 Moreover, insurance does not fully

cover the greater risks associated with managing the Fund as compared to CAL’s All Cap

Growth Clients.679 The trial evidence also demonstrates that CAL bears these risks even if they

have not materialized in the past or cannot be quantified.680

        285. When questioned as to why the Board never requested a breakdown of the actual
or estimated costs of the purportedly greater services, Mr. Timbers tersely responded that CAL’s
personnel “were on their own managing well,” Timbers Dep. at 165:12-15, despite having


676
      DFFCL ¶¶ 242-244.
677
      DFFCL ¶ 198.
678
      DFFCL ¶¶ 199-201.
679
      DFFCL ¶ 202.
680
      DFFCL ¶ 203.

                                                 258
admitted several times that CAL was not “managing well” and that its continued poor
performance was a significant issue, Timbers Dep. at 37:17 – 38:25, 140:14 – 144:7.

          RESPONSE: Denied. The cited evidence does not support Plaintiffs’ assertion in

Paragraph 285. Mr. Timbers stated that the Independent Trustees received CAL’s Profitability

presentation, that it “seemed all right” and that CAL was “managing well.”681 Mr. Timbers also

testified about the Independent Trustees’ oversight of the Fund, including their focus on

performance, the implementation of Focus Fund reports, the implementation of the fee waiver in

2013, and the consideration of a fee waiver in 2016.682 Moreover, during the Relevant Period,

CAL was experiencing declining AUM and declining profits as it invested additional resources

in the services being provided to the Funds.683 Certainly, nothing in the profitability information

the Independent Trustees received suggested that CAL was charging an excessive fee to the

Fund.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA, the supposedly

limited risks that CAL assumed with respect to the Fund, and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different services and risks, fail to

support a cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s

Response to Paragraph 284, supra.

       286. Additionally, Mr. Timbers, was also startlingly ignorant of the nature of the
services CAL provided to its non-fund clients, as demonstrated by the following testimony:

                 Q:      And you’re familiar with the fact that CAL has institutional
                 clients?



681
      Timbers Dep. 165:8-15.
682
      Timbers Dep. 37:17-38:25, 140:14-141:17, 142:9-144:7.
683
      E.g., DFFCL ¶ 313.

                                                  259
                 A:      Yes.

                 Q:      And CAL has subadvisory clients?

                 A:      Clients or client, yes.

                 Q:      OK. And do you know what services CAL provides to those
                 clients?

                 A:      I can only guess.

                 Q:     OK. So did the advisor ever provide you with any specific
                 information about what services were provided to those clients?

                 A:      Ever provide? I don’t remember.

Timbers Dep. at 59:10-22 (emphasis added); see also Tr. at 965:15-966:5.
           RESPONSE: Denied. Paragraph 286 accurately quotes Mr. Timbers’ deposition

testimony, but CAL denies that the testimony “demonstrated” that Mr. Timbers was “ignorant of

the nature of the services CAL provided to its non-fund clients.” Mr. Timbers is a former

executive of Northern Trust Global Investments, which offers advisory services to both mutual

funds and institutional accounts, and has extensive experience in the investment advisory

industry.684 Mr. Timbers is fully aware of the differences in the services required for the Funds

and the services required to advise CAL’s All Cap Growth Clients. As Mr. Timbers went on to

testify:

                Q. Okay. Do you recall any discussions amongst the trustees about this
                [Management Fee Rate by Product] report, any year?

                A. Well, yeah, we discussed what other clients of Calamos were paid and
                what we were paying.

                Q. Do you recall the substance of those discussions?

                A. That, you know, it’s interesting. You know, it’s a lot of apples and
                oranges. These things that are required by mutual fund by regulation,
                just by practice are so different from that of an institutional separate

684
      DFFCL ¶ 57; Timbers Dep. 12:21-14:3.

                                                   260
               account[]. So, you know, there’s some similarities. I used to say well,
               you know, if you look at an apple and a strawberry, they’re both red,
               that’s about it. So -- and that’s what I sort of think of this. There’s some
               aspects that overlap and are the same, but there a lot of things that mutual
               funds have to do that subadvisors don’t.685

As Mr. Timbers further testified, “In terms of cash flow coming in, you don’t usually have any

cash coming in on the institutional [ac]counts. You got all these regulatory filings you have to

do. You have to maintain daily liquidity. The reporting’s different. There’s all sorts of things

you have to do with a mutual fund which you don’t with an institutional [or] subadvisor[y]

[account].”686

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA, the supposedly

limited risks that CAL assumed with respect to the Fund, and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different services and risks, fail to

support a cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s

Response to Paragraph 284, supra.

        287. With respect to the increased litigation risks that Mr. Jackson described, Mr. Neal
admitted that he: (i) was unaware of what methodology, if any, CAL used to price the purported
greater litigation risks; (ii) did not know how much of the Growth Fund’s advisory fee was
attributable to those litigation risks; and (iii) confirmed that CAL never informed the Board of
the specific value/cost of the litigation risk that it purportedly priced into the IMA and the Board
never asked for that value/cost. See Tr. at 135:14-136:10; 135:18-25.

          RESPONSE: Denied. Mr. Neal stated that he did not know what “methodology” CAL

used to “price the risk,” that he did not know what portion of the advisory fee “was attributable

to litigation risk,” and that to his knowledge, the Independent Trustees did not ask for that




685
      Timbers Dep. 111:8-25.
686
      Id. 112:12-18.

                                                  261
information. CAL denies that it was required to reduce to a number the increased litigation risk

it faces, or that such an exercise is even possible. In addition, Plaintiffs’ assertions that the

Fund’s management fee is excessive by virtue of the supposedly limited services that CAL

provided to the Fund under the IMA, the supposedly limited risks that CAL assumed with

respect to the Fund, and/or because of CAL’s failure to “justify” the Fund’s fee in light of the

supposed cost of these different services and risks, fail to support a cognizable Section 36(b)

claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 284, supra.

          B.     The Board’s Consideration of FASA Services in Approving the IMA’s
                 Advisory Fees

        288. In determining whether to approve the IMA, and the Growth Fund’s advisory
fees, the Board did not limit its consideration to the advisory services CAL rendered under that
agreement. Rather, in approving such fees, the Board collectively considered all of the services
provided under the IMA and the FASA, see Tr. at 133:6-134:19, despite the fact that: (i) the
IMA and the FASA are separate agreements; (ii) they set forth different specific duties/services;
and (iii) and CAL was separately compensated under each agreement for rendering the services
identified therein. See ¶¶30-42, 177-82, supra; JX 5; JX 6; CAL’s “Detailed Service Listings”
(PX 184-A at 653575-78; PX 176-A at 650344-46; PX 145-A at 634446-49; PX 113-A at
502799-801; PX 61-A at 519453-55; PX 32-A at 514075-77); Tr. at 142:18-143:4.

          RESPONSE: Denied. As Mr. Neal testified, “the FASA agreement is tax accounting

[and] a few administrative services. . . . All of the other things would have been done under the

investment management agreement. And under the investment management agreement, CAL

was responsible for doing all of these services, including what was in the FASA agreement.”687

          More fundamentally, for at least the following reasons, the evidence at trial fully

reinforced each of the following conclusions: (a) nothing did or should have prevented the

Independent Trustees from considering the total services provided by CAL, and the total

compensation paid by the Fund to CAL, when assessing the Fund’s overall relationship with




687
      Tr. 142:3-10 (Neal).

                                                  262
CAL, and (b) there is nothing about the FASA that even suggests, let alone proves, that the

Fund’s management fee is excessive:

         First, both of Plaintiffs’ experts concede that CAL is required to provide or arrange for

the complete bundle of services required for the Fund as part of its obligations under the IMA.

And as Professor Bullard further conceded, the services rendered by the adviser that are to be

considered under the Jones/Gartenberg standard include all of the services that the adviser

provides for the fund, whether those services are provided under one or several contracts.688

         Second, the nature or extent of CAL’s services to the Fund as required by the IMA were

not reduced or changed in any way by the FASA. Even without the FASA, CAL would still

have the responsibility, under the IMA’s provision that CAL is required to “manage, supervise,

and oversee the affairs” of the Funds, either to provide itself or to ensure the provision through

third-parties of all necessary services for the Funds, including the financial accounting services

recited in the FASA. Following the termination of the FASA, CAL’s obligation to provide, or

ensure the provision of, all of the services that the Funds require has not changed, and the scope

of work performed by CAL has not decreased.689

         Third, during the period of time the FASA was in existence, no one at CAL differentiated

between services provided pursuant to the IMA versus services provided pursuant to the FASA,

nor did CAL employees review or reference the IMA or the FASA in the course of performing

their day-to-day duties in servicing the Fund. Rather, at all times, CAL focused on providing all

of the services that the Fund requires and that CAL is obligated under the IMA to provide.690



688
      DFFCL ¶¶ 352-353.
689
      DFFCL ¶¶ 344-348.
690
      DFFCL ¶ 349.

                                                 263
         Fourth, while the FASA was in place, the Independent Trustees annually reviewed the

services CAL provided and the 1.1 basis point fee charged under that agreement. The

Independent Trustees, however, did not consider the IMA or the FASA in isolation. Rather, as

part of the 15(c) Process each year, the Independent Trustees considered the totality of services

that CAL provides to the Fund and assessed whether the approval of both agreements was

reasonable in light of the total fees charged. Plaintiffs presented no evidence a trial that

considering the contracts separately would have made any difference with respect to the

Independent Trustees’ approval of the IMA.691

         Fifth, regardless of how the IMA and FASA and the fees charged under each agreement

are evaluated, separately or together, it was reasonable and appropriate for the Board to consider

the two contracts together. The correct legal standard requires consideration of substance over

form. There is no legal requirement that a fund’s board must consider a fund’s management

agreement with the adviser separately from the fund’s other agreements with that same adviser.

There is similarly no law or ruling holding that it is improper for a Board to consider the totality

of services provided by the adviser to the Fund and the total compensation received by the

adviser as a whole, regardless of whether those services and compensation are set out in one

contract or two.692

        289. The Board’s collective assessment also ignored that certain of the FASA services
were inapplicable to the Growth Fund, and therefore could not reasonably serve as a basis for
the Growth Fund’s advisory fees (even assuming collective consideration was appropriate). See,
e.g., Tr. at 371:2-7, 374:4-9 (Mr. Holloway’s testimony that services described at Sections
2.E.10-11 of the FASA related only to CAL’s Closed-End Funds).




691
      DFFCL ¶¶ 350-351
692
      DFFCL ¶¶ 354-361.

                                                 264
       RESPONSE: Denied. For each of the fundamental reasons set forth in CAL’s Response

to Paragraph 288, supra, the evidence at trial fully reinforced the following conclusions: (a)

nothing did or should have prevented the Independent Trustees from considering the total

services provided by CAL, and the total compensation paid by the Fund to CAL, when assessing

the Fund’s overall relationship with CAL, and (b) there is nothing about the FASA that suggests

that the Fund’s management fee is excessive.

       C.      The Board’s Failure to Distinguish between the Burden/Expense of
               Providing a Service versus the Burden/Expense of Supervising Others who
               Provide the Service in the First Instance

        290. In determining whether the purportedly greater services justified the Growth
Fund’s higher advisory fees, the Board treated those services the same regardless of whether
they were provided by CAL in the first instance or performed by a third-party that CAL
supervised. See, e.g., Tr. at 176:16-20 (Mr. Neal’s testimony that “you go down the list of those
11 items [performed by third-party service providers in the first instance] in our report that we
discussed earlier with other counsel, all make a mutual fund a much more complicated, higher
risk effort by the adviser”) (emphasis added); see also Tr. at 911:18-915:7, 920:12-921:5,
927:9-928:13 (Professor Bullard’s testimony criticizing the Trustees’ failure to properly
distinguish between the veneer of oversight and the actual performance of a task).

       RESPONSE: Denied. Mr. Neal’s trial testimony cited by Plaintiffs in Paragraph 290

has nothing to do with the Independent Trustees’ consideration of CAL’s different and greater

services and risks with respect to the Fund.

       In addition, Plaintiffs’ assertion that CAL sought to, or was required to, “justify” the

Fund’s management fee relative to its All Cap Growth Client fees solely on the basis of the

different and greater services that CAL provides to the Fund than to its All Cap Growth Clients

and the different and greater risks it assumes in advising the Fund than it does in advising its All

Cap Growth Clients is not supported by the trial evidence or the Section 36(b) jurisprudence for

each of the following fundamental reasons:

       First, both of Plaintiffs’ experts concede that CAL is required to provide or arrange for

the complete bundle of services required for the Fund as part of its obligations under the IMA.

                                                265
And as Professor Bullard further conceded, the services rendered by the adviser that are to be

considered under the Jones/Gartenberg standard include all of the services that the adviser

provides for the fund, whether those services are provided under one or several contracts.693

         Second, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Fund than to its All Cap Growth Clients, and assumes different and greater

risks in advising the Funds than it does in advising its All Cap Growth Clients. CAL’s 15(c)

Responses included a “Discussion of Management Fee Rates by Product” presentation that both

informed the Independent Trustees of the fees that CAL charged to the Funds and to its

institutional and sub-advisory clients and provided a brief summary overview of the services that

CAL provided to the Fund that were not required for institutional or sub-advisory accounts.

         Third, as the evidence also conclusively demonstrates, the Discussion of Management

Fee Rates by Product presentation was not the sole information that the Independent Trustees

received about such services, nor was it intended to be an exhaustive recitation of all of the many

differences in services and risks. To the contrary, the Independent Trustees also regularly

receive extensive information at every Board meeting concerning the services CAL provides to

the Fund that are not required for All Cap Growth Clients, such as fund administration, oversight

of third party service providers, and reports from the Funds’ CCO. In addition, the Independent

Trustees have 150+ years of collective experience in the asset management industry—including

senior management positions at leading investment advisers who offer both mutual funds and

institutional products.694



693
      DFFCL ¶¶ 352-353.
694
      DFFCL ¶¶ 56-58.

                                                266
          Fourth, based on both this directly on-point experience and the information they receive,

the trial evidence therefore demonstrates both that (a) the Independent Trustees have all of the

information they believe they need about CAL’s All Cap Growth Clients when they annually

vote to approve the IMA, and (b) the Independent Trustees fully understand the differences in

services and risks entailed in advising the Fund versus CAL’s All Cap Growth Clients.695 As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the

Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an

apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”696

          Fifth, no regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones do not require fee parity across an adviser’s different clients. Hence, no

court has ever held that institutional or sub-advisory accounts are an apt comparison for a mutual

fund such that their fees can define the arm’s-length bargaining range for a fund’s management

fee. Indeed, every court to consider the issue on the merits (as opposed to having to credit

plaintiffs’ allegations at the pleadings stage) has rejected this effort.697

          Sixth, CAL denies either that it purported to or was required to “justify” the Fund’s fee

relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the



695
      DFFCL ¶¶ 204-207.
696
      Tr. 177:17-20 (Neal).
697
      DFFCL ¶¶ 227-229.

                                                  267
different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s

institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’

advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”698

         Seventh, contrary to Plaintiffs’ assertions, the trial evidence demonstrates conclusively

that in advising the Fund, CAL took on greater risks than in advising institutional or sub-

advisory clients. As Mr. Jackson testified, CAL’s risks from managing the Fund as contrasted

with to its All Cap Growth Clients, including Nomura and MD American, are “ubiquitous,”

“dynamic[,] and ever-changing.”699 Specifically with respect to the Fund, CAL necessarily

bears: (a) increased legal, regulatory and litigation risks; (b) greater operational risks with respect

to the Fund because, unlike with respect to its All Cap Growth Clients, CAL bears ultimate

responsibility for the services of all of the third-party service providers that it oversees on behalf

of the Fund; (c) the greater entrepreneurial risk of whether the mutual fund will ever provide a

fair return to the adviser, taking into account both the greater initial costs of launching a mutual

fund as compared with other types of investment products and the greater ongoing expenses

associated with managing and operating a mutual fund.700 Moreover, insurance does not fully



698
      DFFCL ¶¶ 242-244.
699
      DFFCL ¶ 198.
700
      DFFCL ¶¶ 199-201.

                                                 268
cover the greater risks associated with managing the Fund as compared to CAL’s All Cap

Growth Clients.701 The trial evidence also demonstrates that CAL bears these risks even if they

have not materialized in the past or cannot be quantified.702

         Eighth, to the extent that Plaintiffs’ assertions in Paragraph 290 rely on the testimony of

Professor Bullard, those assertions are not supported by any admissible or credible evidence

because (a) Professor Bullard lacks any qualification to offer any opinion regarding the

Independent Trustees’ lack of conscientiousness in their evaluation of certain information CAL

provided in its 15(c) Response (notwithstanding that he has managed to reach this same

conclusion in every Section 36(b) case in which he has been retained), (b) Professor Bullard’s

opinions suffer from a lack of methodology and lack the rigor required for expert testimony, and

(c) in light of the many flaws in his “factual analysis,” Professor Bullard was forced to concede

that he has no way of knowing how any Independent Trustee actually considered the information

CAL provided, and he disavowed any “opinion on what was in the mind of any trustee.”703

        291. For example, Mr. Neal repeatedly cited daily NAV calculations as a significant
additional service that CAL provided to the Funds. See, e.g., Neal Decl. at ¶85 (“I understand
that, generally, CAL provides a variety of fund management services to the Fund, including daily
pricing and striking the daily NAV.”) (emphasis added). In fact, that service was provided by
State Street as the Funds’ Accountant, not CAL, and State Street was separately compensated for
that service. Tr. at 365:10–366:3; JSSF at ¶79; JX 4 at 2; PX 169-A at 646100.

         RESPONSE: Denied. Mr. Neal identified daily NAV calculations as a service that CAL

provided to the Funds, but not to its institutional or sub-advisory clients, and also testified that

State Street calculated the daily NAV for the Funds in the first instance. CAL denies Plaintiffs’

assertions in Paragraph 291 because they erroneously suggest that CAL did not have significant


701
      DFFCL ¶ 202.
702
      DFFCL ¶ 203.
703
      DFFCL ¶¶ 451-457.

                                                 269
daily responsibilities or face substantial risks in connection with calculating the daily NAV,

despite State Street’s role. As Mr. Holloway testified, CAL reviews State Street’s work in real

time each day, including by monitoring communications with and obtaining pricing information

from vendors and providing supplemental pricing information to State Street, and running

through a series of tasks on CAL’s “Daily Pricing Checklist.”704

         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA, the supposedly

limited risks that CAL assumed with respect to the Fund, and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different services and risks, fail to

support a cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s

Response to Paragraph 290, supra.

        292. Similarly, at trial Mr. Neal identified a litany of services that purportedly
distinguished the work an investment advisor performs for its fund clients versus non-fund
clients. Tr. at 175:10-176:2; 185:3-19. As Mr. Neal later conceded, however, these services are
primarily provided by third-party service providers who are separately compensated by the
Funds, not CAL. Tr. at 204:19–213:11; see also Tr. at 314:15–321:23 (Mr. Jackson’s testimony
regarding service providers drafting of regulatory filings in the first instance). And although
Mr. Neal attempted to exaggerate the importance of CAL’s involvement – citing CAL’s
responsibility for negotiating the contracts with the third-party service providers as significant
work – he conceded that: (i) these agreements had been in existence since 1990; (ii) there was
nothing novel about these agreements as of the Relevant Period; and (iii) CAL did not provide
the Board with information regarding the amount of work CAL expended negotiating these
contracts. Tr. at 207:18-208:18.

         RESPONSE: Admitted in part, denied in part. CAL admits that Mr. Neal identified

numerous services that CAL provides to the Funds but not its institutional or sub-advisory

clients, including, among other things, “servicing customers, custodian transfer agencies outside

of service providers, phone representation, daily reporting of any of the daily liquidity



704
      DFFCL ¶ 185; DX 1395.

                                                 270
requirements,” “requirements of daily reporting of the value of the fund . . . , reporting of your

portfolio and what you’ve invested on a 30-day retroactive basis, the monitoring and evaluation,

custodial aspects of securities, transfer agency aspects . . ., and “[t]ax aspect,” which is more

“complicated” for mutual funds.705 CAL also admits that certain of these services are provided

by third-party service providers in the first instance, subject to CAL’s oversight, monitoring, and

review. CAL denies that Mr. Neal engaged in any form of “exaggeration.” Although Mr. Neal

testified that certain third-party service provider agreements had been in place since 1990, he

explained that negotiating renewals of such agreements requirements “effort, time and thought”

on CAL’s part, “because all service providers would like to have a higher fee.”706 The

Independent Trustees are appropriately aware of CAL’s efforts in negotiating agreements with

third-party service providers, because (1) they receive materials and presentations at Board and

Committee meetings throughout the year concerning CAL’s continued engagement of those

services providers,707 and (2) the Independent Trustees have decades of experience in the

investment management industry and understand how an adviser’s relationships with third-party

service providers work.708 Moreover, while CAL did not provide a breakdown of the amount of

time or costs involved in negotiating each service provider agreement, CAL denies that it was

required to provide such a “breakdown” as a matter of law, fact, or industry practice.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA, the supposedly

limited risks that CAL assumed with respect to the Fund, and/or because of CAL’s failure to


705
      Tr. 175:10-176:2; 185:3-19 (Neal).
706
      Tr. 208:10-9.
707
      E.g., DFFCL ¶ 206; Holloway Decl. ¶¶ 61, 61(b), and 63(c).
708
      Holloway Decl. ¶ 48.

                                                  271
“justify” the Fund’s fee in light of the supposed cost of these different services and risks, fail to

support a cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s

Response to Paragraph 290, supra.

        293. Mr. Neal also testified that CAL shoulders the same burdens, regardless of
whether the services at issue were provided by CAL or a third-party service provider. Neal
Decl. at ¶86 (“I also understand, based on my experience and interactions with CAL and annual
review of the IMA, that even where a third-party service provider performs such fund
administration services, CAL continues to bear the risk and responsibility to the Fund in the
event of any performance-related issues.”). But again, this is inaccurate: all of CAL’s third-
party service providers are bound by indemnification provisions rendering them responsible for
their own negligence of misconduct. See JX 4 at 4-5; JX 11 at 20-21; JX 182 at 8-10; JX 183 at
645546-47. In fact, at trial Mr. Neal conceded that the only specific instance of an error
resulting in a loss to fund shareholders that he identified was borne 100% by the responsible
third-party service provider. Tr. at 211:23–213:11.

          RESPONSE: Denied. Mr. Neal, and other witnesses, including Mr. Jackson, testified

that even where a third-party service provider may be subject to contractual liability for certain

risks, CAL continues to bear risks for the Fund. While certain service provider agreements may

provide for indemnification of CAL in the event of an error made by the service provider, CAL

bears ultimate responsibility for all of the services provided to the Funds, through third parties or

otherwise.709 Simply because the contracts with third party service providers provide for those

third parties’ own liability for errors or failure to perform the necessary services, that does not

mean that CAL would not bear any liability for third party errors or failures. The service

providers would not necessarily accept liability under all circumstances, nor does this mean that

the Independent Trustees and shareholders would not look to CAL if these service providers do

not fulfill their obligations efficiently and correctly.710




709
      DFFCL ¶ 200.
710
      Jackson Decl. ¶ 119.

                                                  272
       In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of the supposedly limited services that CAL provided to the Fund under the IMA, the supposedly

limited risks that CAL assumed with respect to the Fund, and/or because of CAL’s failure to

“justify” the Fund’s fee in light of the supposed cost of these different services and risks, fail to

support a cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s

Response to Paragraph 290, supra.

       D.      Profitability: Allocation of Expense Between Advisory and Distribution
               Functions

        294. During the Relevant Period, Each of CAL’s 15(c) Responses included information
concerning the allocation of certain expenses between advisory and distribution functions. A
distribution expense is an expense relating to marketing and selling the Funds to investors other
than current Funds’ shareholders, while an advisory expense is any expense that is not a
distribution expense. Tr. at 145:20-146:5.

       RESPONSE: Denied as stated. CAL admits that CAL’s 15(c) Responses each included

a Mutual Fund Profitability presentation that explained CAL’s allocation methodology and the

allocation of expenses to the advisory function versus the distribution function.

       Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue of CAL’s

“allocation of certain expenses between advisory and distribution functions” fail to support a

cognizable Section 36(b) claim for each of the following fundamental reasons:

       First, on summary judgment, the Court ruled that (a) as a result of the “Mutual Fund

Profitability Presentation,” for each year within the Relevant Period “the Independent Trustees

were fully informed about Calamos’ profitability methodology, thoroughly discussed the impact

that methodology would have on the profitability figures Calamos reported vis-à-vis alternative

methodologies, and formally approved of Calamos’ use of that methodology,” and (b) Plaintiffs’

contention that the Mutual Fund Profitability presentations understated the Fund’s profitability is

“wholly lacking in merit as it rests almost entirely on Plaintiffs’ disapproval of Calamos’ use of


                                                 273
an ‘average AUM cost-allocation method to analyze profitability—a method Plaintiffs’

recognize is commonly accepted within the industry.”711

         Second, as the trial evidence conclusively demonstrates: (a) an adviser’s “choice of cost

allocation methodology does not affect” whether the advisory fee is excessive, as Professor

Bullard concedes; (b) CAL’s calculation of its profitability with respect to the Fund, like any

other profitability calculation, necessarily involves the exercise of discretionary accounting

judgments that may affect the overall result; (c) because there are a range of reasonable and

acceptable judgments and methodologies that can be used, and which will produce a range of

different but equally reasonable results, there is no one “true” profitability figure; (d) as

Professor Lacey testified, without any meaningful contradiction from either of Plaintiffs’ experts,

CAL’s Profitability Presentation employs a systematic and rational approach to provide

reasonable, decision-useful information to the Independent Trustees; (e) as the only two qualified

accountants at the trial (Mr. Helmetag and Professor Lacey) testified, CAL’s manner of

calculating Fund-level advisory profitability is consistent both with managerial accounting

principles and the principles underlying GAAP; and (f) Plaintiffs did not offer any evidence that

CAL’s AUM-based cost allocation approach is not consistent with managerial accounting

principles or the principles underlying GAAP; indeed, neither of Plaintiffs’ experts offer any

accounting-grounded opinions (nor could they, given their complete lack of accounting

qualifications).712 In sum, as Dr. Pomerantz freely admitted, CAL is “well within [its]




711
      DFFCL ¶¶ 291-92.
712
      DFFCL ¶¶ 295-307.

                                                 274
accounting rights as accountants to do what they’ve done” with respect to the cost allocation

methodology it used.713

         Third, Plaintiffs presented no evidence that receiving any additional information about

CAL’s allocation methodology would have impacted the Independent Trustees’ decision to

approve the IMA in any way.

         Fourth, to the extent that any of Plaintiffs’ assertions concerning CAL’s accounting,

profitability or cost allocation methodology rely on the testimony of Dr. Pomerantz or Professor

Bullard, those assertions are not supported by any admissible or credible evidence because

neither Dr. Pomerantz nor Professor Bullard is in any way qualified to offer any expert opinion

concerning accounting, profitability or cost allocation methodologies.714

        295. Mr. Neal testified that he believed CAL’s allocation methodology was reasonable,
despite not comporting with his understanding of CAL’s business. For example, CAL allocated
100% of its Information Services and G&A expenses to its advisory function, notwithstanding
that CAL’s distribution-related personnel – which comprised approximately 23% of CAL’s total
headcount, see Tr. at 254:4-22 – used the same Information Services and resources classified as
G&A,715 see Tr. at 146:14–149:1, 240:13–243:23; see also Bhatt Dep. at 93:11-25; 95:25-
96:13, 97:1-6, 19-23; Timbers Dep. at 94:11-21. Mr. Neal acknowledged that allocating 100%
of these costs to advisory was imprecise and that that the Board “could be picky about it” and
ask for more information, but decided to simply accept the advisor’s representation that the
allocation method was reasonable because “we don’t need more data . . . we need [] more
insight.” Tr. 191:5-192:21.716


713
      DFFCL ¶ 306.
714
      DFFCL ¶¶ 417-420, 447-449.
715
   Information Services includes CAL computer infrastructure and core systems, as well as
personnel developing and maintaining CAL’s information technology systems and applications;
G&A encompassed expenses related to rent, the human resources department, the legal
department, etc. Tr. 147:3-19, 226:11-18, 241:12–242:9. RESPONSE: Denied as stated.
CAL admits that the Information Services expense categories included indirect (but not direct)
expense relating to enterprise services and infrastructure and application development. CAL also
admits that Mr. Neal testified that he believed that G&A concerns corporate overhead.
716
     Mr. Bhatt testified that he did not recall the Board ever asking questions about the allocation
methodology. See Bhat Dep. at 96:15-97:1. RESPONSE: Denied as stated. CAL admits that
at the time of his deposition, Mr. Bhatt did not recall whether the Board had asked questions

                                                275
          RESPONSE: Denied. CAL admits that Mr. Neal testified that he believed that CAL’s

allocation methodology was reasonable and useful for the Board’s decision-making.717 As

Mr. Neal testified, his “job as an independent trustee is to know the cost to our customer, the

shareholder, what is their cost and is that cost reasonable? And part of our job is to then assess is

the profitability, overall profitability, of the adviser reasonable. And both of those pieces of

information we receive every year and make our judgments based on that.”718

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “allocation of expense between advisory and distribution functions” fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 294, supra.

        296. Mr Timbers similarly acknowledged that (i) CAL’s distribution personnel used the
same Information Services as its advisory personnel, (ii) he did not know why 100% of that
expense was allocated to advisory, (iii) he never asked CAL any questions on that issue because
he “didn’t get to that level” of detail, and (iv) he did not recall ever discussing these allocations
with his fellow Trustees. Timbers Dep. at 94:18-95:14. When pressed as to whether he believed
it made sense that none of the expense was allocated to distribution, he demurred that “I’m sure
[CAL] had a reason,” and conceded that he did not even know how the term “distribution” was
being used in the context of these allocations. Timbers Dep. at 95:15-23.

          RESPONSE: Denied. CAL admits that Mr. Timbers testified that he did not ask CAL

why the Information Services indirect expense category was allocated entirely to the advisory

function, that he did not recall discussing this issue with the other Independent Trustees, and that

this information is “not any more important than a lot of other things we look at.”719 As




about CAL’s allocation methodology. Bhatt Dep. 96:15-19. CAL denies that the cited evidence
establishes that the Board did not ask questions about CAL’s allocation methodology.
717
      Tr. 148:24-149:1 (Neal).
718
      Tr. 191:16-22 (Neal).
719
      Timbers Dep. 94:18-95:14, 96:5-7.

                                                  276
Mr. Timbers further testified, “all these accountants have their ways of allocating and if it sounds

reasonable, it sounds fair, then you’re ok.”720

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “allocation of expense between advisory and distribution functions” fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 294, supra.

        297. Turning to G&A, Mr. Timbers testified that he did not “have an understanding of
why a hundred percent was allocated to advisory and none to distribution,” and that he never
wondered why that was the case or discussed the matter with his fellow Trustees. Timbers Dep.
at 96:18-97:1. When asked if it made sense to him that none of the G&A expenses were allocated
to distribution, Mr. Timbers testified that “I’d give them the benefit of the doubt. If they could
explain it, then fine.” Timbers Dep. at 97:2-7.

          RESPONSE: Denied. CAL admits that Mr. Timbers testified that he did not ask CAL

why the General & Administrative indirect expense category was allocated entirely to the

advisory function, that he did not recall discussing this issue with the other Independent Trustees,

and that this information is “not any more important than a lot of other things we look at.”721

However, as Mr. Timbers further testified, “all these accountants have their ways of allocating

and if it sounds reasonable, it sounds fair, then you’re ok.”722

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “allocation of expense between advisory and distribution functions” fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 294, supra.

       298. Mr. Bhatt echoed Mr. Timbers testimony, and stated that he did not recall the
Board asking any specific questions regarding the allocation of these expenses. See Bhatt Dep.

720
      Id. 98:6-8.
721
      Id. 96:18-97:1, 96:5-7.
722
      Id. 98:6-8.

                                                  277
at 96:15-97:1. Even if the Board had asked questions, however, Mr. Bhatt would have been
unable to answer them, even though he was CAL’s CFO, because he had no idea why 100% of
Information Services and G&A expenses were allocated to distribution. See Bhatt Dep. at
93:11-94:5; 97:2-6, 97:19-98:5.

          RESPONSE: Denied. CAL admits that at the time of his deposition, Mr. Bhatt did not

recall whether the Board had asked questions about CAL’s allocation methodology, and “[could

not] remember” and did not know why the Information Services and General & Administrative

categories of indirect expense were allocated entirely to the advisory function.723 CAL denies

that the cited evidence establishes that the Board did not in fact ask questions about CAL’s

allocation methodology or that Mr. Bhatt did not know the reasoning for CAL’s allocation

methodology at the time he was employed by CAL. Plaintiffs also presented no evidence that

receiving any additional information about CAL’s allocation methodology would have impacted

the Independent Trustees’ decision to approve the IMA in any way.

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of CAL’s “allocation of expense between advisory and distribution functions” fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 294, supra.

          E.     The Trustees’ Misinformed View Regarding the Purported Burden of
                 Providing Daily Liquidity

        299. Both Messrs. Neal and Timbers repeatedly stressed that CAL’s provision of daily
liquidity for its fund clients was a source of substantial additional work that it was not required
to perform in connection with its non-fund clients. Tr. at 171:8-173:17; Timbers Dep. at 112:1-
18.




723
      Bhatt Dep. 93:11-94:5, 96:15-97:1-6, 97:19-98:5.

                                                  278
          RESPONSE: Denied. Mr. Neal testified that daily liquidity is a “[v]ery critical aspect

of a mutual fund.”724 CAL denies Plaintiffs’ assertion in Paragraph 299 that daily liquidity “did

not result in a material amount of additional work.” As Mr. Neal further testified:

                 THE COURT: OK. With respect to liquidity --

                 THE WITNESS: [Institutional accounts] don’t need 24 -- daily
                 liquidity.

                 THE COURT: Because the contract between yourself and the
                 institutional clients indicates how and when they can remove their
                 funds.

                 THE WITNESS: Yes. Correct. Absolutely. It’s predetermined.
                 And the institutional client likes that, because they want their
                 investors, who are investing money for them, to be fully invested.
                 That’s the whole point they picked you, because you’re a good
                 investor. Why would they only want you to invest 96 percent of
                 the money and keep 4 percent in cash? Versus the mutual fund,
                 you better keep some money in cash. And by law, and the
                 government is right here, they pay close attention to mutual funds’
                 liquidity, and if your asset base is high risk, therefore not liquid, in
                 order to pay redemptions, you might have to sell your assets at a
                 big loss and different value than you told your shareholders the
                 value today is, the NAV. I mean, that’s a real risk in the business,
                 in the mutual fund side of the business, and one of which the
                 government pays close attention and we as a board pay close
                 attention.725

          Ensuring Fund liquidity imposes additional burdens on both the portfolio management

team and the compliance function. As Mr. Mickey testified:

                 Q. What are 144A securities?

                 A. 144A securities are securities that were issued in accordance with
                 Rule 144A, and so there’s a limited registration at the time of
                 issuance and only a qualified institutional buyer can buy them. So
                 there is a concern that those may be less liquid than other securities,
                 and we are looking at that to make sure there’s adequate liquidity in


724
      Tr. 172:20 (Neal).
725
      Tr. 187:4-24 (Neal).

                                                   279
                those securities. When we do that, we also look at all other securities
                to make sure that all are liquid.

                Q. And 144A securities may be bought for accounts other than the
                funds, correct?

                A. They can be, yes.

                Q. Are there similar valuation issues that are handled by CAL
                compliance with respect to other accounts?

                A. Actually, no. 144A refers to the liquidity, and liquidity is strictly
                a fund issue where you can only have depending on the fund, you
                know, 15 percent. Some of our funds have lower guidelines 10
                percent in liquid securities. So we look at those – it’s strictly a --
                institutional accounts don’t have limits unless it’s by separate as far
                as how much they can hold in liquid securities.726

         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by the

Fund’s “daily liquidity requirements” that purportedly “did not result in any appreciably greater

work” fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 201, supra.

         300. The Trustees’ opinions, however, were remarkably ill-informed. As Mr. Kalis
testified the daily liquidity requirement did not result in a material amount of additional work
with respect to the Growth Fund. See ¶202, supra. Additionally, CAL’s two largest Other ACG
Accounts were themselves funds that provided their shareholders with daily liquidity, and thus
presented CAL, as their subadvisor, with comparable portfolio management work. See ¶¶204-
05, supra.

         RESPONSE: Denied. Mr. Kalis did not testify that “the daily liquidity requirement did

not result in a material amount of additional work,” as Plaintiffs erroneously assert. Mr. Kalis

testified that the portfolio management team made an effort to keep sufficient cash on hand such

that, on a day-to-day basis, the team was not faced with making additional sales of stocks in the




726
      Mickey Dep. 54:8-55:10.

                                                 280
Fund’s portfolio in order to accommodate redemptions by Fund shareholders.727 However,

Mr. Kalis did not testify as to the burden on CAL’s portfolio management team required to

maintain this cash position, nor did he speak to the burden on CAL’s trading, operations, or other

teams necessary to accommodate shareholder purchases and redemptions in the Fund.728

          Furthermore, ensuring Fund liquidity imposes additional burdens on both the portfolio

management team and the compliance function. As Mr. Mickey testified:

                 Q. What are 144A securities?

                 A. 144A securities are securities that were issued in accordance with
                 Rule 144A, and so there’s a limited registration at the time of
                 issuance and only a qualified institutional buyer can buy them. So
                 there is a concern that those may be less liquid than other securities,
                 and we are looking at that to make sure there’s adequate liquidity in
                 those securities. When we do that, we also look at all other securities
                 to make sure that all are liquid.

                 Q. And 144A securities may be bought for accounts other than the
                 funds, correct?

                 A. They can be, yes.

                 Q. Are there similar valuation issues that are handled by CAL
                 compliance with respect to other accounts?

                 A. Actually, no. 144A refers to the liquidity, and liquidity is strictly
                 a fund issue where you can only have depending on the fund, you
                 know, 15 percent. Some of our funds have lower guidelines 10
                 percent in liquid securities. So we look at those – it’s strictly a --
                 institutional accounts don’t have limits unless it’s by separate as far
                 as how much they can hold in liquid securities.729

          Plaintiffs’ particular focus on CAL’s two sub-advisory clients is also misplaced because

those clients are inapt comparators to the Fund. Nomura advised a Cayman Islands fund that



727
      Kalis Dep. 65:14-25, 70:3-15, 71:1-21.
728
      Kalis Dep. 65:14-25, 70:3-15, 71:1-21.
729
      Mickey Dep. 54:8-55:10.

                                                  281
was made available primarily to Japanese investors, and the MD Accounts were Canadian funds

governed by Canadian law.730 As Dr. Pomerantz acknowledged of the MD Accounts, “[t]hese

aren’t even ’40 Act funds” governed by laws and regulations applicable to U.S. mutual funds,

and, “there’s no point at all in comparing” the Fund’s fee to the management fees that Nomura

and MD American charged their investors. 731 CAL further denies as unsupported by the

evidence cited that CAL had any obligation to provide an investment strategy to the MD

Accounts that allowed for daily shareholder purchases and redemptions in those underlying

funds or to assist the adviser of the MD Accounts with shareholder redemptions.732 On the

contrary, the sub-advisory agreement governing the MD American Growth Fund expressly

provided that CAL would have “no responsibility for the management of the cash assets of the

Fund” and that another investment adviser separate from CAL would be responsible “for the

provision of investment advisory services of the cash reserves.”733 And, CAL has performed no

work at all for any All Cap Growth Client since 2017.734

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of “services that CAL provided comparably to Fund and non-Fund Clients alike” and/or by the

Fund’s “daily liquidity requirements” that purportedly “did not result in any appreciably greater




730
   Jackson Decl. ¶ 104; JX 15 at CALAMOS_00622192 (providing that the Nomura Currency
Fund was a Cayman Islands trust); JX 8 at CALAMOS_00638092 (providing that the MD
American Growth Fund would be subject to National Instrument 81-02, a Canadian securities
law regulation); JX 18 at CALAMOS_00638094, CALAMOS_00638103 (same for the MDPIM
U.S. Equity Pool, and further providing that the MDPIM U.S. Equity Pool was “a Trust governed
by the laws of Ontario”).
731
      Tr. 503:14-504:3 (Pomerantz).
732
      JX 8 at Art. 2; JX 18 at Art. 2.
733
      JX 8 § 2.4 at CALAMOS_00683083, CALAMOS_00638090.
734
      Becker Decl. ¶ 121; Tr. 73:24-74:2 (Becker).

                                                  282
work” fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set

forth in CAL’s Response to Paragraph 201, supra.

         F.     The One-Time Fee Waiver and the Board’s Annual Unanimous Approval of
                CAL’s Advisory Fees

         301. For each year during the Relevant Period, the Board unanimously approved
CAL’s advisory fees for the Growth Fund. The only time the Board requested and approved a
decrease in CAL’s advisory fees was at the June 2013 15(c) meetings, when it instituted a modest
5 basis point fee-waiver. See Tr. 155:24-155:4; 159:4-6. The fee waiver was instituted in
response to CAL’s short-term and long-term underperformance. At that time, however, the
Board did not set any goals or milestones that CAL had to meet as a precondition to lifting the
waiver. Tr. at 156:5-9, 157:4-8. In fact, the Board did not set any objective criteria for
assessing whether CAL had sufficiently improved its performance, in order to merit a return to
its old fee schedule. JX 31 at 503417-18.

         RESPONSE: Denied. CAL admits that the Board unanimously approved CAL’s

advisory fees for the Fund each year during the Relevant Period, and that the Board instituted a

five basis point fee waiver from June 2013-June 2014. CAL denies the remaining assertions in

Paragraph 301 on the basis that they are not supported either by the evidence cited or the entirety

of the trial record.

         As Mr. Neal testified, without any contrary evidence from Plaintiffs, “[a]t every board

meeting we would’ve been discussing performance and what the adviser’s doing to improve

performance.”735 As part of their ongoing assessment of CAL’s services to the Fund, the

Independent Trustees considered both the Fund’s long-term and short-term performance; the

Independent Trustees, with their years of industry experience and their long tenures on the

Board, understood that CAL had delivered excellent long-term performance for the Fund’s

shareholders, and they also were fully aware of the Fund’s recent periods of relative

underperformance.736 But the Independent Trustees also recognized that the Fund’s one-year


735
      DFFCL ¶ 127.
736
      DFFCL ¶¶ 128-129.

                                                283
performance varied during the Relevant Period, and their annual judgment to approve the IMA—

as well as their consideration of whether to impose a fee waiver and/or to insist on continued

efforts to improve performance—was made with all of this historical, absolute and relative

performance information in mind.737

         Moreover, and contrary to Plaintiffs’ assertions, the trial record demonstrates that in June

2013, the Independent Trustees reached the judgment—informed by the information they

requested and received from CAL, and considered in light of their extensive industry

experience—to impose a five basis point fee waiver on the Fund’s management fee (at a cost to

CAL of about $2.1 million), while also insisting that CAL take meaningful steps to improve the

Fund’s performance.738 The trial record further demonstrates that for each year since 2014, the

Independent Trustees have reached the judgment—again informed by the information they

requested and received from CAL, and considered in light of their extensive industry

experience—that the proper course has been to insist that CAL continue to take meaningful steps

to improve the Fund’s performance.739 The trial record also demonstrates, again contrary to

Plaintiffs’ assertions, that in their annual evaluation of the IMA in each year after June 2014, the

Independent Trustees considered and balanced the option of imposing additional fee waivers

against taking steps to ensure that CAL made changes designed to improve the Fund’s

performance, including that (a) that if they were to impose a fee waiver, they would marginally

increase shareholders’ net of fee returns (all else being equal), (b) shareholders had an

opportunity to achieve exponentially greater increases in net-of-fee returns, especially



737
      DFFCL ¶ 129.
738
      DFFCL ¶¶ 130, 133-136.
739
      DFFCL ¶¶ 131-132, 137-142.

                                                 284
compounded over time, by CAL improving the Fund’s performance, and (c) imposing fee

waivers reduces the amount of resources available to CAL to pursue initiatives to improve the

Fund’s performance, including CAL’s restructuring of its investment team.740 These

considerations led to informed and thoughtful judgments by the Independent Trustees in their

annual evaluation and approval of the IMA.741 As Professor Bullard properly conceded, CAL’s

increased expenditures with respect to the services it provides to the Fund, through its significant

changes and improvements to its investment team and investment structure, is both a de facto fee

decrease for the benefit of the Fund’s shareholders and “could play a role in” arm’s-length

bargaining by the Independent Trustees.742

         In addition, as Mr. Neal further testified:

                Q. And at the time the board approved the fee waiver in 2013, it did
                not set any specific goals that CAL needed to meet before the board
                would consider returning to CAL’s pre-fee waiver schedule; is that
                right?

                A. Correct.

                Q. And when the board approved the fee waiver, it did not set a time
                period during which it wanted to see sustained, long-term
                improvement before it would consider lifting the fee waiver, right?

                A. Well, the time period was a year, which was the extension of the
                contract.

                Q. Do you believe a year is sufficient to see sustained long-term
                improvement?




740
      DFFCL ¶¶ 131-132.
741
      DFFCL ¶¶ 126-142; Timbers Dep. 20:18-21:13, 140:14-141:17.
742
      DFFCL ¶ 108.

                                                  285
                 A. We believe a year is sufficient to see whether the adviser was
                 putting resources necessary to improve performance. You have to
                 start with short-term improvement to get long-term improvement.743

        302. Despite the Board’s concerns with CAL’s long-term underperformance, it lifted
the fee waiver after just one year. Tr. at 155:24–156:4, 158:4-11. Notably, however, the
minutes of the 2014 15(c) Meeting do not mention the fee waiver even once, let alone provide
any indication that the Board discussed whether the waiver should be continued or the reasons
why they restored CAL’s fees in full. See JX 70.744 Further still, the section of the minutes
memorializing the Board’s consideration of the IMA does not include any indication that the
Board asked a single question specifically about the Growth Fund. JX 70 at 534045-54.

          RESPONSE: Denied. CAL admits that the Board lifted the fee waiver in 2014. CAL

denies the remaining assertions in Paragraph 302 on the basis that they are not supported either

by the evidence cited or the entirety of the trial record. For example, Plaintiffs’ citation to the

minutes of the June 2014 meeting does not establish that the Independent Trustees failed to

discuss the continuation of the fee waiver or that no questions were asked concerning the Fund.

Among other things, the evidence demonstrates that meeting minutes are not a verbatim

transcript of what was discussed to the meeting, and the meeting minutes do not transcribe

anything that was discussed in executive session.745



743
      Tr. 156:5-21 (Neal).
744
    Mr. Jackson testified that although the minutes of the Board’s 15(c) meetings are not
verbatim recordings, any discussions concerning material/significant matters would be noted in
the corresponding minutes. Tr. at 259:24-260:2; see also 323:23-324:14. RESPONSE:
Denied as stated. CAL admits that Mr. Jackson testified that the minutes “aren’t verbatim” and
“[w]hether they captured everything that occurred within those meetings, again, they’re not
verbatim,” but that in his experience, if a significant or material matter is discussed at a board
meeting, it would be reflected in the minutes. Tr. 259:16-23 (Jackson). Mr. Jackson also
testified that the meeting minutes do not record anything that is discussed in executive session.
Finally, while Mr. Jackson testified that he seeks to ensure that any questions requiring follow-up
are recorded in the minutes, not all of the questions asked by the Independent Trustees
necessarily are included in the minutes. For example, questions asked by the Independent
Trustees that are adequately answered at the meeting and require no follow-up in future meetings
may not necessarily be included in the minutes. Jackson Decl. ¶ 58; Tr. 323:23-324:14
(Jackson).
745
      Tr. 259:16-23 (Jackson).

                                                 286
          With respect to the Independent Trustees’ annual judgments on behalf of fund

shareholders in approving the IMA, CAL incorporates its Response to Paragraph 301 as if fully

set forth herein.

        303. A fee waiver, however, was not the only way to address the issue of whether
CAL’s performance merited a certain level of fees. Rather, several of CAL’s Funds had
performance fee arrangements, whereby CAL’s fee is either larger or smaller depending on how
the fund at issue performs relative to an index/benchmark. Tr. at 158:12-20. According to both
Messrs. Neal and Timbers, the Growth Fund’s performance was the paramount concern in
assessing whether approving CAL’s fees was in the best interests of investors. See Tr. at
154:21–155:23, 158:4-11; Timbers Dep. at 38:15-25, 120:13–121:8. Nonetheless, the Board
did not ask CAL to consider a performance fee arrangement at any time. Tr. at 158:21-159:6.

          RESPONSE: Denied. The cited testimony does not support the assertion that “several”

of CAL’s mutual funds had “performance fee arrangements.” Plaintiffs cite no evidence, and did

not prove at trial, that the Fund’s fee should have been a “performance fee arrangement,” or that

such a fee arrangement is common in the industry.

          With respect to the Independent Trustees’ annual judgments on behalf of fund

shareholders in approving the IMA, CAL incorporates its Response to Paragraph 301 as if fully

set forth herein.

        304. Rather, for each year during the Relevant Period (with the sole exception of
2013), the Board did not seek a decrease in CAL’s advisory fees or attempt to link its fees to
performance, but instead approved the IMA after reaching the formulaic conclusion that it would
be “prudent” to allow CAL “more time” to develop its performance record. Tr. 160:9-163:25;
166:21-167:25; JX 70 at 434047-48; JX 111 at 534348; JX 144 at 636377; JX 180 at 652318.
The Board did so without setting any performance related goals, notwithstanding that, for each
year since 2014, the Growth Fund’s one-year Morningstar ranking relative to other comparable
funds became progressively worse. Tr. 160:9-163:25; 166:21-167:25.

          RESPONSE: Denied. As Mr. Timbers testified, while the referenced language in the

minutes “might be the same or similar, the story that backs it up is a little different as you go

through” each year.746 The trial evidence bears this out.


746
      Timbers Dep. 158:5-160:22, 161:1-19.

                                                 287
          Plaintiffs’ belief in the desirability of pre-defined performance goals is also contradicted

by the trial evidence. As Mr. Cronin explained, pre-defined performance targets and specific

deadlines are inadvisable and impractical in the investment management industry because of,

among other factors, unpredictable future changes in the market.747 Mr. Neal further explained

that setting specific benchmarks at which the Board would re-evaluate the Fund’s performance

would not be useful to the Independent Trustees because they receive monthly performance

updates and other information that they use to monitor continuously the Fund’s performance.748

          With respect to the Independent Trustees’ annual judgments on behalf of fund

shareholders in approving the IMA, CAL incorporates its Response to Paragraph 301 as if fully

set forth herein.

        305. The Board’s stated rationale for approving the Growth Fund’s advisory fees was
that CAL was continuing to make changes to its investment team to improve performance. See,
e.g., JX 70 at 534047; JX 111 at 534348; JX 144 at 636377; JX 180 at 652318; see also Timbers
Dep. at 140:6 – 144:7. However, the very changes that supposedly served as a basis for buying
CAL more time, such as CAL’s termination and replacement of David Kalis who headed the
Growth Fund, were themselves occasioned by CAL’s continued poor performance. Tr. at
168:12-24, 181:3-10, 198:1-6. Moreover, the Board continued to parrot its prudent-to-allow-
more-time mantra, well after CAL had reported to the Board that its transition to a horizontal
approach – the crown jewel of its efforts to improve performance – had been completed. Tr. at
164:3-165:21; JX 144 at 636377; JX 180 at 652318.

          RESPONSE: Denied. With respect to the Independent Trustees’ annual judgments on

behalf of fund shareholders in approving the IMA, CAL incorporates its Response to Paragraph

301 as if fully set forth herein. Additionally, as set forth in CAL’s Response to Paragraph 118,

Plaintiffs’ assertion that CAL “completed” its investment team restructuring in 2015 was

contradicted by the testimony of the sole witness on whom Plaintiffs tested this theory at trial,

Mr. Neal. As Mr. Neal testified, the Board did not understand the presentation on which


747
      Tr. 659:12-660:18 (Cronin).
748
      Tr. 198:18-199:19 (Neal).

                                                  288
Plaintiffs rely to mean that CAL finished its process of improving the investment team in 2015,

but instead that Mr. Black had made changes that he personally had planned to make, and that

CAL continued to make structural and personnel changes after Mr. Black’s departure in 2015.749

       306. Finally, the Trustees were not even aware that, at the same time they continued to
cut CAL slack year after year, a substantial number of CAL’s non-fund clients that had money
invested in the same investment strategy as the Growth Fund were unwilling to do so, and
terminated their advisory relationships because CAL’s performance did not merit the fees
charged. See Tr. at 169:9-170:16.

          RESPONSE: Denied. CAL’s 15(c) Responses reported on a yearly basis, inter alia, the

aggregate AUM of all institutional accounts following a U.S. Equity strategy, which continued to

decline until, as of the 2017 15(c) Response and as disclosed to the Independent Trustees, CAL

advised no such accounts.750 At trial, Mr. Neal testified that “[w]e knew what assets were

annually in each of their other categories, by category, not by specific style,” and that obtaining

information “by client, I don’t think that was that critical.”751

          Moreover, the decision by CAL’s institutional or sub-advisory All Cap Growth Clients to

close their accounts with CAL does not in any way prove that the Fund’s fee was excessive.

Rather, as the trial evidence conclusively demonstrates, mutual funds on the one hand, and

institutional/sub-advisory accounts on the other hand, are different products that are sold in

different markets, and the decision-making criteria that these clients apply regarding their

accounts are often different, and more sensitive to recent performance, than mutual fund

investors.752



749
      Tr. 202:5-203:21 (Neal).
750
  E.g., DX 61-R at CALAMOS_00519573; DX 113-R at CALAMOS_00502929; DX 145-Q at
CALAMOS_00634751; DX 176-P at CALAMOS_00650496.
751
      Tr. 170:20-171:2 (Neal).
752
      DFFCL ¶¶ 163, 282, 286-287.

                                                 289
      CAL’S RESPONSE TO PLAINTIFFS’ PROPOSED CONCLUSIONS OF LAW

I.     CAL’S WITNESSES WERE INCREDIBLE

       A.      Applicable Legal Standard

       307. In a bench trial, credibility determinations are the province of the presiding
judge. See DeGiorgio v. Fitzpatrick, No. 08 Civ. 6551, 2011 WL 10501908, at *7 (S.D.N.Y.
Mar. 8, 2011); Haimdas v. Haimdas, No. 09 Civ. 2034, 2010 WL 652823, at *3 (E.D.N.Y. Feb.
22, 2010). Grounds for finding a witness incredible include, inter alia, evasive, inconsistent,
contradictory or implausible testimony.753

       RESPONSE: Admitted.

        308. Moreover, if the Court finds that any portion of a witness’s testimony was
intentionally untruthful or misleading, the Court can elect, under the doctrine of falsus in uno
falsus in omnibus, to reject the entirety of the witness’s testimony. Hernandez v. NJK
Contractors, Inc., 09 Civ. 4812, 2015 WL 1966355, at *31 (E.D.N.Y. May 1, 2015) (citing United
States v. Foster, 9 F.R.D. 367, 389 (S.D.N.Y. 1949)).754

       RESPONSE: Admitted.

       B.      Specific Instances of Incredible/Misleading Testimony

               1.     CAL’s Misleading and/or Incomplete Interrogatory Responses

        309. Plaintiffs’ First Set of Interrogatories asked CAL to identify, inter alia, all of
CAL’s Institutional and Subadvised Accounts that followed an ACG strategy – like the Growth
Fund – and, for each such account, to identify among other things, whether the account had
terminated CAL and the reason(s) given for such termination. JX 181, at 4. According to CAL’s
verified responses, four of its largest Other ACG Accounts – Nomura, Thrivent and the two MD
Accounts – did not cite poor performance as one of the reasons they terminated CAL. JX 181 at
Ex. A. This was untrue: Mr. Behan testified that all four of those accounts cited poor
performance as a reason for termination. Tr. 82:21-85:7, 91:21-92:15. Notably, Mr. Behan
could not explain why such information was omitted from CAL’s interrogatory responses, and



753
    See, e.g., Latin America Music Co., Inc. v. Spanish Broad. Sys., Inc., 254 F. Supp. 3d 584,
589-90 (S.D.N.Y. 2017) (witness incredible where he could not recall important details, his
testimony directly contradicted prior statements, and he evasively answered questions on cross-
examination).
754
    See also United States v. Eastman, 16 Cr. 0006, 2016 WL 4357492, at *6 (D. Conn. Aug. 15,
2016) (applying doctrine of falsus in uno, falsus in omnibus to reject entirety of witness’s
testimony that was incredible on certain key matters); Hinton v. Patnaude, 92 Civ. 405, 1997 WL
727529, at *2 n.3 (N.D.N.Y. Oct. 21, 1997) (“Falsus in uno, falsus in omnibus has particular
applicability to an assessment of [a party’s] credibility.”) (internal quotation marks omitted).

                                              290
simply speculated it may not have been entered into their customer database at the time those
clients terminated their relationships. See Tr. at 114:23-115:5.

          RESPONSE: Denied. CAL’s Response to Plaintiffs’ First Set of Interrogatories

indicated that Nomura, Thrivent, MD American, and MDPIM U.S. Equity Fund did not cite

performance as a reason for termination because CAL’s client relationship management system

does not record that any of these clients cited performance as a reason for termination.

Moreover, none of those clients cited performance as the sole reason for termination, as

Mr. Behan testified. At trial, Mr. Behan testified that he believed that Nomura cited

“suboptimum performance” as “one reason” that Nomura terminated but Mr. Behan did not

“recall exactly what they said.”755 Mr. Behan went on to testify:

                 Q. Was there some other reason that Nomura also gave you, at the
                 time that it left, as to why it was terminating its account with
                 Calamos?

                 A. It did. So -- so first off, when a client gives you a reason, we
                 don’t audit the client or we don’t -- you know, they sometimes give
                 you a number of reasons, so quick and dirty hand thing in the system
                 isn't always necessarily as reliable as it may seem. Secondly, with
                 Nomura, Nomura had purchased a stake in American Century of 40
                 percent. American Century has a competing product at Calamos,
                 and by the way, many of us predicted, and rightly so, when we saw
                 the news come out, it won’t be long, 18 months, and it’s kind of
                 what happened.756

Mr. Behan similarly testified that MD American and MDPIM U.S. Equity Fund cited three

reasons for terminating, one of which was performance, and that Thrivent terminated CAL due to

performance among other reasons.757




755
      Tr. 83:3-84:8 (Behan).
756
      Tr. 114:23-115:10 (Behan).
757
      Tr. 84:11-85:7 (Behan).

                                                 291
          Moreover, the decision by CAL’s institutional or sub-advisory All Cap Growth Clients to

close their accounts with CAL does not in any way prove that the Fund’s fee was excessive.

Rather, as the trial evidence conclusively demonstrates, mutual funds on the one hand, and

institutional/sub-advisory accounts on the other hand, are different products that are sold in

different markets, and the decision-making criteria that these clients apply regarding their

accounts are often different, and more sensitive to recent performance, than mutual fund

investors.758

          In fact, it is Plaintiffs’ witnesses, not CAL’s witnesses, who were “in-credible” at trial.

During his testimony at trial, Dr. Pomerantz was impeached more than twenty times,759 and

Professor Bullard was impeached no fewer than sixteen times with his prior inconsistent

statements.760 Notable instances in which Dr. Pomerantz was not forthcoming with the truth

until confronted by adverse evidence (most often his own testimony) include: (i) his assertion

that he has no bias to correct;761 (ii) his prior sworn testimony that a mutual fund’s past

performance is irrelevant to an inquiry of whether its fees are excessive;762 (iii) his total lack of

direct experience in negotiating with an investment adviser (or any third-party service provider)

on behalf of a mutual fund;763 and (iv) the “evident” and “obvious[]” error in his description of


758
      DFFCL ¶¶ 163, 282, 286-287.
759
   Tr. 406:23-407:24, 408:24-409:16, 409:17-410:5, 417:1-16, 420:20-421:15, 436:17-437:14,
439:25-440:24, 441:2-24, 444:2-445:13, 447:22-449:8, 456:25-458:2, 458:11-459:2, 463:11-24,
465:18-466:16, 466:17-467:16, 467:17-468:11, 493:9-494:19, 497:4-498:1, 519:18-521:2,
527:13-528:9, 533:3-21 (Pomerantz).
760
   Tr. 803:25-804:24, 807:2-22, 812:4-22, 813:8-814:11, 823:11-824:8, 828:7-829:6, 839:1-18,
847:3-848:6, 854:2-855:10, 857:25-858:15, 869:12-870:23, 875:10-23, 890:5-891:5, 932:14-
933:4, 933:16-934:15, 935:9-25 (Bullard).
761
      Tr. 420:20-421:15 (Pomerantz).
762
      Tr. 447:22-449:8 (Pomerantz).
763
      Tr. 409:17-410:6, 406:23-407:25 (Pomerantz).

                                                   292
the new regression model that he created on the eve of trial.764 The topics on which Professor

Bullard offered inconsistent testimony included, inter alia: (i) his prior opinions offered in other

cases concerning the conscientiousness of a fund’s independent trustees;765 (ii) the content of his

opinions concerning the conscientiousness of the Independent Trustees in this case;766 (iii) the

differences between mutual funds and institutional accounts;767 and (iv) his expertise (or lack

thereof) in the analysis of investment performance.768

                 2.       Mr. Behan’s Misleading Testimony Regarding the Powell Trust

         310.    Mr. Behan testified that the Jason Powell Trust – one of CAL’s Other ACG
Accounts – voluntarily chose to close its SMA and invest in the Growth Fund, to take advantage
of the purportedly greater services. Behan Decl. at ¶69; Tr. at 115:15–116:13. Mr. Behan’s
testimony is flatly inconsistent with CAL’s internal communications, which indicate that the
Jason Powell Trust had no choice but to close its SMA and transfer its funds into the Growth
Fund, or choose a new investment advisor, because it fell below CAL’s minimum AUM threshold
for SMAs. PX 487 at 595407. Mr. Behan’s distortion of the facts is particularly telling, given
that it dovetailed with one of CAL’s key (but legally erroneous) defense narratives: that its
advisory fee cannot be excessive, by definition, if CAL can identify just a single institutional
client that invested in the Growth Fund.

          RESPONSE: Denied as stated. CAL did not advise a “Jason Powell Trust.” Mr. Behan

testified that the James B. Powell Restated Revocable Trust closed its institutional account and

chose to invest in the Fund.769 As the letter that the Powell Trust sent to CAL stated, “Please

consider this your letter of instruction to terminate my Separately Managed Account ‘SMA’

effective immediately. Please transfer in-kind all eligible assets in my SMA into the Calamos




764
      Tr. 592:14-583:15 (Pomerantz).
765
      Tr. 807:2-22.
766
      Tr. 823:11-824:8, 839:1-18.
767
      Tr. 854:2-855:10, 857:25-858:15.
768
      Tr. 933:16-934:13, 935:9-25.
769
      Behan Decl. ¶ 69.

                                                293
Growth Fund.”770 As Dr. Pomerantz conceded, the James Powell Trust was free to take its

money and go elsewhere, including to a different investment adviser or different fund, but

instead chose to remain with CAL and to invest in the Fund.771 Finally, Plaintiffs’ counsel chose

not to assess Mr. Behan’s credibility on the issue of the James Powell Trust through cross-

examination, but instead attempted to impugn it after the fact with a letter seeking belatedly to

admit a new exhibit into evidence that Plaintiffs asserted was inconsistent with Mr. Behan’s

testimony.772 The Court should decline to find Mr. Behan incredible based on unsupported

attorney argument that Mr. Behan did not have an opportunity to address during cross-

examination.

          Moreover, the decision by CAL’s institutional or sub-advisory All Cap Growth Clients to

close their accounts with CAL does not in any way prove that the Fund’s fee was excessive.

Rather, as the trial evidence conclusively demonstrates, mutual funds on the one hand, and

institutional/sub-advisory accounts on the other hand, are different products that are sold in

different markets, and the decision-making criteria that these clients apply regarding their

accounts are often different, and more sensitive to recent performance, than mutual fund

investors.773

                 3.     Mr. Jackson’s Implausible and Evasive Testimony Regarding inter
                        alia CAL’s Pricing of Litigation Risk and its Involvement in
                        Preparing the Funds’ Regulatory Filings

       311. First, Mr. Jackson’s trial declaration – likely drafted by the same person who
authored CAL’s Interrogatory Responses – repeated the false claim that Nomura and the MD



770
      DX 1171.
771
      Tr. 510:25-511:11 (Pomerantz).
772
      Tr. 116:14-20 (Behan); Dkt. Nos. 192 & 193.
773
      DFFCL ¶¶ 163, 282, 286-287.

                                                294
Accounts did not cite performance as one of the reasons why they terminated their advisory
relationships with CAL. Compare Jackson Decl. at ¶104, with Tr. at 82:21-85:7, 91:21-92:15.

          RESPONSE: Denied. CAL admits that Mr. Jackson testified that neither Nomura nor

MD American cited performance as the reason for terminating their accounts. CAL denies that

there is anything inconsistent between Mr. Jackson’s Declaration and the testimony at trial.

Mr. Jackson’s Declaration contains his testimony based on his own personal knowledge.

Moreover, none of those clients cited performance as the sole reason for termination and each

cited other reasons for termination, as Mr. Behan testified.774

          In addition, the decision by CAL’s institutional or sub-advisory All Cap Growth Clients

to close their accounts with CAL does not in any way prove that the Fund’s fee was excessive.

Rather, as the trial evidence conclusively demonstrates, mutual funds on the one hand, and

institutional/sub-advisory accounts on the other hand, are different products that are sold in

different markets, and the decision-making criteria that these clients apply regarding their

accounts are often different, and more sensitive to recent performance, than mutual fund

investors.775

         312. Second, Mr. Jackson’s trial declaration misleadingly claimed that the “clear
majority” of his time as General Counsel was spent working on Funds-related matters, which
conveniently supported Defendant’s narrative regarding the purported time-consuming legal
and regulatory burdens attendant to advising Funds. Jackson Decl. at ¶9. In fact, however,
Mr. Jackson testified that, during the heart of the Relevant Period he spent the “clear majority”
of his time working on non-Funds related matters. See Tr. at 269:24–270:7 (testifying he spent
only 40% of his time on Fund matters); ¶10, supra.

          RESPONSE: Denied. As reported in CAL’s annual 15(c) Response, Mr. Jackson spent

a majority of his time on Fund activities in both 2017 and 2018 (approximately 60% in both




774
      Tr. 84:11-85:7, 114:23-115:10 (Behan).
775
      DFFCL ¶¶ 163, 282, 286-287.

                                                295
years).776 As such, Mr. Jackson does currently spend the majority of his time on the Funds. This

is entirely consistent with Mr. Jackson’s Declaration.777 The fact that Mr. Jackson testified at

trial that he spent less than a majority of his time on Fund activities in 2014, 2015, and 2016 does

not contradict his declaration testimony.778 Moreover, Mr. Jackson is not the sole member of the

legal department, and the amount of time he spends on Fund-related matters therefore is not a

full measure of the time and effort the legal department expends with respect to the Funds.

         313. Third, as reflected in the minutes of CAL’s 15(c) meetings, Mr. Jackson explained
to the Board that one of the primary reasons the Funds paid higher advisory fees was because
advising mutual funds purportedly involved greater litigation risk. See Section III.B.2, supra;
Tr. at 261:24–301:23. Mr. Jackson further claimed that while the value CAL assigned to this
litigation risk was “necessarily subjective,” CAL priced that cost into its fee structure. Id.; JX
144 at 636366. These assertions were false.

          RESPONSE: Denied. The minutes of the Board’s June 2016 meeting state:

                 Mr. Jackson added that the pricing of each management agreement
                 with the funds reflects the fact that the regulatory and litigation
                 environment affects the adviser of mutual funds in more significant
                 ways than they affect advisers of only private accounts. Specifically
                 he noted that the advisers concerns with the litigation risks involved
                 in running a mutual fund are reflected in the pricing of its contracts.
                 In response to a question, he noted that this number is necessarily
                 subjective, but added it is reasonable for the business to price that
                 risk in.”779

Mr. Jackson did not state that that greater litigation risk was “one of the primary reasons the

Funds paid higher advisory fees,” as Plaintiffs erroneously assert. Rather, as Mr. Jackson

testified:

                 What I’m saying is there is a real risk to running investment
                 companies that could subject you to increased and enhanced
                 exposure to regulatory and litigation risk. And I base that in part on

776
      JX 176 at CALAMOS_00650251; JX 184 at CALAMOS_00653486.
777
      Jackson Decl. ¶ 9.
778
      Tr. 262:24-270:7 (Jackson).
779
      JX 44 at CALAMOS_00636366.

                                                  296
                 the fact that in our past we’ve actually experienced litigations with
                 respect to certain of our funds. So that’s the basis. In terms of the
                 cost and expense, in terms of what that would mean, I don’t see how
                 what you spent on a prior particular set of litigation with its own
                 facts and circumstances could somehow be used to extrapolate into
                 the future on other litigations. That’s all I’m saying.780

          Each year, specifically in its 15(c) Response and generally throughout the year in the

course of each Board meeting, CAL explained to the Board, among other things, that it assumes

different and greater risks in advising the Funds than it does in advising its All Cap Growth

Clients. In addition, the Independent Trustees have 150+ years of collective experience in the

asset management industry—including senior management positions at leading investment

advisers who offer both mutual funds and institutional products.781 Based on both this directly

on-point experience and the information they receive, the trial evidence therefore demonstrates

both that (a) the Independent Trustees fully understand the differences in services and risks

entailed in advising the Fund versus CAL’s All Cap Growth Clients and (b) the Independent

Trustees have all of the information they believe they need about CAL’s All Cap Growth Clients

when they annually vote to approve the IMA.782

          Moreover, CAL denies either that it purported to or was required to “justify” the Fund’s

fee relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the

different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s


780
      Tr. 266:8-18 (Jackson).
781
      DFFCL ¶¶ 57, 207.
782
      DFFCL ¶¶ 204-207.

                                                 297
institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’

advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”783

         314. At trial, Mr. Jackson conceded that: (i) he is unaware of anyone at CAL having
calculated, estimated or otherwise reduced to a number the litigation risk that CAL purportedly
priced into the Growth Fund’s advisory fees since joining CAL; (ii) he is not aware of anyone
having performed that exercise prior to the time he joined CAL; (ii) he does not know what
portion, if any, of the fee CAL charged the Growth Fund was attributable to the increased
litigation risks, and (iv) to the extent CAL did consider litigation risk in setting the advisory fees
it charged the Growth Fund, he does not know what methodology, if any, CAL employed. Tr. at
264:20–269:4; see also id. at 135:6–136:10 (Mr. Neal’s testimony that CAL never provided the
Board with an estimate of the value/cost of litigation risk it purportedly priced into the Growth
Fund’s fee structure).

          RESPONSE: Denied. As Mr. Jackson testified at trial:

                 What I’m saying is there is a real risk to running investment
                 companies that could subject you to increased and enhanced
                 exposure to regulatory and litigation risk. And I base that in part on
                 the fact that in our past we’ve actually experienced litigations with
                 respect to certain of our funds. So that’s the basis. In terms of the
                 cost and expense, in terms of what that would mean, I don’t see how
                 what you spent on a prior particular set of litigation with its own
                 facts and circumstances could somehow be used to extrapolate into
                 the future on other litigations. That’s all I’m saying.784

Plaintiffs have not provided any evidence quantifying these litigation risks or any methodology

by which CAL must have done so. Each year, specifically in its 15(c) Response and generally

throughout the year in the course of each Board meeting, CAL explained to the Board, among

other things, that it assumes different and greater risks in advising the Funds than it does in


783
      DFFCL ¶¶ 242-244.
784
      Tr. 266:8-18 (Jackson); Jackson Decl. ¶¶ 109-113, 116-119.

                                                  298
advising its All Cap Growth Clients. In addition, the Independent Trustees have 150+ years of

collective experience in the asset management industry—including senior management positions

at leading investment advisers who offer both mutual funds and institutional products.785 Based

on both this directly on-point experience and the information they receive, the trial evidence

therefore demonstrates both that (a) the Independent Trustees fully understand the differences in

services and risks entailed in advising the Fund versus CAL’s All Cap Growth Clients and (b)

the Independent Trustees have all of the information they believe they need about CAL’s All

Cap Growth Clients when they annually vote to approve the IMA.786

         Moreover, CAL denies either that it purported to or was required to “justify” the Fund’s

fee relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the

different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s

institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’

advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”787



785
      DFFCL ¶¶ 57, 207.
786
      DFFCL ¶¶ 204-207.
787
      DFFCL ¶¶ 242-244.

                                                299
       315. Finally, Mr. Jackson misleadingly claimed that CAL prepared the Funds’
regulatory filings “in the first instance,” to once again inflate the amount of work CAL
performed for the Funds. Tr. at 315:25-317:5. Rather, as Mr. Jackson conceded under cross-
examination, nearly all of the Funds’ regulatory filings were prepared by a third-party service
provider in the first instance, and CAL simply reviewed them. Tr. at 317:22-318:16; 319:13-
320:11, 321:3-7; see also 382:1-4. Moreover, CAL’s review function was aided by Fund
Counsel, who was paid directly by the Funds for such work. Tr. at 317:6-11, 18-21; see also JX
5 at 146344 (IMA Section 3(k)).

          RESPONSE: Denied. As Mr. Jackson testified, CAL receives the Form N-SAR with

certain information populated from the Funds’ service providers, and that CAL then “has the

responsibility for ensuring that the information in there is accurate and complete.”788

Mr. Jackson also testified that with respect to certain information contained in Form N-Q or

Form N-CSR, for example, “that information is housed with respect to certain of these service

providers, it only makes sense that you would obtain that information from the service provider.

But then, once you receive the information, that’s only the first step that comes internally. . . .”789

The fact that CAL receives certain information from service providers that it uses to prepare

regulatory filings, or that it reviews and revises information prepared by service providers, is not

inconsistent with Mr. Jackson’s testimony that CAL prepares drafts of the regulatory filings and

shares them with Independent Trustees’ counsel.790

                 4.      Mr. Neal’s Evasive Testimony and Routine Exaggerations

       316. Mr. Neal’s trial testimony was frequently evasive, inconsistent with his prior
sworn statements and testimony on key matters, and marked by bouts of bloviation aimed at
exaggerating fund-related services and risks.

          RESPONSE: Denied.

      317. For example, Mr. Neal refused to directly answer whether he differentiated
between the services provided under the IMA and the FASA in deciding whether to approve
CAL’s advisory fee under the IMA, see Tr. at 132:22–133:16. Yet, in a sworn declaration he
788
      Tr. 318:3-8 (Jackson).
789
      Tr. 320:12-321:1 (Jackson).
790
      Tr. 315:25-317:5 (Jackson).

                                                 300
earlier submitted in this action, he admitted that he considered the services rendered under those
agreements “collectively” and did not “attempt to distinguish between what services are
provided under the IMA as opposed to the FASA.” Tr. at 132:22-134:19 (emphasis added).

          RESPONSE: Denied. Mr. Neal testified that “[w]e knew which services were provided

under the investment management agreement and it’s all the services.”791 As the trial evidence

demonstrates, the Independent Trustees did not consider the IMA or the FASA in isolation;

rather, as part of the 15(c) Process each year, the Independent Trustees considered the totality of

services that CAL provides to the Fund and assessed whether the approval of both agreements

was reasonable in light of the total fees charged.792 Plaintiffs presented no evidence a trial that

considering the contracts separately would have made any difference with respect to the

Independent Trustees’ approval of the IMA.

       318. Mr. Neal was also evasive about the fact that the Board instituted the fee waiver
because it was disappointed with CAL’s short-term and long-term performance. See Tr. at
154:21-155:23. The obvious reason for his evasiveness being that the Board reinstated CAL pre-
waiver fee schedule after just one year, which by definition is insufficient to address concerns
associated with long-term performance.

          RESPONSE: Denied. Mr. Neal forthrightly testified, “[p]erformance in general was

poor and we felt this was a meaningful way to motivate the adviser to put more resources in and

improve performance.”793 Mr. Neal did not attempt to “evade” counsel’s question, and counsel’s

attempt to impeach him with prior consistent deposition testimony does not change that fact.

          As Mr. Neal also testified, without any contrary evidence from Plaintiffs, “[a]t every

board meeting we would’ve been discussing performance and what the adviser’s doing to

improve performance.”794 As part of their ongoing assessment of CAL’s services to the Fund,


791
      Tr. 133:6-16 (Neal).
792
      DFFCL ¶¶ 350-351.
793
      Tr. 154:24-155:5 (Neal).
794
      DFFCL ¶ 127.

                                                 301
the Independent Trustees considered both the Fund’s long-term and short-term performance; the

Independent Trustees, with their years of industry experience and their long tenures on the

Board, understood that CAL had delivered excellent long-term performance for the Fund’s

shareholders, and they also were fully aware of the Fund’s recent periods of relative

underperformance.795 But the Independent Trustees also recognized that the Fund’s one-year

performance varied during the Relevant Period, and their annual judgment to approve the IMA—

as well as their consideration of whether to impose a fee waiver and/or to insist on continued

efforts to improve performance—was made with all of this historical, absolute and relative

performance information in mind.796

         Moreover, and contrary to Plaintiffs’ assertions, the trial record demonstrates that in June

2013, the Independent Trustees reached the judgment—informed by the information they

requested and received from CAL, and considered in light of their extensive industry

experience—to impose a five basis point fee waiver on the Fund’s management fee (at a cost to

CAL of about $2.1 million), while also insisting that CAL take meaningful steps to improve the

Fund’s performance.797 For each year since 2014, the Independent Trustees have reached the

judgment—again informed by the information they requested and received from CAL, and

considered in light of their extensive industry experience—that the proper course has been to

insist that CAL continue to take meaningful steps to improve the Fund’s performance.798 The

trial record also demonstrates, again contrary to Plaintiffs’ assertions, that in their annual

evaluation of the IMA in each year after June 2014, the Independent Trustees considered and


795
      DFFCL ¶¶ 128-129.
796
      DFFCL ¶ 129.
797
      DFFCL ¶¶ 130, 133-136.
798
      DFFCL ¶¶ 131-132, 137-142.

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balanced the option of imposing additional fee waivers against taking steps to ensure that CAL

made changes designed to improve the Fund’s performance, including that (a) that if they were

to impose a fee waiver, they would marginally increase shareholders’ net of fee returns (all else

being equal), (b) shareholders had an opportunity to achieve exponentially greater increases in

net-of-fee returns, especially compounded over time, by CAL improving the Fund’s

performance, and (c) imposing fee waivers reduces the amount of resources available to CAL to

pursue initiatives to improve the Fund’s performance, including CAL’s restructuring of its

investment team.799 These considerations led to informed and thoughtful judgments by the

Independent Trustees in their annual evaluation and approval of the IMA.800 As Professor

Bullard properly conceded, CAL’s increased expenditures with respect to the services it provides

to the Fund, through its significant changes and improvements to its investment team and

investment structure, is both a de facto fee decrease for the benefit of the Fund’s shareholders

and “could play a role in” arm’s-length bargaining by the Independent Trustees.801

         319. Mr. Neal also frequently exaggerated aspects of the work and risks CAL
undertook in advising its fund clients and displayed a remarkably cavalier attitude with respect
to the true state of CAL’s business operations. Mr. Neal claimed that 30 to 40 CAL personnel
manned its call center for fund investors, Tr. at 186:8-21, when the actual number of employees
was approximately 6, Tr. at 379:2-4, and was unaware that CAL shuttered its call center in mid-
2017, Tr. at 217:7-10, 361:13-15.

          RESPONSE: Denied. CAL admits that Mr. Neal testified that CAL had a “30-, 40-

person phone bank,” and that if the call center was shut down “it was recently.”802 Plaintiffs




799
      DFFCL ¶¶ 131-132.
800
      DFFCL ¶¶ 126-142; Timbers Dep. 20:18-21:13, 140:14-141:17.
801
      DFFCL ¶ 108.
802
      Tr. 186:11-12, 217:7-10 (Neal).

                                                303
failed to prove that the existence vel non of the call center, or the number of people staffing the

call center, had any impact on the Independent Trustees’ decision to approve the IMA.

       320. He also intimated that the threat of “make-whole” errors with respect to Growth
Fund was significant, because recently there had been a handful of such errors. Tr. at 209:24–
212:18. Under questioning, however, Mr. Neal admitted that he was unaware if the errors
involved the Growth Fund and, more critically, acknowledged that a third-party servicer
provider – and not CAL – bore financial responsibility for those errors. Tr. at 212:2–213:11. In
fact, Mr. Neal stated that he could not remember the last time the Growth Fund experienced a
make whole error. Tr. at 212:2-18.

          RESPONSE: Denied. CAL admits that Mr. Neal testified that the risk of a NAV error

is significant. CAL denies that the fact that the Fund has not experienced a NAV error recently

means that the risk that CAL faces from such errors is not real or significant. As Mr. Jackson

explained, “we try to . . . anticipate issues that could occur and we seek to address those risks

affirmatively before they ever come home to roost, but that takes a lot of time and effort on

behalf of the adviser.”803 Anticipating and planning for such risks requires constant vigilance

and monitoring on behalf of CAL.804

          Each year, specifically in its 15(c) Response and generally throughout the year in the

course of each Board meeting, CAL explained to the Board, among other things, that it assumes

different and greater risks in advising the Funds than it does in advising its All Cap Growth

Clients. In addition, the Independent Trustees have 150+ years of collective experience in the

asset management industry—including senior management positions at leading investment

advisers who offer both mutual funds and institutional products.805 Based on both this directly

on-point experience and the information they receive, the trial evidence therefore demonstrates




803
      Tr. 349:9-19 (Jackson).
804
      See DFFCL ¶ 203.
805
      DFFCL ¶¶ 57, 207.

                                                 304
both that (a) the Independent Trustees fully understand the differences in services and risks

entailed in advising the Fund versus CAL’s All Cap Growth Clients and (b) the Independent

Trustees have all of the information they believe they need about CAL’s All Cap Growth Clients

when they annually vote to approve the IMA.806

         Moreover, CAL denies either that it purported to or was required to “justify” the Fund’s

fee relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the

different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s

institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’

advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”807

                 5.     Professor Laby’s Incredible and Implausible Testimony

        321. Professor Laby offered evasive and implausible testimony regarding matters
central to his opinions, including the applicability of the business judgment rule (“BJR”) and the
robustness of the Board’s consideration of the nature/scope of the services CAL provided to its
non-fund clients compared to the Growth Fund.

         RESPONSE: Denied.

      322. First, one of the foundational elements of Professor Laby’s opinions is that the
Board’s decision to approve CAL’s advisory fees under Section 36(b) is governed by the BJR.

806
      DFFCL ¶¶ 204-207.
807
      DFFCL ¶¶ 242-244.

                                                305
See Tr. at 945:5-10, 946:2-4; Laby Report at 8. Based on this understanding, Professor Laby
concluded that the Board’s various actions in connection with the fee approval – including its
receipt and review of certain information – constituted valid exercises of business judgment. See
Laby Report at 1-2, 7-8, 31, 60-61.

          RESPONSE: Denied. Professor Laby testified that the Board’s process for reviewing

and approving the IMA was robust and that the Board’s decision to approve the IMA on a yearly

basis was a valid exercise of business judgment.808 Professor Laby did not offer the opinion, and

CAL is not relying on any opinion, that the business judgment rule applies such that the Court

has no review function with respect to the Independent Trustees’ decision-making. Rather, the

decisions of the Independent Trustees are entitled to deference under Jones.809 Moreover, unlike

Professor Bullard, Professor Laby is not offering an opinion regarding the manner in which the

Court should interpret prior Section 36(b) case law—a topic that is not the subject of proper

expert opinion.

        323. Yet, despite importuning the Court to likewise apply the BJR, Professor Laby
conceded that he: (i) does not offer an opinion on the body of law – state or federal – that
supplies the BJR in this case; and (ii) assuming that the appropriate body of law is state law,
does not offer an opinion on which state’s law would apply. Tr. at 946:6-25. Further still,
Professor Laby conceded that, in his opinion, there are multiple versions of the BJR which differ
in the amount of discretion courts afford a board’s decision, see Tr. at 949:11-19,810 and that he


808
      Laby Rpt. 1, 30-49; Tr. 946:2-5 (Laby).
809
      DFFCL ¶¶ 54-95, 121-132.
810
   After many attempts to avoid answering the question, Professor Laby conceded that,
generally speaking a court’s role ceases once it determines that the BJR applies. Tr. at 947:1-
949:14; see also Weiss v. Temporary Inv. Fund, Inc., 692 F.2d 928, 950 (3d Cir. 1982)
(“Whereas under the typical state law business judgment rule the disinterested directors’
decision exercised in good faith binds the court, under section 36(b) the court must make an
independent judgment.”). RESPONSE: Denied. CAL admits that in response to repeated
questioning from Plaintiffs’ counsel, Professor Laby testified that “generally speaking when the
business judgment rule is applicable, the judicial role typically -- typically ceases,” but that “are
certainly instances -- and I think this is one of them -- where it certainly may be the case where
the court can and often does take some look at the decision, if the business judgment rule applies,
even though they are also applying deference or substantial deference to the decision.” Tr.
948:8-949:7 (Laby). CAL denies that the cited portion of the dissent in Weiss v. Temporary Inv.
Fund, Inc., 692 F.2d 928 (3d Cir. 1982) applies in this case; aside from the fact that the cited

                                                306
does not have an opinion as to which specific strain of the BJR applies here, see Tr. at 949:20-
950:21.811

         RESPONSE: Denied. CAL admits that Professor Laby is not offering an opinion on

what version of the business judgment rule would apply here. Professor Laby did not offer the

opinion, and CAL is not relying on any opinion, that the business judgment rule applies such that

the Court has no review function with respect to the Independent Trustees’ decision-making.

Rather, the decisions of the Independent Trustees are entitled to deference under Jones.812

Moreover, unlike Professor Bullard, Professor Laby is not offering an opinion regarding the

manner in which the Court should interpret prior Section 36(b) case law—a topic that is not the

subject of proper expert opinion.

       324. Moreover, eliminating any remaining credibility he had on this issue, Professor
Laby conceded that: (i) the only post-Jones authority813 he cited in support of his opinion

portion is taken from a dissent, the Weiss decision was vacated by the Supreme Court. Weiss v.
Temp. Inv. Fund, Inc., 465 U.S. 1001 (1984).
811
   Notably, Mr. Laby first attempted to testify that he did have an opinion on which of the many
purported versions of the BJR applies in this case, prior to being confronted with his contrary
deposition testimony. Tr. at 949:20-950:21. RESPONSE: Denied. In response to a question as
to whether he has an opinion “as to which specific strain of the business judgment rule should
apply,” Professor Laby stated that he “wouldn’t necessarily agree with that.” Tr. 949:20-24
(Laby). At his deposition, Professor Laby stated that he did not “have an opinion sitting here
today” on which of the “hundreds, if not thousands, of cases formulating the business-judgment
rule” should apply, or “which of these nuanced views is the right view as a normative matter.”
Tr. 940:7-19 (Laby).
812
      DFFCL ¶¶ 54-95, 121-132.
813
    The Supreme Court’s decision in Jones does not discuss the BJR or even mention the phrase
“business judgment.” See Jones v. Harris Associates L.P., 559 U.S. 335, 338-53 (2010); see
also Weiss, 692 F.2d at 953 (“[s]ince the directors’ business judgment is to be considered
relevant to a section 36(b) claim only to the limited extent that the court must take the directors’
views into account, any state law business judgment rule is clearly supplanted.”) (Gibbons, C.J.,
dissenting), cert. granted, judgment vacated, 465 U.S. 1001 (1984) (relying on the reasoning of
Fox v. Reich & Tang, Inc., 692 F.2d 250 (2d Cir. 1982), aff’d sub nom. Daily Income Fund, Inc.
v. Fox, 464 U.S. 523 (1984)). RESPONSE: CAL admits that while Jones does not contain the
exact phrase “business judgment,” Jones counsels that “a measure of deference to a board's
judgment may be appropriate in some instances,” and that “a court may [not] supplant the
judgment of disinterested directors apprised of all relevant information, without additional
evidence that the fee exceeds the arm’s-length range.” Jones, 559 U.S. 335 at 349, 352. CAL
denies that the cited portion of the dissent in Weiss v. Temporary Inv. Fund, Inc., 692 F.2d 928

                                                307
regarding the BJR’s applicability is a citation to the Frequently Asked Questions section of ICI’s
website, see Tr. at 954:2-9, Laby Report at 7 n.16;814 and (ii) he is the co-author of a treatise
that takes the position that the BJR is not the applicable standard for assessing the
reasonableness of an adviser’s fees under ICA. Tr. at 950:22-952:22.815

         RESPONSE: Denied. CAL admits that Professor Laby is not offering the opinion that

the Court should apply the business judgment rule. Professor Laby did not offer the opinion, and

CAL is not relying on any opinion, that the business judgment rule applies such that the Court

has no review function with respect to the Independent Trustees’ decision-making. Rather, the

decisions of the Independent Trustees are entitled to deference under Jones.816 Moreover, unlike

Professor Bullard, Professor Laby is not offering an opinion regarding the manner in which the

Court should interpret prior Section 36(b) case law—a topic that is not the subject of proper

expert opinion. Professor Laby also testified that he does not necessarily agree with everything in

the treatise that he has co-authored with Professor Tamar Frankel. Professor Laby became co-

author of the treatise, which was originally published in 1983, approximately three years ago.




(3d Cir. 1982) applies in this case; aside from the fact that the cited passage is taken from a
dissent, the Weiss decision was vacated by the Supreme Court. Weiss v. Temp. Inv. Fund, Inc.,
465 U.S. 1001 (1984).
814
   ICI essentially is a trade association for mutual funds and their advisors. Tr. at 676:11-15.
RESPONSE: CAL admits that ICI is the leading association representing regulated funds
globally, including mutual funds, exchange-traded funds, closed-end funds, and unit investment
trusts in the United States, and similar funds offered to investors in jurisdictions worldwide.
815
   Although Professor Laby sought to distance himself from that portion of his treatise on the
ground that it was the product of his co-author, he has not edited that passage since joining as
co-author more than three years ago, or, more critically, in the 14 months following his
deposition in this action when this exact passage was brought to his attention. See Tr. at 951:1-
12, 952:23-953:19. RESPONSE: The cited testimony does not support the assertion in this
foonote. Rather, Professor Laby testified that he did not recall one way or the other whether he
had edited this particular passage of the four-volume treatise. Tr. 953:11-19 (Laby) (“Sitting
here right now and without my notes, I just can’t testify as to whether we changed this particular
paragraph.”).
816
      See DFFCL ¶¶ 54-95, 121-132.

                                               308
He has been engaged in the process of revising the treatise, but has not yet worked through all

four volumes and 4,330 pages of the treatise.817

        325. Second, Professor Laby also offered completely implausible testimony in defense
of his opinion that the Trustees – in particular, Lead Independent Trustee Stephen B. Timbers –
carefully considered information concerning nature and scope of the services CAL provided to
its non-fund clients. See Tr. at 965:3–968:14. Specifically, at trial Professor Laby was
confronted with Mr. Timber’s deposition testimony that he “can only guess” about the services
CAL provides to its institutional and subadvisory clients, and that he did not recall CAL ever
providing specific information regarding such services. Tr. at 965:15–966:5. Nonetheless,
Professor Laby claimed that Mr. Timbers’ testimony, in fact, meant that he was certainly aware
of the services CAL provided to its non-Fund clients:

                 Q:     Is [Mr. Timber’s] testimony consistent with the careful
                 consideration of the services that CAL provides to, for example, its
                 subadvisory clients?

                 A:      Well, two things. First of all, it depends on how you
                 interpret these words. I think it absolutely can be, because in this
                 case, as has been discussed, Mr. Timbers has a great deal of
                 experience in the financial services industry, and when he’s asked
                 the question “do you know what services CAL provides to those
                 clients” and he responds “I can only guess,” I read it mean, Yes, I
                 can tell, I know what services are being provided. I don’t read
                 that any other way in this case . . . .

Tr. at 966:6-16.
          RESPONSE: Denied. CAL admits that Paragraph 325 accurately quotes Professor

Laby’s testimony at trial, but denies that such testimony is “completely implausible.” As

Professor Laby testified, “knowing his background before becoming an independent trustee”

(i.e., that “Mr. Timbers had a great deal of experience in the financial services industry”),

Professor Laby believed that Mr. Timbers was aware of the services provided to CAL’s

institutional and sub-advisory clients.818 As Professor Laby explained, “I certainly think he is




817
      Tr. 952:23-953:19 (Laby).
818
      Tr. 966:9-17 (Laby).

                                                 309
saying I can tell, I know what services are being provided. And the reason I say that is because

of the particular context of his background, as the president and CEO of Zurich Kemper and

president and CEO of another investment advisory firm. This is not somebody who is

inexperienced.”819 In addition, Professor Laby specifically questioned Mr. Neal and

Mr. Timbers regarding their knowledge of the differences in services provided to the Funds and

to institutional and sub-advisory accounts, and was satisfied “that they truly understood the

difference between services provided to fund clients and services provided to nonfund

clients.”820

        326. Further eroding his credibility, immediately after Professor Laby testified that he
viewed Mr. Timber’s testimony as being susceptible to only one interpretation – one that is the
exact opposite of the literal meaning of the words Mr. Timbers used – Professor Laby then
conceded that the testimony was, in fact, potentially ambiguous. And although Professor Laby
claims that he sought to clarify this “potential ambiguity,” Tr. at 966:18-25, during his post-
deposition, joint telephonic interview of Messrs. Timbers and Neal, the circumstances of that
interview are highly irregular and further undermine Professor Laby’s testimony. Specifically,
unlike at his deposition, Mr. Timbers was not under oath, and the interview was conducted ex
parte and was not recorded. Tr. at 941:3-942:8, 943:3-5; see also Laby Report at 5. Making
matters worse, Professor Laby destroyed his only complete set of contemporaneous notes of what
Mr. Timbers said, because he typed over his interview notes in generating his report. Tr. at
943:20-944:5, 944:22-945:4.821

          RESPONSE: Denied. CAL admits that Professor Laby conducted a telephonic

interview with Mr. Neal and Mr. Timbers, but denies that there was anything “highly irregular”

or untoward about that interview. As Professor Laby explained, he wanted to ask about certain

topics raised by Plaintiffs’ counsel at Mr. Timbers’ and Mr. Neal’s depositions that were not


819
      Tr. 967:5-10 (Laby).
820
      Tr. 966:18-25, 967:11-16 (Laby).
821
   Further still, by interviewing Messrs. Timbers and Neal jointly, Professor Laby exacerbated
the risk that the witnesses would conform their testimony on key issues, thereby completely
undermining whatever utility Mr. Timber’s unsworn, hearsay statements to Professor Laby might
otherwise have had. RESPONSE: Denied. CAL specifically denies that Mr. Neal or
Mr. Timbers would “conform” his testimony or offer false testimony.

                                               310
fully addressed during the depositions, and to obtain answers to relevant questions that Plaintiffs’

counsel failed to ask.822 Certainly, if Professor Laby had not interviewed any Independent

Trustees, Plaintiffs would be making the opposite argument—that Laby’s opinions should be

disregarded as unreliable because he did not “verify” them with the Independent Trustees.

          In addition, despite offering baseless opinions impugning the conscientiousness of the

Independent Trustees, neither Dr. Pomerantz nor Professor Bullard sought to speak to or

interview any of the Independent Trustees.

                 6.     Mr. Richardson’s Evasive and Implausible Testimony

        327. Mr. Richardson provided evasive/implausible testimony concerning several key
issues in this case.

          RESPONSE: Denied. Mr. Richardson, an investment professional with over 30 years of

asset management industry experience, including with respect to both mutual funds and

institutional accounts, testified credibly that, inter alia, (1) there is an industry-wide fee

differential between prices charged for advising mutual funds and those charged to institutional

or sub-advisory accounts, (2) the range of services provided by advisers to mutual funds is

greater in scope, effort, and risk than services provides to institutional or sub-advisory accounts,

and (3) the fee differential between CAL’s management fee for the Fund and for its All Cap

Growth Clients, as well as the different and greater services that CAL provided to the Fund as

compared with its other clients, is consistent with industry practice.

       328. First, when questioned about joint consideration of the services CAL provided
under the IMA and FASA, Mr. Richardson denied that the “FASA provides a framework for
Calamos’s provision of additional services beyond the provision of investment management
services.” Tr. at 751:3-13. At deposition, however, Mr. Richardson said the opposite, Tr. at
751:14-20, and when confronted with his testimony conceded that “the description of the
services provided under the FASA are not all contained within” the IMA. Tr. at 752:21-25.


822
      Tr. 941:25-942:16 (Laby).

                                                  311
         RESPONSE: Denied as stated. CAL admits that Paragraph 328 accurately quotes

Mr. Richardson’s testimony. CAL denies that Mr. Richardson’s testimony, which he offered in

response to Plaintiffs’ counsel’s questions about issues of contract interpretation, suggests that

the Board should not have considered all of the services that CAL provided to the Fund when

evaluating the management fee. Mr. Richardson, an investment professional with over 30 years

of asset management industry experience, is not a lawyer and was not offered by CAL as an

expert on contract interpretation. Moreover, as both of Plaintiffs’ experts conceded, CAL is

responsible for providing all of the services necessary to operate the Fund pursuant to the IMA,

and the FASA did not reduce or change in any way the nature or extent of the services CAL

provides to the Fund.823 Under the IMA, CAL remains responsible for doing everything

necessary to “manage, supervise, and oversee the affairs of the Fund,” and it continues today to

provide, or oversee the provision of, all services identified in Management Fee Rate by Product

presentation even though the FASA is no longer effective. While the FASA was in place, as part

of the 15(c) process each year, the Independent Trustees considered the totality of services that

CAL provided to the Fund and assessed whether the approval of both the IMA and the FASA

was reasonable in light of the total fees charged.824 Plaintiffs have not shown that considering

the contracts separately would have made any difference with respect to the Independent

Trustees’ approval of the IMA, and there is no legal requirement that a fund’s board consider a

fund’s management agreement with the adviser separately from other agreements with that same

adviser.825



823
      DFFCL ¶ 167.
824
      DFFCL ¶¶ 344-351.
825
      DFFCL ¶¶ 354-361.

                                                312
        329. Second, Mr. Richardson was also evasive when he was asked to confirm that he
was of the opinion that it was reasonable for CAL to charge an advisory fee under the IMA that
took into account services for which it was already being compensated under the FASA. See Tr.
at 753:4-11. Mr. Richardson, in fact, expressed that exact opinion at deposition. Tr. at 753:12-
754:2.

          RESPONSE: Denied. Mr. Richardson testified, based upon his 30-plus years of

experience in the asset management industry, that “[a]s an asset manager, you think of the

services you provide to a mutual fund in total and the fees that you get for that in total.”826 As

noted above, Mr. Richardson, an investment professional with over 30 years of asset

management industry experience, is not a lawyer and was not offered by CAL as an expert on

contract interpretation. At his deposition, he was asked about “services that were only being

provided pursuant to the FASA,”827 which is not the case for any of the services that CAL

provides to the Fund. As both of Plaintiffs’ experts conceded, CAL is responsible for providing

all of the services necessary to operate the Fund pursuant to the IMA, and the FASA did not

reduce or change in any way the nature or extent of the services CAL provides to the Fund.828

Under the IMA, CAL remains responsible for doing everything necessary to “manage, supervise,

and oversee the affairs of the Fund,” and it continues today to provide, or oversee the provision

of, all services identified in Management Fee Rate by Product presentation even though the

FASA is no longer effective. While the FASA was in place, as part of the 15(c) process each

year, the Independent Trustees considered the totality of services that CAL provided to the Fund

and assessed whether the approval of both the IMA and the FASA was reasonable in light of the

total fees charged.829 Plaintiffs have not shown that considering the contracts separately would


826
      Tr. 753:9-11 (Richardson).
827
      Tr. 753:12-754:2 (Richardson).
828
      DFFCL ¶ 167.
829
      DFFCL ¶¶ 344-351.

                                                313
have made any difference with respect to the Independent Trustees’ approval of the IMA, and

there is no legal requirement that a fund’s board consider a fund’s management agreement.

         330. Finally, Mr. Richardson implausibly testified that even after an adviser had
recouped its start-up costs in sponsoring a fund, and the fund had reached profitability, a Board
can nonetheless continue to take those entrepreneurial risks into account in perpetuity in
determining whether a fee is reasonable. Tr. at 758:2-759:11. He further implausibly testified
that it would be reasonable for CAL’s advisory fee to account for, inter alia, the risk that
investors would switch advisers due to CAL’s poor performance. Tr. at 759:21-760:4.830

          RESPONSE: Denied as stated. CAL admits that Mr. Richardson opined that

entrepreneurial risks continue even after a fund has reached profitability, because it is

unknowable whether the fund is going to continue to be profitable in the future.831

Mr. Richardson also opined that it is reasonable for a board to consider a variety of competitive

risks, including, among other things, various reasons why investors might leave a fund.832 CAL

denies that any of this testimony is implausible. Rather, as Mr. Richardson explained in detail in

his report, and Plaintiff’s own expert Professor Bullard acknowledged, investment advisers

across the industry take on a whole host of greater risks advising mutual funds than they do with

respect to institutional and sub-advisory clients.833 In annually reaching their determination that

approval of the IMA with CAL was in the best interests of the Fund’s shareholders, the

Independent Trustees applied their own judgment and industry experience, as well as


830
    Notably, at deposition Mr. Richardson testified that he did not offer that opinion. Tr. at
760:14-25. RESPONSE: Denied. Plaintiffs misconstrue Mr. Richardson’s deposition and trial
testimony. At his deposition, Mr. Richardson did not say that he was not offering an opinion on
whether “it would be reasonable for CAL’s advisory fee to account for, inter alia, the risk that
investors would switch advisers due to CAL’s poor performance,” only that he did not have a
view on whether “the advisory fee C[AL] receives from the fund should take into account the
risk that investors will switch funds if C[AL] is not performing as well as other investment
advisors.” Richardson Dep. at 150:21-151:3.
831
      Tr. 758:24-759:4.
832
      Tr. 760:9-13.
833
      DFFCL ¶ 198.

                                                314
information provided by CAL, to conclude that CAL bears additional risks and responsibilities to

the Fund in connection with servicing the Fund.834

                 7.     Dean Hubbard’s Implausible and Agenda-Driven Testimony

       331. Dean Hubbard is a darling of the mutual fund industry’s primary trade
association, the ICI, see Tr. at 676:2-24, who unsurprisingly offered implausible, evasive, and
agenda-driven trial testimony that would literally read Section 36(b) out of existence.

          RESPONSE: Denied. Plaintiffs’ assertion in Paragraph 331 that Dean Hubbard is the

“darling of the mutual fund industry’s primary trade association” is argumentative and

unsupported by the cited evidence, as the evidence cited simply reflects that Dean Hubbard co-

authored a single paper that received partial funding from ICI Mutual Insurance Company.835

CAL further denies as unsupported by any cited evidence that Dean Hubbard’s testimony was

“implausible, evasive, and agenda-driven” or “would literally read Section 36(b) out of

existence.”

         332. Specifically, Dean Hubbard opined that a plaintiff can bring a viable § 36(b)
claim only if there was a failure of (i) the competitive process in the mutual fund industry, and
(ii) the board process. Tr. at 745:17-746:2. Critically, however, Dean Hubbard further opined
that he had not “seen a failure of the competitive process” in this case or in any of the cases he
had studied, and that “given the structural characteristics of the industry, it would be hard to
imagine” such a failure. Tr. at 746:3-9 (emphasis added). Thus, according to Dean Hubbard, a
valid excessive fee case can only be brought based on market conditions that, in his opinion, will
never materialize, thereby rendering Section 36(b) a nullity and his testimony utterly
implausible.

          RESPONSE: Denied. Plaintiffs’ assertion in Paragraph 332 that Dean Hubbard’s

economic research would “render[] Section 36(b) a nullity” is not supported by the trial

evidence. To the contrary, as Dean Hubbard explained in response to the question from the

Court, his testimony about the competitive nature of the mutual fund market applies only to the



834
      DFFCL ¶ 209.
835
      Tr. 675:24-676:24 (Hubbard).

                                               315
present-day mutual fund industry, and he has not opined on whether the economic assessment in

the Wharton Report “was right or wrong at the time.”836 The testimony that Plaintiffs describe as

“utterly implausible” amounts to only a common-sense opinion that the mutual fund industry has

experienced changes in market conditions, including increased competition.837

        333. Additionally, Dean Hubbard provided misleading testimony when he addressed
the issue of the Growth Fund’s fees and performance, noting that it was quite common for a fund
to be simultaneously in the bottom half of performers and the top half of fee charged, relative to
other funds. Tr. at 711:11-23. However, when pressed on cross-examination about the fact that
the Growth Fund was often in the bottom quarter of performance and the top quarter of fees
charged, he admitted that only 10% of funds could boast that combination. Tr. at 741:14-742:4.

          RESPONSE: Denied. Dean Hubbard’s testimony was neither “misleading” nor

inconsistent. To the contrary, Dean Hubbard testified that a fund would experience above-

median fees and below-median performance approximately 25% of the time.838 When asked by

Plaintiffs, Dean Hubbard testified that his analysis found that a fund was in the top quarter of

fees and in the bottom quarter of performance “[a]bout 10 percent of the time. And, again, when

you replicate this across all the different strategies in 6,000 funds, it sounds like a lot to me.”839

Those factual responses are entirely consistent, and show no attempt to mislead.

II.       CONCLUSIONS OF LAW WITH RESPECT TO GARTENBERG FACTORS:
          THE GROWTH FUND’S ADVISORY FEES WERE EXCESSIVE

          A.     Applicable Legal Standard

       334. Congress adopted the Investment Company Act (the “ICA”) to regulate
investment companies, including mutual funds. Typically, a mutual fund is created by an
investment adviser, which is an entity separate from the fund. See Jones, 559 U.S. at 338. “The
adviser selects the fund’s directors, manages the fund’s investments, and provides other
services.” Id. In this sense, a mutual fund is often referred to as “captive” to its adviser. Id. at
349. Recognizing that the relationship between an investment adviser and its captive mutual

836
      Tr. 724:4-725:10 (Hubbard).
837
      Tr. 724:4-725:10 (Hubbard).
838
      Tr. 711:11-23 (Hubbard).
839
      Tr. 741:24-742:4 (Hubbard).

                                                  316
fund is “fraught with potential conflicts of interest,” and concerned about the “potential for
abuse” in this structure, Congress enacted protections for mutual fund shareholders in the ICA.
Daily Income Fund, Inc. v. Fox, 464 U.S. 523, 536-38 (1984) (quotation marks and citations
omitted); see also S. Rep. No. 91-184, at 3 (1969), reprinted in 1970 U.S.C.C.A.N. 4897, 4899
(“Congress recognized that investment companies and those who entrust their savings to such
companies stand in special need of legal protection.”). Congress amended the ICA to provide
additional protections to shareholders with respect to the fees charged by investment advisers to
their captive mutual funds. Among other amendments, Congress added a new Section 36(b),
which provides:

                 [T]he investment adviser of a [mutual fund] shall be deemed to
                 have a fiduciary duty with respect to the receipt of compensation
                 for services, or of payments of a material nature, paid by [the
                 mutual fund] or by the security holders thereof, to such investment
                 adviser or any affiliated person of such investment adviser.

15 U.S.C. § 80a-35(b). Section 36(b) creates a private right of action for shareholders to enforce
the fiduciary duty on behalf of the fund. See id.

          RESPONSE: Denied as stated. CAL admits that Paragraph 334 accurately quotes

Section 36(b) of the ICA, which creates a private right of action for fund shareholders. As the

Jones Court also observed, “in recognition of the disinterested directors’ role, the Act instructs

courts to give board approval of an adviser’s compensation ‘such consideration . . . as is deemed

appropriate under all the circumstances.’”840 Thus, “[w]here disinterested directors consider all

of the relevant factors, their decision to approve a particular fee agreement is entitled to

considerable weight, even if the court might weigh the factors differently.”841 As explained by a

court that granted summary judgment in a Section 36(b) case with a similar premise to the

present case (i.e., a fund fee claimed to be excessive because it is higher than the adviser’s

institutional account fees), Plaintiffs cannot prove their Section 36(b) claim simply by

“suggest[ing] that the Board should have had different information than what the Board was




840
      Jones v. Harris Assocs. L.P., 559 U.S. 335, 336 (2010) (quoting § 80a–35(b)(1)).
841
      Id.; DFFCL ¶¶ 143-147.

                                                 317
provided.”842 And, as explained by another court in ruling on summary judgment that a board’s

fee approval decision was “entitled to substantial weight,” in words that take on even greater

meaning at trial, “[i]n general, a plaintiff should not be able to survive summary judgment

through armchair quarterbacking and captious nit-picking.”843

        335. Section 36(b) reflects Congress’s determination that “the forces of arm’s-length
bargaining do not work in the mutual fund industry in the same manner as they do in other
sectors of the American economy.” S. Rep. No. 91-184, at 4 (1969), reprinted in 1970
U.S.C.C.A.N. 4897, 4901. This conclusion was based in part on a study of the mutual fund
industry by the University of Pennsylvania’s Wharton School of Finance and Commerce. See A
STUDY OF MUTUAL FUNDS, H.R. Rep. No. 87-2274 (1962) (“Wharton Report”).844 The
Wharton Report determined that “investment advisers often charged [their captive] mutual funds
higher fees than those charged the advisers’ other clients.” Daily Income Fund, 464 U.S. at 537
(citing Wharton Report at 34). The Wharton Report concluded that the “principal reason for the
differences in rates” was that “competitive factors which tend to influence rates charged other
clients have not been substantially operative in fixing the advisory fee rates paid by [captive]
mutual funds.” Wharton Report at 493-94.

          RESPONSE: Denied as stated. CAL admits that Paragraph 355 quotes certain portions

of the 1962 report titled “A Study of Mutual Funds” by the University of Pennsylvania’s

Wharton School of Finance and Commerce (the “Wharton Report”). CAL denies that the

concerns identified in the Wharton Report are still in existence today, or that Plaintiffs have

provided any evidence to prove otherwise. As the Gartenberg decision itself explained, “Section

36(b) was added to the Act in 1970,” and “[i]ts enactment was precipitated as the result of the

abuses which Congress had perceived with respect to equity load funds during the 1960’s.”845

As Dean Hubbard confirmed, the mutual fund industry today is highly competitive, with low

barriers to entry, thousands of entrants, and large numbers of fund failures and movements of


842
      DFFCL ¶ 249.
843
      DFFCL ¶ 249; see id. ¶¶ 148-153.
844
      Also available at http://www.sechistorical.org/museum/galleries/tbi/gogo_c.php.
845
    Gartenberg v. Merrill Lynch Asset Mgmt., Inc., 528 F. Supp. 1038, 1044 (S.D.N.Y. 1981),
aff'd, 694 F.2d 923 (2d Cir. 1982).

                                                318
assets between competitors.846 In addition, the rise of alternative investment products such as

exchange-traded funds means that mutual funds must also compete with other investment

alternatives for investor money.847

        336. In Jones, the Supreme Court adopted a standard of liability under 36(b) that
focuses on the relationship between the adviser’s compensation and the services it provides.
Specifically, “[t]o face liability under § 36(b), an investment adviser must charge a fee that is so
disproportionately large that it bears no reasonable relationship to the services rendered and
could not have been the product of arm’s length bargaining.” Jones, 559 U.S. at 346 (emphasis
added). In applying this standard, courts must consider “all relevant circumstances”, including
the factors set forth in Gartenberg v. Merrill Lynch Asset Mgmt., Inc., 694 F.2d 923 (2d Cir.
1982), and “use[] the range of fees that might result from arm’s-length bargaining as the
benchmark for reviewing challenged fees.” Jones, 559 U.S. at 347. See Chill v. Calamos
Advisors LLC, 175 F. Supp. 3d 126, 130 (S.D.N.Y. 2016) (citing Jones, 559 U.S. at 344-46). The
Gartenberg factors are “(1) the nature and quality of services provided to fund shareholders; (2)
the profitability of the fund to the adviser-manager; (3) fall-out benefits; (4) economies of scale;
(5) comparative fee structures; and (6) the independence and conscientiousness of the trustees.”
Forsythe v. Sun Life Fin., Inc., 417 F. Supp. 2d 100, 114 (D. Mass. 2006) (citing Krinsk v. Fund
Asset Mgmt., Inc., 875 F.2d 404, 409 (2d Cir. 1989) (citing Gartenberg, 694 F.2d at 929–30).
These factors are non-exclusive and non-disjunctive, meaning that there is no requirement that a
plaintiff present evidence relating to all six factors to prove a violation. See Jones, 559 U.S. at
347.

          RESPONSE: Denied as stated. CAL admits that Paragraph 336 accurately sets forth the

Gartenberg factors. However, the Gartenberg factors are not the elements of a Section 36(b)

claim. In Jones, the Supreme Court ruled that “to face liability under § 36(b), an investment

adviser must charge a fee that is so disproportionately large that it bears no reasonable

relationship to the services rendered and could not have been the product of arm's length

bargaining.”848 As the Court further stated:

                 [T]he Act instructs courts to give board approval of an adviser’s
                 compensation “such consideration . . . as is deemed appropriate
                 under all the circumstances.” § 80a–35(b)(2). . . . From this
                 formulation, two inferences may be drawn. First, a measure of

846
      DFFCL ¶ 212; Tr. 705:15-706:4 (Hubbard).
847
      DFFCL ¶¶ 212-215; Tr. 724:21-725:10 (Hubbard).
848
      Jones, 559 U.S. at 346.

                                                319
                  deference to a board’s judgment may be appropriate in some
                  instances. Second, the appropriate measure of deference varies
                  depending on the circumstances.849

Thus, “where a board’s process for negotiating and reviewing investment-adviser compensation

is robust, a reviewing court should afford commensurate deference to the outcome of the

bargaining process.”850

          B.      The Quality of CAL’s Advisory Services Was Exceedingly Poor and
                  Supports the Excessiveness of the Growth Fund’s Advisory Fee

       337. At the outset, the quality of services inquiry “‘necessarily involves a
determination of what services may be permissibly considered.’” Chill v. Calamos Advisors
LLC, No. 15 Civ. 1014, 2018 WL 4778912, at *20 (S.D.N.Y. Oct. 3, 2018) (quoting Kasilag v.
Hartford Inv. Fin. Serv., LLC, No. 11 Civ. 1083, 2016 WL 1394347, at *15 (D.N.J. Apr. 7,
2016)). CAL suggests that the totality of the services that it provides with respect to the Growth
Fund is relevant irrespective of pursuant to which contract – the IMA or the FASA – those
services were provided.

          RESPONSE: Denied as stated. CAL admits that on summary judgment, the Court ruled

that “at the outset, ‘[t]his inquiry necessarily involves a determination of what services may be

permissibly considered.’”851 However, for at least the following reasons, the evidence at trial

fully reinforced each of the following conclusions: (a) nothing did or should have prevented the

Independent Trustees from considering the total services provided by CAL, and the total

compensation paid by the Fund to CAL, when assessing the Fund’s overall relationship with

CAL, and (b) there is nothing about the FASA that even suggests, let alone proves, that the

Fund’s management fee is excessive:

          First, both of Plaintiffs’ experts concede that CAL is required to provide or arrange for

the complete bundle of services required for the Fund as part of its obligations under the IMA.


849
      Id. at 348-49.
850
      Id. at 351; see DFFCL ¶¶ 143-147.
851
   Chill, 2018 WL 4778912, at *20 (quoting Kasilag v. Hartford Inv. Fin. Serv., LLC, 2016 WL
1394347, at *15 (D.N.J. Apr. 7, 2016)).

                                                  320
And as Professor Bullard further conceded, the services rendered by the adviser that are to be

considered under the Jones/Gartenberg standard include all of the services that the adviser

provides for the fund, whether those services are provided under one or several contracts.852

         Second, the nature or extent of CAL’s services to the Fund as required by the IMA were

not reduced or changed in any way by the FASA. Even without the FASA, CAL would still

have the responsibility, under the IMA’s provision that CAL is required to “manage, supervise,

and oversee the affairs” of the Funds, either to provide itself or to ensure the provision through

third-parties of all necessary services for the Funds, including the financial accounting services

recited in the FASA. Following the termination of the FASA, CAL’s obligation to provide, or

ensure the provision of, all of the services that the Funds require has not changed, and the scope

of work performed by CAL has not decreased.853

         Third, during the period of time the FASA was in existence, no one at CAL differentiated

between services provided pursuant to the IMA versus services provided pursuant to the FASA,

nor did CAL employees review or reference the IMA or the FASA in the course of performing

their day-to-day duties in servicing the Fund. Rather, at all times, CAL focused on providing all

of the services that the Fund requires and that CAL is obligated under the IMA to provide.854

         Fourth, while the FASA was in place, the Independent Trustees annually reviewed the

services CAL provided and the 1.1 basis point fee charged under that agreement. The

Independent Trustees, however, did not consider the IMA or the FASA in isolation. Rather, as

part of the 15(c) Process each year, the Independent Trustees considered the totality of services



852
      DFFCL ¶¶ 352-353.
853
      DFFCL ¶¶ 344-348.
854
      DFFCL ¶ 349.

                                                321
that CAL provides to the Fund and assessed whether the approval of both agreements was

reasonable in light of the total fees charged. Plaintiffs presented no evidence a trial that

considering the contracts separately would have made any difference with respect to the

Independent Trustees’ approval of the IMA.855

         Fifth, regardless of how the IMA and FASA and the fees charged under each agreement

are evaluated, separately or together, it was reasonable and appropriate for the Board to consider

the two contracts together. The correct legal standard requires consideration of substance over

form. There is no legal requirement that a fund’s board must consider a fund’s management

agreement with the adviser separately from the fund’s other agreements with that same adviser.

There is similarly no law or ruling holding that it is improper for a Board to consider the totality

of services provided by the adviser to the Fund and the total compensation received by the

adviser as a whole, regardless of whether those services and compensation are set out in one

contract or two.856

        338. As the Court determined on summary judgment, however, Plaintiffs are correct
that 36(b) requires that “transactions be considered separately and not aggregated.” Chill, 2018
WL 4778912, at *20.857

         RESPONSE: CAL admits that Paragraph 338 accurately quotes the Court’s summary

judgment opinion. At trial, however, Plaintiffs, through both of their experts conceded that CAL


855
      DFFCL ¶¶ 350-351.
856
      DFFCL ¶¶ 354-361.
857
   See also Zehrer v. Harbor Cap. Advisors, Inc., No. 14 Civ. 789, 2018 WL 1293230, at *10
(N.D. Ill. Mar. 13, 2018) (“[T]he legislative history of § 36(b) suggests that the key
consideration [in evaluating the nature and quality of the services provided to a fund] is what
services were secured by the fee paid.”) (emphasis added); In re Blackrock Mut. Fund Advisory
Fee Litig., 327 F. Supp. 3d 690, 726 (D.N.J. 2018) (denying summary judgment to defendants
when parties presented conflicting evidence concerning whether investment adviser provides
certain services under the IMA in exchange for the advisory fee at issue, “as opposed to under
separate agreements in exchange for separate fees”).

                                                 322
is required to provide, or ensure the provision of, all of the services required by the Fund as part

of its duties under the IMA.858 Moreover, Plaintiffs failed to come forth with any evidence that

considering the “transactions” separately would have made any difference to the Independent

Trustees’ decision to approve the IMA each year within the Relevant Period. Finally, the FASA

was terminated effective November 1, 2018. Following the termination of the FASA, however,

CAL’s obligation to provide, or ensure the provision of, all of the services that the Funds require

has not changed, and the scope of work performed by CAL has not decreased. Moreover, the

Fund’s management fee schedule under the IMA has not changed.859

         In addition, for all of the reasons set forth in CAL’s Response to Paragraph 337, supra,

the evidence at trial fully reinforced each of the following conclusions: (a) nothing did or should

have prevented the Independent Trustees from considering the total services provided by CAL,

and the total compensation paid by the Fund to CAL, when assessing the Fund’s overall

relationship with CAL, and (b) there is nothing about the FASA that even suggests, let alone

proves, that the Fund’s management fee is excessive.

        339.    As such, only the fees paid under the IMA – and not those under the FASA – are
in question.

         RESPONSE: Denied as stated. CAL admits that Plaintiffs chose to challenge the fee

paid by the Fund under the IMA, and not the fee paid under the FASA. However, for all of the

reasons set forth in CAL’s Response to Paragraph 337, supra, the evidence at trial fully

reinforced each of the following conclusions: (a) nothing did or should have prevented the

Independent Trustees from considering the total services provided by CAL, and the total

compensation paid by the Fund to CAL, when assessing the Fund’s overall relationship with


858
      DFFCL ¶ 167.
859
      DFFCL ¶¶ 347-348.

                                                323
CAL, and (b) there is nothing about the FASA that even suggests, let alone proves, that the

Fund’s management fee is excessive.

        340. Furthermore, the principal measure of the quality of advisory services under
36(b) is investment performance. See Kalish v. Franklin Advisers, Inc., 742 F. Supp. 1222, 1229
(S.D.N.Y. 1990)) (“Given investors’ primary objective of making money, the most significant
indication of the quality of an investment adviser’s services is the fund’s performance relative to
other funds of the same kind.”); see also Timbers Dep. 152:3-11 (explaining that performance is
“the primary reason that the shareholders buy the fund,” and “I don’t know Mr. Chill, but I
imagine he bought it because he wanted to make some money and have some good performance
doing it”). Indeed, “[i]n evaluating the quality of the services provided to funds, other courts
have compared the performance of challenged funds against peer funds.” Zehrer v. Harbor Cap.
Advisors, Inc., No. 14 Civ. 789, 2018 WL 1293230, at *11 (N.D. Ill. Mar. 13, 2018) (collecting
cases).

          RESPONSE: Denied as stated. CAL admits that performance is relevant to the Court’s

analysis under Section 36(b), but performance is “not a Gartenberg factor.”860 “[A]llegations of

underperformance alone are insufficient to prove that an investment adviser’s fees are

excessive.”861 This is so because “[i]nvesting is not a risk-free endeavor,” and “[e]ven the most

knowledgeable advisers do not always perform up to expectations, and investments themselves

involve quite different magnitudes of risk.”862 In short, “[w]hile underperformance of the mutual

fund may be considered, it is not a Gartenberg factor, and courts have been ‘wary about

attaching too much significance to a fund’s financial performance.’”863

          In any event, the trial evidence demonstrates that as of each annual meeting when the

Independent Trustees voted to approve the IMA, the Fund’s since-inception annualized return

was at least 12.74%, which both ranked between the 2nd and 4th percentiles of its Morningstar


860
      Sivolella, 2016 WL 4487857, at *65.
861
  Amron v. Morgan Stanley Advisors, Inc., 464 F.3d 338, 344 (2d Cir. 2006) (quoting Migdal v.
Rowe Price-Fleming Int’l, Inc., 248 F.3d 321, 327–28 (4th Cir. 2001)); see DFFCL ¶¶ 288-290.
862
      Migdal, 248 F.3d at 327.
863
  Sivolella, 2016 WL 4487857, at *68 (quoting In re Franklin Mut. Funds Fee Litig., 478 F.
Supp. 2d 677, 687 (D.N.J. 2007)).

                                                 324
category and exceeds the annual returns of all of the Fund’s benchmark indices during the same

period.864 The Fund also has earned positive absolute returns in twelve of the fifteen years

leading up through the end of 2017.865 Moreover, the Fund’s since-inception ranking compared

to peer mutual funds actually understates the Fund’s relative performance because the peer group

only includes mutual funds that survived for the entire time period; in particular, Dean

Hubbard’s analysis shows that only nine of approximately 60 original peer mutual funds at the

time of its inception have survived to the present date, and that the Fund has also experienced

substantial periods of out-performance even as compared to these nine surviving funds.866 While

on an absolute basis, the Fund has made money for its shareholders in every year but one during

the Relevant Period, the Fund has experienced periods of both strong and weak relative

performance, including top-quartile performance during the first two years of the Relevant

Period.867 However, as Dr. Pomerantz admitted in response to questioning from the Court, that

the Fund’s performance has improved over the last three years.868

          The trial evidence also demonstrates that the Independent Trustees were fully aware of all

of the pertinent facts relating to the Fund’s performance. Among other things, the Independent

Trustees received performance reports on a monthly basis, as well as CIO Updates and Focus

Fund Reports at quarterly Board meetings and an in-depth performance report as part of the

yearly 15(c) Process.869 Having received such information, the Independent Trustees annually



864
      DFFCL ¶¶ 96-98; Becker Decl. ¶ 73.
865
      DFFCL ¶ 96.
866
      DFFCL ¶ 97.
867
      DFFCL ¶ 98; Tr. 62:14-18 (Becker).
868
      DFFCL ¶ 101.
869
      DFFCL ¶¶ 27, 77, 96, 98-99.

                                                 325
reached a decision on the appropriate course of action to address such performance, including the

imposition of a fee waiver from 2013-2014 and insistence on significant investments by CAL in

the portfolio management team and investment process in order to improve performance.870

       341. Here, the evidence at trial showed that the Growth Fund performed substantially
worse, at nearly all times and for nearly all time periods considered, than almost all similar
mutual funds. See ¶¶100-05, supra; see also Pomerantz Report at ¶¶328-39; Tr. at 544:14–
547:15, 547:16-552:23; JX 19 at 513361 and 513366-67; JX 46 at 520613 and 520619-20; JX
88 at 523996 and 524002-03; JX 130 at 636404 and 636409-10; JX 175 at 652022 and 652027;
JX 186 at 653886 and 653891.

         RESPONSE: Denied. The trial evidence does not support Plaintiffs’ pejorative

mischaracterizations of the Fund’s performance. Plaintiffs failed to present any evidence

contradicting CAL’s evidence of the Fund’s outstanding since-inception performance on every

metric.871 And they failed to present any evidence contradicting the Fund’s one-year

performance between each of the June Board meetings during the Relevant Period.872 Indeed, as

the Court recognized at trial, and as Dr. Pomerantz acknowledged, “for the last three years,” the

Fund has experienced a general trend of “improving” performance relative to its peer funds

during the one-year periods between the Board’s June meetings—i.e., the very same meetings at

which the Independent Trustees reached the informed judgment to insist that CAL continue its

restructuring and portfolio management efforts to improve the Fund’s performance.873

         The trial evidence also demonstrates that the Independent Trustees were fully aware of all

of the pertinent facts relating to the Fund’s performance. Among other things, the Independent

Trustees received performance reports on a monthly basis, as well as CIO Updates and Focus



870
      DFFCL ¶¶ 126-142, 143-147.
871
      DFFCL ¶ 101.
872
      DFFCL ¶ 101.
873
      DFFCL ¶ 101.

                                                326
Fund Reports at quarterly Board meetings and an in-depth performance report as part of the

yearly 15(c) Process.874 Having received such information, the Independent Trustees annually

reached a decision on the appropriate course of action to address such performance, including the

imposition of a fee waiver from 2013-2014 and insistence on significant investments by CAL in

the portfolio management team and investment process in order to improve performance.875

        342. These facts separate the instant case from cases in which plaintiffs either could
not or did not seriously challenge the fund’s performance. See, e.g., Schuyt v. Rowe Price Prime
Reserve Fund, Inc., 663 F. Supp. 962, 976, 988 (S.D.N.Y. 1987), aff’d, 835 F.2d 45 (2d Cir.
1987) (results “were among the best in the industry” such that the fund’s performance was never
“below the top twenty percent in performance” in the industry).876

          RESPONSE: Denied. To the contrary, no court has held that a fund’s

underperformance proves that the fund’s fee is excessive under Section 36(b), while numerous

courts have considered (and rejected) that very assertion. “[A]llegations of underperformance

alone are insufficient to prove that an investment adviser’s fees are excessive.”877 This is so

because “[i]nvesting is not a risk-free endeavor,” and “[e]ven the most knowledgeable advisers

do not always perform up to expectations, and investments themselves involve quite different




874
      DFFCL ¶¶ 27, 77, 96, 98-99.
875
      DFFCL ¶¶ 126-142, 143-147.
876
   See also Gallus v. Ameriprise Fin., Inc., 497 F. Supp. 2d 974, 977 (D. Minn. 2007)
(investment returns exceeded peers); Krinsk, 875 F.2d at 409 (fund ranked third best out of 56
funds); Kalish, 742 F. Supp. at 1228, aff’d, 928 F.2d 590 (2d Cir. 1991) (“the fund had the
highest total return of them all.”); In re American Mut. Funds Fee Litig., No. 04 Civ. 5593, 2009
WL 5215755, at *20-21 (C.D. Cal. Dec. 28, 2009) (outperformed benchmark); Goodman v. J.P.
Morgan Inv. Mgmt., Inc., 301 F. Supp. 3d 759, 769 (S.D. Ohio 2018) (“the funds performed
better than, and the fees were in line with, other mutual funds of similar scope.”); Zehrer, 2018
WL 1293230, at *11 (“the Funds have performed at least as well as comparable funds.”); In re
BlackRock Mut. Funds Advisory Fee Litig., 327 F. Supp. 3d 690 (D.N.J. 2018) (performance not
challenged); Sivolella for use & benefit of EQ/Common Stock Index Portfolio v. AXA Equitable
Life Ins. Co., 742 Fed.Appx. 604, 608 (3d Cir. 2018) (“the Funds at issue performed well”).
877
      Amron, 464 F.3d at 344 (quoting Migdal, 248 F.3d at 327–28); see DFFCL ¶¶ 288-290.

                                                327
magnitudes of risk.”878 In short, “[w]hile underperformance of the mutual fund may be

considered, it is not a Gartenberg factor, and courts have been ‘wary about attaching too much

significance to a fund’s financial performance.’”879

          In addition, as set forth in CAL’s responses to Paragraphs 340-341, supra, the trial

evidence (a) demonstrates the Fund’s outstanding since-inception performance on every metric,

as well as the Fund’s progressively-improving relative one-year performance between the three

most recent June meetings during the Relevant Period; (b) does not support Plaintiffs’ pejorative

mischaracterizations of the Fund’s performance; (c) demonstrates that the Independent Trustees

were fully aware of all of the pertinent facts relating to the Fund’s performance; and (d)

demonstrates that after having received such information, the Independent Trustees annually

reached a decision on the appropriate course of action to address such performance, including the

imposition of a fee waiver from 2013-2014 and insistence on significant investments by CAL in

the portfolio management team and investment process in order to improve performance.880

      343. In fact, the trial record is replete with CAL’s witnesses’ admissions that the
Growth Fund’s performance was exceedingly subpar. See ¶108, supra.

          RESPONSE: Denied. The trial evidence does not support Plaintiffs’ assertions, for all

of the reasons set forth in CAL’s Response to Paragraph 108, supra.

          344.   Nonetheless, CAL advances two principal contentions regarding performance.

          RESPONSE: Denied. CAL does not “advance[]” any “contentions” about the Fund’s

performance. Rather, the trial evidence (a) demonstrates the Fund’s outstanding since-inception

performance on every metric, as well as the Fund’s progressively-improving relative one-year



878
      Migdal, 248 F.3d at 327.
879
      Sivolella, 2016 WL 4487857, at *68 (quoting Franklin, 478 F. Supp. 2d at 687).
880
      DFFCL ¶¶ 96-102.

                                                  328
performance between the three most recent June meetings during the Relevant Period; (b) does

not support Plaintiffs’ pejorative mischaracterizations of the Fund’s performance; (c)

demonstrates that the Independent Trustees were fully aware of all of the pertinent facts relating

to the Fund’s performance; and (d) demonstrates that after having received such information, the

Independent Trustees annually reached a decision on the appropriate course of action to address

such performance, including the imposition of a fee waiver from 2013-2014 and insistence on

significant investments by CAL in the portfolio management team and investment process in

order to improve performance.881

        345. First, it claims that the Growth Fund had supposedly superior “since []
inception” performance. Becker Decl. at ¶72. But CAL does not plausibly explain why the
Growth Fund’s performance in the 1990s, for example, is relevant to assessing the excessiveness
of CAL’s fees 25 years later, when its performance was abysmal. Indeed, Morningstar, a
leading independent third-party provider of mutual fund data and research widely used in the
investment industry, does not consider since-inception performance in its fund ranking
methodology. Tr. at 547:16-549:13.

         RESPONSE: Denied as stated. CAL admits that Morningstar does not consider since-

inception performance in its fund ranking methodology, but it does provide that information to

CAL on a monthly basis.882 CAL denies that since-inception performance is irrelevant. To the

contrary, investors look to since-inception performance as a long term measure of the adviser’s

management of the Fund. As Dean Hubbard explained:

               THE COURT: How useful is what I’ll call a since-inception analysis
               as these funds get older and older?

               THE WITNESS: I would say it has some utility, your Honor, in
               being able to say, over the longest period of time, how has this
               fund’s performance compared to other very successful long-lived
               funds? Because remember, going forward, you’re trying to ask, OK,


881
      DFFCL ¶¶ 96-102.
882
  Jackson Decl. ¶ 66; e.g., DX 1032 at CALAMOS_00129912; DX 1091 at
CALAMOS_00229622; DX 1324 at CALAMOS_00496502.

                                               329
                 what is the investment ability of this fund in the future? That long
                 period is useful in that respect.883

                 In addition, the Fund’s since-inception performance can reasonably
                 be considered by the Independent Trustees in their annual evaluation
                 of the Fund’s management fee, particularly where, as here, the
                 Trustees were relying in part on their institutional knowledge of
                 CAL’s long-term history of delivering successful performance for
                 the Fund’s shareholders in applying their business judgment that
                 approving the IMA—subject either to a fee waiver and/or to CAL’s
                 commitment to continue to invest its resources in an effort to
                 improve the Fund’s performance—was in the best interests of Fund
                 shareholders.

       346. In fact, as Plaintiffs’ expert Dr. Pomerantz demonstrated, the Growth Fund’s
strong since-inception performance is simply the ever-shrinking residue of its outperformance
many years prior to the Relevant Period. Pomerantz Rebuttal Report at ¶¶24, 388-98; Tr. at
550:25-551:8.

          RESPONSE: Denied. Dean Hubbard prepared a summary of the Fund’s rolling five-

year returns showing the Fund’s performance from 1990 through the present. This summary

showed that the Fund had an above-median return 11 times out of 22 periods, as compared to the

Fund’s “best of the best” peers that were able to survive throughout this nearly 30-year period.884

He explained that “Plaintiffs’ experts have also suggested there was simply a burst in

performance at the beginning and then it went away. That’s not what this [calculation] shows

you.”885

        347. Furthermore, Dr. Pomerantz showed that the Growth Fund’s since-inception
outperformance likely did not benefit any Fund investors other than CAL, as it was enjoyed by a
mere $300,000 in Growth Fund assets that were present at Growth Fund inception and were
provided by CAL itself as “seed capital.” Pomerantz Rebuttal Report at ¶¶388, 391, 107 n.34;
Tr. at 549:6-13.




883
      Tr. 716:20-717:3 (Hubbard).
884
      Tr. 715:5-716:19 (Hubbard).
885
      Tr. 717:4-19 (Hubbard).

                                                 330
          RESPONSE: Denied. As Dr. Pomerantz’s analysis, testimony, and demonstratives

show, shareholders who were invested in the Fund before the 10-year period prior to the start of

the Relevant Period benefitted from the increase in the value of their investment resulting from

the strong performance that CAL achieved for the Fund.886 Moreover, Plaintiffs themselves have

made real money through their investments in the Fund. Specifically, $10,000 invested in the

Fund’s Class A shares in July 2005 (when the Chills first invested in the Fund) would have

appreciated to $20,301 (including dividend reinvestments) by March 31, 2017.887

        348. Providing a more relevant analysis, Dr. Pomerantz evaluated the Growth Fund’s
since-inception performance from the perspective of the average Growth Fund shareholder by
time-weighting the Growth Fund’s returns to incorporate the amount of shareholder money
invested and when. He found that the Growth Fund in fact delivered underperformance to the
average shareholder since inception. Pomerantz Rebuttal Report at ¶¶366, 392-95.

          RESPONSE: Denied. CAL denies that Dr. Pomerantz’s “time-weight[ed]” returns for

the “average Growth Fund shareholder” is relevant, either to the Board when assessing CAL’s

overall performance record managing the Fund or to a court considering a Section 36(b) claim.

Regardless of whether the Fund’s substantial overperformance since inception inured to the

benefit of particular shareholders, as Dean Hubbard explained, since-inception performance is

still a relevant criterion for the Board to consider in their annual evaluation of the Fund’s

management fee, particularly where, as here, the Trustees were relying in part on their

institutional knowledge of CAL’s long-term history of delivering successful performance for the

Fund’s shareholders in applying their business judgment that approving the IMA—subject either




886
      PX 624.
887
      Hubbard Rpt. ¶ 143.

                                                 331
to a fee waiver and/or to CAL’s commitment to continue to invest its resources in an effort to

improve the Fund’s performance—was in the best interests of Fund shareholders.888

          Moreover, Plaintiffs and other investors who have held the Fund since Plaintiffs

purchased their shares in July 2005 have benefited substantially from the Fund’s performance.

Between July 2005 and March 31, 2017, a hypothetical investor who purchased $10,000 in Fund

shares and reinvested his or her dividends would have seen the value of his or her investment

more than double to $20,301.889 Furthermore, of the 63 similar mutual funds that Dr. Hubbard

determined would have been the Fund’s peers in July 2005, 31 of those mutual funds have

liquidated, and the Fund outperformed 20 of them prior to their liquidation.890

        349. Second, CAL claimed that it invested in and made structural changes to its
portfolio management team with the goal of improving performance. Becker Decl. at ¶¶33-66;
Behan Decl. at ¶¶23-63; Tr. 18:19–19:12, 65:8–68:8, 90:13-16, 103:5-108:9, 202:5–203:21,
609:2-23, 617:21–638:18, 647:2–664:13.

          RESPONSE: Denied as stated. Plaintiffs’ assertions and mischaracterizations regarding

CAL’s efforts to improve the Fund’s performance are entirely unsupported by the trial evidence.

To the contrary, as Messrs. Behan, Becker and Cronin all explained, without any evidence from

Plaintiffs to the contrary, CAL’s primary focus to improve the quality of the work product

generated by its investment personnel was not simply to increase the number of those personnel

or their aggregate compensation, but to hire better quality personnel, restructure compensation,

and redesign how investment professionals collaborate with each other.891 Indeed, the trial

evidence demonstrates each of the following:


888
      Tr. 716:20-717:8 (Hubbard).
889
      Hubbard Rpt. ¶ 143.
890
      Hubbard Rpt. ¶ 112, Ex. 13.
891
   DFFCL ¶¶ 106-108; Behan Decl. ¶¶ 43-46; Tr. 107:16-108:9 (Behan); Tr. 64:19-65:25,
66:21-68:7 (Becker); Tr. 656:8-658:15 (Cronin).

                                                 332
          •      CAL made numerous significant and costly changes to the investment team and

investment process, which was not limited to hiring additional personnel to service the Funds.

CAL undertook a significant transformation of its investment team—from a vertical structure

with a “one-team-one-process” approach to a horizontal structure with a “team-of-teams”

approach.892 CAL also implemented a series of changes that resulted in members of the broader

investment team contributing ideas and insights that benefitted the Fund. Among many other

changes, CAL implemented an Investment Committee, which consisted of CAL’s Co-CIOs, Co-

Heads of Research and Investments, and co-Portfolio Managers, to increase sharing of

investment information among its different teams.893

          •      CAL also made significant changes at the senior management level in an attempt

to improve the Fund’s performance, including hiring Gary Black, who was previously been the

CEO and CIO of a successful mutual fund investment adviser, Janus Capital, to replace the

Funds’ prior Co-CIO and, following Mr. Black’s departure, transitioning to a new senior

management structure by promoting four portfolio managers to serve as Co-CIOs. Most

recently, CAL replaced the Fund’s portfolio manager, Mr. Kalis, with Michael Grant, who had

obtained top-shelf performance with a different Fund that he advises.894

          •      Between 2012 and 2016, CAL increased its employee compensation from $51

million to $74 million, while CAL’s operating income decreased from $128 million to $33

million.895 CAL also redesigned its compensation structure for investment professionals to tie




892
      DFFCL ¶ 106.
893
      DFFCL ¶¶ 107-108.
894
      DFFCL ¶¶ 109-112.
895
      Cronin Rpt. Ex. 9.1 (discussed at Tr. 633:9-18, 664:7-13 (Cronin)).

                                                 333
compensation more closely to the investment performance of the specific products that

employees primarily supported.896

          •      The number of investment personnel employed by CAL is not the sole measure of

the value or the quality of the services CAL provides, and CAL has never argued that it is. As

the Court observed on summary judgment, “sometimes you can add by subtracting . . . the

personnel that were . . . deadwood, if you will.”897 In addition, Plaintiffs have come forward

with no evidence concerning the investment personnel employed by CAL, including any

evidence of the level or skill of the personnel who stayed and those who departed, or why those

who departed left CAL.

          •      CAL made all of these significant and costly changes to its investment team

during a period when both CAL’s and the Fund’s assets under management, and CAL’s overall

profitability, were in continuous decline.898 Based on industry practice, CAL’s restructuring of

its investment team approach and changes to the team’s senior management were reasonable and

appropriate measures taken to enhance the quality of its services, adapt to systemic changes in

the investment management industry, and remain competitive among other investment

advisers.899 In fact, these steps are exactly the types of steps that the SEC has recognized, and

Professor Bullard has conceded, a Board could take in response to periods of poor

performance.900

        350. As an initial matter, CAL admitted at trial that its $3 million annual expenditure
to hire additional investment personnel was not a Growth Fund-specific initiative, but was

896
      DFFCL ¶ 107.
897
      8/17/18 Tr. 71:10-13.
898
      DFFCL ¶ 114.
899
      DFFCL ¶ 117.
900
      DFFCL ¶ 118.

                                                334
intended to benefit all of CAL’s accounts. Tr. at 80:17–81:1, 645:14–646:3; Behan Decl. at ¶30;
Tr. at 628:6-24; 671:15-16. As such, only a fraction of that expenditure could reasonably be
assigned to the Growth Fund, and, more critically, in no way justifies or explains the massive fee
disparity between the Fund and CAL’s institutional clients.

         RESPONSE: Denied. Plaintiffs’ assertions and mischaracterizations regarding CAL’s

efforts to improve the Fund’s performance are entirely unsupported by the trial evidence, for all

of the reasons set forth in CAL’s Response to Paragraph 349, supra.

         Plaintiffs’ assertion that CAL was required to “justify or explain” the Fund’s fee relative

to the fees that CAL charged for different products in different markets and for which CAL

provided different and greater services and incurred different and greater risks is entirely wrong

as a matter of law. No court or regulator has ever held that an adviser must provide a cost

breakdown that quantifies all of the different services and risks entailed in managing a mutual

fund as compared to an institutional or sub-advisory account. Indeed, in all of those cases in

which the court rejected the adviser’s institutional/sub-advisory management fees as a limit on

the adviser’s mutual fund management fee, the court reached that conclusion without relying on,

or even mentioning, proof that the adviser provided a cost breakdown of its different services and

risks. Nor can Plaintiffs’ cost-justification requirement be reconciled with Congress’s clear

intent not to “require[] a ‘cost-plus’ advisory agreement nor general concepts of rate regulation,

such as those applicable to public utilities.”901

        351. In any event, the evidence shows that CAL did not, in fact, make any material
improvements to the investment management team vis-à-vis the Growth Fund. CAL claimed that
it ramped up investment personnel headcount in 2013. That hiring binge, however, followed
substantial employee departures in 2011 and 2012 which had decreased the firm’s total number
of investment personnel to well below historical numbers. Tr. at 629:21-630:25; 632:8-12.
Thus, the new hires simply restored CAL’s personnel total to past levels. Tr. at 633:5-18;
Cronin Report at Ex. 9.1. In fact, CAL’s total investment personnel headcount prior to and after



901
      DFFCL ¶¶ 242-244.

                                                    335
its transition from a vertical to horizontal investment approach stayed flat. Tr. at 629:21-
630:25; 632:8-12.

       RESPONSE: Denied. Plaintiffs’ assertions and mischaracterizations regarding CAL’s

efforts to improve the Fund’s performance are entirely unsupported by the trial evidence, for all

of the reasons set forth in CAL’s Response to Paragraph 349, supra.

        352. Critically, CAL’s restructuring had a decidedly negative impact on the Growth
Fund. Specifically, the total number of individuals specifically assigned to the Growth Fund
declined precipitously, shrinking from 24 investment professionals in July 2014 to only 13 in
May 2017. Tr. at 637:4-638:9; Cronin Report at Ex. 11. In fact, two years after CAL completed
its transition in 2015, see JX 139 at CA-IT0000)71 at 4 and 6, it fired David Kalis due to the fact
that the Growth Fund continued to perform miserably. Becker Decl. at ¶¶57, 70, 115; Tr. at
1161:20-168:12, 181:3-10, 713:7-22. This provides clear evidence that the restructuring --
including the siphoning of personnel away from the Growth Fund -- was not a measure that
benefitted the Growth Fund.902

       RESPONSE: Denied. Plaintiffs’ assertions and mischaracterizations regarding CAL’s

efforts to improve the Fund’s performance are entirely unsupported by the trial evidence, for all

of the reasons set forth in CAL’s Response to Paragraph 349, supra.

       353. Moreover, Plaintiffs presented trial evidence showing that CAL’s arms-length
Other ACG Accounts – which had the same dismissal performance as the Growth Fund – did not
view CAL’s since-inception performance as a salve, or CAL’s restructuring and promises to
improve performance as reasonable grounds for continuing their relationship with CAL.

       RESPONSE: Denied. Plaintiffs’ assertions in Paragraph 353 are not supported by any

trial evidence. To the contrary, the trial evidence showed that the decision by CAL’s

institutional or sub-advisory clients to close their accounts with CAL does not in any way prove

that the Fund’s fee was excessive. Rather, as CAL’s experts testified, institutional and sub-



902
    Rather, it appears that the restructuring was actual a front to justify CAL rewarding itself in
the form of dramatically higher salaries and compensation. See Cronin Report at Ex. 9.1.
RESPONSE: Denied. Plaintiffs’ assertion that CAL “reward[ed] itself” through its increased
employee compensation is not supported by any admissible or credible evidence or by the cited
testimony; rather, as the trial evidence makes abundantly clear, these amounts were used to
compensate CAL’s employees, i.e., the individuals providing services to the Fund for the benefit
of Plaintiffs and the Fund’s shareholders—and not to CAL itself. DFFCL ¶¶ 104, 107, 113.

                                               336
advisory accounts are different products that are sold in different markets, and the decision-

making criteria that such clients apply regarding their accounts are often different, and more

sensitive to recent performance, than mutual fund investors.903

       354. Specifically, of the 36 Other ACG Accounts that CAL managed subsequent to
2011, all 36 terminated CAL by December 2016 and moved their assets elsewhere. JX 181 at
Ex. A. Furthermore, at least 24 of those clients – including Nomura and the two MD Accounts,
which together accounted for 90% of CAL’s total Other ACG Account AUM during almost all
the Relevant Period – informed CAL that the reason they closed their accounts was poor
performance. JX 181, Ex. A; Tr. at 83:1-85:7.

          RESPONSE: Denied as stated. CAL admits that 24 of its All Cap Growth Clients cited

performance as one reason for closing their accounts. The evidence also demonstrates, however,

that clients often closed their accounts for multiple reasons.904 For example, Nomura closed its

All Cap Growth sub-advisory account after it purchased another investment adviser that offered

a competing growth strategy.905 In addition, the decision by CAL’s institutional or sub-advisory

clients to close their accounts with CAL does not in any way prove that the Fund’s fee was

excessive. Rather, as CAL’s experts testified, institutional and sub-advisory accounts are

different products that are sold in different markets, and the decision-making criteria that such

clients apply regarding their accounts are often different, and more sensitive to recent

performance, than mutual fund investors.906

         355. Notably, CAL sought but was unable to convince those clients to stay despite
citing the ACG strategy’s supposedly superior since-inception performance and CAL’s supposed
efforts to improve its investment management team. Tr. at 89:1-91:20; Behan Decl. at ¶91; JX
181, Ex. A.




903
      DFFCL ¶¶ 163, 282, 286-287.
904
      JX 181, Ex. A at 2.
905
      Tr. 114:23-115:10 (Behan).
906
      DFFCL ¶¶ 163, 282, 286-287.

                                                337
          RESPONSE: Denied as stated. As Mr. Behan testified, he “didn’t interview every one

of these clients,”907 and simply acknowledged that through the course of their relationship with

CAL, each client with an All Cap Growth account would have become familiar with CAL’s

since-inception performance and efforts to improve the quality of its investment team.908 In fact,

when Mr. Behan was specifically asked (in testimony not cited in Plaintiffs’ Paragraph 355 or

anywhere else in their submission) whether “Calamos must have had at least one meeting with

each of the clients . . . to try to prevent them from leaving,” he was unable to confirm that was

true in every case and instead answered, “We may have had a meeting or a call. Like I said,

without going through each record, it’s hard to me to testify to that.”909 Moreover, the decision

by CAL’s institutional or sub-advisory All Cap Growth Clients to close their accounts with CAL

does not in any way prove that the Fund’s fee was excessive. Rather, as the trial evidence

demonstrates, mutual funds on the one hand, and institutional/sub-advisory accounts on the other

hand, are different products that are sold in different markets, and the decision-making criteria

that these clients apply regarding their accounts are often different, and more sensitive to recent

performance, than mutual fund investors.910

        356. Growth Fund shareholders were also unhappy with performance, exiting in large
numbers. Defendant’s expert Dean Hubbard testified that the consequence of an advisor’s
charging a supra-competitive fee -- i.e., one that was not reasonably related to the advisor’s
investment performance -- would be a loss of AUM and market share. Tr. at 687:3-27, 691:24-
692:12. Here, the Growth Fund lost in excess of 90% of its AUM and a similar proportion of its
market share since its AUM peaked in March 2006, which is consistent with Plaintiffs’ position
that the fees were above a competitive level. Pomerantz Rebuttal Report at ¶418.




907
      Tr. 90:6-8 (Behan).
908
      Tr. 89:25-90:20 (Behan).
909
      Tr. 94:15-19 (Behan).
910
      DFFCL ¶¶ 163, 282, 286-287.

                                                338
          RESPONSE: Denied as stated. CAL admits that Dean Hubbard testified that as a matter

of economics, all else being equal and all other factors being held constant, the consequence of

an adviser’s charging a price that was above a competitive level would be a loss of market share

and AUM.911 CAL denies that this testimony implies that the Fund’s fee is excessive because,

among other reasons, “[a]ll else” is not “equal.” Retail mutual fund investors commonly exit

mutual funds for reasons wholly unrelated to fees or performance, such as the increased

availability of alternative investment products; in fact, during the Relevant Period, the market at

large experienced a large shift in capital from actively-managed mutual funds to passive

strategies or to new products, such as exchange traded funds.912 Moreover, numerous new

investors decided to invest in the Fund during the Relevant Period. Although the Fund

experienced meaningful net outflows of AUM between 2013 and 2018, the Fund also received

approximately $1.6 billion in gross inflows between November 2013 and October 2016.913

          Dr. Pomerantz has done nothing to account for these other determinants of AUM loss

identified by Dean Hubbard, or to isolate what portion of the Fund’s loss of AUM might have

been attributable to underperformance, and has instead simply identified that the temporal

correlation exists.914 Furthermore, CAL generated strong performance for the Fund at numerous

points throughout the period in which the Fund’s market share declined, which Dr. Pomerantz

also did not mention, let alone reconcile with his opinion.

        357. Accordingly, the trial evidence shows that the Growth Fund’s performance was
exceedingly poor. Hence, the Gartenberg “quality of the services” factor weighs heavily in
favor of the excessiveness of CAL’s fees.


911
      Tr. 687:3-24 (Hubbard).
912
      DFFCL ¶ 283.
913
      DFFCL ¶ 285.
914
      Pomerantz Rebuttal Rpt. ¶¶ 393, 418-19.

                                                339
         RESPONSE: Denied. As set forth in CAL’s responses to Paragraphs 340-341, the trial

evidence (a) demonstrates the Fund’s outstanding since-inception performance on every metric,

as well as the Fund’s progressively-improving relative one-year performance between the three

most recent June meetings during the Relevant Period; (b) does not support Plaintiffs’ pejorative

mischaracterizations of the Fund’s performance; (c) demonstrates that the Independent Trustees

were fully aware of all of the pertinent facts relating to the Fund’s performance; and (d)

demonstrates that after having received such information, the Independent Trustees annually

reached a decision on the appropriate course of action to address such performance, including the

imposition of a fee waiver from 2013-2014 and insistence on significant investments by CAL in

the portfolio management team and investment process in order to improve performance.915 In

addition, for all of the reasons set forth in CAL’s Response to Paragraph 349, supra, Plaintiffs’

assertions and mischaracterizations regarding CAL’s efforts to improve the Fund’s performance

are entirely unsupported by the trial evidence. Against this backdrop, it is particularly

appropriate for the Court to defer to the considered judgments of the Independent Trustees about

how to balance the costs and benefits of fee reductions and investments in Fund performance.

         Moreover, the trial evidence showed that the decision by CAL’s institutional or sub-

advisory clients to close their accounts with CAL does not in any way prove that the Fund’s fee

was excessive. Rather, as CAL’s experts testified, institutional and sub-advisory accounts are

different products that are sold in different markets, and the decision-making criteria that such

clients apply regarding their accounts are often different, and more sensitive to recent

performance, than mutual fund investors.916



915
      DFFCL ¶¶ 96-102.
916
      DFFCL ¶¶ 163, 282, 286-287.

                                                340
          And finally, since Plaintiffs did not submit any evidence at trial disputing that CAL

provides (either directly or indirectly) high-quality administrative, legal and compliance, and

other non-portfolio management services essential to run the Fund, the remaining evidence in the

record does nothing to demonstrate that the overall nature and quality of services CAL provided

to the Fund were poor.917

          In sum, Plaintiffs have failed to meet their burden of showing that the Fund’s

performance supports their claim that the Fund’s fee is “so disproportionately large that it bears

no reasonable relationship to the services rendered and could not have been the product of arm’s

length bargaining.”918

          C.     The Growth Fund’s Fees Were Exceedingly High in Relation to All
                 Comparators, Which Further Shows their Excessiveness

        358. On summary judgment, the Court cautioned Plaintiffs that they would be unable
to prevail at trial by demonstrating “solely that the challenged Advisory Fees are higher, even
much higher, than those charged to Calamos’ comparable institutional and sub-advisory clients;
nor can Plaintiffs prevail by demonstrating solely that the Fees are higher, even much higher,
than those charged by third parties to peer funds.” Chill, 2018 WL 4778912, at *17 (emphasis
in original). At trial, Plaintiffs established excessiveness based on both comparisons. See
¶¶138-51, supra.

          RESPONSE: Denied. Paragraph 358 accurately quotes the Court’s summary judgment

opinion, but CAL denies both that Plaintiffs have accurately stated the law and that they have

met their burden of proving the “excessiveness” of the Fund’s fee.

          Plaintiffs’ assertion that they can “establish excessiveness” simply by proving that the

Fund’s fee is higher than the fees charged to CAL’s All Cap Growth Clients is wrong as a matter

of law. In allowing Plaintiffs to proceed beyond summary judgment on this theory, the Court

instructed that Plaintiffs needed to prove at trial that the fees CAL charges to its All Cap Growth


917
      DFFCL ¶ 290.
918
      Jones, 559 U.S. at 346.

                                                  341
Clients are an apt comparator to the Fund’s management fee under Jones, or else the Court “must

reject such a comparison.”919 As the Court’s summary judgment opinion further recognizes,

Jones makes clear that a plaintiff relying on fee comparisons to institutional/sub-advisory clients

must prove each of the following: (a) “a large disparity in fees” between the Fund and the All

Cap Growth Clients; (b) that such fee disparity “cannot be explained by the different services,”

and (c) “[by] other evidence that the fee is outside the arm’s-length range.”920 Plaintiffs have

completely failed to meet this Jones requirement.

            Plaintiffs failed to prove that any All Cap Growth Client is an apt comparator to the

Fund, nor could they in light of the overwhelming trial evidence that (a) there are numerous

differences in services and risks between managing the Fund and advising any of the All Cap

Growth Clients, (b) a mutual fund and an institutional or sub-advisory account are different

products that are sold in different markets to predominantly different types of clients, and (c) the

pricing differential between the Fund and CAL’s All Cap Growth Clients is entirely consistent

with industry practice and reflects forces of market competition.921

            Plaintiffs also failed to prove a “large disparity in fees” between the Fund and CAL’s All

Cap Growth Clients, for all of the following reasons:

            •      First, Dr. Pomerantz’s calculation is based on a subset of only nine of CAL’s All

Cap Growth Clients—six institutional accounts and three sub-advisory accounts—and excludes

CAL’s remaining 27 All Cap Growth Clients during the Relevant Period. Of these excluded

clients, 21 paid effective fee rates of 75 basis points or more, a rate which Plaintiffs have



919
      Chill, 2018 WL 4778912, at *16 (emphasis added).
920
      Id.
921
      DFFCL ¶¶ 169-203.

                                                   342
acknowledged is not materially different than the fee paid by the Fund; indeed, the range of fees

paid by these accounts extends up to 82 basis points.922 The excluded accounts therefore actually

support, rather than refute, the contention that the Fund’s fee is within the range that would have

been produced by arm’s length bargaining, which may explain why Dr. Pomerantz claimed that

he had “no idea” what his calculation would have shown if he had corrected it to include all 36

accounts.923

         •     Second, although Plaintiffs’ 42-basis paint weighted average effective fee rate is

largely driven by fees CAL charged to just two sub-advisory clients, Nomura and MD American,

Plaintiffs did no analysis and provided no evidence to show that CAL’s roles and responsibilities

for those accounts were aptly comparable to the CAL’s roles and responsibilities as adviser to

the Fund; and they did no analysis and provided no evidence about the actual total management

fees paid by Nomura and MD American (i.e., total fees paid to the adviser and all sub-advisers)

as compared to the management fee paid by Fund investors.924 On the contrary, Dr. Pomerantz

equivocated about the extent to which Nomura and MD American were comparable, ultimately

declaring that because “[t]hese aren’t even ’40 Act funds” (i.e., funds governed by the ICA),

“there’s no point at all in comparing” the Fund’s management fee to the management fees that

Nomura and MD American charged their clients.925

         •     Third, the range of fees charged to CAL’s All Cap Growth Clients includes the

Fund’s fee, because certain All Cap Growth Clients, such as the James B. Powell Restated

Revocable Trust, moved their investment from a CAL institutional account following the All


922
      DFFCL ¶ 236.
923
      DFFCL ¶ 236.
924
      DFFCL ¶ 237-238.
925
      DFFCL ¶ 237.

                                                343
Cap Growth strategy (at the lower institutional account management fee) into the Fund.926 Other

prospective clients, such as the City of Seattle, could have chosen to invest with CAL in an

institutional account, but voluntarily chose to invest in the Fund and pay the Fund’s higher

advisory fee.927 The existence of sophisticated institutional clients that chose to invest in the

Fund, thus paying the Fund’s higher management fee, is further compelling evidence that the

Fund’s fee is within this “arm’s-length range.”

         •      Fourth, Dr. Pomerantz’s calculation is entirely inapplicable during the years 2017

and 2018—which are included in the Relevant Period in this case—because during those years,

CAL had no All Cap Growth Clients. Thus, as Dr. Pomerantz admitted, today there are no

comparable All Cap Growth Clients to consider in his model,928 which is therefore a complete

failure of proof as to CAL’s alleged arm’s-length fee would have been during those years.

         Finally, Plaintiffs failed to prove by “other evidence that the fee is outside the arm’s-

length range.” No regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones “do[] not require fee parity across an adviser’s different clients.”

Hence, no court has ever held that institutional or sub-advisory accounts are an apt comparison

for a mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.929 Plaintiffs also have

failed to prove by any evidence either (a) what the arm’s-length bargaining range for the Fund’s


926
      DFFCL ¶ 239.
927
      DFFCL ¶ 239.
928
      DFFCL ¶ 240.
929
      DFFCL ¶ 227.

                                                  344
management is, or (b) that the Fund’s fee “could not have been the product of arm’s-length

bargaining.” As such, under Jones, simply establishing that CAL charged different fees to

different clients for different products cannot support a finding that the Fund’s management fee

is excessive under Section 36(b). Plaintiffs’ assertion that they “established excessiveness”

based on comparisons of the Fund’s management fee to the fees charged by peer mutual funds is

also refuted by the trial evidence. As set forth in CAL’s responses to Paragraphs 139-145, supra,

the trial evidence demonstrates that the analyses conducted by Lipper, Morningstar, Strategic

Insight, Dean Hubbard, and even Dr. Pomerantz, all show that the Fund’s management fee was

within the range of fees that similar mutual funds pay to their advisers according to every

measure.930 Thus, as the Court appropriately observed on summary judgment, “Plaintiffs

concede that the Fund’s Advisory Fee is within the range of fees charged to peer mutual funds by

other investment advisors.”931

                 1.      The Comparison to Peer Mutual Funds

       359. Plaintiffs’ peer mutual fund comparison showed that the fees that CAL charges
the Growth Fund are not just a bit higher or above average, but at the very highest end of the
range of advisory fees paid by mutual funds similar in character and size. Pomerantz Report at
¶¶298-304; Tr. at 560:22–565:1; JX 130 at 636413; JX 88 at 524006; JX 46 at 520623.

          RESPONSE: Denied. CAL denies that the Growth Fund’s fee was “at the very highest

end of the range of advisory fees” paid by peer funds. As set forth in CAL’s responses to

Paragraphs 139-145, supra, the trial evidence demonstrates that the analyses conducted by

Lipper, Morningstar, Strategic Insight, Dean Hubbard, and even Dr. Pomerantz all show that the

Fund’s management fee was within the range of fees that similar mutual funds pay to their




930
      DFFCL ¶¶ 254-62.
931
      Chill, 2018 WL 4778912, at *16.

                                               345
advisers according to every measure.932 Thus, as the Court appropriately observed on summary

judgment, “Plaintiffs concede that the Fund’s Advisory Fee is within the range of fees charged to

peer mutual funds by other investment advisors.”933

          Plaintiffs’ statement in Paragraph 359 is based on a comparison of the Fund’s fee to the

Fund’s peer group, which is the smallest set of comparators provided by Morningstar, for only

three of six years during the Relevant Period. Plaintiffs misleadingly omit the peer group data

provided by Strategic Insight, which shows that during more recent years (2017 and 2018), the

Fund’s fee has ranked at the 80th and 69th percentile, respectively, even among this limited peer

group.934 Furthermore, the data provided by Lipper and Morningstar comparing the Fund’s fee

to a broader set of comparable mutual funds routinely showed that the Fund’s fee ranked only

between the 70th and 83rd percentile of similar mutual funds during the Relevant Period, and

Dr. Hubbard’s more refined comparison to similar mutual funds shows that the Fund ranked

between the 62nd percentile and the 76th percentile.935

        360. At trial, CAL noted that several peer funds had higher fees. As the Court
determined on summary judgement, however, nowhere in Jones does the Supreme Court state
that an investment adviser’s fees are not excessive unless they are the absolute highest fee
charged by any investment adviser. See Chill, 2018 WL 4778912, at *17. To the contrary, both
Jones and Gartenberg make clear that “the test is essentially whether the fee schedule represents
a charge within the range of what would have been negotiated at arm’s-length in the light of all
of the surrounding circumstances.” Jones, 559 U.S. at 344 (emphasis added) (quoting
Gartenberg, 694 F.2d at 928). Indeed, the Supreme Court in Jones explained that “courts
should not rely too heavily on comparisons with fees charged to mutual funds by other advisers.
These comparisons are problematic because these fees, like those challenged, may not be the
product of negotiations conducted at arm’s length.” Jones, 559 U.S. at 350-51. The Second
Circuit in Gartenberg similarly expressed skepticism at such comparisons, noting that “if rates



932
      DFFCL ¶¶ 254-262.
933
      Chill, 2018 WL 4778912, at *16.
934
      DFFCL ¶ 259; JX 175 at CALAMOS_00652022; JX 186 at CALAMOS_00653886.
935
      DFFCL ¶¶ 260-62.

                                                 346
charged by the many other advisers were an affirmative competitive criterion, there would be
little purpose in § 36(b).” Gartenberg, 694 F.2d at 929.

          RESPONSE: Denied as stated. CAL admits that Paragraph 360 accurately quotes

certain isolated sections of the Jones and Gartenberg opinions. CAL denies that Plaintiffs have

come forth with any admissible and credible evidence showing that the Fund’s fee is beyond the

range of what would have been negotiated at arm’s-length.

       361. Furthermore, approximately half of the handful of funds that charge higher fees
than the Growth Fund are advised by ACIM. Tr. at 563:13–565:1; JX 130 at 636413; JX 46 at
520623. Because ACIM charges a “unified” fee, i.e., incorporating transfer agency, accounting,
custodial and other services for which the Growth Fund is separately charged, those fees do not
provide an apt comparison. Tr. at 563:18–564:7. Subtracting the ACIM funds, the Growth Fund
paid the highest advisory fees among its peers in 2016 and the second-highest in 2015 and 2014.
JX 130 at 636413 JX 46 at 520623. Removal of the ACIM funds from Dr. Pomerantz’s Peer
Comparison analysis places the Growth Fund in the 95th percentile among peer funds with
respect to advisory fees. Tr. at 564:1–565:1.

          RESPONSE: Denied. CAL admits that the documents cited in Paragraph 361 include

an American Century fund in the Fund’s peer group. However, Plaintiffs failed to prove that

Morningstar’s inclusion of mutual funds advised by American Century in the Fund’s peer group

had a material impact on the Fund’s relative management fee compared to its peer group or on

the Independent Trustees’ approval of the IMA. Indeed, as Strategic Insight’s analysis

demonstrates, when CAL was compared to a different peer group according to selection criteria

that omitted mutual funds advised by American Century, the Fund’s fee was even more

comfortably within the range of its peers (i.e., the Fund’s percentile ranking decreased).936 As

the Court observed on summary judgment, “Plaintiffs concede that the Fund’s Advisory Fee is

within the range of fees charged to peer mutual funds by other investment advisors.”937




936
      DFFCL ¶ 259; JX 175 at CALAMOS_00652022; JX 186 at CALAMOS_00653886.
937
      Chill, 2018 WL 4778912, at *16.

                                               347
          Moreover, Plaintiffs did not present any admissible or credible evidence at trial

concerning the characteristics of those American Century funds. Dr. Pomerantz’s claim that the

American Century funds pay a “unified fee” is found nowhere in either his initial expert report or

his rebuttal report, and his unsupported testimony concerning his understanding of the “unified

fee” paid by such funds is not competent to establish the fees paid by such funds. Moreover,

Plaintiffs’ assertion in Paragraph 361 that American Century funds are not an “apt comparison”

is belied by the fact that Dr. Pomerantz included American Century funds in the “Large Growth

funds” set forth in Exhibit 1 to his rebuttal report. Moreover, Morningstar, which Plaintiffs

describe as an “Independent Data Provider,” clearly decided that those mutual funds provided

comparative insight by including them in the Fund’s peer group.

         362. Accordingly, the trial evidence shows that, compared to peer mutual funds, the
fees of the Growth Fund were extremely high, at all relevant times at nor near the top of the
range. Hence, this aspect of the comparative fee structures Gartenberg factor weighs in favor of
a finding of fee excessiveness.

          RESPONSE: Denied. As set forth in CAL’s responses to Paragraphs 139-145, supra,

the trial evidence demonstrates that the analyses conducted by Lipper, Morningstar, Strategic

Insight, Dean Hubbard, and even Dr. Pomerantz all show that the Fund’s management fee was

within the range of fees that similar mutual funds pay to their advisers according to every

measure.938 Thus, as the Court appropriately observed on summary judgment, “Plaintiffs

concede that the Fund’s Advisory Fee is within the range of fees charged to peer mutual funds by

other investment advisors.”939

                 2.      The Comparison to Other ACG Accounts

       363. Plaintiffs’ Other ACG Account comparison showed that the fees that CAL charges
the Growth Fund are approximately double those charged to the Other ACG Accounts. See

938
      DFFCL ¶¶ 254-62.
939
      Chill, 2018 WL 4778912, at *16.

                                                  348
¶¶146-51, supra. For example, at asset levels of $2.7 billion (the Growth Fund’s AUM as of
May 2017) the fee schedules for the Other ACG Accounts produced effective fee rates of only
approximately 33 to 51 basis points. Pomerantz Report at ¶¶169-76; Tr. at 555:6-556:16. The
Growth Fund’s effective fee rate at that time was 85 basis points. Pomerantz Report at ¶¶170.

         RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the following fundamental reasons:

         First, under the IMA, CAL is required to provide greater and more extensive services to

the Fund than to its institutional and sub-advisory All Cap Growth Clients. Indeed, as

Dr. Pomerantz agreed, CAL is “morally responsible” under the IMA for “everything that needs

to be done” for the Fund and “providing literally all of the necessary services to operate the

trust.”940 None of CAL’s investment management agreements for its 36 All Cap Growth Clients

even suggests that CAL bears anything close to the “moral responsibility” for “providing literally

all of the necessary services” for any of its All Cap Growth Clients, nor did Plaintiffs offer any

evidence to the contrary.941 Consistent with its limited contractual responsibilities under its

agreements with those clients, CAL did not provide anywhere near the full panoply of services it

was required to and in fact did provide in managing the Fund; and, at trial, Plaintiffs provided no

evidence to show that CAL’s limited roles and responsibilities for any of CAL’s All Cap Growth

Clients were in any way different than as uniformly described by CAL’s witnesses.942


940
      DFFCL ¶¶ 166-167.
941
      DFFCL ¶ 168.
942
      DFFCL ¶¶ 169-172.

                                                 349
         Second, on the other hand, consistent with both its “moral responsibility” under the IMA

and industry practice, the trial evidence demonstrates unequivocally that CAL provides different,

greater and more extensive services to the Fund than to its All Cap Growth Clients in each of the

following areas: (a) legal, regulatory and compliance;943 (b) fund governance services;944 (c)

fund administration services;945 (d) portfolio management services;946 and (e) client/shareholder

services.947 And, this is true regardless of whether CAL provides the service itself, or whether

the service is provided by a third party at all times subject to CAL’s monitoring, supervision and

oversight, and with CAL remaining ultimately responsible to the Fund for all of the work

provided by these third party service providers.948

         Third, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Funds than to its All Cap Growth Clients, and assumes different and

greater risks in advising the Funds than it does in advising its All Cap Growth Clients. As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the

Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an

apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”949




943
      DFFCL ¶¶ 174-180.
944
      DFFCL ¶¶ 181-183.
945
      DFFCL ¶¶ 184-188.
946
      DFFCL ¶¶ 189-192.
947
      DFFCL ¶¶ 193-197.
948
      DFFCL ¶ 187.
949
      DFFCL ¶¶ 204-207.

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         Fourth, Plaintiffs failed to prove that the fees paid by CAL’s All Cap Growth Clients set

the arm’s-length bargaining range for the Fund’s fee, or even that any All Cap Growth Client is

an apt comparator to the Fund, nor could they in light of the overwhelming trial evidence that (a)

there are numerous differences in services and risks between managing the Fund and advising

any of the All Cap Growth Clients, (b) a mutual fund and an institutional or sub-advisory

account are different products that are sold in different markets to predominantly different types

of clients, and (c) the pricing differential between the Fund and CAL’s All Cap Growth Clients is

entirely consistent with industry practice and reflects forces of market competition.950

         Fifth, no regulator or Court has ever concluded that institutional or sub-advisory fees

serve as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones “do[] not require fee parity across an adviser’s different clients.”

Hence, no court has ever held that institutional or sub-advisory accounts are an apt comparison

for a mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s

management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.951

         Sixth, Plaintiffs also failed to prove that the Fund’s management fee is “approximately

double those charged to the Other ACG Accounts” for each of the following reasons:

         •      Plaintiffs’ assertion, which comes solely from Dr. Pomerantz, does not in any way

account for the differences in services, risks, markets, or products between CAL’s mutual fund

clients and its institutional and sub-advisory All Cap Growth Clients.952



950
      DFFCL ¶¶ 169-203.
951
      DFFCL ¶ 227.
952
      DFFCL ¶ 235.

                                                  351
         •     Plaintiffs’ assertion is based on a subset of only nine of CAL’s All Cap Growth

Clients—six institutional accounts and three sub-advisory accounts—and excludes CAL’s

remaining 27 All Cap Growth Clients during the Relevant Period. Of these excluded clients, 21

paid effective fee rates of 75 basis points or more, a rate which Plaintiffs have acknowledged is

not materially different than the fee paid by the Fund; indeed, the range of fees paid by these

accounts extends up to 82 basis points.953 The excluded accounts therefore actually support,

rather than refute, the contention that the Fund’s fee is within the range that would have been

produced by arm’s length bargaining, which may explain why Dr. Pomerantz claimed that he had

“no idea” what his calculation would have shown if he had corrected it to include all 36

accounts.954

         •     Although Plaintiffs’ 42-basis paint weighted average effective fee rate is largely

driven by fees CAL charged to just two sub-advisory clients, Nomura and MD American,

Plaintiffs did no analysis and provided no evidence to show that CAL’s roles and responsibilities

for those accounts were aptly comparable to the CAL’s roles and responsibilities as adviser to

the Fund; and they did no analysis and provided no evidence about the actual total management

fees paid by Nomura and MD American (i.e., total fees paid to the adviser and all sub-advisers)

as compared to the management fee paid by Fund investors.955 On the contrary, Dr. Pomerantz

equivocated about the extent to which Nomura and MD American were comparable, ultimately

declaring that because “[t]hese aren’t even ’40 Act funds” (i.e., funds governed by the ICA),




953
      DFFCL ¶ 236.
954
      DFFCL ¶ 236.
955
      DFFCL ¶¶ 237-238.

                                                352
“there’s no point at all in comparing” the Fund’s management fee to the management fees that

Nomura and MD American charged their clients.956

         •     The range of fees charged to CAL’s All Cap Growth Clients includes the Fund’s

fee, because certain All Cap Growth Clients, such as the James B. Powell Restated Revocable

Trust, moved their investment from a CAL institutional account following the All Cap Growth

strategy (at the lower institutional account management fee) into the Fund.957 Other prospective

clients, such as the City of Seattle, could have chosen to invest with CAL in an institutional

account, but voluntarily chose to invest in the Fund and pay the Fund’s higher advisory fee.958

The existence of sophisticated institutional clients that chose to invest in the Fund, thus paying

the Fund’s higher management fee, is further compelling evidence that the Fund’s fee is within

this “arm’s-length range.”

         •     Dr. Pomerantz’s calculation is entirely inapplicable during the years 2017 and

2018—which are included in the Relevant Period in this case—because during those years, CAL

had no All Cap Growth Clients. Thus, as Dr. Pomerantz admitted, today there are no comparable

All Cap Growth Clients to consider in his model,959 which is therefore a complete failure of

proof as to CAL’s alleged arm’s-length fee would have been during those years.

        364. Plaintiffs also presented evidence of the AUM-weighted average aggregate
effective rate paid CAL’s Other ACG Accounts – specifically, 42 basis points, which is
approximately half the effective fee rate of the Growth Fund. Pomerantz Report at ¶¶163-67;
Tr. at 572:6-573:13, 575:23-577:11.




956
      DFFCL ¶ 237.
957
      DFFCL ¶ 239.
958
      DFFCL ¶ 239.
959
      DFFCL ¶ 240.

                                                353
       RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

       Separately and independently, Dr. Pomerantz’s 42 basis point calculation is rife with

errors and entitled to no weight for all of the reasons set forth in CAL’s responses to Paragraphs

146 and 363, supra.

      365. CAL points to Other ACG Accounts that had effective fee rates far above the
AUM-weighted average. Tr. at 27:14–28:12, 506:24–509:3. As Dr. Pomerantz explained,
however, this is simply a function of the relatively small sizes of those clients’ accounts. See
¶¶81 and 150, supra; Tr. at 557:14-559:17; see also JX 181 at Ex. A.

       RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

       In addition, Dr. Pomerantz presented no evidence, other than his own speculation, that

the 21 All Cap Growth Clients that paid effective fees of 75 basis points or more and that

Dr. Pomerantz excluded from his calculation “are very small relationships that have probably not




                                                 354
negotiated much, if at all, off of the SMA fee schedule.”960 Moreover, Plaintiffs’ assertion

acknowledges that 27 of CAL’s All Cap Growth Clients paid a fee of 75 basis points—a fee that

Dr. Pomerantz concedes is not materially different from the Fund’s management fee during any

of the years in the Relevant Period.961

          In contrast, the 42 basis point weighted average effective fee rate is largely driven by fees

CAL charged to just two sub-advisory clients, Nomura and MD American, but Dr. Pomerantz

did not do any investigation of the comparability of Nomura or MD American to the Fund.962

         366. CAL suggests that any comparison to the Other ACG Accounts is per se inapt. As
the Court determined on summary judgment, however, the Supreme Court in Jones “explicitly
rejected a categorical rule prohibiting comparisons to institutional-client fees and instead
instructed courts to give those comparisons ‘the weight that they merit in light of the similarities
and differences between the services that the clients in question require.’” Chill, 2018 WL
4778912, at *16 (quoting Jones, 559 U.S. at 349-50). Indeed, Jones specifically identifies
comparisons to “fees that might result from arm’s-length bargaining” – i.e., non-captive
institutional client fees – as “the benchmark for reviewing challenged fees.” Jones, 559 U.S. at
347.

          RESPONSE: Denied. Paragraph 366 selectively quotes isolated portions of the Court’s

summary judgment ruling and the Jones decision. However, Plaintiffs’ effort to rewrite Jones by

asserting that “non-captive institutional client fees” necessarily serve as “the benchmark for

reviewing challenged fees” is flatly wrong. Jones held no such thing. This argument incorrectly

stiches together selected words from different sections of the Jones opinion to concoct a “fee

parity” standard that Jones directly rejects. There is no place in Jones where the Court even

suggests that fees paid by non-mutual fund clients is “the” “benchmark for reviewing challenged

fees.” Indeed, Plaintiffs’ selective excerpting from Jones omits a critical passage—Jones refers




960
      Tr. 557:18-20 (Pomerantz).
961
      DFFCL ¶ 236.
962
      DFFCL ¶ 237.

                                                  355
to “the range of fees that might result from arm’s-length bargaining as the benchmark for

reviewing challenged fees,” not a litmus test based on a different client’s fee agreement.963 Nor

can Plaintiffs’ formulation be reconciled with Jones’ explicit recognition that Section 36(b) does

not “necessarily ensure fee parity between mutual funds and institutional clients.”964 To the

contrary, Jones flatly rejects “any categorical rule regarding the comparisons of fees charged by

different types of clients.”965 And further, as the Court recognized on summary judgment, Jones

makes clear that Plaintiffs needed to prove at trial that the fees CAL charges to its All Cap

Growth Clients are an apt comparator to the Fund’s management fee under Jones, or else the

Court “must reject such a comparison.”966

          Moreover, Plaintiffs’ assertions that the Fund’s management fee is excessive (a) because

it is higher than fees charged to All Cap Growth Clients under different fee schedules, (b) by

virtue of CAL’s supposedly limited services/risks with respect to the Fund as compared to its All

Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the Fund’s fee in light of

the supposed cost of these different services/risks, all fail to support a cognizable Section 36(b)

claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 363, supra.

        367. The core advisory services that investment advisors provide – namely, portfolio
management services (investment research, selection and management) – were, here, provided in
substantively identical fashion to the Growth Fund and the Other ACG Accounts. See ¶¶88-96.
Consequently, to the extent any service differences exist, they relate to services other than core
portfolio management services.

          RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee


963
      Jones, 559 U.S. at 347 (emphasis added).
964
      Id. at 350.
965
      Id. at 349.
966
      Chill, 2018 WL 4778912, at *16 (emphasis added).

                                                 356
schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

          Although there are certain overlapping portfolio management services that CAL provides

to the Fund and its All Cap Growth Clients, the portfolio management services that CAL

provides to the Fund are different and greater in scope than those that CAL provides to any of its

All Cap Growth Clients.967 These differences include, but are not limited to, CAL’s obligations

as adviser that arise from the numerous rules and regulations governing the manner in which

investments may be made and which securities may be selected for investment by the Fund—

rules and regulations that do not apply to CAL’s All Cap Growth Clients—as well as

measurements that CAL must put into place due to the Fund’s daily liquidity requirements.968 In

fact, the trial evidence demonstrates that for two of CAL’s largest All Cap Growth Clients, the

MD Accounts, CAL was only one of several sub-advisers responsible for managing only part of

the underlying fund, thereby further limiting the scope even of CAL’s portfolio management

duties.969 Moreover, Plaintiffs’ exclusive focus on portfolio management services to the

exclusion of many other kinds of different, greater, and more extensive services that CAL

provides to the Fund than to its All Cap Growth Clients is entirely inconsistent with the trial




967
      DFFCL ¶ 189.
968
      Id. ¶¶ 191-92.
969
   PX 345 at CALAMOS_00118411; JX 8 at CALAMOS_00638091; Tr. 501:18-21, 504:11-
505:14 (Pomerantz).

                                                 357
record, which demonstrates that mutual funds and non-fund accounts are substantially different

products and therefore are not apt comparators.970

         368. Nonetheless, CAL argues that the Other ACG Account comparison is inapt
because CAL supposedly provides a greater level of services and undertakes a greater set of
risks with respect to the Fund. On summary judgment, however, the Court indicated that
Plaintiffs had successfully raised a triable issue as to whether such differences in services or
risks “exist and are material, as opposed to de minimis.” Chill, 2018 WL 4778912, at *16. And
at trial, Plaintiff conclusively demonstrated that such differences were immaterial, or resulted in
de minimis additional costs/work, such that fee differential was so disproportionately large that
it did not bear a reasonable relationship to the services rendered.

         RESPONSE: Denied. CAL admits that Paragraph 368 accurately quotes from the

Court’s summary judgment opinion. However, Plaintiffs’ assertions that the Fund’s

management fee is excessive (a) because it is higher than fees charged to All Cap Growth Clients

under different fee schedules, (b) by virtue of CAL’s supposedly limited services/risks with

respect to the Fund as compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s

failure to “justify” the Fund’s fee in light of the supposed cost of these different services/risks,

all fail to support a cognizable Section 36(b) claim for each of the fundamental reasons set forth

in CAL’s Response to Paragraph 363, supra.

        369. Dr. Pomerantz’s uncontroverted testimony and analysis show that the purported
greater services and risks entailed no more than 3.6 to 6.1 basis points of cost, an amount that
was immaterial and does not begin to explain the massive, 40-plus basis point fee disparity.
Specifically, Plaintiffs’ expert Dr. Pomerantz showed that even if one allocated 100% of the
expenses conceivably related to the claimed services and risks to the mutual fund side of CAL’s
business and none to the institutional side, those costs would total only 3.6 basis points in 2014,
4.6 basis points in 2015, and 6.1 basis points in 2016. Tr. at 565:255-568:2; Pomerantz Report
at ¶¶221-85; see also JX 181 at Ex. B. Notably, CAL did not present any evidence at trial
controverting Plaintiffs’ 3.6-to-6.1 basis point cost-differential calculation. Nor did CAL, at any
time during the Relevant Period, attempt to quantify or estimate the cost of the purported greater
services or risks. See ¶¶160-62, supra. Rather, CAL has claimed variously that that the cost
differential of the supposedly greater services and risks was impossible, or at least difficult, to
quantify. JX 111 at 534339; JX 181 at ¶8; Tr. at 244:24-245:15, 250:3-251:10.



970
      DFFCL ¶¶ 159-251.

                                                 358
         RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra. Furthermore, Dr. Pomerantz’s 6.1 basis point purported cost

differential is by no means “uncontroverted,” as Plaintiffs assert, but instead was so thoroughly

undermined at trial that Dr. Pomerantz was forced to admit that the supposed costs he calculated

“don’t really correspond to anything.”971

        370. Moreover, the other evidence adduced at trial shows that the services in question
are delivered at insignificant expense or under separate contracts for independent consideration
or are not in fact “greater” but are comparable to or, in some instances, less than, services that
CAL furnishes its Other ACG Accounts. See ¶¶187-216, supra. Furthermore, the purportedly
greater risks are largely illusory or insured against at minor cost to CAL. See ¶¶217-37, supra.

         RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

        371. Many of the services are handled by the Growth Fund’s independently paid third-
party service providers. See ¶¶167-76, supra. For example:



971
      DFFCL ¶¶ 376-377, 379.

                                                 359
                       a. USBFS, as the Funds’ Transfer Agent, handles automatic reinvestment
                          programs, provides tax reporting services, processes mutual fund share
                          transactions and dividends, prepares and mails transaction
                          confirmations and account statements, operates a call-in system to
                          handle shareholder inquiries, provides shareholder account web
                          access, and furnishes anti-money laundering, identity-theft and
                          suspicious trading compliance services, JSSF at ¶72; JX 182 at 2-3, 5-
                          6, 17-19 and 25; Tr. at 359:4–363:13, 383:11-20;

                       b. State Street, as the Funds’ Accountant, calculates the Funds’ NAV and
                          prices/values the securities in the Funds’ portfolios, Tr. at 365:22–
                          366:3; JSSF at ¶79; JX 4 at 2; PX 169-A at 646100; and

                       c. State Street, as the Funds’ Sub-Administrator, prepares most of the
                          Funds’ regulatory filings, JX 183 at 645542 (Sub-Administration
                          Agreement, §§ 5(a) and 5(c)) and PX 488 at 645534-35 (Sub-
                          Administration Agreement side-letter at §§ 2(a) and 2(c)); Tr. at
                          317:22–321:23, 380:11-17, 384:6–385:1, 918:18–921:5.

       RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

       Moreover, as the trial evidence demonstrates: (a) CAL remains responsible to the Fund

for the activities conducted through service providers; (b) CAL is responsible to the Fund for

identifying, monitoring, and working to mitigate risks arising from these service provider

relationships, which includes reviewing and negotiating agreements with service providers,

engaging with service providers on a daily, real-time basis, conducting on-site due diligence of

the provider, and making reports and recommendations to the Board concerning providers; and




                                                 360
(c) CAL also remains directly responsible to the Funds in the event that a service provider does

not correctly perform one of its duties or provides below-quality service.972

       372. Moreover, to the extent CAL itself performs any of the purportedly greater
services, they are virtually all handled by CAL’s Fund Administration department, Tr. 372:1-
385:10; see also 355:12-367:23, which has a mere six employees and a total annual budget of
only $2.8 million, Tr. at 356:25-357:17; JX 183; PX 488; PX 489, the allocable cost of which to
the Growth Fund is only 1.6 basis points, Tr. at 565:2-567:5; Pomerantz Report at ¶¶221.b, 227,
239, 282.

          RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

          CAL admits that the Fund Administration department’s budget is approximately $2.8

million, but denies that that figure provides a measure of the cost of the fund administration

services that CAL provides. Indeed, Plaintiffs’ assertion that the costs of providing fund

administration services to the Fund can be readily measured or that 1.6 basis points accurately

captures those costs is refuted by the trial evidence, for at least four reasons. First, the Fund

Administration Department’s work is critical to the day-to-day operations of the Fund, and the

Fund could not operate without those services.973 Second, the Fund Administration

Department’s budget does not cover all of the actual costs of fund administration, because

multiple other departments at CAL—including the Marketing, Portfolio Management, Tax,


972
      DFFCL ¶¶ 187, 200; Tr. 389:4-390:4 (Holloway); Holloway Decl. ¶¶ 9, 55.
973
      Holloway Decl. ¶ 54.

                                                 361
Legal and Compliance, and Distribution departments—provide fund administration services or

work regularly with the Fund Administration Department to service the Funds.974 Third, aside

from the costs of providing fund administration services, CAL bears risks associated with the

provision of fund administration services that are not readily measured.975 Fourth,

Dr. Pomerantz admitted that the costs forming the basis for his 6.1 basis points calculation to

purportedly account for any greater services provided to the mutual funds versus CAL’s non-

fund clients, including the 1.6 basis points he assigns to fund administration services, “don’t

really correspond to anything” and the sums of those costs likewise “don’t really correspond to

anything.”976

        373. Plaintiffs also presented evidence that CAL lavishes attention on its Other ACG
Accounts that is at least comparable to, if not more than, the attention afforded to the Growth
Fund. See ¶¶187-200, supra. This included dedicated client service representatives who were
in frequent touch with such clients and extensive and customized and in-depth communication
and reporting, Tr. at 34:1-14, 35:7-10, 37:10-38:5; 39:6-40:16, 42:9-45:14, 49:2-15, 52:11-
53:12; 55:22-56:24 ; PX 387 at 641425; PX 344 at 430863; a dedicated portion of the website,
Tr. 40:9-41:14; Bhatt Dep. at 214; videoconferences, Tr. 41:15-25; PX 387 at 641425;
responses to due-diligence requests including live meetings for which CAL personnel travel the
world, Tr. at 32:14-23; PX 387; PX 358; and compliance with unique investment guidelines, Tr.
at 34:1-10, 35:11-13, 47:13-16, 49:11-13, 51:8-52:2.

          RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a




974
      Holloway Decl. ¶ 55.
975
      Holloway Decl. ¶ 56.
976
      DFFCL ¶ 379.

                                                 362
cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

          Plaintiffs’ factual assertions in Paragraph 373 are a reprise of their earlier assertions in

Paragraphs 187-200; CAL therefore incorporates its responses to Paragraphs 187-200 as if fully

set forth herein. As explained in those responses, among other things, Plaintiffs’ assertions that

CAL “lavishes” greater client services on its All Cap Growth Clients than Fund shareholders

ignore the relationships that CAL maintains with the “multiple thousands” of intermediaries and

financial advisers “across the country” who work on behalf of mutual fund shareholders.977

         374. CAL’s Head of Distribution Robert Behan testified that CAL had six to seven
times the number of full-time personnel servicing its Funds as compared to institutional clients.
Tr. 94:25-97:2. This ratio, however, was completely in line with the proportion of Funds’ AUM
to institutional/subadvisory AUM at CAL. See ¶8, supra. Accordingly, per dollar of AUM,
client service costs were substantially similar.

          RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

          Plaintiffs’ factual assertions in Paragraph 374 are a reprise of their earlier assertions in

Paragraph 187; CAL therefore incorporates its Response to Paragraphs 187 as if fully set forth

herein.

       375. At trial, CAL claimed that because mutual fund shareholders are entitled to buy
and redeem shares daily, the “turnover” and cash flows associated with managing the portfolio

977
      Tr. 72:23-73:23 (Becker).

                                                   363
of a mutual fund results in advisory responsibilities that supposedly do not apply to institutional
accounts. See e.g. JX 184 at 653674. As purported examples, CAL cited “[m]ore frequent
management of cash and portfolio positioning to ensure execution of overall long-term fund
investment strategy” and “[o]ngoing trading activity by adviser personnel required to manage
more frequent cash flows.” Id.

       RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

       Moreover, the trial evidence directly refutes Plaintiffs’ assertions concerning the

substance and import of the “Discussion of Management Fee Rates by Product” presentation

within CAL’s 15(c) Response for each of the following reasons:

       First, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Fund than to its All Cap Growth Clients, and assumes different and greater

risks in advising the Funds than it does in advising its All Cap Growth Clients. CAL’s 15(c)

Responses included a “Discussion of Management Fee Rates by Product” presentation that both

informed the Independent Trustees of the fees that CAL charged to the Funds and to its

institutional and sub-advisory clients and provided a brief summary overview of the services that

CAL provided to the Fund that were not required for institutional or sub-advisory accounts.

       Second, as the evidence also conclusively demonstrates, the Discussion of Management

Fee Rates by Product presentation was not the sole information that the Independent Trustees

received about such services, nor was it intended to be an exhaustive recitation of all of the many

                                                 364
differences in services and risks. To the contrary, the Independent Trustees also regularly

receive extensive information at every Board meeting concerning the services CAL provides to

the Fund that are not required for All Cap Growth Clients, such as fund administration, oversight

of third party service providers, and reports from the Funds’ CCO. In addition, the Independent

Trustees have 150+ years of collective experience in the asset management industry—including

senior management positions at leading investment advisers who offer both mutual funds and

institutional products.978

          Third, based on both this directly on-point experience and the information they receive,

the trial evidence therefore demonstrates both that (a) the Independent Trustees have all of the

information they believe they need about CAL’s All Cap Growth Clients when they annually

vote to approve the IMA, and (b) the Independent Trustees fully understand the differences in

services and risks entailed in advising the Fund versus CAL’s All Cap Growth Clients.979 As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the

Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an

apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”980

          Fourth, CAL denies either that it purported to or was required to “justify” the Fund’s fee

relative to the fees that CAL charged for different products in different markets and for which

CAL provided different and greater services and incurred different and greater risks. No court or

regulator has ever held that an adviser must provide a cost breakdown that quantifies all of the



978
      DFFCL ¶¶ 57, 207.
979
      DFFCL ¶¶ 204-207.
980
      Tr. 177:17-20 (Neal).

                                                  365
different services and risks entailed in managing a mutual fund as compared to an institutional or

sub-advisory account. Indeed, in all of those cases in which the court rejected the adviser’s

institutional/sub-advisory management fees as a limit on the adviser’s mutual fund management

fee, the court reached that conclusion without relying on, or even mentioning, proof that the

adviser provided a cost breakdown of its different services and risks. Nor can Plaintiffs’ cost-

justification requirement be reconciled with Congress’s clear intent not to “require[] a ‘cost-plus’

advisory agreement nor general concepts of rate regulation, such as those applicable to public

utilities.”981

         Additionally, Plaintiffs’ factual assertions in Paragraph 375 are a reprise of their earlier

assertions in Paragraph 201; CAL therefore incorporates its Response to Paragraph 201 as if

fully set forth herein.

        376. However, Mr. Kalis, the former head of CAL’s ACG strategy, who served as lead
portfolio manager for the Growth Fund and for the Other ACG Accounts, testified that, daily
inflows and outflows in the Growth Fund were so insignificant that they did not require any
special attention from the portfolio management team, and did not impose additional work on
them. Kalis Dep. at 70:3-72:4.

         RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.




981
      DFFCL ¶¶ 242-244.

                                                  366
        Moreover, the trial evidence directly refutes Plaintiffs’ assertions concerning the

substance and import of “Discussion of Management Fee Rates by Product” presentation within

its 15(c) Response for each of the reasons set forth in CAL’s Response to Paragraph 375, supra.

        Additionally, Plaintiffs’ factual assertions in Paragraph 376 are a reprise of their earlier

assertions in Paragraph 202; CAL therefore incorporates its Response to Paragraph 202 as if

fully set forth herein.

       377. Meanwhile, the opposite was true for the Other ACG Accounts, where account
deposits and withdrawals, although less frequent, typically involved substantial percentages of
the money invested. Kalis Dep. at 74:12-76:25. In fact, turnover was sharper in the Other ACG
Accounts than in the Growth Fund: by December 2016, all CAL’s Other ACG Accounts had
withdrawn 100% of their funds from CAL’s management. JX 181 at Ex. A.

        RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

        Moreover, the trial evidence directly refutes Plaintiffs’ assertions concerning the

substance and import of “Discussion of Management Fee Rates by Product” presentation within

its 15(c) Response for each of the reasons set forth in CAL’s Response to Paragraph 375, supra.

        Additionally, Plaintiffs’ factual assertions in Paragraph 377 are a reprise of their earlier

assertions in Paragraph 203; CAL therefore incorporates its Response to Paragraph 203 as if

fully set forth herein.

       378. Moreover, CAL’s Subadvisory Accounts – such as Nomura and the MD Accounts
– were themselves mutual funds with underlying shareholders who were entitled to buy and
redeem shares daily. Tr. at 47:17-23, 58:17-60:10. 503:19-20, 506:1-9; PX 303 at 622241-42;

                                                 367
JX 8; JX 15; JX 18. Accordingly, to the extent advising the Growth Fund entailed special or
additional portfolio management attention due to “turnover” or fund flows, comparable
attention was required for those Subadvisory Accounts. Pomerantz Rebuttal Report at ¶121.

        RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

        Moreover, the trial evidence directly refutes Plaintiffs’ assertions concerning the

substance and import of “Discussion of Management Fee Rates by Product” presentation within

its 15(c) Response for each of the reasons set forth in CAL’s Response to Paragraph 375, supra.

        Additionally, Plaintiffs’ factual assertions in Paragraph 378 are a reprise of their earlier

assertions in Paragraphs 204-205; CAL therefore incorporates its Response to Paragraphs 204-

205 as if fully set forth herein.

       379. Plaintiffs also presented evidence that Other ACG Accounts received comparable
compliance and information technology services as the Fund. Mickey Dep. at 110:11-115:3,
116:7-124:18; Pomerantz Report at ¶¶260-61. For example, CAL was obligated to provide
Other ACG Account clients with frequent and extensive performance reporting. JX 8 at 638092;
JX 15 at 622194; JX 13 at 638180; PX 360; Tr. at 42:5-43:4, 47:24-48:17, 49:11-15, 52:7-
53:12.

        RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a


                                                 368
cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

        Moreover, the trial evidence directly refutes Plaintiffs’ assertions concerning the

substance and import of “Discussion of Management Fee Rates by Product” presentation within

its 15(c) Response for each of the reasons set forth in CAL’s Response to Paragraph 375, supra.

        Additionally, Plaintiffs’ factual assertions in Paragraph 379 are a reprise of their earlier

assertions in Paragraphs 209-210; CAL therefore incorporates its Response to Paragraphs 209-

210 as if fully set forth herein.

       380. CAL’s institutional IMAs also obligated CAL to implement and test compliance
procedures and policies regarding all areas of its operations including, inter alia, trading
operations, investment management, infrastructure and internal controls. PX 309 at 372401-08;
PX 317 at 464617; PX 338 at 422225-26; Mickey Dep. at 150:23-154:6, 47:6-94:23.

        RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

        Moreover, the trial evidence directly refutes Plaintiffs’ assertions concerning the

substance and import of “Discussion of Management Fee Rates by Product” presentation within

its 15(c) Response for each of the reasons set forth in CAL’s Response to Paragraph 375, supra.

        Additionally, Plaintiffs’ factual assertions in Paragraph 380 are a reprise of their earlier

assertions in Paragraph 211; CAL therefore incorporates its Response to Paragraph 211 as if

fully set forth herein.


                                                 369
       381. Additionally, Plaintiffs presented evidence that the supposedly additional risks
were insured against at insignificant cost to CAL, or were born by third-parties, not CAL. See
¶¶217-37, supra; see also Tr. at 274:5-12, 278:23-283:2; PX 184-A at 653775, PX 176-A at
650594, PX 145-A at 534861, PX 113-A at 503184, PX 61-A at 519662, PX 32-A at 514326; PX
86-A at 523535-48. Moreover, the evidence shows that the risks CAL claims were not insurable
are mere phantoms that have not previously materialized and have not resulted in any costs that
CAL has even bothered to quantify or estimate. See ¶¶217-37, supra.

        RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

        Moreover, the trial evidence directly refutes Plaintiffs’ assertions concerning the

substance and import of “Discussion of Management Fee Rates by Product” presentation within

its 15(c) Response for each of the reasons set forth in CAL’s Response to Paragraph 375, supra.

        Additionally, Plaintiffs’ factual assertions in Paragraph 381 are a reprise of their earlier

assertions in Paragraphs 217-237; CAL therefore incorporates its Response to Paragraphs 217-

237 as if fully set forth herein.

       382. For example, the testimony established that “make whole errors”– one of the
main supposed risks that CAL cited to the Trustees – were extremely rare and when they
occurred were small and the responsibility of State Street, resulting in no out-of-pocket losses to
CAL. Tr. at 211:23-212:1, 213:4-9, 295:12-18, 292:23-294:2, 295:19 - 296:15, 297:6-298:6,
301:16-18, 766:23-767:2; Bhatt Dep. at 10:10-11, 183:14-184:1; JX 183 at 654546-47; JX 4 at
4-5; JX 182 at 8-10.

        RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as


                                                 370
compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

        Moreover, the trial evidence directly refutes Plaintiffs’ assertions concerning the

substance and import of “Discussion of Management Fee Rates by Product” presentation within

its 15(c) Response for each of the reasons set forth in CAL’s Response to Paragraph 375, supra.

        Additionally, Plaintiffs’ factual assertions in Paragraph 383 are a reprise of their earlier

assertions in Paragraphs 232-234; CAL therefore incorporates its Response to Paragraphs 232-

234 as if fully set forth herein.

        383. As for entrepreneurial risks, CAL’s expert Mr. Richardson conceded that such
risks no longer existed with respect to the Growth Fund because CAL more than recouped its
start-up costs during the Growth Fund’s 25 years in operation. Tr. at 757:24-758:19.

        RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

        Moreover, the trial evidence directly refutes Plaintiffs’ assertions concerning the

substance and import of “Discussion of Management Fee Rates by Product” presentation within

its 15(c) Response for each of the reasons set forth in CAL’s Response to Paragraph 375, supra.




                                                 371
          Additionally, Plaintiffs’ factual assertions in Paragraph 383 are a reprise of their earlier

assertions in Paragraphs 235-236; CAL therefore incorporates its Response to Paragraph 235-

236 as if fully set forth herein.

         384. Finally, Plaintiffs presented additional evidence at trial that CAL allocated
indirect expenses between its mutual fund and institutional account “product lines” based on
average AUM. Tr. at 229:7-230:21; JX 145 at 634760-4761; JX 113 at 502938-2939; JX 61 at
519582-9583. Plaintiffs’ expert Dr. Pomerantz testified that CAL’s use of average AUM as the
allocation methodology between product lines indicates that, per dollar of AUM (which is how
fees are charged), the indirect costs of advising mutual funds are equivalent to those of
institutional accounts. Tr. at 568:4-569:18. As Dr. Pomerantz testified, this implicitly admits
that CAL’s mutual funds do not cost more on a per dollar of AUM basis to advise than its
institutional clients, but, rather, cost the same as those clients. Id. Indeed, CAL had no incentive
to under-allocate expenses to its mutual fund product line. Although CAL might spend more
total dollars servicing its mutual funds, that is simply because of the proportionally larger
amount of AUM on the mutual fund side of the business. Id.

          RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive (a) because it is higher than fees charged to All Cap Growth Clients under different fee

schedules, (b) by virtue of CAL’s supposedly limited services/risks with respect to the Fund as

compared to its All Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the

Fund’s fee in light of the supposed cost of these different services/risks, all fail to support a

cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s Response

to Paragraph 363, supra.

          The trial evidence demonstrates that in the Mutual Fund Profitability presentation, CAL

utilized an “average AUM” methodology to allocate indirect (but not direct) costs. CAL denies

that this allocation methodology “refutes the claim that mutual funds costs more to advise [sic].”

As Professor Lacey explained, “the choice of an allocation methodology is not intended to

provide information about the extent, nature, or quality of services.”982 The purpose of the



982
      Lacey Rpt. ¶ 47.

                                                   372
Mutual Fund Profitability presentation is to present the profitability of the mutual funds advised

by CAL. CAL used a reasonable allocation methodology that is consistent with the principles

underlying GAAP, is consistent with managerial accounting principles, is decision-useful to the

Independent Trustees, and is accepted in the mutual fund industry.983

          Plaintiffs did not present any evidence to support their assertion that the use of a cost

allocation methodology for purposes of calculating an adviser’s profitability from managing a

mutual fund proves anything about the adviser’s “per dollar basis” costs of providing services to

a non-mutual fund client. To the contrary, as Professor Lacey explained, both in his expert

report and at trial, “[t]he purpose here is an allocation to determine the profitability of the

funds.”984 Furthermore, even if Plaintiffs’ unwarranted and unsupported assertion were credited,

it would necessarily mean that CAL’s method of calculating profitability under-allocated costs to

the mutual funds, thus increasing their profit margins, which is entirely inconsistent with

Plaintiffs’ contention that CAL understated its profitability with respect to the Fund.

          Finally, to the extent that Plaintiffs’ accounting, profitability or cost allocation assertions

rely on the testimony of Dr. Pomerantz, those assertions are not supported by any admissible or

credible evidence because Dr. Pomerantz is not in any way qualified to offer any expert opinion

concerning accounting, profitability or cost allocation methodologies.985

        385. Accordingly, this is not a case in which “the services rendered are [so]
sufficiently different that a comparison is not probative”. Jones, 559 U.S. at 350. Rather,
Plaintiffs established by a preponderance of evidence at trial that the “large disparity in fees…
cannot be explained by the different services”, Jones, 559 U.S. at 350 n.8, because the services
and risks are comparable and involve, at most, insignificant additional expense to CAL. As



983
      DFFCL ¶¶ 301, 304-307.
984
      Tr. 1025:11-12 (Lacey).
985
      DFFCL ¶¶ 417-420.

                                                    373
such, the Other ACG Account fee comparison too weighs in favor of a finding of fee
excessiveness.

         RESPONSE: Denied, for all of the reasons set forth in CAL’s Responses to Paragraph

358-384, supra.

         D.     Profitability

        386. Plaintiffs presented evidence at trial that CAL materially understated the
profitability of the Growth Fund by allocating effectively all advisory costs on the sole basis of
AUM. Bullard Report at ¶¶61-62; Pomerantz Report at ¶¶437 et seq. By applying this
methodology, CAL’s 15(c) Profitability Presentations over-allocated costs to CAL’s largest
funds, including the Growth Fund, and presented them as less profitable then they in fact were,
while under-allocating costs to the smaller funds which were therefore depicted as more
profitable than they were. Pomerantz Report at ¶433; Pomerantz Rebuttal Report ¶¶259, 274;
Tr. at 1003:23–1005:25; Pomerantz Rebuttal Report at ¶¶259, 274.

         RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of (a) CAL’s profitability from managing the Fund, and/or (b) CAL’s method

for calculating such profitability in its 15(c) Response, all fail to support a cognizable Section

36(b) claim for each of the following fundamental reasons:

         First, on summary judgment, the Court ruled that (a) as a result of the “Mutual Fund

Profitability Presentation,” for each year within the Relevant Period “the Independent Trustees

were fully informed about Calamos’ profitability methodology, thoroughly discussed the impact

that methodology would have on the profitability figures Calamos reported vis-à-vis alternative

methodologies, and formally approved of Calamos’ use of that methodology,” and (b) Plaintiffs’

contention that the Mutual Fund Profitability presentations understated the Fund’s profitability is

“wholly lacking in merit as it rests almost entirely on Plaintiffs’ disapproval of Calamos’ use of

an ‘average AUM’ cost-allocation method to analyze profitability—a method Plaintiffs’

recognize is commonly accepted within the industry.”986



986
      DFFCL ¶¶ 291-92.

                                                 374
         Second, as the trial evidence conclusively demonstrates: (a) an adviser’s “choice of cost

allocation methodology does not affect” whether the advisory fee is excessive, as Professor

Bullard concedes; (b) CAL’s calculation of its profitability with respect to the Fund, like any

other profitability calculation, necessarily involves the exercise of discretionary accounting

judgments that may affect the overall result; (c) because there are a range of reasonable and

acceptable judgments and methodologies that can be used, and which will produce a range of

different but equally reasonable results, there is no one “true” profitability figure; (d) as

Professor Lacey testified, without any meaningful contradiction from either of Plaintiffs’ experts,

CAL’s Profitability Presentation employs a systematic and rational approach to provide

reasonable, decision-useful information to the Independent Trustees; (e) as the only two qualified

accountants at the trial (Mr. Helmetag and Professor Lacey) testified, CAL’s manner of

calculating Fund-level advisory profitability is consistent both with managerial accounting

principles and the principles underlying GAAP; and (f) Plaintiffs did not offer any evidence that

CAL’s AUM-based cost allocation approach is not consistent with managerial accounting

principles or the principles underlying GAAP; indeed, neither of Plaintiffs’ experts offer any

accounting-grounded opinions (nor could they, given their complete lack of accounting

qualifications).987 In sum, as Dr. Pomerantz freely admitted, CAL is “well within [its]

accounting rights as accountants to do what they’ve done” with respect to the cost allocation

methodology it used.988

         Third, Plaintiffs provided no admissible and credible evidence that allocation of indirect

advisory costs on the basis of AUM is in any way inconsistent with the allocation of fixed costs,



987
      DFFCL ¶¶ 295-307.
988
      DFFCL ¶ 306.

                                                 375
or that cost behavior must dictate (or prohibit) any particular cost allocation methodology. To

the contrary, as Professor Lacey explained, without any contradiction from Plaintiffs, where, as

here, no cause and effect relationship can be identified, allocation by average AUM is a

reasonable cost allocation methodology because it is a reasonable proxy for the benefits the Fund

receives.989 As Professor Lacey further testified:

                 I think what is confused here is the difference between cost behavior
                 and cost allocation. So, we also have to allocate fixed costs even
                 though the cost doesn’t change. When we’re computing the
                 profitability of an apartment or the profit from a particular product -
                 - our ruler, for example -- we have to allocate those fixed costs to
                 the individual products in the individual departments to compute the
                 profitability. So, allocation versus cost behavior.990

          Fourth, Plaintiffs’ assertion that CAL’s accounting methodology is “per se unreasonable”

is entirely unsupported by the law or the trial evidence. Putting aside that Professor Bullard is

unqualified even to address the subject, his claim has no support in law, regulations, or

accounting principles. Neither Gartenberg nor any other Section 36(b) case ever held, nor has

the ICA or the SEC ever established a rule requiring, anything other than a reasonable and

rational accounting calculation. Certainly nothing in Gartenberg even hints at the idea that

allocation of indirect costs on the basis of AUM is “per se unreasonable.” Plaintiffs’ “per se

unreasonable” assertion is also directly at odds with the only alternative profitability calculation

that Plaintiffs offer, from Dr. Pomerantz, who allocated costs in his model exclusively on the

basis of AUM and no additional variables. Professor Bullard claimed that he did not review




989
      Tr. 997:17-23, 999:17-22 (Lacey).
990
      Tr. 1022:15-23 (Lacey).

                                                  376
Dr. Pomerantz’s testimony prior to offering his cost allocation opinion at trial, and Plaintiffs

made no effort to reconcile the conflicting opinions of their experts.991

         Fifth, as Plaintiffs have conceded, the profitability figures CAL reported using an average

AUM methodology are not materially different from the figures CAL reported using the time-

spent methodology with which Plaintiffs take no issue.992

         Sixth, Plaintiffs’ proposed findings and conclusions confirm that their only alternative

profitability model is nothing more than an effort to calculate the purported unshared economies

of scale that the Court already has “taken care of” in its summary judgment ruling.993

         Seventh, the trial evidence also demonstrates that Dr. Pomerantz’s cost allocation model

incorporates a flawed and unsupported assumption that the logarithm of CAL’s advisory costs is

linearly related to the logarithm of AUM. Dr. Pomerantz’s reliance on this assumption is

unreasonable and inconsistent with established principles of economics. Professor Lacey

confirmed that Dr. Pomerantz’s linear log-log relationship also has no basis in accounting

principles, explaining “I can’t imagine any circumstances in which we would apply that method

as accountants under any circumstance.”994

         Eighth, Dr. Pomerantz did not offer the opinion that CAL should have used his purported

cost allocation methodology—nor could he identify a single mutual fund adviser that has used

his cost allocation methodology. In fact, no mutual fund adviser could use Dr. Pomerantz’s cost




991
      DFFCL ¶ 307.
992
      DFFCL ¶ 303.
993
      DFFCL ¶ 318; Chill, 2018 WL 4778912, at *17-19.
994
      DFFCL ¶¶ 320-327.

                                                 377
allocation methodology in the ordinary course of the adviser’s business due to its inherent “time-

machine dilemma,” to which he could offer no “solution.”995

         Ninth, regardless of his flawed calculation or the conflict between Plaintiffs’ experts,

Dr. Pomerantz did not offer any expert opinion on (i) the maximum level of profitability CAL

should have been permitted to realize under Section 36(b), (ii) the highest profit margin for the

Fund that the Independent Trustees could have conscientiously approved, or (iii) whether the

Independent Trustees would have approved the Fund’s fee if CAL had followed his “linear log-

log” profitability approach.996

         Tenth, to the extent that any of Plaintiffs’ assertions concerning accounting, profitability

or cost allocation methodologies rely on the testimony of Dr. Pomerantz or Professor Bullard,

those assertions are not supported by any admissible or credible evidence because neither

Dr. Pomerantz nor Professor Bullard is in any way qualified to offer any expert opinion

concerning accounting, profitability or cost allocation methodologies.997

         Eleventh, Plaintiffs’ profitability assertions fail under settled Section 36(b) jurisprudence:

         •      “Section 36(b) does not prohibit an investment adviser from making a profit, nor

does it regulate the level of profit.”998 As Judge Pollack explained in rejecting the second

Section 36(b) lawsuit brought in Gartenberg, “determin[ing] whether the fees are so excessive




995
      DFFCL ¶ 317.
996
      DFFCL ¶ 327.
997
      DFFCL ¶¶ 417-420, 447-449.
998
      DFFCL ¶ 335.

                                                  378
that they could not reflect the results of arm’s-length bargaining . . . is not resolved by indulging

carping criticism of the degree of precision involved in measuring [the adviser’s] costs.”999

         •      Section 36(b) courts also have long recognized “the impossibility of arriving at an

exact profitability figure,” that cost allocation “is an art rather than a science,” and that

“different, albeit rational, methodologies lead to widely disparate results.”1000 Neither

Gartenberg nor any other Section 36(b) case ever held, nor has the ICA or the SEC ever

established a rule requiring, anything other than a reasonable and rational accounting

calculation.1001 Indeed, no court in a Section 36(b) case has ever held that “profitability” means

anything other than profitability calculated by accountants in accordance with accounting

principles—which is precisely what CAL did here, and what Plaintiffs have not done.1002

         •      Section 36(b) courts considering allocation methodologies analogous to that used

by CAL have uniformly found them to be acceptable in rejecting the plaintiffs’ claim at trial.1003

         •      And finally, CAL’s pre-distribution profitability with respect to the Fund (ranging

from 29% to 55%) is well within the range of profitability that courts have found to be

reasonable in prior Section 36(b) cases.1004

         As a matter of both settled law and the overwhelming weight of the trial record, Plaintiffs

have entirely failed to meet their burden of establishing that CAL’s profitability with respect to




999
    Gartenberg v. Merrill Lynch Asset Mgmt., Inc., 573 F. Supp. 1293, 1316 (S.D.N.Y. 1983),
aff’d, 740 F.2d 190 (2d Cir. 1984)
1000
       DFFCL ¶ 339.
1001
       DFFCL ¶ 339.
1002
       DFFCL ¶ 340.
1003
       DFFCL ¶ 338.
1004
       DFFCL ¶ 342.

                                                  379
the Fund proves that the Fund’s management fee could not have been the product of arm’s-

length bargaining.

       387. Plaintiffs additionally presented the testimony of their expert Dr. Pomerantz that
a more accurate profitability model showed that CAL’s profit margin from the Growth Fund was
71%, rather than the 46% CAL reported. Pomerantz Report at ¶492; Tr. at 449:15–450:22.

       RESPONSE: Denied. As set forth in CAL’s Response to Paragraph 386,

Dr. Pomerantz’s “view of profitability” literally proves nothing, certainly does not prove that the

Fund’s management fee is excessive, and is not admissible or credible evidence of CAL’s

profitability from managing the Fund. In addition, Plaintiffs’ assertions that the Fund’s

management fee is excessive by virtue of (a) CAL’s profitability from managing the Fund,

and/or (b) CAL’s method for calculating such profitability in its 15(c) Response, all fail to

support a cognizable Section 36(b) claim for each of the fundamental reasons set forth in CAL’s

Response to Paragraph 386, supra. As a matter of both settled law and the overwhelming weight

of the trial record, Plaintiffs have entirely failed to meet their burden of establishing that CAL’s

profitability with respect to the Fund proves that the Fund’s management fee could not have been

negotiated at arm’s-length.

        388. CAL responded with the testimony of their expert Professor Lacey claiming that
cost allocation by AUM alone was consistent with GAAP and “decision-useful.” Tr. at 1003:9-
22, 1015:2-9, 1020:19–1021:18; Lacey Report at ¶¶5, 36-42.

       RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of (a) CAL’s profitability from managing the Fund, and/or (b) CAL’s method

for calculating such profitability in its 15(c) Response, all fail to support a cognizable Section

36(b) claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 386.

As a matter of both settled law and the overwhelming weight of the trial record, Plaintiffs have

entirely failed to meet their burden of establishing that CAL’s profitability with respect to the

Fund proves that the Fund’s management fee could not have been negotiated at arm’s-length.

                                                 380
          Additionally, Plaintiffs’ factual assertions in Paragraph 388 are a reprise of their earlier

assertions in Paragraph 274; CAL therefore incorporates its Response to Paragraph 274 as if

fully set forth herein.

       389. However, courts have consistently made clear that for Section 36(b) purposes, an
adviser’s allocation methodology cannot be untethered from economic reality/actual costs.
Indeed, the “profitability” factor initially was articulated by the Second Circuit in Gartenberg as
“the adviser-manager’s cost in providing the service . . .” 694 F.2d at 930 (emphasis added).
Courts have insisted on allocation methods that at least represent attempts to approximate the
advisor’s actual costs with respect to the fund at issue.

          RESPONSE: Denied. Neither Gartenberg nor any other Section 36(b) case ever held,

nor has the ICA or the SEC ever established a rule requiring, anything other than a reasonable

and rational accounting calculation. Neither the plain language of Gartenberg, nor any other

reading of the decision, imposes any different cost accounting requirements, let alone one of

“actual costs.”

          In addition, Plaintiffs insist on talking about “the cost in providing the service” as if this

awkward articulation means something other than the adviser’s profits. However, Section 36(b)

cases assessing adviser profits do just that—measure the adviser’s costs in order to calculate

profits earned on the advisory fees. The Gartenberg district court focused on the adviser’s

profitability, which the Second Circuit specifically noted in its affirmance.1005 Moreover, in

Jones—the controlling law here—the Supreme Court expressly referred to this Gartenberg

factor as “the profitability of the fund to the adviser.”1006




1005
    Gartenberg v. Merrill Lynch Asset Mgmt., 694 F.3d 923, 930 (2d Cir. 1982) (discussing
district court finding on adviser profitability); id. at 933 (observing that “the record fails to show
that the Manager’s profits were so disproportionately large as to amount to a breach of fiduciary
duty”).
1006
       Jones, 559 U.S. at 344 n.5.

                                                    381
          As established case law since Gartenberg holds, this assessment of profitability depends

on mutual fund cost allocations that are “art rather than a science” and “different, albeit rational,

methodologies lead to widely disparate results.” Moreover, Section 36(b) courts have long

recognized “the impossibility of arriving at an exact profitability figure.”1007 As the trial

evidence showed, CAL’s profit calculation approach is consistent with GAAP and managerial

accounting principles; is systematic, rational, and decision-useful as those standards require; and

therefore produces results that in fact do reflect CAL’s profits from managing the Fund.1008 For

similar reasons, Section 36(b) courts considering analogous allocation methodologies have

uniformly found them to be acceptable in rejecting the plaintiffs’ claim at trial.1009

          On summary judgment, the Court ruled that (a) as a result of the “Mutual Fund

Profitability Presentation,” for each year within the Relevant Period “the Independent Trustees

were fully informed about Calamos’ profitability methodology,” and (b) Plaintiffs’ contention

that the Mutual Fund Profitability presentations understated the Fund’s profitability is “wholly

lacking in merit as it rests almost entirely on Plaintiffs’ disapproval of Calamos’ use of an

‘average AUM’ cost-allocation method to analyze profitability—a method Plaintiffs’ recognize

is commonly accepted within the industry.”1010


1007
   Krinsk v. Fund Asset Mgmt., Inc., 715 F. Supp. 472, 489-90 (S.D.N.Y. 1988), aff’d, 875 F.2d
404 (2d Cir. 1989); accord Schuyt v. Rowe Price Prime Reserve Fund, Inc., 663 F. Supp. 962,
978 (S.D.N.Y.), aff’d, 835 F.2d 45 (2d Cir. 1987) (“There are many acceptable ways to allocate
common costs, each of which leads to significantly different results.”).
1008
       DFFCL ¶¶ 305-306, 338-339.
1009
    Sivolella, 2016 WL 4487857, at *51 (finding that “the cost allocation method based on
revenue”—which is analogous to allocation based on AUM—“is consistent with accounting
principles”); see also Gallus v. Ameriprise Fin., Inc., 497 F. Supp. 2d 974, 981 (D. Minn. 2007),
rev’d and remanded, 561 F.3d 816 (8th Cir. 2009), cert. granted, judgment vacated, 559 U.S.
1046 (2010), and order reinstated, 2010 WL 5137419 (D. Minn. Dec. 10, 2010), aff’d, 675 F.3d
1173 (11th Cir. 2012).
1010
       DFFCL ¶¶ 291-92.

                                                 382
          Moreover, as the trial evidence conclusively demonstrates: (a) an adviser’s “choice of

cost allocation methodology does not affect” whether the advisory fee is excessive, as Professor

Bullard concedes; (b) CAL’s calculation of its profitability with respect to the Fund, like any

other profitability calculation, necessarily involves the exercise of discretionary accounting

judgments that may affect the overall result; (c) because there are a range of reasonable and

acceptable judgments and methodologies that can be used, and which will produce a range of

different but equally reasonable results, there is no one “true” profitability figure; (d) as

Professor Lacey testified, without any meaningful contradiction from either of Plaintiffs’ experts,

CAL’s Profitability Presentation employs a systematic and rational approach to provide

reasonable, decision-useful information to the Independent Trustees; (e) as the only two qualified

accountants at the trial (Mr. Helmetag and Professor Lacey) testified, CAL’s manner of

calculating Fund-level advisory profitability is consistent both with managerial accounting

principles and the principles underlying GAAP; and (f) the Profitability Presentation, inter alia,

sets forth the methodology that CAL uses to calculate the adviser’s profitability with respect to

the Fund.1011

          In addition, as Plaintiffs have conceded, the profitability figures CAL reported using an

average AUM methodology are not materially different from the figures CAL reported using the

time-spent methodology with which Plaintiffs take no issue.1012

        390. In Schuyt v. Rowe Price Prime Reserve Fund, Inc., 663 F. Supp. 962 (S.D.N.Y.),
aff’d, 835 F.2d 45 (2d Cir. 1987), the dispute was between two different time-spent methods, one
of which was developed by the advisor at the board’s request using an independent firm. Id. at
997. The court selected the method that it determined “presented a more accurate picture of the
actual costs incurred by the adviser.” Id. Similarly, in Krinsk v. Fund Asset Mgmt., Inc., 875
F.2d 404 (2d Cir. 1989), the court expressed concern that the cost-allocation method be
“rational” “lest the fund subsidize the costs” of other investment products advised by the

1011
       DFFCL ¶¶ 297, 299-300, 305-306, 330.
1012
       DFFCL ¶ 303.

                                                  383
defendant and ended up combining methods to approximate a true figure of profitability in its
analysis. Id. at 410.

             RESPONSE: Denied. Plaintiffs’ assertion that Schuyt was a case deciding between two

time spent methods is not accurate. As the opinion actually holds, multiple different cost

allocations are reasonable, and joint and common costs need to be allocated by some method

rather than simply omitted from the fund’s costs. Contrary to Plaintiffs’ description, the dispute

in Schuyt was actually about choosing between one method for calculating profitability that did

not allocate joint and common costs and one method that did.1013 These methods were referred

to in the court’s opinion, respectively, as the “incremental-cost method” and the “full-cost

method.”1014 The court rejected the incremental-cost method, which “attempts to calculate the

addition to a firm’s total cost that results from its provision of a particular product or service,”

because it “vastly underestimate[s] the actual cost to the Adviser of servicing the Fund” due to

the method’s failure to include any joint or common costs.1015

             In addition, Plaintiffs’ assertion that the court elected a cost allocation method that

“presented a more accurate picture of the actual costs incurred by the adviser” is wrong. The

court did exactly the opposite. After rejecting the “incremental-cost method” and examining

several different “full-cost methods” that used different mechanisms to allocate joint and

common costs, the court chose not to engage in the minutiae of weighing the validity of the

assumptions underlying each mechanism and explained that the Board did not do so either.1016




1013
       Schuyt, 663 F. Supp. at 977.
1014
       Id.
1015
       Id.
1016
       Id. at 978 & n.47.

                                                      384
Instead, the court adopted the method the adviser presented to the Board after determining that it

was “reasonable” and among the “many acceptable ways to allocate costs.”1017

             In Krinsk, the district court “recognize[d] the impossibility of arriving at an exact

profitability figure,” that cost allocation “is an art rather than a science,” and that “different,

albeit rational, methodologies lead to widely disparate results.”1018 The Second Circuit affirmed

the district court’s decision in “rejecting [Plaintiff] Krinsk’s theories and crediting the testimony

of Merrill Lynch’s expert [on profitability].”1019 As the Second Circuit observed, the plaintiff’s

application of his alternative profitability formula “was flawed . . . by a speculative approach and

lack of crucial figures.”1020 Moreover, Plaintiffs’ “formula would reduce the Fund’s advisory fee

to a level far below that of any other mutual fund.”1021 The Second Circuit held that this

“unreasonable result of applying this formula casts suspicion on the formula itself.”1022

Plaintiffs’ alternative profitability calculation likewise relies on a “speculative approach” (i.e.,

Dr. Pomerantz’s assumed “log-log” relationship), and also creates an “unreasonable result” that

“casts suspicion” on the calculation itself. Thus, the Krinsk case supports CAL’s position, not

Plaintiffs’.

             Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue of (a) CAL’s

profitability from managing the Fund, and/or (b) CAL’s method for calculating such profitability

in its 15(c) Response, all fail to support a cognizable Section 36(b) claim for each of the



1017
       Id. at 978.
1018
       Krinsk, 715 F. Supp. at 489.
1019
       Krinsk v. Fund Asset Mgmt., Inc., 875 F.2d 404, 411 (2d Cir. 1989).
1020
       Id.
1021
       Id.
1022
       Id.

                                                      385
fundamental reasons set forth in CAL’s Response to Paragraph 386. As a matter of both settled

law and the overwhelming weight of the trial record, Plaintiffs have entirely failed to meet their

burden of establishing that CAL’s profitability with respect to the Fund proves that the Fund’s

management fee could not have been negotiated at arm’s-length.

       391. Likewise, on summary judgment in this case, the Court indicated that the relevant
issue was not whether there was a per se rule requiring a specific cost allocation method –
which CAL’s expert conceded there is not, Tr. at 1000:3-24 – but whether the AUM method
“best reflects the Fund’s true profitability to Calamos . . .” Chill, 2018 WL 4778912, at *21
n.15.

          RESPONSE: Denied. CAL admits that on summary judgment, the Court stated,

“Calamos also notes that ‘there is simply no per se rule as to how [it] must allocate indirect

costs,’ Def.’s Reply at 13, but this argument does not bear on the questions whether (1) Calamos’

cost allocation method best reflects the Fund’s true profitability to Calamos and (2) whether the

profits realized by Calamos weigh in favor of a conclusion that Calamos’ Advisory Fees are

excessive.”1023 However, on summary judgment, the Court ruled that (a) as a result of the

“Mutual Fund Profitability Presentation,” for each year within the Relevant Period “the

Independent Trustees were fully informed about Calamos’ profitability methodology,” and (b)

Plaintiffs’ contention that the Mutual Fund Profitability presentations understated the Fund’s

profitability is “wholly lacking in merit as it rests almost entirely on Plaintiffs’ disapproval of

Calamos’ use of an ‘average AUM’ cost-allocation method to analyze profitability—a method

Plaintiffs recognize is commonly accepted within the industry.”1024 Moreover, as the trial

evidence conclusively demonstrates: (a) an adviser’s “choice of cost allocation methodology

does not affect” whether the advisory fee is excessive, as Professor Bullard concedes; (b) CAL’s



1023
       Chill, 2018 WL 4778912, at *21 n.15.
1024
       DFFCL ¶¶ 291-92.

                                                 386
calculation of its profitability with respect to the Fund, like any other profitability calculation,

necessarily involves the exercise of discretionary accounting judgments that may affect the

overall result; (c) because there are a range of reasonable and acceptable judgments and

methodologies that can be used, and which will produce a range of different but equally

reasonable results, there is no one “true” profitability figure; (d) as Professor Lacey testified,

without any meaningful contradiction from either of Plaintiffs’ experts, CAL’s Profitability

Presentation employs a systematic and rational approach to provide reasonable, decision-useful

information to the Independent Trustees; (e) as the only two qualified accountants at the trial

(Mr. Helmetag and Professor Lacey) testified, CAL’s manner of calculating Fund-level advisory

profitability is consistent both with managerial accounting principles and the principles

underlying GAAP; and (f) Plaintiffs did not offer any evidence that CAL’s AUM-based cost

allocation approach is not consistent with managerial accounting principles or the principles

underlying GAAP; indeed, neither of Plaintiffs’ experts offer any accounting-grounded opinions

(nor could they, given their complete lack of accounting qualifications).1025 In sum, as

Dr. Pomerantz freely admitted, CAL is “well within [its] accounting rights as accountants to do

what they’ve done” with respect to the cost allocation methodology it used.1026

         In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive by virtue

of (a) CAL’s profitability from managing the Fund, and/or (b) CAL’s method for calculating

such profitability in its 15(c) Response, all fail to support a cognizable Section 36(b) claim for

each of the fundamental reasons set forth in CAL’s Response to Paragraph 386, supra. As a

matter of both settled law and the overwhelming weight of the trial record, Plaintiffs have



1025
       DFFCL ¶¶ 295-307.
1026
       DFFCL ¶ 306.

                                                 387
entirely failed to meet their burden of establishing that CAL’s profitability with respect to the

Fund proves that the Fund’s management fee could not have been negotiated at arm’s-length.

        392. Here, Plaintiffs established that the AUM method is not rational or accurate and
grossly distorts the Growth Fund’s profitability to CAL because it makes costs per dollar of
AUM constant across the complex regardless of fund size, thereby assuming away the economic
benefits of scale. Pomerantz Report at ¶¶433, 436, 462-64, 479, 482-84; Tr. at 451:2-25,
458:8–459:2. Indeed, CAL’s expert Professor Lacey admitted that the method does not consider
economies of scale. Tr. at 1032:8-25.

        RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of (a) CAL’s profitability from managing the Fund, and/or (b) CAL’s method

for calculating such profitability in its 15(c) Response, all fail to support a cognizable Section

36(b) claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 386.

As a matter of both settled law and the overwhelming weight of the trial record, Plaintiffs have

entirely failed to meet their burden of establishing that CAL’s profitability with respect to the

Fund proves that the Fund’s management fee could not have been negotiated at arm’s-length.

        Additionally, Plaintiffs’ factual assertions in Paragraph 392 are a reprise of their earlier

assertions in Paragraphs 249-250; CAL therefore incorporates its Responses to Paragraphs 249-

250 as if fully set forth herein.

        393. Allocating by AUM flies in the face of the law under 36(b) and the reality of how
CAL’s costs actually behave. In amending Section 36(b), Congress stated that its intent was to
ensure that investors “share equitably … in the economies available as a result of the growth
and general acceptance of mutual funds.” S. REP. NO. 91-184, at 6 (1969), reprinted in 1970
U.S.C.C.A.N. 4897, 4901. Plaintiffs presented evidence that CAL’s costs were relatively
constant and did not rise or fall proportionately with AUM, which is consistent with observations
of the industry. Tr. at 996:16–997:6; Pomerantz Rebuttal Report at ¶¶248, 468-89. As CAL’s
profitability expert Professor Lacey concedes, most costs incurred in the provision of advisory
services are largely fixed costs, rather than variable. Tr. at 996:16–997:6. Allocating by AUM,
however, counterfactually treats such costs as entirely variable and unaffected by scale. Tr. at
879:14-20; Bullard Rebuttal Report at ¶¶104-05, 248, 259, 274.

        RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of (a) CAL’s profitability from managing the Fund, and/or (b) CAL’s method


                                                 388
for calculating such profitability in its 15(c) Response, all fail to support a cognizable Section

36(b) claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 386.

As a matter of both settled law and the overwhelming weight of the trial record, Plaintiffs have

entirely failed to meet their burden of establishing that CAL’s profitability with respect to the

Fund proves that the Fund’s management fee could not have been negotiated at arm’s-length.

        Additionally, Plaintiffs’ factual assertions in Paragraph 393 are a reprise of their earlier

assertions in Paragraphs 241-245; CAL therefore incorporates its Responses to Paragraphs 241-

245 as if fully set forth herein.

        394. This led to absurd results. For example, CAL’s profitability presentations
depicted smaller funds that CAL admittedly closed because they “failed to achieve economies of
scale” and were money-losing (JX 144 at 636337-38) as highly profitable and in fact more so
than the Growth Fund. JX 144 at 636337-38; see also Pomerantz Report at ¶433-45; Pomerantz
Rebuttal Report at ¶241; Bullard Report at ¶¶62-63, 97; Bullard Rebuttal Report at ¶¶106-09.
This was due to the fact that CAL implausibly assigned up to 85 times more costs to those Funds
than to the Growth Fund – based on their smaller AUM – despite the fact that those Funds
utilized the same investment personnel, systems, and processes as the Growth Fund. DX 145-R
at 634772 and table at ¶262, supra; Pomerantz Report at ¶447, 441-43; Bullard Report at ¶¶57-
64, 71-74, 77-78; Pomerantz Rebuttal Report at ¶¶287, 292-93.

        RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of (a) CAL’s profitability from managing the Fund, and/or (b) CAL’s method

for calculating such profitability in its 15(c) Response, all fail to support a cognizable Section

36(b) claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 386.

As a matter of both settled law and the overwhelming weight of the trial record, Plaintiffs have

entirely failed to meet their burden of establishing that CAL’s profitability with respect to the

Fund proves that the Fund’s management fee could not have been negotiated at arm’s-length.

        Additionally, Plaintiffs’ factual assertions in Paragraph 394 are a reprise of their earlier

assertions in Paragraphs 256, 257, and 262-264; CAL therefore incorporates its Responses to

Paragraph 256, 257, and 262-264 as if fully set forth herein.


                                                 389
        395. At trial, CAL did not argue that the Funds-specific profitability figures reported
in the Mutual Fund Profitability presentations were accurate but instead insisted that fund-
specific profitability was unknowable. Tr. at 238:15–239:15, 1010:17–1011:1, 1015:10-19.
CAL justified AUM cost allocation not on its accuracy but on its purported ease of use. Tr. at
235:16-25, 240:13-242:13, 998:13-17, 1015:2-9, 1020:19–1021:4; Lacey Report at ¶¶20, 24,
83-85.

        RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of (a) CAL’s profitability from managing the Fund, and/or (b) CAL’s method

for calculating such profitability in its 15(c) Response, all fail to support a cognizable Section

36(b) claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 386.

As a matter of both settled law and the overwhelming weight of the trial record, Plaintiffs have

entirely failed to meet their burden of establishing that CAL’s profitability with respect to the

Fund proves that the Fund’s management fee could not have been negotiated at arm’s-length.

        Additionally, Plaintiffs’ factual assertions in Paragraph 395 are a reprise of their earlier

assertions in Paragraph 251; CAL therefore incorporates its responses to Paragraph 251 as if

fully set forth herein.

       396. Plaintiffs further presented evidence that allocation by AUM was not useful to the
Independent Trustees. Pomerantz Rebuttal Report at ¶¶296-97. As indicated above, 36(b)
charges fund trustees with the task of ensuring that investors “share equitably … in the
economies available as a result of the growth and general acceptance of mutual funds.” S. REP.
NO. 91-184, at 6 (1969), reprinted in 1970 U.S.C.C.A.N. 4897, 4901. AUM allocation makes
those economies invisible, and thus makes it impossible for the Independent Trustees to
discharge their duty. Pomerantz Report at ¶¶433, 436, 462-64, 479, 482-84; Tr. at 451:2-25,
458:8–459:2.

        RESPONSE: Denied. CAL Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of (a) CAL’s profitability from managing the Fund, and/or (b) CAL’s method

for calculating such profitability in its 15(c) Response, all fail to support a cognizable Section

36(b) claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 386.

As a matter of both settled law and the overwhelming weight of the trial record, Plaintiffs have



                                                 390
entirely failed to meet their burden of establishing that CAL’s profitability with respect to the

Fund proves that the Fund’s management fee could not have been negotiated at arm’s-length.

       Additionally, Plaintiffs’ factual assertions in Paragraph 392 are a reprise of their earlier

assertions in Paragraphs 249 and 335; CAL therefore incorporates its Responses to Paragraph

249 and 335 as if fully set forth herein.

       397. Thus, the trial evidence shows that the Growth Fund was extremely profitable to
CAL, and in fact had a high level of profitability far in excess of what CAL reported to the
Trustees. Hence, the profitability Gartenberg factor weighs in favor of fee excessiveness.

       RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of (a) CAL’s profitability from managing the Fund, and/or (b) CAL’s method

for calculating such profitability in its 15(c) Response, all fail to support a cognizable Section

36(b) claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 386.

As a matter of both settled law and the overwhelming weight of the trial record, Plaintiffs have

entirely failed to meet their burden of establishing that CAL’s profitability with respect to the

Fund proves that the Fund’s management fee could not have been negotiated at arm’s-length.

       E.      The Independent Trustees did not Exercise the Requisite Care and
               Conscientiousness

               1.      Applicable Legal Standard Regarding Conscientiousness

        398. The ICA “interposes disinterested directors as ‘independent watchdogs,’” Jones,
559 U.S. at 348 (quoting Burks v. Lasker, 441 U.S. 471, 482 (1979)), charged with serving as a
“‘check upon the management,’” Id. at 352 (quoting Burks, 441 U.S. at 484). In order to
exercise the conscientiousness required by Gartenberg, a Board must, inter alia, actually
consider all “relevant factors,” and the adviser must supply “material information” pertinent to
those factors. Id. at 351; see also Gartenberg, 694 F.2d at 930 (to discharge their duty, trustees
must be “fully informed about all facts bearing on the adviser-manger’s services and fees”).

       RESPONSE: Denied as stated. CAL admits that Jones states that the ICA “interposes

disinterested directors as ‘independent watchdogs’ of the relationship between a mutual fund and

its adviser,” and that “the [ICA] requires advisers to furnish all information ‘reasonably . . .


                                                 391
necessary to evaluate the terms’ of the adviser’s contract, 15 U.S.C. § 80a–15(c). . . .”1027 While

the Gartenberg factors may bear on the care and conscientiousness of the Independent Trustees,

they are not the elements of a Section 36(b) claim; Plaintiffs may not prevail without proving,

through admissible and credible evidence, that the Fund’s fee “is so disproportionately large that

it bears no reasonable relationship to the services rendered and could not have been the product

of arm’s length bargaining.”1028

          As Professor Bullard acknowledged, the decision of whether to approve an IMA is not

only committed to the Independent Trustees’ business judgment, but the Trustees have both

substantial discretion and broad leeway in evaluating the Fund’s fees and performance.1029 The

trial evidence demonstrates that the Independent Trustees exercised that “substantial discretion

and broad leeway” to reach to “business judgment” that approval of the IMA for each of the

years in the Relevant Period, subject either to a fee waiver and/or to CAL’s commitment to

continue to invest resources in an effort to improve performance, was in the best interests of the

Fund and its shareholders.1030

       399. Thus, as Defendant’s expert witness, Professor Laby, explained: “the
independent trustees ha[d] the responsibility to request information regarding the topics that
reasonably bear on the services Calamos provides to the [G]rowth [F]und, including the
services that Calamos provides to other clients,” Tr. at 959:12-25, which in turn required CAL
to provide “high-quality information” regarding those subjects, Tr. at 960:1-7.

          RESPONSE: Denied as stated. CAL admits that Professor Laby stated in his report that

“The Independent Trustees have the responsibility to request information regarding the topics

that reasonably bear on the services Calamos provides to the Growth Fund, including the


1027
       Jones, 559 U.S. at 348.
1028
       Id. at 346.
1029
       DFFCL ¶ 148.
1030
       DFFCL ¶ 90.

                                                392
services that Calamos provides to other clients.”1031 CAL also admits that Professor Laby

testified that Gartenberg contemplates the Board’s receipt and review of high-quality

information.1032

          Plaintiffs failed to prove that the materials the Board receives are of anything less than

high quality. For example, the trial evidence demonstrates that as part of their 15(c) Process, the

Independent Trustees annually received a comprehensive report from an independent and

industry-recognized third party regarding the performance of the Fund in comparison to its peers

over a variety of time periods.1033 In addition, at every regular Board meeting the Independent

Trustees received and in-person presentations from CAL’s CIO(s), and regular “Focus Fund”

presentations providing even more detail about the Fund’s performance.1034. Also throughout the

Relevant Period, CAL regularly both provided updates to the Board on the organizational

changes at the company and discussed its ongoing changes and enhancements to the portfolio

management and research teams (such as hiring and promoting key individuals, taking steps to

improve the quality of the portfolio investment and research team, reorganizing its investment

approach, and revising the compensation structure for the portfolio management team).1035

          Although Professor Bullard offered the opinion that the Independent Trustees were not

conscientious in considering either the Fund’s performance or CAL’s efforts to improve that

performance, he reached this opinion without considering more than seventy-five percent of the




1031
       Laby Rpt. 38.
1032
       Tr. 960:1-7 (Laby).
1033
       DFFCL ¶ 122.
1034
       DFFCL ¶ 122.
1035
       DFFCL ¶ 123.

                                                  393
materials that the Independent Trustees received from CAL concerning those very topics.1036

And, his professed reliance on Plaintiffs’ counsel to bring additional relevant materials to his

attention failed to result in him considering even one of the nearly two dozen CIO reports and

Focus Fund presentations that CAL delivered to the Independent Trustees during the Relevant

Period, all of which concerned the Fund’s performance and CAL’s efforts to improve that

performance.1037

         In addition, as concerns CAL’s different and greater services/risks in managing the Fund

as compared to its All Cap Growth Clients, the trial evidence also demonstrates that for each of

the following reasons, the Independent Trustees received high quality materials that, when

combined with their extensive industry experience, enabled them to make an informed decision

in the interests of the Fund’s shareholders:

         First, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Fund than to its All Cap Growth Clients, and assumes different and greater

risks in advising the Funds than it does in advising its All Cap Growth Clients. CAL’s 15(c)

Responses included a “Discussion of Management Fee Rates by Product” presentation that both

informed the Independent Trustees of the fees that CAL charged to the Funds and to its

institutional and sub-advisory clients and provided a brief summary overview of the services that

CAL provided to the Fund that were not required for institutional or sub-advisory accounts.

         Second, as the evidence also conclusively demonstrates, the Discussion of Management

Fee Rates by Product presentation was not the sole information that the Independent Trustees



1036
       DFFCL ¶ 125.
1037
       DFFCL ¶ 125.

                                                 394
received about such services, nor was it intended to be an exhaustive recitation of all of the many

differences in services and risks. To the contrary, the Independent Trustees also regularly

receive extensive information at every Board meeting concerning the services CAL provides to

the Fund that are not required for All Cap Growth Clients, such as fund administration, oversight

of third party service providers, and reports from the Funds’ CCO. In addition, the Independent

Trustees have 150+ years of collective experience in the asset management industry—including

senior management positions at leading investment advisers who offer both mutual funds and

institutional products.1038

          Third, based on both this directly on-point experience and the information they receive,

the trial evidence therefore demonstrates both that (a) the Independent Trustees have all of the

information they believe they need about CAL’s All Cap Growth Clients when they annually

vote to approve the IMA, and (b) the Independent Trustees fully understand the differences in

services and risks entailed in advising the Fund versus CAL’s All Cap Growth Clients.1039 As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the

Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an

apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”1040

        400. As described more fully below, the facts of this case make clear that the Board did
not act as an independent check when it approved CAL’s advisory fees, but instead credulously
accepted without challenge CAL’s assertions at face value on key issues. See Tr. at 908:14-
909:11; 912:23-915:7; 920:12-921:5; 927:9-928:13.




1038
       DFFCL ¶¶ 56-58, 207.
1039
       DFFCL ¶¶ 204-207.
1040
       Tr. 177:17-20 (Neal).

                                                 395
         RESPONSE: As the Court recognized on summary judgment, “[u]ltimately, ‘[w]here a

board’s process for negotiating and reviewing investment-adviser compensation is robust, a

reviewing court should afford commensurate deference to the outcome of the bargaining

process’” and should not “supplant the judgment of disinterested directors.”1041

         Under Jones, the Independent Trustees’ annual approvals of the Fund’s management fee

are “entitled to considerable weight” and “commensurate deference” and should not be

“supplanted.” The trial evidence established that the Independent Trustees’ independence,

qualifications and experience, Board practice, and 15(c) Process compare very favorably to those

that nine different courts, in rejecting Section 36(b) claims over the past three decades, have

consistently recognized as the earmarks of an independent and diligent board, acting with care

and conscientiousness.1042

         The trial evidence further confirmed that for each year within the Relevant Period, the

Independent Trustees, after engaging in a robust process that involved active dialogue with CAL

throughout the year, applied their judgment in view of the current facts, their extensive industry

experience and institutional knowledge of CAL, to determine that approving the IMA—subject

to either a fee waiver and/or to CAL’s commitment to continue to invest resources in efforts to

improve the Fund’s performance—was in the best interests of Fund shareholders. Indeed, as

Professor Bullard also acknowledged, a Board reasonably can conclude that it would be in the

best interests of a fund and its shareholders to require the adviser to take the very steps that CAL

took in an effort to improve the Fund’s performance—i.e., hiring a new portfolio manager for the

fund, moving to a team approach of portfolio management, and increasing the adviser’s



1041
       DFFCL ¶ 145.
1042
       DFFCL ¶¶ 146-147.

                                                396
investment research capacity. These are also exactly the types of steps that the SEC has

suggested that a Board may take to address fund performance challenges. There is no Section

36(b) case in which a court discarded such uncontroverted trial evidence of a board constantly

seeking to strike a balance between fees and performance improvements for the benefit of fund

shareholders.1043

         The trial record in this case also confirms that Plaintiffs have failed to prove that the

Fund’s management fee “could not have been the product of arm’s-length bargaining,” as Jones

requires for any plaintiff to state a Section 36(b) claim.1044 The trial evidence actually

demonstrated precisely the opposite—that the Fund’s management fee is “the product of arm’s-

length bargaining” by the Independent Trustees on behalf of the Fund shareholders throughout

the Relevant Period—which necessarily means that Plaintiffs have failed to meet their burden of

proving that fee “could not have been” such a product.

         Plaintiffs conceded at trial, through Professor Bullard, that the fee reduction that the

Independent Trustees achieved in June 2013, through their imposition of a five basis point fee

waiver on the Fund’s management fee, is evidence of arm’s-length negotiation by the

Independent Trustees. Thus, for the period between June 2013 and June 2014, the only trial

evidence is that of arm’s-length bargaining by the Independent Trustees.1045

         There is also equally undisputed evidence of the Independent Trustees’ arm’s-length

bargaining for the entire remainder of the Relevant Period. Plaintiffs, again through Professor

Bullard, conceded that Independent Trustees can obtain a fee reduction in ways other than



1043
       DFFCL ¶¶ 150-151.
1044
       DFFCL ¶ 154.
1045
       DFFCL ¶¶ 154-155.

                                                  397
through a fee waiver—such as by CAL increasing expenditures with respect to the services that

it provides to the Fund. As Professor Bullard unambiguously and succinctly concluded, CAL’s

increased expenditures with respect to the services it provides to the Fund is “a de facto fee

reduction” for the benefit of the Fund’s shareholders. That is precisely what did happen here, in

every year of the Relevant Period. Professor Bullard further conceded that the Independent

Trustees’ approval of a series of changes by CAL designed to increase investment performance

for the Fund “could play a role in arm’s-length negotiation.”1046 That again is precisely what did

happen here, in every year of the Relevant Period.1047

         Finally, to the extent that Plaintiffs’ assertions rely on the testimony of Professor Bullard,

those assertions are not supported by any admissible or credible evidence because (a) Professor

Bullard lacks any qualification to offer any opinion regarding the Independent Trustees’ lack of

conscientiousness in their evaluation of certain information CAL provided in its 15(c) Response

(notwithstanding that he has managed to reach this same conclusion in every Section 36(b) case

in which he has been retained), (b) Professor Bullard’s opinions suffer from a lack of

methodology and lack the rigor required for expert testimony, and (c) in light of the many flaws

in his “factual analysis,” Professor Bullard was forced to concede that he has no way of knowing

how any Independent Trustee actually considered the information CAL provided, and he

disavowed any “opinion on what was in the mind of any trustee.”1048

                2.      The Independent Trustees’ Repeated Failure to Act Conscientiously
                        with Respect to Crucial Matters Relevant to CAL’s Fees

       401. First, Mr. Neal testified that in deciding whether to approve CAL’s advisor fees,
the Trustees were required to: (i) assess whether the purportedly greater services and risks

1046
       DFFCL ¶ 105.
1047
       DFFCL ¶¶ 156-157.
1048
       DFFCL ¶¶ 451-457.

                                                  398
described by Messrs. Bhatt and Jackson at CAL’s 15(c) meetings justified the higher fees CAL
charged its Fund client; and (ii) ensure that the services CAL provided to the Growth were
provided at a reasonable cost. Tr. at 129:16-24; 174:5-14. Importantly, Mr. Neal further
explained that the purportedly greater services and risks would not justify/explain the greater
advisory fee CAL charged its Fund clients versus its non-fund clients if that fee differential is
“excessive from what it costs them to [] actually do the work.” Tr. at 136:16-24 (emphasis
added).

          RESPONSE: Denied. CAL admits that Mr. Neal testified that his responsibilities as an

Independent Trustee included (a) ensuring that the services CAL provided to the Fund were

provided at reasonable cost, and (b) determining whether Fund’s management fee was

reasonable in view of the differences in services and risks in advising the Fund, among many

other things.1049 Mr. Neal also testified that factors that could indicate to him that the difference

in the fees an adviser charges to its mutual funds and to non-fund clients “are too large to be

explained by different levels of services and risks” would include “per the industry if their fees

were substantially higher than their competitors,” which would mean “one they would be out of

the business because they couldn’t sell the product; and two, it would be excessive from what it

cost them to actual actually do the work.”1050

          As the Court recognized on summary judgment, “[u]ltimately, ‘[w]here a board’s process

for negotiating and reviewing investment-adviser compensation is robust, a reviewing court

should afford commensurate deference to the outcome of the bargaining process’” and should

not “supplant the judgment of disinterested directors.”1051

          Under Jones, the Independent Trustees’ annual approvals of the Fund’s management fee

are “entitled to considerable weight,” “commensurate deference,” and should not be




1049
       Tr. 129:16-24 (Neal).
1050
       Tr. 136:16-24 (Neal).
1051
       DFFCL ¶ 145.

                                                 399
“supplanted.” The trial evidence established that the Independent Trustees’ independence,

qualifications and experience, Board practice, and 15(c) Process compare very favorably to those

that nine different courts, in rejecting Section 36(b) claims over the past three decades, have

consistently recognized as the earmarks of an independent and diligent board, acting with care

and conscientiousness.1052

         As specifically concerns the Independent Trustees’ consideration of CAL’s different

services/risks in managing the Fund as compared to its All Cap Growth Clients, the trial

evidence demonstrates that the Independent Trustees acted with care and conscientiousness in

reaching an informed decision:

         First, each year, specifically in its 15(c) Response and generally throughout the year in

the course of each Board meeting, CAL explained to the Board that it provides different and

greater services to the Fund than to its All Cap Growth Clients, and assumes different and greater

risks in advising the Funds than it does in advising its All Cap Growth Clients. CAL’s 15(c)

Responses included a “Discussion of Management Fee Rates by Product” presentation that both

informed the Independent Trustees of the fees that CAL charged to the Funds and to its

institutional and sub-advisory clients and provided a brief summary overview of the services that

CAL provided to the Fund that were not required for institutional or sub-advisory accounts.

         Second, as the evidence also conclusively demonstrates, the Discussion of Management

Fee Rates by Product presentation was not the sole information that the Independent Trustees

received about such services, nor was it intended to be an exhaustive recitation of all of the many

differences in services and risks. To the contrary, the Independent Trustees also regularly

receive extensive information at every Board meeting concerning the services CAL provides to


1052
       DFFCL ¶¶ 146-147.

                                                 400
the Fund that are not required for All Cap Growth Clients, such as fund administration, oversight

of third party service providers, and reports from the Funds’ CCO. In addition, the Independent

Trustees have 150+ years of collective experience in the asset management industry—including

senior management positions at leading investment advisers who offer both mutual funds and

institutional products.1053

          Third, based on both this directly on-point experience and the information they receive,

the trial evidence therefore demonstrates both that (a) the Independent Trustees have all of the

information they believe they need about CAL’s All Cap Growth Clients when they annually

vote to approve the IMA, and (b) the Independent Trustees fully understand the differences in

services and risks entailed in advising the Fund versus CAL’s All Cap Growth Clients.1054 As

Mr. Neal explained, and as the overwhelming weight of the trial evidence confirms, the

Independent Trustees and CAL viewed the Fund and the All Cap Growth Clients to be “like an

apple and an orange. They’re both fruit, but they are totally different fruit. If you are to take a

bite of each one, you would get a whole different taste.”

          In addition, Plaintiffs’ assertions that the Fund’s management fee is excessive (a) because

it is higher than fees charged to All Cap Growth Clients under different fee schedules, (b) by

virtue of CAL’s supposedly limited services/risks with respect to the Fund as compared to its All

Cap Growth Clients, and/or (c) by virtue of CAL’s failure to “justify” the Fund’s fee in light of

the supposed cost of these different services/risks, all fail to support a cognizable Section 36(b)

claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 363, supra.

       402. As the record makes clear, however, the Trustees failed to satisfy the precise
standard that Mr. Neal described and that the law requires. Indeed, despite the fact that CAL
affirmatively posited the greater services and risks as the purported basis for the fee differential,

1053
       DFFCL ¶¶ 56-58, 207.
1054
       DFFCL ¶¶ 204-207.

                                                 401
CAL did not provide, and the Board did not request, any data concerning the cost/value of the
purportedly greater services, or the number or employees that provided such services or the
time/effort that they expended. See ¶¶284-87; see also Tr. at 959:12-25 (Board duty bound to
request information regarding services rendered to non-fund clients). Nor did CAL provide, or
the Board request, any data concerning the cost/value of the greater risks that CAL purportedly
priced into the Growth Fund’s advisory fee. See ¶¶284-87, 313-14. In fact, Mr. Jackson and the
Independent Trustees were wholly ignorant of: (i) whether CAL actually priced that risk into the
IMA, and (ii) assuming that it did, CAL’s methodology for doing so, or the portion/percentage of
the Growth Fund’s fees that were attributable that risk. See ¶¶313-14.1055

         RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of the supposedly limited services that CAL provided to the Fund under the

IMA, the supposedly limited risks that CAL assumed with respect to the Fund, and/or because of

CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different services

and risks, fail to support a cognizable Section 36(b) claim for each of the fundamental reasons

set forth in CAL’s Responses to Paragraphs 284 and 313-314 as if fully set forth herein.

         Moreover, for all of the reasons set forth in CAL’s Responses to Paragraph 399-401,

supra, under Jones, the Independent Trustees’ annual approvals of the Fund’s management fee

are “entitled to considerable weight,” “commensurate deference,” and should not be

“supplanted.” Indeed, the trial evidence established each of the following:

         •      The Independent Trustees’ independence, qualifications and experience, Board

practice, and 15(c) Process compare very favorably to those that nine different courts, in

rejecting Section 36(b) claims over the past three decades, have consistently recognized as the

earmarks of an independent and diligent board, acting with care and conscientiousness.1056


1055
     Cf. In re BlackRock , 327 F. Supp. 3d at 716-21 (Board acted conscientiously in considering
difference in fees between fund and non-fund clients where the Board was provided with and
reviewed a detailed qualitative analysis of how the services differed and “the estimated cost of
providing the listed services”) (emphasis added); Gallus v. Ameriprise Fin., Inc., 675 F.3d
1173, 1180 (8th Cir. 2012) (Board decision entitled to less deference when trustees were not
apprised of all relevant information regarding fee discrepancy).
1056
       DFFCL ¶¶ 146-147.

                                                402
       •       The Independent Trustees acted with care and conscientiousness in their

consideration of CAL’s different services/risks in managing the Fund as compared to its All Cap

Growth Clients.

       •       For each year within the Relevant Period, the Independent Trustees, after

engaging in a robust process that involved active dialogue with CAL throughout the year,

applied their judgment in view of the current facts, their extensive industry experience and

institutional knowledge of CAL, to determine that approving the IMA—subject to either a fee

waiver and/or to CAL’s commitment to continue to invest resources in efforts to improve the

Fund’s performance—was in the best interests of Fund shareholders.

       Accordingly, the trial record in this case demonstrates that the Fund’s management fee is

“the product of arm’s-length bargaining” by the Independent Trustees on behalf of the Fund

shareholders throughout the Relevant Period—which necessarily means that Plaintiffs have

failed to meet their burden of proving that fee “could not have been” such a product

       403. Thus, at the time the Trustees approved CAL’s fees, there was no way they could
have known whether the fee differential was “excessive from what it costs them to [] actually do
the work,” Tr. at 136:16-24 (emphasis added), because, as Mr. Neal conceded, the Trustees had
no idea whether the value of those greater services and risks was 1 basis point, 5 basis points,
10, basis points, or something else. See ¶¶160-62, 220, 287 and 313-14, supra; see also Tr. at
908:14-909:11 (Professor Bullard’s testimony that Trustees cannot simply rely on their prior
experience in order to abjure responsibility for independently assessing validity of the advisor’s
explanation for higher fees).1057

       RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of the supposedly limited services that CAL provided to the Fund under the



1057
     See also Chill, 2018 WL 4778912, at *12 (“Calamos cannot persuasively maintain that the
Trustees found irrelevant the disparity in fee rates charged to the Fund vis-à-vis Calamos’
institutional and sub-advisory clients due to differences in services and risks, yet at the same
time maintain that the Trustees need not have received actual evidence detailing the differences
in services and risks.”).

                                               403
IMA, the supposedly limited risks that CAL assumed with respect to the Fund, and/or because of

CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different services

and risks, fail to support a cognizable Section 36(b) claim for each of the fundamental reasons

set forth in CAL’s Responses to Paragraphs 284 and 313-314 as if fully set forth herein.

       Moreover, for all of the reasons set forth in CAL’s Responses to Paragraph 399-402,

supra, under Jones, the Independent Trustees’ annual approvals of the Fund’s management fee

are “entitled to considerable weight,” “commensurate deference,” and should not be

“supplanted.”

       404. Even more damning, Mr. Timbers, the Lead Independent Trustee, was not even
aware of the nature of the services CAL provided to its non-fund clients, testifying that he “could
only guess.” See ¶286, supra; see also Tr. at 959:12-25 (Professor Laby’s testimony that the
Board was responsible for requesting information regarding the “services that Calamos
provides to other clients.”). And, as Professor Laby agreed, a Board member cannot be said “to
have carefully examined the services CAL provided to its non-fund clients if he or she does not
understand or is unaware of the services provided to the non-fund clients.” Tr. at 964:20-965:1.

       RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of the supposedly limited services that CAL provided to the Fund under the

IMA, the supposedly limited risks that CAL assumed with respect to the Fund, and/or because of

CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different services

and risks, fail to support a cognizable Section 36(b) claim for each of the fundamental reasons

set forth in CAL’s Responses to Paragraphs 284 and 313-314 as if fully set forth herein.

       Moreover, for all of the reasons set forth in CAL’s Responses to Paragraph 399-402,

supra, under Jones, the Independent Trustees’ annual approvals of the Fund’s management fee

are “entitled to considerable weight,” “commensurate deference,” and should not be

“supplanted.”




                                                404
          Finally, to the extent that Plaintiffs’ assertions in Paragraph 404 are a reprise of

Paragraph 286, supra, CAL incorporates its Response to Paragraph 286 as if fully set forth

herein.

        405. Second, the record is clear that, in approving CAL’s advisory fees under the IMA,
the Board impermissibly considered in the aggregate the services CAL provided under the IMA
and the FASA, despite the fact that CAL is separately compensated under each distinct
agreement. See ¶¶288 and 317; Chill, 2018 WL 4478912, at *13 (“The Court agrees with
Plaintiffs that Section 36(b) requires that transaction be considered separately and not
aggregated”) (internal quotation marks omitted) (collecting cases).

          RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of the supposedly limited services that CAL provided to the Fund under the

IMA, the supposedly limited risks that CAL assumed with respect to the Fund, and/or because of

CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different services

and risks, fail to support a cognizable Section 36(b) claim for each of the fundamental reasons

set forth in CAL’s Responses to Paragraphs 284 and 313-314 as if fully set forth herein.

          Moreover, for all of the reasons set forth in CAL’s Responses to Paragraph 399-402,

supra, under Jones, the Independent Trustees’ annual approvals of the Fund’s management fee

are “entitled to considerable weight,” “commensurate deference,” and should not be

“supplanted.”

          The trial record also confirms that there is nothing about the FASA that suggests that the

Fund’s management fee is excessive, for the following reasons:

          First, both of Plaintiffs’ experts concede that CAL is required to provide or arrange for

the complete bundle of services required for the Fund as part of its obligations under the IMA.

And as Professor Bullard further conceded, the services rendered by the adviser that are to be




                                                   405
considered under the Jones/Gartenberg standard include all of the services that the adviser

provides for the fund, whether those services are provided under one or several contracts.1058

         Second, the nature or extent of CAL’s services to the Fund as required by the IMA were

not reduced or changed in any way by the FASA. Even without the FASA, CAL would still

have the responsibility, under the IMA’s provision that CAL is required to “manage, supervise,

and oversee the affairs” of the Funds, either to provide itself or to ensure the provision through

third-parties of all necessary services for the Funds, including the financial accounting services

recited in the FASA. Following the termination of the FASA, CAL’s obligation to provide, or

ensure the provision of, all of the services that the Funds require has not changed, and the scope

of work performed by CAL has not decreased.1059

         Third, during the period of time the FASA was in existence, no one at CAL differentiated

between services provided pursuant to the IMA versus services provided pursuant to the FASA,

nor did CAL employees review or reference the IMA or the FASA in the course of performing

their day-to-day duties in servicing the Fund. Rather, at all times, CAL focused on providing all

of the services that the Fund requires and that CAL is obligated under the IMA to provide.1060

         Fourth, while the FASA was in place, the Independent Trustees annually reviewed the

services CAL provided and the 1.1 basis point fee charged under that agreement. The

Independent Trustees, however, did not consider the IMA or the FASA in isolation. Rather, as

part of the 15(c) Process each year, the Independent Trustees considered the totality of services

that CAL provides to the Fund and assessed whether the approval of both agreements was



1058
       DFFCL ¶¶ 352-353.
1059
       DFFCL ¶¶ 344-348.
1060
       DFFCL ¶ 349.

                                                406
reasonable in light of the total fees charged. Plaintiffs presented no evidence a trial that

considering the contracts separately would have made any difference with respect to the

Independent Trustees’ approval of the IMA.1061

         Plaintiffs’ assertions and arguments with respect to the FASA cannot support a finding

that the management fee paid under the IMA is excessive. Specifically, regardless of how the

IMA and FASA and the fees charged under each agreement are evaluated, separately or together,

it was reasonable and appropriate for the Board to consider the two contracts together. The

correct legal standard requires consideration of substance over form. There is no legal

requirement that a fund’s board must consider a fund’s management agreement with the adviser

separately from the fund’s other agreements with that same adviser. There is similarly no law or

ruling holding that it is improper for a Board to consider the totality of services provided by the

adviser to the Fund and the total compensation received by the adviser as a whole, regardless of

whether those services and compensation are set out in one contract or two.1062 And, Plaintiffs

presented no evidence at trial that considering the contracts separately would have made any

difference with respect to the Independent Trustees’ approval of the IMA.

         In sum, nothing did or should have prevented the Independent Trustees from considering

the total services provided by CAL, and the total compensation paid by the Fund to CAL, when

assessing the Fund’s overall relationship with CAL.

        406. Third, the Board failed to critically evaluate the difference in burden/expense of
providing a service in the first instance versus overseeing its performance by a third-party. See
¶¶290-93, supra; see also Tr. at 920:12-921:5 (Professor Bullard’s testimony that the “veneer
of oversight” versus performing a task in the first instance are “completely different levels of
service”). Rather, the Board repeatedly gave CAL the same credit for supervising work
performed by third-parties as if CAL had done the work itself, and credited CAL for bearing
risks/costs that were, in fact, borne by those third-party service providers. See ¶¶290-93, supra.

1061
       DFFCL ¶¶ 350-351.
1062
       DFFCL ¶¶ 354-361.

                                                 407
Indeed, as Professor Bullard explained, Mr. Neal’s Declaration and testimony perfectly
encapsulate the Board’s failure in this regard:

                And that really goes to my point about [Mr. Neal’s Declaration]
                paragraph 91, which shows a lack of discernment between the
                actual services provided by Calamos and the costs it incurs and
                the[] services provided by other parties. He was viewing [NAV]
                pricing errors as something that is a cost being incurred by
                Calamos, but at the same time it was being paid by a third party.
                And those positions, I just can’t reconcile.

Tr. at 928:7-13 (emphasis added).
       RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of the supposedly limited services that CAL provided to the Fund under the

IMA, the supposedly limited risks that CAL assumed with respect to the Fund, and/or because of

CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different services

and risks, fail to support a cognizable Section 36(b) claim for each of the fundamental reasons

set forth in CAL’s Responses to Paragraphs 284 and 313-314 as if fully set forth herein.

       Moreover, for all of the reasons set forth in CAL’s Responses to Paragraph 399-402,

supra, under Jones, the Independent Trustees’ annual approvals of the Fund’s management fee

are “entitled to considerable weight,” “commensurate deference,” and should not be

“supplanted.”

       Additionally, to the extent that Plaintiffs’ assertions in Paragraph 406 are a reprise of

Paragraphs 290-293, supra, CAL incorporates its Response to Paragraphs 290-293 as if fully set

forth herein.

       Finally, to the extent that Plaintiffs’ assertions rely on the testimony of Professor Bullard,

those assertions are not supported by any admissible or credible evidence because (a) Professor

Bullard lacks any qualification to offer any opinion regarding the Independent Trustees’ lack of

conscientiousness in their evaluation of certain information CAL provided in its 15(c) Response


                                                408
(notwithstanding that he has managed to reach this same conclusion in every Section 36(b) case

in which he has been retained), (b) Professor Bullard’s opinions suffer from a lack of

methodology and lack the rigor required for expert testimony, and (c) in light of the many flaws

in his “factual analysis,” Professor Bullard was forced to concede that he has no way of knowing

how any Independent Trustee actually considered the information CAL provided, and he

disavowed any “opinion on what was in the mind of any trustee.”1063

        407. Fourth, the Board’s decision to lift the fee waiver after just one-year (despite
being dissatisfied with CAL short-term and long-term performance) without setting any objective
criteria by which to assess whether CAL’s performance had improved sufficiently to merit lifting
the waiver, and its failure to seek lower advisory fees in any other years (such as through a
performance fee arrangement), demonstrates an utter lack of care and conscientiousness. See
¶¶301-06, supra. Further, despite the fact that the Growth Fund’s performance became
increasingly negative after the Board lifted the fee waiver, see Tr. at 161:20-168:6, the
Independent Trustees credulously accepted CAL’s explanation that it was taking steps to
improve performance – steps occasioned by its repeated failures – and concluded every year that
it would be prudent to allow CAL more time to develop its performance record, without setting
any standards. Tr. at 846:17-847:2 (Professor Bullard’s testimony that Board could conclude
that more time was appropriate if it applied a “consistent objective standard in that respect”).

         RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of the supposedly limited services that CAL provided to the Fund under the

IMA, the supposedly limited risks that CAL assumed with respect to the Fund, and/or because of

CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different services

and risks, fail to support a cognizable Section 36(b) claim for each of the fundamental reasons

set forth in CAL’s Responses to Paragraphs 284 and 313-314 as if fully set forth herein.

         Moreover, for all of the reasons set forth in CAL’s Responses to Paragraph 399-402,

supra, under Jones, the Independent Trustees’ annual approvals of the Fund’s management fee




1063
       DFFCL ¶¶ 451-457.

                                                409
are “entitled to considerable weight,” “commensurate deference,” and should not be

“supplanted.”

         Additionally, to the extent that Plaintiffs’ assertions in Paragraph 407 are a reprise of

Paragraphs 301-306, supra, CAL incorporates its Response to Paragraphs 301-306 as if fully set

forth herein.

         Finally, to the extent that Plaintiffs’ assertions rely on the testimony of Professor Bullard,

those assertions are not supported by any admissible or credible evidence because (a) Professor

Bullard lacks any qualification to offer any opinion regarding the Independent Trustees’ lack of

conscientiousness in their evaluation of certain information CAL provided in its 15(c) Response

(notwithstanding that he has managed to reach this same conclusion in every Section 36(b) case

in which he has been retained, (b) Professor Bullard’s opinions suffer from a lack of

methodology and lack the rigor required for expert testimony, and (c) in light of the many flaws

in his “factual analysis,” Professor Bullard was forced to concede that he has no way of knowing

how any Independent Trustee actually considered the information CAL provided, and he

disavowed any “opinion on what was in the mind of any trustee.”1064

         408. Fifth, in considering the Funds’ profitability, the Board blindly accepted CAL
decision to allocate 100% of its IT Services and G&A expenses to advisory, and none to
distribution, notwithstanding that distribution personnel constitute 23% of CAL’s total head-
count and utilize the same IT Services and G&A resources as CAL’s advisory personnel. See
¶¶294-98, supra. In fact, rather than acting as an independent check on CAL, Mr. Timbers
testified that he had no idea how CAL arrived at these allocations and stated that he simply gave
CAL the benefit of the doubt. See ¶297, supra.

         RESPONSE: Denied. Plaintiffs’ assertions that the Fund’s management fee is

excessive by virtue of the supposedly limited services that CAL provided to the Fund under the

IMA, the supposedly limited risks that CAL assumed with respect to the Fund, and/or because of


1064
       DFFCL ¶¶ 451-457.

                                                  410
CAL’s failure to “justify” the Fund’s fee in light of the supposed cost of these different services

and risks, fail to support a cognizable Section 36(b) claim for each of the fundamental reasons

set forth in CAL’s Responses to Paragraphs 284 and 313-314 as if fully set forth herein.

       Moreover, for all of the reasons set forth in CAL’s Responses to Paragraph 399-402,

supra, under Jones, the Independent Trustees’ annual approvals of the Fund’s management fee

are “entitled to considerable weight,” “commensurate deference,” and should not be

“supplanted.”

       Additionally, to the extent that Plaintiffs’ assertions in Paragraph 408 are a reprise of

Paragraphs 294-298, supra, CAL incorporates its Response to Paragraphs 294-298 as if fully set

forth herein. Specifically, Plaintiffs’ assertions that the Fund’s management fee is excessive or

that the Independent Trustees lacked conscientiousness by virtue of CAL’s “allocation of

expense between advisory and distribution functions” fail to support a cognizable Section 36(b)

claim for each of the fundamental reasons set forth in CAL’s Response to Paragraph 294, supra.

       409.     Accordingly, this Gartenberg factor weighs in favor of the Plaintiffs.

       RESPONSE: Denied, for all of the reasons set forth in CAL’s responses to Paragraphs

401-408, supra.

       F.       The Weight of the Gartenberg Factors Shows that CAL’s Fees Were not
                Rationally Related to the Services Rendered

        410. Accordingly, in sum, Plaintiffs have presented trial evidence not only that CAL
charged non-arm’s-length fees to the Growth Fund and derived excessive profits from the
Growth Fund, but that “the quality of services provided to the [Growth] Fund was poor to such
an extent that the [Growth] Fund’s Advisory Fees were excessive.” Chill, 2018 WL 4778912, at
*20. In particular, the evidence presented by Plaintiffs at trial establishes “three facts that
readily distinguish this case from others applying Section 36(b): Calamos charged more than
most other investment advisers; the Fund performed worse than most comparable mutual funds;
and all comparable non-captive clients that could leave Calamos did leave
Calamos.” Id. Those facts “separate the instant case from cases in which plaintiffs either could
not seriously challenge a fund’s fee placement relative to its peer group or could not seriously
challenge the fund’s performance.” Id. (citing See Goodman, 301 F. Supp. 3d at 781; Zehrer,
2018 WL 1293230, at *11; In re Blackrock, 327 F. Supp. 3d at 272 n.37; Kasilag, 2016 WL

                                                411
1394347, at *16). Hence, Plaintiffs have succeeded in proving a “unique ensemble of facts”,
Chill, 2018 WL 4778912, at *20, establishing that the Growth Fund’s fee “is so
disproportionately large that it bears no reasonable relationship to the services rendered and
could not have been the product of arm’s length bargaining.” Jones, 559 U.S. at 346.

        RESPONSE: Denied, for all of the reasons set forth in CAL’s Responses to Paragraphs

334-409, supra. Plaintiffs have failed to prove that the Fund’s fee is “so disproportionately

large” that it “could not have been the product of arm’s length bargaining.” Indeed, after four

years of litigation, Plaintiffs still have presented literally no logically-coherent, factually-

supported, legally-viable basis upon which the Court can be the first to hold an adviser liable

under Section 36(b). To override the business judgment of the Independent Trustees on this trial

record would place the Court squarely in the position of acting as the very “super-trustee” that

Jones makes clear is not the role of courts. Plaintiffs’ claim should be dismissed with prejudice

and judgment entered in favor of CAL.

        G.      Damages

         411. Plaintiffs presented three alternative measures of damages, each of which is a
valid basis for determining the level of compensation due from Defendant. Pomerantz Report at
¶¶503-17; Tr. at 569:20–579:7. Dr. Pomerantz presented these three damage calculations in
his initial report (Pomerantz Report at ¶¶503-17), and provided updated damages calculations
at trial (Tr. at 569:20–579:7), based on (1) more comprehensive expense data provided by
Defendant subsequent to Dr. Pomerantz’s report (Tr. at 565:2–568:2), and (2) on extending the
time period covered by the calculations beyond March 2017 (the end date in Dr. Pomerantz’s
initial May 2017 Report) and until October 2018 (Tr. at 571:17-22). These updated damages
calculations are attached as Exhibit C hereto.

        RESPONSE: Denied. CAL admits that Dr. Pomerantz purported to provide three

damage calculations, and that he provided for the first time new damages calculations at trial

based on information CAL had provided to Plaintiffs over a year before trial.

        CAL denies that any of Plaintiffs’ “alternative measures of damages” is “a valid basis for

determining the level of compensation due from Defendant.” Any cognizable damage claim in a

Section 36(b) case must measure actual economic harm, i.e., the difference between the fee the


                                                  412
adviser actually charged the fund and the upper limit of what an arm’s-length bargain could

produce. In this way, the liability and damage cases are melded together; liability is established

only when the actual fee exceeds the range of an arm’s length bargain, and the excessive portion

of that fee constitutes damages.1065

         Plaintiffs’ case failed to meet this foundational tenet in multiple ways: First, Plaintiffs’

only expert to opine on damages, Dr. Pomerantz, never intended to measure damages in this

way; to the contrary, as Dr. Pomerantz conceded, none of his damages models were based on the

upper bound of the range of fees that CAL and the Fund could have arrived at through arm’s-

length bargaining. Second, far from integrating their liability and damages cases at trial,

Plaintiffs sought to divorce them. Third, Dr. Pomerantz’s damages theories served largely to

highlight the failures in Plaintiffs’ liability proof. Fourth, Dr. Pomerantz’s three damage models

suffer from independent conceptual, economic and mathematical flaws that render them

unreliable.1066

         Given that Plaintiffs’ entire damages case rested on Dr. Pomerantz and his flawed

models, they have no cognizable damages case at all, which provides yet another independent

basis for a judgment in favor of CAL.1067

                  1.    The Damages Period

        412. Damages in this action are limited to the period from February 2014 (one year
prior to complaint filing) through October 2018 (the “Damages Period”). Pomerantz Report at
¶503; Tr. at 569:20–579:7.




1065
       DFFCL ¶¶ 391-396.
1066
       DFFCL ¶¶ 365-390.
1067
       DFFCL ¶¶ 397-400.

                                                  413
          RESPONSE: Denied. CAL admits that Paragraph 412 accurately states the applicable

damages period, except that the parties agreed that any otherwise-recoverable damages, to the

extent any such damages exist and are proven, would be reduced by one month in light of

Plaintiffs’ earlier request to extend the discovery period.

                 2.      Damages as the Difference Between the Fee Charged and a
                         Benchmark Representing an Arm’s-Length Fee

       413. Defendant’s expert Dean Hubbard testified that the appropriate measure of
damages in a 36(b) case is the difference between the fee charged and an arm’s length
benchmark. Tr. at 700:2-702:18. Plaintiffs’ expert Dr. Pomerantz agreed (Tr. at 569:21-570:7),
and presented damages calculated with reference to three possible such benchmarks (Tr. at
569:20–579:7).

          RESPONSE: Denied. CAL denies Plaintiffs’ mischaracterization of Dean Hubbard’s

description of an appropriate measure of damages in this case. Dean Hubbard explained during

his deposition that damages would need to be based on “a benchmark of what a competitive

value would be,” and he explained at trial that “the competitive benchmark means the outer

bounds of an arm’s-length bargain.”1068

          CAL denies that any of Plaintiffs’ alternative measures of damages are a valid basis for

determining the level of compensation due from CAL. Any cognizable damage claim in a

Section 36(b) case must measure actual economic harm, i.e., the difference between the fee the

adviser actually charged the fund and the upper limit of what an arm’s-length bargain could

produce. In this way, the liability and damage cases are melded together; liability is established

only when the actual fee exceeds the range of an arm’s length bargain, and the excessive portion

of that fee constitutes damages.1069




1068
       Tr. 700:2-16, 701:6-16 (Hubbard).
1069
       DFFCL ¶¶ 391-396.

                                                 414
         Plaintiffs’ case failed to meet this foundational tenet in multiple ways: First, Plaintiffs’

only expert to opine on damages, Dr. Pomerantz, never intended to measure damages in this

way; to the contrary, as Dr. Pomerantz conceded, none of his damages models were based on the

upper bound of the range of fees that CAL and the Fund could have arrived at through arm’s-

length bargaining. Second, far from integrating their liability and damages cases at trial,

Plaintiffs sought to divorce them. Third, Dr. Pomerantz’s damages theories served largely to

highlight the failures in Plaintiffs’ liability proof. Fourth, Dr. Pomerantz’s three damage models

suffer from independent conceptual, economic and mathematical flaws that render them

unreliable.1070

         Given that Plaintiffs’ entire damages case rested on Dr. Pomerantz and his models, they

have no cognizable damages case at all, which provides yet another independent basis for a

judgment in favor of CAL.1071

                  3.    Damages Method 1: Damages as the Difference between the Fees
                        Payable under the IMA and under the Standard SMA Schedule

        414. Plaintiff’s first measure of damages calculates excessive fees as the difference
between (1) fees paid by the Growth Fund under the IMA fee schedule, as assessed monthly
based on the Growth Fund’s monthly average AUM, and (2) the fees the Growth Fund would
have paid under the Standard SMA Schedule (Pomerantz Report ¶¶504(a), 505-08; Tr. at
577:14–578:3; PX 438 at 5), minus (3) a 6.1 bps adjustment for the estimated maximum possible
cost of additional services that CAL provided to the Funds but not to Other ACG Accounts (Tr.
at 565:2–568:2), in order to present an apples to apples comparison of the services provided
(Tr. at 571:23–572:22).

         RESPONSE: Denied. CAL admits that Paragraph 414 sets forth Dr. Pomerantz’s

description of his first measure of damages. Plaintiffs’ Damages Method 1 is not a coherent or

viable damages calculation for at least nine different and independent reasons:



1070
       DFFCL ¶¶ 365-390.
1071
       DFFCL ¶¶ 397-400.

                                                  415
         First, this damages model is completely divorced from Plaintiffs’ liability case. Any

cognizable damage claim in a Section 36(b) case must measure actual economic harm, i.e., the

difference between the fee the adviser actually charged the fund and the upper limit of what an

arm’s-length bargain could produce. In this way, the liability and damage cases are melded

together; liability is established only when the actual fee exceeds the range of an arm’s length

bargain, and the excessive portion of that fee constitutes damages.1072 However, Plaintiffs made

no effort to prove at trial that the range of fees that could have been produced by an arm’s-length

bargain ended at 51 basis points.1073

         Second, as Dr. Pomerantz conceded, all of the institutional All Cap Growth Clients paid

effective fee rates under this same fee schedule that were “significantly more” than this 51 basis

points, undermining his assumed ceiling on the Fund’s fee.1074

         Third, this damages model does not comport with any sensible theory of liability. If CAL

were to charge the Fund the fee dictated by Dr. Pomerantz’s Damages Method 1, the Fund’s fee

would be lower than the fees paid by more than 75% of the Fund’s peer mutual funds. Plaintiffs

offered no evidence or explanation of any kind to reconcile their damages model with the

necessary implication that the maximum non-excessive fee that CAL could charge the Fund

would need to be lower than 75% of its peers.1075

         Fourth, as presented in Dr. Pomerantz’s expert reports, his Damages Method 1 is

economically flawed because it ignores all of the different characteristics of mutual funds on the




1072
       DFFCL ¶¶ 391-396.
1073
       DFFCL ¶ 374.
1074
       DFFCL ¶ 375.
1075
       DFFCL ¶ 378.

                                                416
one hand and institutional and sub-advisory clients on the other hand. Put simply, it assumes that

the many different services and risks unique to the Fund discussed above simply do not exist.1076

          Fifth, Dr. Pomerantz’s supposed 6.1 bps “adjustment for the maximum possible cost of

additional services provided to the Growth Fund” does not represent an accurate measure of the

difference in CAL’s costs between providing services to the Fund and CAL’s All Cap Growth

Clients. Dr. Pomerantz’s belated and demonstrably erroneous calculation does not prove

anything, and is therefore of no probative value to any issue in this case, because, among other

reasons (a) at the time of his deposition, Dr. Pomerantz testified that he had not, and could not,

calculate the difference in CAL’s costs between managing a mutual fund and advising an

institutional or sub-advisory All Cap Growth Client, (b) Dr. Pomerantz does not have the

requisite experience in the mutual fund industry to assess the differences in services and risks

involved in advising a mutual fund as compared with institutional or sub-advisory accounts, and

(c) Dr. Pomerantz conceded that he had zero experience calculating this type of cost differential

during his career, and he could not provide any example of an occasion in which a court had

ruled that he was qualified to perform this kind of analysis.1077 As Dr. Pomerantz aptly described

it, the costs forming the basis for his 6.1 basis point calculation “don’t really correspond to

anything.”1078

          Sixth, this model also is senseless at another level. Dr. Pomerantz acknowledged that the

sum total of all of the costs of all of the services provided to the Fund he referenced in this late

addition to his damages opinions (i.e., the cost of the services that Dr. Pomerantz believes to be



1076
       DFFCL ¶ 376.
1077
       DFFCL ¶¶ 376-377, 379.
1078
       DFFL ¶ 379.

                                                 417
common to the Fund and to CAL’s All Cap Growth Clients, without including the 6.1 basis

points of costs Dr. Pomerantz believes apply only to the Fund), would be approximately 65 basis

points. Yet he is capping CAL’s fee under this model at 51 basis points, which of course is less

than his total calculated costs. It is therefore not surprising that he struggled at trial to explain

how his supposed 6.1 basis point differential based on the CAL’s costs for providing greater

services to the Fund could be accurate.1079

         Seventh, Dr. Pomerantz’s model is also nonsensical because the results would eliminate

all, or substantially all, of the profit CAL earns from advising the Fund. Dr. Pomerantz and

Plaintiffs ignored this issue entirely and made no effort to contradict in the slightest Dean

Hubbard’s analysis showing that, if CAL were to charge the Fund the fee dictated by

Dr. Pomerantz’s Damages Method l 1, CAL’s pre-distribution operating margin would be much

lower, if not negative and its post-distribution margin would be substantially negative.1080

         Eighth, Dr. Pomerantz’s Damages Method 1 must be rejected because it is necessarily a

cost-plus pricing model that Section 36(b) does not endorse and that does not make economic

sense in the mutual fund industry. In the apt words of Dean Hubbard: this damages model is

“necessarily cost-plus pricing. That is exactly what it is.”1081 In addition, no regulator or Court

has ever concluded that institutional or sub-advisory fees serve as a ceiling on mutual fund fees.

As both Dr. Pomerantz and Professor Bullard conceded, Section 36(b) and Jones do not require

fee parity across an adviser’s different clients.” Hence, no court has ever held that institutional

or sub-advisory accounts are an apt comparison for a mutual fund such that their fees can define



1079
       DFFCL ¶ 379.
1080
       DFFCL ¶ 380.
1081
       DFFCL ¶ 381.

                                                  418
the arm’s-length bargaining range for a fund’s management fee. Indeed, every court to consider

the issue on the merits (as opposed to having to credit plaintiffs’ allegations at the pleadings

stage) has rejected this effort.1082

         Ninth, Dr. Pomerantz’s opinion setting forth this damages model should be excluded,

because (a) he lacks the qualifications necessary to determine the comparability of the Fund to

CAL’s institutional and sub-advisory All Cap Growth Clients, as his calculation requires to be

true, and (b) his methodology is fatally flawed and therefore unreliable. Dr. Pomerantz is not

qualified to dismiss out of hand the differences in services and risks between managing a mutual

fund and advising an institutional or sub-advisory client, nor is he qualified to compare the scope

of portfolio management services provided to mutual funds versus institutional or sub-advisory

clients.1083 In addition his comparison of these fees to the Fund’s fee is also infected by his bias

against mutual fund advisers. Rather than critically assessing the aptness of comparing these

types of investment products or providing any kind of economic explanation, Dr. Pomerantz’s

only explanation for this industry-wide fee differential—long-standing and “prevalent abuse”

across the mutual fund industry—demonstrates that Dr. Pomerantz’s calculation suffers from

negative bias and is not an objective, professional opinion arrived at by using any sort of reliable

methodology.1084

        415. The Growth Fund paid an average effective fee rate of 0.87% under the IMA fee
schedule during the Damages Period, but would have paid an average effective fee rate of 0.51%
under the Standard SMA Schedule. Tr. at 571:23–572:22. Under this calculation, the difference
between the two is 0.36% (36 basis points), which is then reduced by 6.1 basis points (to adjust
for the maximum possible cost of additional services provided to the Growth Fund) to yield a
damages measure of approximately 0.30% (30 basis points). Id. Applied on a monthly basis


1082
       DFFCL ¶¶ 227-229.
1083
       DFFCL ¶¶ 430-432.
1084
       DFFCL ¶¶ 433-435.

                                                419
throughout the Damages Period to the Growth Fund’s monthly average AUM, this adjusted
differential yields aggregate damages of $32.7 million. Id.

          RESPONSE: Denied. CAL admits that Paragraph 415 sets forth the process

Dr. Pomerantz claims to have followed to create his first measure of damages. Plaintiffs’

Damages Method 1 is not a valid damages calculation for at least nine different and independent

reasons, as demonstrated in CAL’s Response to Paragraph 414, which is incorporated as if fully

set forth herein.

        416. This measure of damages, which takes the Standard SMA Schedule as the
measure, or benchmark, of rates negotiated at arm’s length, is a conservative one, because it
does not take into account the substantially lower advisory fee rates paid by CAL’s largest Other
ACG Accounts most comparable in size (and services) to the Growth Fund. See e.g. Tr. at
571:23–574:13, 575:19–576:17. The Standard SMA Schedule was the governing rate for 31 of
CAL’s 36 Other ACG Accounts (indeed, for all 31 Institutional ACG Accounts), but those
accounts were all comparatively small, and only 10% or less of the aggregate money CAL
managed for the Other ACG Accounts paid advisory fees set by the Standard SMA Schedule. See
¶¶75, 78-82, supra. The Standard SMA Schedule did not contemplate AUM ranges substantially
in excess of $75 million (Tr. at 577:14–578:3; PX 438 at 5). Other ACG Accounts with AUM
substantially in excess of $75 million, however, proved able to negotiate different and lower
advisory fee rates for themselves (Tr. at 572:19–573:13): specifically, CAL’s largest Other ACG
Accounts (Nomura and the two MD Accounts, which accounted for 90% or more of CAL’s total
Other ACG Account AUM for most of the Relevant Period (see ¶¶84-87, supra)).

          RESPONSE: Denied. Plaintiffs’ assertion that the Fund’s comparatively larger AUM

would have allowed it to negotiate a lower management fee than the Standard SMA Schedule

provides is based solely on the speculation of Dr. Pomerantz, who conceded that he has no direct

experience with negotiating management fees (or a fee for any third-party service provider) on

behalf of a mutual fund.1085 Plaintiffs’ Damages Method 1 is not a valid damages calculation for

at least nine different and independent reasons, as demonstrated in CAL’s Response to Paragraph

414, which is incorporated as if fully set forth herein.




1085
       DFFCL ¶¶ 412-413; Tr. 406:8-407:24, 409:17-410:6 (Pomerantz).

                                                 420
                4.      Damages Method 2: Damages as the Difference Between the Effective
                        Fee Rate Paid by the Growth Fund and Weighted Average Rate Paid
                        by CAL’s Other ACG Accounts

        417. Plaintiffs’ second measure of damages calculates excessive fees in a manner
identical to the first measure, except that instead of using the Standard SMA Schedule as the
benchmark for an arm’s-length advisory fee, it uses the AUM-weighted average effective fee rate
actually paid by CAL’s Other ACG Accounts (Pomerantz Report at ¶¶504(b), 509-11), similarly
adjusted for the maximum possible cost of any service differentials. Tr. at 572:19–574:13,
575:19–577:12.

         RESPONSE: Denied. Plaintiffs’ Damages Method 2 is not a coherent or viable

damages calculation for at least ten different and independent reasons:

         First, this damages model is completely divorced from Plaintiffs’ liability case. Any

cognizable damage claim in a Section 36(b) case must measure actual economic harm, i.e., the

difference between the fee the adviser actually charged the fund and the upper limit of what an

arm’s-length bargain could produce. In this way, the liability and damage cases are melded

together; liability is established only when the actual fee exceeds the range of an arm’s length

bargain, and the excessive portion of that fee constitutes damages.1086 However, at no point

during trial did Plaintiffs offer evidence that an arm’s-length bargain for the Fund’s fee would

not extend beyond 42 basis points. There is good reason for this disconnect, as it was undisputed

at trial that under this model, the Fund’s fee would be lower than more than 75% of the fees paid

by peer mutual funds.1087

         Second, Dr. Pomerantz based this calculation on only nine of CAL’s All Cap Growth

Clients (six institutional accounts and three sub-advisory accounts), despite the fact that, as the

parties stipulated before trial, CAL had 36 All Cap Growth Clients during the Relevant Period.

Plaintiffs made no effort at trial to explain or correct for this error, for the likely reason, as


1086
       DFFCL ¶¶ 391-396.
1087
       DFFCL ¶ 383.

                                                  421
Dr. Pomerantz admitted, that adding the missing 27 accounts—all of which paid fees higher than

42 basis points and the majority of which paid 75 basis points—would have raised his calculated

fee ceiling and reduced damages.1088

         Third, Dr. Pomerantz did not do any kind of analysis to determine whether any of CAL’s

All Cap Growth Clients—including the two sub-advisory clients, Nomura and MD American,

who were charged the lowest fees—were actually comparable to the Fund. Removing those two

sub-advisory accounts alone would have increased his calculated average fee to more than 70

basis points.1089

         Fourth, Dr. Pomerantz did not re-calculate his weighted average effective fee to account

for the fact that CAL’s mix of All Cap Growth Clients changed throughout the Relevant Period.

Indeed, Dr. Pomerantz’s 42 basis point calculation is entirely inapplicable for 2017 and 2018—

i.e., nearly two-fifths of the Relevant Period—because during those years, CAL had no All Cap

Growth Clients.1090

         Fifth, Dr. Pomerantz’s weighted average effective fee also ignores a particularly

important fact: that some of CAL’s former All Cap Growth Clients that could have opened

institutional accounts instead chose to invest in the Fund and pay the same management fee as

Plaintiffs. These facts speak directly to the range of an arm’s-length bargain and are directly at

odds with a fee ceiling of 42 basis points.1091

         Sixth, Dr. Pomerantz also adjusted this damages model to include the same 6.1 additional

basis points discussed above that purportedly represent the additional costs that CAL incurs to


1088
       DFFCL ¶ 384.
1089
       DFFCL ¶ 385.
1090
       DFFCL ¶ 386.
1091
       DFFCL ¶ 387.

                                                  422
manage the Fund over its All Cap Growth Clients. Dr. Pomerantz’s “6.1 bps adjustment” does

not represent an accurate measure of the difference in CAL’s costs between providing services to

the Fund and to CAL’s All Cap Growth Clients. Dr. Pomerantz’s belated and demonstrably

erroneous calculation does not prove anything, and is therefore of no probative value to any issue

in this case, because, among other reasons (a) at the time of his deposition, Dr. Pomerantz

testified that he had not, and could not, calculate the difference in CAL’s costs between

managing a mutual fund and advising an institutional or sub-advisory All Cap Growth Client, (b)

Dr. Pomerantz does not have the requisite experience in the mutual fund industry to assess the

differences in services and risks involved in advising a mutual fund as compared with

institutional or sub-advisory accounts, and (c) Dr. Pomerantz conceded that he had zero

experience calculating this type of cost differential during his career, and he could not provide

any example of an occasion in which a court had ruled that he was qualified to perform this kind

of analysis.1092 As Dr. Pomerantz aptly described it, the costs forming the basis for his 6.1 basis

point calculation “don’t really correspond to anything.”1093

          Seventh, Dr. Pomerantz acknowledged that the sum total of all of the costs of all of the

services provided to the Fund he referenced in this late addition to his damages opinions (i.e., the

cost of the services that Dr. Pomerantz believes to be common to the Fund and to CAL’s All Cap

Growth Clients, without including the 6.1 basis points of costs Dr. Pomerantz believes apply

only to the Fund), would be approximately 65 basis points. Dr. Pomerantz offered no sensible

explanation for why the 42 basis point fee average that his model would require CAL to charge

would be lower than his 65 basis point cost calculation. Obviously, and as Dr. Pomerantz



1092
       DFFCL ¶¶ 376-377, 379.
1093
       DFFL ¶ 379.

                                                 423
conceded, CAL would lose significant amounts of money advising All Cap Growth Clients if, as

Dr. Pomerantz’s trial calculations suggested, it charged those clients only 42 basis points for

services that cost CAL 65 basis points to provide.1094

         Eighth, this damages model, like Dr. Pomerantz’s other models, makes no better

economic sense looked at from the business of managing the Fund. Plaintiffs made no effort to

respond to Dean Hubbard’s analysis showing that this maximum 42 basis point fee would mean

that CAL’s pre-distribution operating margin would be quite low, and its post-distribution

operating margin frequently negative. Put simply, the fee that Dr. Pomerantz considers to be a

“competitive benchmark” “would imply that the fund had to become virtually the cheapest and

lose money to be able to meet a competitive standard.”1095

         Ninth, ultimately Dr. Pomerantz’s Damages Method 2 is based on a cost-plus pricing

model that does not make any economic sense in the mutual fund industry and that both the

legislative history and the case law under Section 36(b) explicitly prohibit. In the apt words of

Dean Hubbard: this damages model is “necessarily cost-plus pricing. That is exactly what it is.”

In addition, no regulator or Court has ever concluded that institutional or sub-advisory fees serve

as a ceiling on mutual fund fees. As both Dr. Pomerantz and Professor Bullard conceded,

Section 36(b) and Jones do not require fee parity across an adviser’s different clients.” Hence,

no court has ever held that institutional or sub-advisory accounts are an apt comparison for a

mutual fund such that their fees can define the arm’s-length bargaining range for a fund’s




1094
       DFFCL ¶ 388.
1095
       DFFCL ¶ 389.

                                                424
management fee. Indeed, every court to consider the issue on the merits (as opposed to having to

credit plaintiffs’ allegations at the pleadings stage) has rejected this effort.1096

          Tenth, Dr. Pomerantz’s opinion setting forth this damages model should be excluded,

because (a) he lacks the qualifications necessary to determine the comparability of the Fund to

CAL’s institutional and sub-advisory All Cap Growth Clients, as his calculation requires to be

true, and (b) his methodology is fatally flawed and therefore unreliable. Dr. Pomerantz is not

qualified to dismiss out of hand the differences in services and risks between managing a mutual

fund and advising an institutional or sub-advisory client, nor is he qualified to compare the scope

of portfolio management services provided to mutual funds versus institutional or sub-advisory

clients.1097 In addition, his comparison of these fees to the Fund’s fee is also infected by his bias

against mutual fund advisers. Rather than critically assessing the aptness of comparing these

types of investment products or providing any kind of economic explanation, Dr. Pomerantz’s

only explanation for this industry-wide fee differential—long-standing and “prevalent abuse”

across the mutual fund industry—demonstrates that Dr. Pomerantz’s calculation suffers from

negative bias and is not an objective, professional opinion arrived at by using any sort of reliable

methodology.1098

       418. CAL charged the Growth Fund an average effective fee rate of 0.87% under the
IMA fee schedule during the Damages Period, but charged its Other ACG Accounts a weighted
average effective fee rate of 0.42% (the overall effective fee rate paid by all Other ACG Account
AUM in the aggregate). Tr. at 572:19–574:13, 576:10-16. The difference between the two is
0.45% (45 basis points), which after a 6.1 basis point reduction to adjust for the maximum
possible cost of additional services provided to the Growth Fund yields a damages measure of
approximately 0.39% (39 basis points). Tr. at 572:19–573:5. Applied on a monthly basis



1096
       DFFCL ¶¶ 227-229, 381.
1097
       DFFCL ¶¶ 430-432.
1098
       DFFCL ¶¶ 433-435.

                                                  425
throughout the Damages Period to the Growth Fund’s monthly average AUM, this adjusted
differential yields aggregate damages of $42.3 million. Id.

        RESPONSE: Denied. CAL denies that it “charged its Other ACG Accounts a weighted

average effective fee rate of 0.42%.” Plaintiffs’ Damages Method 2 is not a valid damages

calculation for at least nine different and independent reasons, as demonstrated in CAL’s

Response to Paragraph 417, which is incorporated as if fully set forth herein.

        419. This second damages measure is arguably superior to the first because the
competitive benchmark used (i.e., the measure of the arm’s-length fee for the relevant services)
is the actual effective fee rate paid, on an overall basis, by CAL’s Other ACG Accounts
(discounted for any service differentials). Tr. at 573:6–574:13.

        RESPONSE: Denied. CAL denies Plaintiffs’ assertion that Plaintiffs’ Damages Method

2 is “arguably superior” to Damages Method 1 because that assertion is premised on Plaintiffs’

unsupported and erroneous assertions that Damages Method 2: (1) incorporates “the actual

affective fee rate paid, on an overall basis, by CAL’s Other ACG Accounts,” and (2) “discount[s]

for any service differentials” between the Fund and CAL’s All Cap Growth Clients. Plaintiffs’

Damages Method 2 is not a valid damages calculation for at least ten different and independent

reasons, as demonstrated in CAL’s Response to Paragraph 417, which is incorporated as if fully

set forth herein.

        420. Dean Hubbard’s theoretical criticism of this damages measure – that it depends
on and can vary according to the precise mix of CAL’s Other ACG Accounts at any given time
(Hubbard Report at ¶¶201-02) – recasts the measure’s strength (that it represents the actual
overall effective fee rate actually paid by CAL’s actual Other ACG Accounts) as its flaw. Tr. at
573:14–574:13.

        RESPONSE: Denied. CAL denies that the susceptibility of Damages Method 2 to

variations in CAL’s All Cap Growth Clients constitutes “the measure’s strength.” The validity

of Dean Hubbard’s criticism is illustrated by the fact that when creating Damages Method 2,

Dr. Pomerantz did not even adjust his weighted average effective fee rate as that fee rate changed



                                               426
during the Relevant Period in response to CAL’s changing mix of clients, which caused the

effective fee rate for all clients to increase above 42 basis points.1099

          CAL also denies that Plaintiffs’ Damages Method 2 is a coherent and viable measure of

damages for at least ten different and independent reasons, as demonstrated in CAL’s Response

to Paragraph 417, which is incorporated as if fully set forth herein.

        421. Defendant argues that the weighted average effective fee rate of 0.42% calculated
by Dr. Pomerantz has insufficient basis, and is potentially inaccurate, because it was calculated
on the basis of information from only nine Other ACG Accounts, including the Nomura and MD
Accounts responsible for 90% or more of total Other ACG Account assets during most of the
Relevant Period, rather than from information from all 36 Other ACG Accounts that CAL has
had at any time after January 1, 2012 (Tr. at 582:16–584:10; see also id. at 498:11–500:10,
507:2–508:23).1100

          RESPONSE: Denied as stated. CAL also denies that Plaintiffs’ Damages Method 2 is a

coherent and viable measure of damages for at least ten different and independent reasons, as

demonstrated in CAL’s Response to Paragraph 417, which is incorporated as if fully set forth

herein.

        422. In fact, a comprehensive weighted average fee rate paid by all Other ACG
Accounts during the Relevant Period is calculable from the Other ACG Account data Defendant
first provided in its September 2017 interrogatory response (JX 181 at Ex. A), subsequent to
Dr. Pomerantz’s May 2017 initial report (Pomerantz Report): that weighted average is 0.46%.
See Exhibit A hereto.

          RESPONSE: Denied. CAL objects to Plaintiffs’ attempt to introduce this new analysis

by Dr. Pomerantz after trial, thereby depriving CAL of any ability to cross-examine him about

his purported work. Dr. Pomerantz had this data available to him to analyze since September


1099
       Tr. 586:13-587:22 (Pomerantz).
1100
     Many of the 36 Other ACG Accounts (specifically, 13 of the 36) had terminated CAL prior to
the Relevant Period. See ¶71, supra; Tr. at 583:10–584:4. RESPONSE: CAL denies that 13
of the Other ACG Accounts terminated CAL prior to the Relevant Period. Seven of these 13
accounts identified by Plaintiffs terminated CAL on June 27, 2013, which was after the June 21,
2013 meeting at which the Board approved the Fund’s IMA and, therefore, within the Relevant
Period. Compare JX 181 at Ex. A, with JX 31.

                                                  427
2017, more than a year in advance of trial, which he admitted at trial.1101 Dr. Pomerantz was

previously reprimanded for using exactly this tactic in Sivolella, in which he also attempted to

rehabilitate his flawed damages models through updated charts that were “never disclosed at trial

or prior to the parties’ pre-trial order.”1102 As the Sivolella court explained:

                     A party cannot cure flaws or inaccuracies in its trial presentation
                     through post-trial submissions by simply submitting new charts and
                     updated calculations. If the Court were to allow this, Defendants
                     would be deprived of their right to cross-examine Plaintiffs’
                     witnesses, or offer their own testimony or evidence in rebuttal. The
                     right to cross-examine and test the soundness of the calculations is
                     particularly important here in light of the large number of errors,
                     methodological shortcomings, and basic mistakes demonstrated by
                     Plaintiffs’ experts [i.e., Dr. Pomerantz] at trial.1103

The Court should similarly rule that Dr. Pomerantz’s strategically untimely analysis “should not

be considered.”1104

          Even if this untimely testimony were permitted, it would not cure any of the flaws with

Plaintiffs’ “Damages Method 2” for all of the reasons set forth in CAL’s Responses to

Paragraphs 417-421, supra.

                     5.     Damages Method 3: Damages as the Difference Between the Advisory
                            Fees Paid by the Fund and the Advisory Fees Paid by Similar Funds

        423. Plaintiff’s third measure of damages calculates excessive fees as the difference
between (1) fees paid by the Growth Fund under the IMA fee schedule, as assessed monthly
based on the Growth Fund’s monthly average AUM, and (2) based on Dr. Pomerantz’s analysis
of the effective advisory fee rates and AUM of approximately 417 similarly-classified mutual
funds, the model-predicted advisory fee payable by a mutual fund the size of the Growth Fund
(Pomerantz Report at ¶¶504(c), 512-17); Tr. at 574:14–575:6, 593:31–594:20). Here, unlike in
Plaintiffs’ first and second damages measures, no service differential adjustment is used or



1101
       JX 181 at 10; Tr. 596:19-21 (Pomerantz).
1102
       Sivolella, 2016 WL 4487857, at *70.
1103
       Id. at *71.
1104
       Id. at *70.

                                                     428
needed, as the Growth Fund’s advisory fees are compared against those paid by other mutual
funds, rather than those paid by institutional or subadvisory clients. Tr. at 575:1-4.

         RESPONSE: Denied. CAL denies that Plaintiffs’ Damages Method 3 measures

“excessive fees.” Dr. Pomerantz’s Damages Method 3 does not provide a coherent basis for

calculating cognizable Section 36(b) damages.

         First, this damages model is completely divorced from Plaintiffs’ liability case. Any

cognizable damage claim in a Section 36(b) case must measure actual economic harm, i.e., the

difference between the fee the adviser actually charged the fund and the upper limit of what an

arm’s-length bargain could produce. In this way, the liability and damage cases are melded

together; liability is established only when the actual fee exceeds the range of an arm’s length

bargain, and the excessive portion of that fee constitutes damages.1105 However, Damages

Method 3 would require a finding that not only does CAL charge a fee that exceeds the range of

an arm’s-length bargain, but so too do more than 57% of the hundreds of other advisers in the

Fund’s Morningstar Category.1106 Plaintiffs made no effort at trial to show that this fee level is

the upper end of the range of an arm’s-length bargain; indeed, they never tried to establish

liability on the basis of any particular peer fund ranking.1107

         Second, Dr. Pomerantz’s regression model underlying Damages Method 3 uses AUM as

the only variable that predicts mutual fund fees, despite the fact that Dean Hubbard explained

that numerous other explanatory variables would impact the fee paid by a particular fund.1108




1105
       DFFCL ¶¶ 391-396.
1106
       DFFCL ¶ 369.
1107
       DFFCL ¶ 369.
1108
       DFFCL ¶ 264.

                                                 429
Due to this limitation, more than 82% of variation of mutual fund fees is left unexplained and

unaccounted for by Dr. Pomerantz’s regression.1109

         Third, this damages model also reflected sloppy work that makes it unreliable. For

example, Dr. Pomerantz did not apply a confidence interval to his regression calculation. If this

single flaw in his model is corrected, the Fund’s actual fee is within the range predicted by his

regression, i.e., the Fund’s fee is statistically not different than his model would predict,

preventing a finding of either liability or damages on that basis. In addition, although

Dr. Pomerantz incorrectly described this model in his expert report as a comparison to a “median

rate,” this model has nothing to do with a “median rate.”1110

         Given these fundamental and pervasive flaws with Damages Method 3, even

Dr. Pomerantz admitted that this damages model is “less meritorious” than his other damages

models.1111

        424. Damages calculated by this measure aggregate to approximately $29 million (Tr.
at 575:5-6): the Growth Fund’s average advisory fee during the Relevant Period was 0.87%,
while the average model-predicted advisory fee (based on Dr. Pomerantz’s analysis of those
paid by similar funds) was 0.61%, yielding an average differential of 0.26% (26 basis points)
and aggregate damages of $28.975 million.

         RESPONSE: Denied. CAL denies that Plaintiffs’ Damages Method 3 is a coherent and

viable measure of damages for the reasons demonstrated in CAL’s Response to Paragraph 423,

which is incorporated as if fully set forth herein.

       425. Defendant’s criticisms of this damages calculation all center on the validity and
explanatory power of the Dr. Pomerantz’s model-predicted fee of 0.61%. Tr. at 522:6–527:6,
532:5–533:15; 733:18–736:7; Hubbard Report at ¶¶203-04. However, as Dean Hubbard
explains, all these criticisms can be resolved by substituting, in place of Dr. Pomerantz’s model-
predicted fee, the median fee paid by mutual funds of similar size and character. Tr. at 734:22–

1109
       DFFCL ¶ 266.
1110
       DFFCL ¶¶ 370-371.
1111
       DFFCL ¶ 369.

                                                 430
735:1. Here, Dr. Pomerantz, as well as each of the Independent Data Providers, has also
calculated median advisory fee paid by funds of similar size and character: 0.63%, according to
Dr. Pomerantz (Pomerantz Report at ¶302); according to Morningstar, 0.62% (in its 2016
report), 0.60% (in its 2015 report), and 0.62% (in its 2014r report) (see JX 130 at 636413; JX 88
at 524006; JX 46 at 520623); and according to Strategic Insight, 0.74% (in its 2018 report) and
0.69% (in its 2017 report) (see JX 186 at 653890; JX 175 at 652026). The average of all these
median fee observations is 0.65%.

          RESPONSE: Denied. Plaintiffs’ statement in Paragraph 425 blatantly misrepresents the

testimony of Dean Hubbard, who said that Dr. Pomerantz’s use of the term “median” fee to

describe the regression model that Dr. Pomerantz used to create Damages Method 3 was an

“obvious” descriptive error that reflected Dr. Pomerantz’s repeated inability to accurately

describe the analysis that he conducted.1112 No good faith reading of Dean Hubbard’s testimony

can support Plaintiffs’ assertion that Dean Hubbard’s numerous additional criticisms of

Plaintiffs’ Damages Method 3—separate and apart from Dr. Pomerantz’s incorrect use of the

word “median”—can be remedied simply by replacing Dr. Pomerantz’s regression with the

median fee for the Fund’s Morningstar Category.1113 To the contrary, this supposed remedy

would not address at all Dr. Hubbard’s criticism that Dr. Pomerantz’s Damages Method 3 would

impose purported damages on more than half of the mutual funds in the Fund’s Morningstar

Category.1114

          Plaintiffs’ statement in Paragraph 425 also misstates the median fee for the data set that

Dr. Pomerantz used to calculate Damages Method 3. Dr. Pomerantz did not calculate a median

fee for the set of 417 mutual funds used to create the regression model that is the basis of his

Damages Method 3, but the underlying data set in his work papers reflects that the median of




1112
       Tr. 734:22-735:1 (Hubbard).
1113
       Tr. 735:1-736:7 (Hubbard).
1114
       Tr. 735:1-4 (Hubbard); DFFCL ¶ 369.

                                                  431
these mutual funds’ fees would be 0.70%—not 0.63%. Instead, 0.63% represents the average fee

charged by mutual funds in Dr. Pomerantz’s smaller, size-restricted group of 129 mutual funds,

not the set of mutual funds that actually formed the basis for Dr. Pomerantz’s Damages Method

3.1115 In keeping with Plaintiffs’—through Dr. Pomerantz’s—loose use of statistical terms, the

portion of Dr. Pomerantz’s report on which Plaintiffs rely actually reports the average fee for this

different, more limited data set of mutual funds; Dr. Pomerantz’s work papers reflect that the

median fee for this group would actually be 0.64%.1116 CAL also denies that Plaintiffs’ assertion

in Paragraph 425 accurately states the median fees that Morningstar and Strategic Insight

reported for the Fund’s Morningstar Category, which was the group of mutual funds that

Dr. Pomerantz used to create Damages Method 3, but instead reports the median fees for the

Fund’s more limited peer group, which is based on much fewer mutual funds. The category

medians reported by Morningstar were systematically higher in each year than the medians

Plaintiffs reported above: 0.69% (in 2014), 0.69% (in 2015), and 0.68% (in 2016).1117 Strategic

Insight did not report a median advisory fee for all mutual funds in the Fund’s Morningstar

Category.1118

             CAL also denies that Plaintiffs’ Damages Method 3 is a coherent and viable measure of

damages for the reasons demonstrated in CAL’s Response to Paragraph 423, which is

incorporated as if fully set forth herein.




1115
       Pomerantz Rpt. ¶ 302.
1116
       Id.
1117
  JX 46 at CALAMOS_00520623; JX 88 at CALAMOS_00524006; JX 130 at
CALAMOS_00636413.
1118
       JX 175 at CALAMOS_00652022 – 026, JX 186 at CALAMOS_00953886 – 890.

                                                   432
        426. If this damages calculation is revised to replace Dr. Pomerantz’s model-predicted
fee (0.61%) with this actual median fee (0.65%), damages would decrease slightly, and
Defendants’ objections would be erased.

          RESPONSE: Denied. CAL objects to Plaintiffs’ attempt to introduce this new analysis

by Dr. Pomerantz after trial, thereby depriving CAL of any ability to cross-examine him about

his purported work. Dr. Pomerantz was previously reprimanded for using exactly this tactic in

Sivolella, in which he also attempted to rehabilitate his flawed damages models through updated

charts that were “never disclosed at trial or prior to the parties’ pre-trial order.”1119 As the

Sivolella court explained:

                     A party cannot cure flaws or inaccuracies in its trial presentation
                     through post-trial submissions by simply submitting new charts and
                     updated calculations. If the Court were to allow this, Defendants
                     would be deprived of their right to cross-examine Plaintiffs’
                     witnesses, or offer their own testimony or evidence in rebuttal. The
                     right to cross-examine and test the soundness of the calculations is
                     particularly important here in light of the large number of errors,
                     methodological shortcomings, and basic mistakes demonstrated by
                     Plaintiffs’ experts [i.e., Dr. Pomerantz] at trial.1120

The Court should similarly rule that Dr. Pomerantz’s strategically untimely analysis “should not

be considered.”1121

          Even if this untimely testimony were permitted, it would not cure any of the flaws with

Plaintiffs’ “Damages Method 3” for all of the reasons set forth in CAL’s Responses to Paragraph

423, supra.

        427. Plaintiffs view this third damages calculation as inferior to the first two, because,
unlike the fee benchmarks employed in the first two damages calculations, which were based on
fees indisputably negotiated at arm’s-length between CAL and the unaffiliated institutions
comprising the Other ACG Accounts, the advisory fees paid by other mutual funds may not be
products of, or indicative of, normal arm’s-length bargaining, and may be affected by the same

1119
       Sivolella, 2016 WL 4487857, at *70.
1120
       Id. at *71.
1121
       Id. at *70.

                                                     433
absence of normal arm’s-length bargaining that affects the Growth Fund. Tr. at 533:3-15,
575:7-18, 578:4–579:8; Pomerantz Report at ¶517. Hence, the advisory fees paid by other
mutual funds may not be a valid or accurate benchmark for the range of advisory fees negotiated
at arm’s-length. Id.

          RESPONSE: Denied. CAL admits that Dr. Pomerantz has on multiple occasions

acknowledged that his Damages Method 3 “has less merit” than his other damages models.1122

CAL denies that Plaintiffs’ Damages Method 3 is a coherent and viable measure of damages for

the reasons demonstrated in CAL’s Response to Paragraph 423, which is incorporated as if fully

set forth herein.




1122
       Pomerantz Rpt. ¶ 514; Pomerantz Rebuttal Rpt. ¶ 486; DFFCL ¶ 369.

                                               434
                                           CONCLUSION

        428. The trial evidence establishes that CAL’s advisory fees are excessive under Jones,
Gartenberg and Section 36(b) of the ICA. Accordingly, the Court should render a verdict in
favor of Plaintiffs and award damages in an amount the Court determines is merited under the
circumstances.

        RESPONSE: Denied. Plaintiffs have failed to prove that the Fund’s fee is “so

disproportionately large” that it “could not have been the product of arm’s length bargaining.”

Indeed, after four years of litigation, Plaintiffs still have presented literally no logically-coherent,

factually-supported, legally-viable basis upon which the Court can be the first to hold an adviser

liable under Section 36(b). To override the business judgment of the Independent Trustees on

this trial record would place the Court squarely in the position of acting as the very “super-

trustee” that Jones makes clear is not the role of courts. Plaintiffs’ claim should be dismissed

with prejudice and judgment entered in favor of CAL.



 Dated: February 8, 2019
                                                         DECHERT LLP

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